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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

WAVE NEUROSCIENCE, INC.,

                               Plaintiff,

          vs.                                               Civil Action No. 5:23-cv-00626-XR



BRAIN FREQUENCY LLC,
                                                            Demand for Jury Trial
                               Defendant.




                         DECLARATION OF HENNING SCHMIDT



I, Henning Schmidt, declare as follows:

          1.    I am an attorney at Stradling Yocca Carlson & Rauth LLP and I am duly licensed

to practice before this Court. I am counsel for Defendant in the above-captioned matter and

make this declaration in support of Defendant Brain Frequency LLC’s Motion for Summary

Judgment of Invalidity Under 35 U.S.C.§101. I state the following on my own personal

knowledge and, if called upon to do so, I could and would testify competently to the matters

herein.

          2.    Exhibit A attached hereto is a true and correct copy of the asserted claims of the

patents asserted in this matter, identified as Appendix A – Asserted Claims for ease of reference.

          3.    Exhibit B attached hereto is a true and correct copy of U.S. Patent No. 8,926,490

(“’490 Patent”).
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       4.      Exhibit C attached hereto is a true and correct copy of U.S. Patent No. 8,465,408

(“’408 Patent”).

       5.      Exhibit D attached hereto is a true and correct copy of U.S. Patent No. 8,870,737

(“’737 Patent”).



       I hereby declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.



       Executed on the 7th day of February, 2025, in Austin, TX.



                                            /s/ Henning Schmidt
                                            Henning Schmidt




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                  EXHIBIT A
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                             APPENDIX A – ASSERTED CLAIMS

       A.      The ’737 Patent

Claim 1. A method comprising:
      a. adjusting output of a magnetic field;
      b. applying said magnetic field close to a head of a subject; and
      c. moving, using the magnetic field, at least one of
              c.i. an intrinsic frequency of a specified EEG band of the subject toward a pre-
                     selected intrinsic frequency of the specified EEG band and
              c.ii. a Q-factor of an intrinsic frequency within a specified EEG band of the
                     subject toward a pre-selected Q-factor,
      d. wherein the pre-selected intrinsic frequency is a frequency that increases blood flow in
           the cortex of the subject, and
      e. wherein the pre-selected Q-factor is a Q-factor that increases blood flow in the cortex
           of the subject.

Claim 2. A method comprising:
      a. adjusting output of a magnetic field;
      b. applying said magnetic field close to a head of a subject; and
      c. moving, using the magnetic field, an intrinsic frequency of a specified EEG band of the
           subject toward a pre-selected intrinsic frequency of the specified EEG band,
      d. wherein the pre-selected intrinsic frequency is a frequency that decreases blood flow in
           a lower region of the brain of the subject.

Claim 3. The method of any of claims 1 and 2, further comprising taking EEG measurements of
      the subject
      •    before the adjusting step or
      •    after the applying step, or
      •    both before the adjusting step and after the applying step.

Claim 4. The method of any of claims 1 and 2, further comprising determining at least one of:
      •    the subject's intrinsic frequency of the specified EEG band and
      •    the subject's Q-factor of an intrinsic frequency within a specified EEG band.

Claim 8. The method of any of claims 1 and 2, wherein the step of applying the magnetic field is
      for about 5 minutes to about two hours.

Claim 9. The method of any of claims 1 and 2, further comprising repeating the applying step
      after an interval about 6 hours to about 14 days.

Claim 10. The method of any of claims 1 and 2, further comprising:
      a. locating a first electrode operable to detect electrical brain activity on the subject in at
           least one of
      •    an area of low electrical resistivity on the subject, and
      •    an area with substantially no electrical impulse interference on the subject;
      b. locating a second electrode operable to detect a reference signal on the subject; and

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      c. determining
      •    the intrinsic frequency or
      •    the Q-factor or
      •    both
      from the electrical brain activity detected by the first electrode and the reference signal
           detected by the second electrode.

Claim 11. The method of any of claims 1 and 2, wherein the method decreases a HAMD score
      of the subject as measured using a HAMD rating scale.




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       B.      The ’408 Patent

Claim 1. A method of treating Parkinson’s disease, treating coma, treating post traumatic stress
      disorder (PTSD), treating amblyopia, and/or enhancing cognitive performance, in a
      subject, comprising:
      a. adjusting a setting of a magnetic field such that the magnetic field is configured to do
           one or more of the following:
              a.i. move an intrinsic frequency of a specified EEG band of the subject toward a
                     target intrinsic frequency of the specified EEG band using the magnetic
                     field,
              a.ii. move a Q-factor of the intrinsic frequency toward a target Q-factor of the
                     intrinsic frequency using the magnetic field,
              a.iii. move a coherence value of intrinsic frequencies among multiple sites in a
                     brain of the subject within a specified EEG band toward a target coherence
                     value using the magnetic field wherein if the coherence value is higher than
                     the target coherence value, applying at least two asynchronous magnetic
                     fields close to the head of the subject, and wherein if the coherence value is
                     lower than the target coherence value, applying at least one synchronized
                     magnetic field close to the head of the subject; and
              a.iv. move an EEG phase between two sites in the brain of a subject of a specified
                     EEG frequency toward a target EEG phase of the specified EEG frequency
                     using the magnetic field wherein the magnetic field comprises one or more
                     magnetic field generators that are of the same frequency and are in-phase
                     with each other, of the same frequency and out of phase with each other, or
                     a combination thereof; and
      b. applying said magnetic field close to the head of the subject.

Claim 2. A method of treating Parkinson's disease, treating coma, treating post traumatic stress
      disorder (PTSD), treating amblyopia, and/or enhancing cognitive performance in a
      subject, comprising
      a. moving at least one of:
      •    an intrinsic frequency of a brain of the subject within a specified EEG band toward a
           pre-selected intrinsic frequency within the same specified EEG band and
      •    a Q-factor of the intrinsic frequency toward a target Q-factor of the intrinsic
           frequency,
      by applying a magnetic field close to a head of the subject,
      b. wherein the magnetic field comprises at least one of
      •    a single target frequency within the specified EEG band;
      •    a plurality of frequencies within the specified EEG band; and
      •    the intrinsic frequency of the brain of the subject within the specified EEG band.

Claim 3. The method of claim 1 or 2, further comprising the step of measuring EEG data of the
      subject after the applying step.

Claim 4. The method of claim 1 or 2, further comprising the steps of: adjusting frequency of said
      magnetic field based on the EEG data of the subject; and repeating the applying step with
      an adjusted frequency.

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Claim 9. The method of claim 1 or 2, wherein the step of applying the magnetic field is for about
      5 minutes to about two hours.

Claim 10. The method of claim 1 or 2, further comprising repeating the applying step after an
      interval about 6 hours to about 14 days.

Claim 11. The method of claim 1 or 2, further comprising:
      a. locating a first electrode operable to detect electrical brain activity on the subject in at
           least one of an area of low electrical resistivity on the subject, and an area with
           substantially no electrical impulse interference on the subject;
      b. locating a second electrode operable to detect a reference signal on the subject; and
      c. determining the intrinsic frequency from the electrical brain activity detected by the
           first electrode and the reference signal detected by the second electrode.

Claim 12. A device for use in treating Parkinson's disease, treating coma, treating post traumatic
      stress disorder (PTSD), treating amblyopia, and/or enhancing cognitive performance in a
      subject, comprising: a means for applying a magnetic field to a head of a subject;
      whereby the means for applying the magnetic field comprises:
      a. a first processor that controls the application of the magnetic field and
      b. wherein the first processor or a second processor moves at least one of:
               b.i. an intrinsic frequency of a brain of the subject in a specified EEG band to a
                      target intrinsic frequency within the specified EEG band using the magnetic
                      field;
               b.ii. a Q-factor of an intrinsic frequency of the brain of the subject within a
                      specified EEG band to a target Q-factor of the intrinsic frequency using the
                      magnetic field;
               b.iii. a coherence value of intrinsic frequencies among multiple sites in the brain
                      of the subject within a specified EEG band using the magnetic field wherein
                      if the coherence value is higher than a pre-selected coherence value,
                      applying at least two asynchronous magnetic fields close to the head of the
                      subject, and wherein if the coherence value is lower than the pre-selected
                      coherence value, applying at least one synchronized magnetic field close to
                      the head of the subject; and
               b.iv. an EEG phase between two sites in the brain of the subject of a specified
                      EEG frequency using the magnetic field wherein the magnetic field
                      comprises a first magnetic field that is in-phase with a second magnetic field
                      or a first magnetic field that is out of phase with a second magnetic field.

Claim 20. The device of claim 12, further comprising
      a. logic that calculates information from EEG data collected from the subject within a
           specified EEG band,
      b. wherein said information comprises at least one of items listed below:
      •    the intrinsic frequency;
      •    the Q-factor of the intrinsic frequency;
      •    the coherence value of intrinsic frequencies;


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       •    the EEG phase; and
       •    any combination thereof.

Claim 21. The device of claim 12, further comprising:
      a. a first electrode operable to detect electrical brain activity; and
      b. a second electrode operable to detect a reference signal;
      c. wherein the first electrode is adapted to be located on the subject in at least one of:
      •     an area of low electrical resistivity on the subject, and
      •     an area with substantially no electrical impulse interference on the subject, and
      d. wherein the second electrode is adapted to be located on the subject.




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       C.      The ’490 Patent

Claim 1. A system for treating depression in a subject comprising:
      a magnetic field generator adapted to apply a magnetic field to a head of the subject,
            wherein the magnetic field generator comprises:
      a. a non-transitory computer readable medium containing a subject data value comprising
              a.i. a first intrinsic frequency of a brain of the subject within a specified EEG
                     band,
              a.ii. a Q-factor of the first intrinsic frequency,
              a.iii. a coherence value of a second intrinsic frequency and a third intrinsic
                     frequency, wherein the second and third intrinsic frequencies are from two
                     different sites in the brain of the subject within the specified EEG band, or
              a.iv. an EEG phase between two sites in the brain of the subject of a specified
                     EEG frequency, wherein the two sites are different; and
      b. a processor configured to control the magnetic field based on said subject data value,
           wherein the magnetic field is configured to
              b.i. move the first intrinsic frequency in a pre-selected direction, up or down,
                     within the specified EEG band using said magnetic field,
              b.ii. move the Q-factor of the first intrinsic frequency in a pre-selected direction,
                     up or down, within the specified EEG band using the magnetic field,
              b.iii. move the coherence value by applying the magnetic field and a second
                     magnetic field that is asynchronous with the magnetic field close to the head
                     of the subject and reducing the coherence value, or by applying the magnetic
                     field and the second magnetic field that is synchronized with the magnetic
                     field close to the head of the subject and raising the coherence value, or
              b.iv. move the EEG phase of the specified EEG frequency, wherein the magnetic
                     field comprises a first magnetic field that is in-phase with the second
                     magnetic field or a first magnetic field that is out of phase with the second
                     magnetic field; and
      c. wherein the magnetic field increases the blood flow of a cortex of the brain or
           decreases the blood flow of a lower region of the brain.

Claim 9. The system of claim 1, further comprising logic configured to calculate the subject data
      value from EEG data collected from the subject.




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                   EXHIBIT B
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                                                                                                   USOO8926490B2


(12) United States Patent                                                        (10) Patent No.:                 US 8,926,490 B2
       Phillips et al.                                                           (45) Date of Patent:                           Jan. 6, 2015
(54) SYSTEMS AND METHODS FOR                                                  (56)                   References Cited
       DEPRESSION TREATMENT USING
       NEURO-EEG SYNCHRONIZATION THERAPY                                                      U.S. PATENT DOCUMENTS
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(75) Inventors: James William Phillips, Fountain                                     4,727,857 A      3, 1988 Hor
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(73) Assignee: Neosync, Inc., Newport Beach, CA (US)                                 5,409,445 A      4/1995 Rubins

(*) Notice:          Subject to any disclaimer, the term of this                                        (Continued)
                     patent is extended or adjusted under 35                               FOREIGN PATENT DOCUMENTS
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                                                                                                        (Continued)
(22) Filed:          Nov. 11, 2010
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             Related U.S. Application Data                                    nia; results from the European Schizophremia Outpatient Health
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     filed on Sep. 24, 2008, now Pat. No. 8,480,554.                          (2005).
(60) Provisional application No. 61/260,785, filed on Nov.                                              (Continued)
       12, 2009.
                                                                              Primary Examiner — Christine Matthews
(51) Int. Cl.                                                                 Assistant Examiner — Joshua D Lannu
       A6IN 2/2                     (2006.01)                                 (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich &
       A6IN 2/00                    (2006.01)                                 Rosati
(52) U.S. Cl.
       CPC ................ A61N 2/008 (2013.01); A61N 2/004                  (57)                     ABSTRACT
                                                              (2013.01)       Described are methods, devices, and systems for a novel,
       USPC ................................................. 600/9: 600/14   inexpensive, easy to use therapy for treatment of depression.
(58) Field of Classification Search                                           Described are methods and devices to treat depression that
       CPC ..... A61N 2/006; A61N 2/02: A61N 1/36025;                         involves no medication. Methods and devices described
                  A61N 2/004; A61N 2/008: A61N 1/36082:                       herein use alternating magnetic fields to gently “tune' the
                               A61N 1/36103: A61N 2/12                        brain and affect symptoms of depression.
       USPC ....................................... 600/9; 128/897899
       See application file for complete search history.                                     11 Claims, 30 Drawing Sheets



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U.S. Appl. No. 12/942,922 Office Action dated Nov. 19, 2012.           U.S. Appl. No. 12/237,295 Office Action dated May 23, 2014.
U.S. Appl. No. 12/237,319 Office Action Oct. 14, 2011.                 U.S. Appl. No. 13/682,098 Office Action dated Jun. 30, 2014.
U.S. Appl. No. 12/237,319 Office Action Jul. 19, 2012.                 U.S. Appl. No. 13/682, 18.1 Office Action dated Jun. 27, 2014.
U.S. Appl. No. 12/237.304 Office Action dated Jul. 3, 2012.
U.S. Appl. No. 12/237,295 Office Action dated Dec. 6, 2011.            * cited by examiner
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                                  Figure 1




                                  Figure 2
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                              Figure 3




                              Figure 4
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     82b




                64




              82b




                                    Figure 8
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        64




           82a




     82b


                                  Figure 9
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               Figure 10F                            Figure 10G
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                                                   Figure 11B


   194
                                     194                     sis




                                           102h          - N38


         Figure 11G                                Figure 11H
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   Figure l l I             Figure l l J                     Figure lK




                                  Figure 12
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                                                           1406




     Figure 14                         v/

                 1504                   1502a 1502b




                                                                   Figure 15
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            1602a
                                                         1606


       is
                                    V/
   1602c
           ()
       G
                                   Figure 16
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                                                                  q9
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                                     21 18f

                                          21 18g
                                                         2118h

                              Figure 21




                                                                  2236




                              Figure 22
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                    2348-              i
                            234.4b -

                                  Figure 23
                          2404                       246




                            2402a             N
                                                  2402h
     2458

                                  Figure 24
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                                          Figure 25
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                                                    2606




                           Figure 26
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                              2758




                           S-                                       2707b
                                                                     2782b




                                  Figure 27
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                                                    2806




                           Figure 28
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               2.997:




                3095 a




                3095




                              Figure 30
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              A(f) -Ge(-(f-s)/2d)
                                  Figure 31

                                   S+1 Hz

               H(X, A) = XX(f) - A(f)
                                  Figure 32
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                                               *::::::::::::::




              iteration
                  :




               Exexix. 8




                                       : SS;

                                 Frequency six
                                Figure 34
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              y",...) 3 fill:
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               J., &pid...It
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                              Figure 36b
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                                                  High
                                                  High

                                                  High




                                   Figure 37


                                                                           *




                                                                      $9
                                                                      $3
                                                                      $2




               ||                  Figure 38
                                                            ||
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         HAMD                                Figure 39

                                                                   -O-SHAM
         -2 -l                                                      - A - NEST




                 SHAM         Week 1         Week 2       Week 3        Week 4




            OO                               Figure 40

             80

    Change 60
    in
    HAMD

            40



            20


            O www.



                        -50            -25            O            25        50
                                         Change in Alpha Q
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                                                                *::::: is s:



                                  E.
                       cS: refe3s in 3rtita frantal cortex i:

                              Figure 42
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                                                        US 8,926,490 B2
                                1.                                                                        2
        SYSTEMS AND METHODS FOR                                        fit than that of the first gain, shifting the standard of deviation,
       DEPRESSION TREATMENT USING                                      d, up or down slightly from the first standard of deviation,
   NEURO-EEG SYNCHRONIZATION THERAPY                                   determining a new standard of deviation resulting in a better
                                                                       fit than that of the first standard of deviation, shifting the mean
                  RELATED APPLICATIONS                                 frequency, S, up or down slightly from the first mean fre
                                                                       quency, determining a new mean frequency resulting in a
   This application claims the benefit of U.S. Provisional better fit than that of the first mean frequency, and repeating
Patent Application No. 61/260,785, filed Nov. 12, 2009, and steps 2), 3), and 4), in which the first gain, the first standard of
is a continuation in part of U.S. patent application Ser. No. deviation, and the first mean frequency are replaced with a
12/237,328 filed Sep. 24, 2008, now U.S. Pat. No. 8,480,554, 10 second gain, a second standard of deviation, and a second
the contents of which are herein incorporated by reference in mean            frequency, respectively, until the three parameters are
their entirety.                                                        optimized, comparing the intrinsic frequency from step (a) to
           BACKGROUND OF THE INVENTION                                 an average intrinsic frequency of a healthy population data
                                                                    15 base; if the intrinsic frequency from step (a) is higher than the
   Mental disorders generate serious problems for the average intrinsic frequency of the healthy population data
affected people, their families, and Society. Currently, psy base, shifting down the intrinsic frequency of the Subject by
chiatrists and neurophysiologists treat these disorders with a applying a magnetic field close to a head of the Subject,
variety of medications, many of which have significant nega wherein said magnetic field has a frequency lower than the
tive side effects.                                                     intrinsic frequency of the subject; and if the intrinsic fre
   Repetitive Transcranial Magnetic Stimulation (rTMS) uses quency from step (a) is lower than the average intrinsic fre
an electromagnet placed on the scalp that generates a series of quency of the healthy population database, shifting up the
magnetic field pulses roughly the strength of an MRI scan. intrinsic frequency of the Subject by applying a magnetic field
Some studies have shown that rTMS can reduce the negative close to a head of the Subject, wherein said magnetic field has
symptoms of schizophrenia and depression under certain cir 25 a frequency higher than the intrinsic frequency of the Subject.
cumstances. To generate low frequency magnetic field pulses                Provided herein is a method of using a Transcranial Mag
using an electromagnet such as in rTMS requires high cur netic Stimulation (TMS) device for influencing an intrinsic
rent. Over time, this high current results in significant heat frequency of a subject within a specified EEG band, compris
that must be actively dissipated.                                      ing: adjusting output of said TMS device; changing EEG
                                                                    30 frequency, Q-factor, or coherence by repetitive firing of a
              SUMMARY OF THE INVENTION                                 magnetic field using said TMS device; and applying said
                                                                       magnetic field close to a head of the subject, wherein the
   Described are methods and systems for novel, inexpensive, intrinsic frequency of the subject within the specified EEG
easy to use therapy for a number of mental disorders. band is determined by: obtaining EEG data of the subjects
Described are methods and devices to treat mental disorders 35 brain; removing any DC component in the signal; performing
that involve no medication. Methods and devices described              a Fast Fourier Transformation, X(f), on the EEG data; and
herein gently “tune' the brain and affect mood, focus, and achieving a fitted Gaussian curve, A(f), of the EEG data by:
cognition of human Subjects. Methods and devices described using the equation A(f)=Ge-O-2d) (also depicted in FIG.
herein gently “tune' the brain and affect mood, focus, and 31), wherein G is gain, d is standard deviation, and S is the
cognition of Subjects.                                              40 mean frequency based on the specified EEG band, and deter
   In one aspectare methods of treating a subject, comprising:         mining a goodness of fit measure by optimizing using the
(a) adjusting output of a magnetic field for influencing an following equation
intrinsic frequency of a specified EEG band of the subject
toward a pre-selected or target intrinsic frequency of the
specified EEG band; and (b) applying said magnetic field 45
close to a head of the subject.
   Provided herein are methods of treating a Subject, compris
ing determining the intrinsic frequency (f) of the Subject
within the specified EEG band by: obtaining EEG data of the (also depicted in FIG. 32), by: estimating a first mean fre
Subject’s brain; removing any DC component in the signal; 50 quency, a first standard of deviation, and first gain for the first
performing a Fast Fourier Transformation, X(f), on the EEG optimizing loop, shifting the gain, G, up or down slightly
data; and achieving a fitted Gaussian curve, A(f), of the EEG from the first gain, determining a new gain resulting in a better
data by: using the equation A(f)=Ge''' (also depicted fit than that of the first gain, shifting the standard of deviation,
in FIG. 31), wherein G is gain, d is standard deviation, and s d, up or down slightly from the first standard of deviation,
is the mean frequency based on the specified EEG band, and 55 determining a new standard of deviation resulting in a better
determining a goodness of fit measure by optimizing using fit than that of the first standard of deviation, shifting the mean
the following equation                                                 frequency, S, up or down slightly from the first mean fre
                                                                       quency, determining a new mean frequency resulting in a
                                                                       better fit than that of the first mean frequency, and repeating
                                                                    60 steps 2), 3), and 4), in which the first gain, the first standard of
                                                                       deviation, and the first mean frequency are replaced with a
                                                                       second gain, a second standard of deviation, and a second
                                                                       mean frequency, respectively, until the three parameters are
(also depicted in FIG. 32), by: estimating a first mean fre optimized.
quency, a first standard of deviation, and first gain for the first 65 In some embodiments, the method comprises the step of
optimizing loop, shifting the gain, G, up or down slightly measuring EEG data of the Subject after the applying step. In
from the first gain, determining a new gain resulting in a better Some embodiments, the method comprises the steps of
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                               3                                                                4
adjusting frequency of said magnetic field based on the EEG         In some embodiments, at least one of the intrinsic fre
data of the Subject; and repeating the applying step with an quency and the fitted Gaussian curve is used to determine a
adjusted frequency. In some embodiments, applying of the Q-factor of the intrinsic frequency within the specified EEG
magnetic field applies the magnetic field to a diffuse area in a band of the subject.
brain of the Subject. In some embodiments, the magnetic field       In some embodiments, at least one of the intrinsic fre
is generated by movement of at least one permanent magnet. quency and the fitted Gaussian curve is used to determine a
In some embodiments, said movement comprises at least one coherence value of intrinsic frequencies among multiple sites
of rotational motion, linear motion, and Swing motion. In in the brain of a subject within a specified EEG band.
Some embodiments, a frequency of the magnetic field with            In some embodiments, at least one of the intrinsic fre
the specified EEG band is from about 0.5Hz to about 100 Hz. 10 quency and the fitted Gaussian curve is used to determine an
In some embodiments, the strength of the at least one perma EEG phase between two sites in the brain of a subject of a
nent magnet is from about 10 Gauss to about 4 Tesla. In some specified EEG frequency.
embodiments, the distance between the at least one perma            In some embodiments, shifting the standard of deviation
nent magnet and the Subject is from about/32 into about 12 in. 15 comprises a shift from the first standard deviation of at least
In Some embodiments, the step of applying the magnetic field one of about 0.005, about 0.01, about 0.02, about 0.05, about
is for about 5 minutes to about two hours. In some embodi            0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,
ments, the method comprises repeating the applying step after about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,
an interval about 6 hours to about 14 days.                          about 1.75, about 2.0, and about 2.5. As used herein, the term
   In some embodiments, the method comprises: (a) locating “about when used in reference to standard deviation can
a first electrode operable to detect electrical brain activity on mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,
the subject in at least one of an area of low electrical resistivity 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,
on a Subject, and an area with Substantially no electrical           and/or 25% to 50%.
impulse interference on a Subject; (b) locating a second elec          In some embodiments, shifting the gain comprises a shift
trode operable to detect a reference signal on the Subject; and 25 from the first gain of at least one of about 0.005, about 0.01,
(c) determining the intrinsic frequency from the electrical about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about
brain activity detected by the first electrode and the reference 0.6,    about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,
                                                                     about  1.1, about 1.2, about 1.5, about 1.75, about 2.0, and
signal detected by the second electrode.
   In some embodiments, the method improves an indication 30 reference toAsgainused
                                                                     about 2.5.
                                                                                      can
                                                                                          herein, the term “about when used in
                                                                                           mean variations of 1%, 10%, 20%, 25%,
selected from the group consisting of replacement for medi 50%, 1%-5%, 1%-10%,
tation, quick nap, stress release, attention span, comprehen 50%, 10% to 25%, and/or5%              to 10%, 10% to 20%, 10% to
                                                                                                25% to 50%.
Sion, memory, lowered blood pressure, increased libido,                In some embodiments, shifting the mean frequency com
sports performance, academic performance, increased blood prises a shift from the first mean frequency of at least one of
flow, lowered blood flow, increased metabolism, lowered 35 about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,
metabolism, and any combination thereof.                          about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about
   In some embodiments, the method improves a disorder 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
selected from the group consisting of depression, bipolar,        1.75, about 2.0, and about 2.5. As used herein, the term
anxiety, obsessive-compulsive, seizure, Parkinson's disease, "about when used in reference to mean frequency can mean
ADHD, autism, substance abuse, head injury, Alzheimer's 40 variations of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%,
disease, eating disorder, sleep disorder, tinnitus, fibromyal 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or
gia, and any combination thereof.                                 25% to 50%.
   In some embodiments, the method improves a character               Provided herein is a device comprising: at least one per
istic selected from the group consisting of peripheral visual manent magnet, a subunit coupled to the magnet, wherein the
response, attention span, immediate reaction time (IRT), 45 Subunit enables movement of said at least one permanent
movement time (MT), simple perceptual reaction time (SPR), magnet at a frequency between about 0.5 Hz and about 100
conflict perceptual reaction time (CPR), and any combination HZ, and logic that is operable to determine an intrinsic fre
thereof.                                                          quency (f) of a brain of a subject within a specified EEG band
   In some embodiments, the magnetic field results from a by: obtaining EEG data of the subject’s brain; removing any
first magnetic source and a second magnetic source. In some 50 DC component in the signal; performing a Fast Fourier Trans
embodiments, the first magnetic source and the second mag formation, X(f), on the EEG data; achieving a fitted Gaussian
netic source are out of phase relative to each other.             curve, A(f), of the EEG data by: using the equation
   In some embodiments, the EEG band is the alphaband, and A(f)=Ge''' (also depicted in FIG. 31), wherein G is
the mean frequency ranges from about 8 Hz to about 13 Hz.         gain, d is standard deviation, and S is the mean frequency
   In Some embodiments, removing the DC component of the 55 based on the specified EEG band, and determining a goodness
signal comprises filtering the EEG data with a 10th order 3 Hz of fit measure by optimizing using the following equation
high-pass IIR filter. In some embodiments, removing the DC
component of the signal comprises filtering the EEG data
twice with a 10th order 3 Hz high-pass IIR filter.
   In some embodiments, the EEG data comprises about 30 60
seconds worth of EEG data at about 256 samples per second.
   In some embodiments, the first gain is about one fourth ("/4)
of the peak value of a peak value of the Fast Fourier Trans also depicted in FIG. 32), by: estimating a first mean fre
formation of the EEG data.                                        quency, a first standard of deviation, and first gain for the first
   In Some embodiments, a second optimization is performed 65 optimizing loop, shifting the gain, G, up or down slightly
having a first gain of at least about 1.5 times the peak value of from the first gain, determining a new gain resulting in a better
the Fast Fourier Transformation of the EEG data.                  fit than that of the first gain, shifting the standard of deviation,
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d, up or down slightly from the first standard of deviation, 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
determining a new standard of deviation resulting in a better 1.75, about 2.0, and about 2.5. As used herein, the term
fit than that of the first standard of deviation, shifting the mean "about when used in reference to mean frequency can mean
frequency, S, up or down slightly from the first mean fre variations of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%,
quency, determining a new mean frequency resulting in a 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or
better fit than that of the first mean frequency, and repeating 25% to 50%.
steps 2), 3), and 4), in which the first gain, the first standard of       In another aspect are methods of altering an intrinsic fre
deviation, and the first mean frequency are replaced with a quency of a brain of a subject within a specified EEG band,
second gain, a second standard of deviation, and a second
mean frequency, respectively, until the three parameters are 10 comprising:
                                                                        subject
                                                                                      (a) determining the intrinsic frequency of the
                                                                                 within  the specified EEG band; (b) comparing the
optimized,
    In some embodiments, the device is operable to at least one quency of a healthyfrom
                                                                        intrinsic frequency        step (a) to an average intrinsic fre
of influence the intrinsic frequency of the brain of a subject frequency from step (a) is higherdatabase;
                                                                                               population
                                                                                                             than  the
                                                                                                                      (c) if the intrinsic
                                                                                                                       average intrinsic
within the specified EEG band; influence a Q-factor of the frequency of the healthy population database,                   shifting down
intrinsic frequency; influence a coherence of intrinsic fre the intrinsic frequency of the Subject by applying
                                                                     15
                                                                                                                               a specific
quencies among multiple sites in the brain of a subject within
a specified EEG band; and influence an EEG phase between magnetic field close to a head of the Subject, wherein said
two sites in the brain of a subject of a specified EEG fre specific magnetic field has a frequency lower than the intrin
quency.                                                                 sic frequency of the Subject; and (d) if the intrinsic frequency
    In some embodiments, a magnetic field is generated by from step (a) is lower than the average intrinsic frequency of
movement of at least the permanent magnet. In some embodi the healthy population database, shifting up the intrinsic fre
ments, said movement comprises at least one of rotational quency of the Subject by applying a specific magnetic field
motion, linear motion, and Swing motion.                                close to a head of the Subject, wherein said specific magnetic
    In some embodiments, the device comprises logic that field has a frequency higher than the intrinsic frequency of the
controls the frequency in increments of about 0.1 Hz.                25 Subject.
    In some embodiments, the device improves an indication                 In another aspect are methods of treating a subject, com
selected from the group consisting of replacement for medi prising: (a) adjusting output of a magnetic field for influenc
tation, quick nap, stress release, attention span, comprehen ing a Q-factor, a measure of frequency selectivity of a speci
Sion, memory, lowered blood pressure, increased libido, fied EEG band, of the subject toward a pre-selected or target
sports performance, academic performance, increased blood 30 Q-factor of the band; and (b) applying said magnetic field
flow, lowered blood flow, increased metabolism, lowered                 close to a head of the subject.
metabolism, and any combination thereof.                                   In another aspect are methods of treating a subject, com
    In some embodiments, the device improves a disorder prising: determining the Q-factor of the intrinsic frequency
selected from the group consisting of depression, bipolar, within the specified EEG band of the subject; comparing the
anxiety, obsessive-compulsive, seizure, Parkinson's disease, 35 Q-factor of the intrinsic frequency from step (a) to an average
ADHD, autism, substance abuse, head injury, Alzheimer's Q-factor of the intrinsic frequency of a healthy population
disease, eating disorder, sleep disorder, tinnitus, fibromyal database; if the Q-factor of the intrinsic frequency from step
gia, and any combination thereof.                                       (a) is higher than the average Q-factor of the intrinsic fre
    In some embodiments, the device improves a characteristic quency of the healthy population database, tuning down the
selected from the group consisting of peripheral visual 40 Q-factor of the intrinsic frequency of the Subject by applying
response, attention span, immediate reaction time (IRT), a magnetic field with a plurality of frequencies or with a
movement time (MT), simple perceptual reaction time (SPR),              single pre-selected frequency close to a head of the Subject;
conflict perceptual reaction time (CPR), and any combination and if the Q-factor of the intrinsic frequency from step (a) is
thereof.                                                                lower than the average Q-factor of the intrinsic frequency of
    In some embodiments, shifting the standard of deviation 45 the healthy population database, tuning up the Q-factor of the
comprises a shift from the first standard deviation of at least intrinsic frequency of the Subject by applying a magnetic field
one of about 0.005, about 0.01, about 0.02, about 0.05, about           with a pre-selected frequency to a head of the Subject.
0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,               In another aspect are methods of treating a subject, com
about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,       prising: (a) adjusting output of a magnetic field for influenc
about 1.75, about 2.0, and about 2.5. As used herein, the term 50 ing a coherence of intrinsic frequencies among multiple sites
“about when used in reference to standard deviation can                 in a brain of the subject within a specified EEG band toward
mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,                       a pre-selected or target coherence value; and (b) applying said
1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,                  magnetic field close to a head of the Subject
and/or 25% to 50%.                                                         In another aspect are methods adjusting output of a mag
    In some embodiments, shifting the gain comprises a shift 55 netic field for influencing a coherence of intrinsic frequencies
from the first gain of at least one of about 0.005, about 0.01, among multiple sites in a brain of the Subject within a speci
about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about          fied EEG band toward a pre-selected or target coherence
0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,            value comprising: determining the coherence value of the
about 1.1, about 1.2, about 1.5, about 1.75, about 2.0, and             intrinsic frequencies among multiple locations throughout a
about 2.5. As used herein, the term “about when used in 60 Scalp of the Subject; comparing the coherence value from step
reference to gain can mean variations of 1%, 10%, 20%, 25%,             (a) to an average coherence value of a healthy population
50%, 1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to                       database; if the coherence value from step (a) is higher than
50%, 10% to 25%, and/or 25% to 50%.                                     the average coherence value of the healthy population data
    In some embodiments, shifting the mean frequency com base, lowering the coherence value of the Subject by applying
prises a shift from the first mean frequency of at least one of 65 at least two asynchronous magnetic fields close to a head of
about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,             the subject; if the coherence value from step (a) is lower than
about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about           the average coherence value of the healthy population data
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base, raising the coherence value of the Subject by applying at wherein applying the magnetic field influences the deter
least one synchronized magnetic field close to a head of the mined EEG phase toward the average EEG phase of a healthy
Subject.                                                             population.
   In another aspectare methods of using a Transcranial Mag            In another aspect are methods for using a Transcranial
netic Stimulation (TMS) device for influencing an intrinsic Magnetic Stimulation (TMS) device for influencing an EEG
frequency of a subject within a specified EEG band, compris phase of a Subject of a specified EEG frequency, comprising:
ing: (a) adjusting output of said TMS device; (b) changing (a) adjusting output of said TMS device; (b) changing the
EEG frequency, Q-factor, or coherence by repetitive firing of EEG phase by repetitive firing of at least one magnetic field
a magnetic field using said TMS device; and (c) applying said 10 using said TMS device; and (c) applying said magnetic field
magnetic field close to a head of the Subject;                       close to a head of the subject.
   In another aspect are methods of treating anxiety in a              In some embodiments, the magnetic field results from a
Subject, comprising tuning up the Q-factor of an intrinsic first magnetic source and a second magnetic source. In some
frequency of the Subject by applying a magnetic field close to embodiments, the first magnetic source and the second mag
ahead of the Subject, wherein the magnetic field comprises at 15 netic source are out of phase relative to each other. In some
least one of (a) a single pre-selected frequency; (b) a plurality embodiments, the amount that the first magnetic source and
offrequencies within a specified EEG band; and (c) an intrin the second magnetic source are out of phase relative to each
sic frequency of a brain of the subject within a specified EEG other is called the magnetic phase.
band. In some embodiments, any of the devices described                In some embodiments, the methods described are with the
herein may be used to treat anxiety.                                 proviso that the methods are not used to treat Schizophrenia.
   In some embodiments, are method of treating depression in           In some embodiments of at least one aspect described
a subject, comprising tuning down the Q-factor of an intrinsic above, the step of applying the magnetic field is for a pre
frequency of the Subject by applying a magnetic field close to determined cumulative treatment time. In some embodiments
ahead of the Subject, wherein the magnetic field comprises at of at least one aspect described herein, the pre-selected or
least one of (a) a single frequency; (b) a plurality of frequen 25 target intrinsic frequency with the specified EEG band is from
cies within a specified EEG band; and (c) an intrinsic fre about 0.5 Hz to about 100 Hz. In some embodiments of at
quency of a brain of the subject within a specified EEG band. least one aspect described above, the pre-selected or target
In some embodiments, any of the devices described herein intrinsic            frequency with the specified EEG band is from about
                                                                     1 Hz to about 100 Hz. In some embodiments of at least one
may be used to treat depression.
   In another aspect are methods for treating a Subject, com 30 aspect described above, the pre-selected or target intrinsic
prising: (a) adjusting output of a magnetic field for influenc frequency with the specified EEG band is not greater than
                                                                     about 50 Hz. In some embodiments of at least one aspect
ing an EEG phase between two sites in the brain of a subject described
of a specified EEG frequency toward a pre-selected EEG with the specified       above, the pre-selected or target intrinsic frequency
phase of the specified EEG frequency; and (b) applying said 35 In some embodiments      EEG band is not greater than about 30 Hz.
magnetic field close to a head of the Subject.                                               of at least one aspect described above,
                                                                     the pre-selected or target intrinsic frequency with the speci
   In some embodiments, the pre-selected EEG phase is lower fied EEG band is not greater than about 20 Hz. In some
than the EEG phase between the two sites in the brain of the embodiments of at least one aspect described above, the pre
subject. In some embodiments, the pre-selected EEG phase is selected or target intrinsic frequency with the specified EEG
any EEG phase lower than the EEG phase between the two 40 band is not greater than about 10 Hz. In some embodiments of
sites in the brain of the subject. In some embodiments, the at least one aspect described above, the pre-selected or target
pre-selected EEG phase is higher than the EEG phase intrinsic frequency with the specified EEG band is greater
between the two sites in the brain of the subject. In some than about 3 Hz. In some embodiments of at least one aspect
embodiments, the pre-selected EEG phase is any EEG phase described above, the pre-selected or target intrinsic frequency
higher than the EEG phase between the two sites in the brain 45 with the specified EEG band is greater than about 1 Hz. In
of the subject. In some embodiments, the pre-selected EEG            Some embodiments, of at least one aspect described above,
phase is an EEG phase of a population of people. The popu the pre-selected or target intrinsic frequency with the speci
lation of people may be a set of people having a particular fied EEG band is up to about 25 Hz. As used herein, the term
trait, characteristic, ability, or feature. The population may be "about when referring to a frequency can mean variations of
a healthy population of people. The population of people may 50 0.1 Hz to 0.2 Hz, 0.1 Hz to 0.5 Hz, 0.5 Hz to 1 Hz, or 1 Hz to
be a set of people not having a particular disorder, such as 5 Hz. In some embodiments, applying of the magnetic field is
anxiety, depression, or other disorders mentioned herein. In to the motor cortex of the subject.
Some embodiments, the methods comprise measuring EEG                   In some embodiments, the pre-selected and/or target intrin
data of two sites in the brain of the Subject, and calculating the sic frequency is chosen from a plurality of intrinsic frequen
EEG phase between the two sites in the brain of a subject. The 55 cies in the specified EEG band. In some embodiments the
specified EEG frequency may be an intrinsic frequency as pre-selected and/or target intrinsic frequency is chosen from
described herein. The specified EEG frequency may be a a plurality of intrinsic frequencies across a plurality of EEG
pre-selected frequency as described herein. The pre-selected bands. In some embodiments the specified EEG band is the
frequency may be an average intrinsic frequency of a healthy Alphaband. In some embodiments the specified EEG band is
population database within a specified EEG band.                  60 the Beta band.
   In another aspect are methods for influencing an EEG                In some embodiments of at least one aspect described
phase of a specified EEG frequency between multiple loca above, the methods further comprise the step of measuring
tions of a brain of a Subject, comprising: (a) determining the EEG data of the subject before the applying step. In some
EEG phase the between at least two locations measured on the embodiments of at least one aspect described above, said
head of the subject; (b) comparing the EEG phase from step 65 higher frequency is not greater than about 50 Hz. In some
(a) to an average EEG phase of a healthy population; and (c) embodiments of at least one aspect described above, said
applying a magnetic field close to a head of the Subject higher frequency is not greater than about 30 Hz.
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   In some embodiments of at least one aspect described               In some embodiments where the step of applying the mag
above, the varying frequencies (e.g. hopping frequencies) are netic field is for a pre-determined cumulative treatment time,
moving average frequencies based on a pre-determined fre said pre-determined cumulative treatment time is at least 5
quency around an intrinsic frequency within a predetermined min. In some embodiments where the step of applying the
frequency range. In some embodiments, the varying frequen magnetic field is for a pre-determined cumulative treatment
cies are randomly selected within a predetermined frequency time, said pre-determined cumulative treatment time is from
range. In some embodiments of at least one aspect described about 5 minto about two hours.
above, the varying frequencies are moving average frequen             In some embodiments of at least one aspect described
cies within a specified EEG band of a healthy population above,             the methods further comprise repeating the applying
database. Those moving average frequencies can change 10 step after
from an initial frequency to a target frequency within a spe interval ofantreatment
                                                                                  interval of treatment. In some embodiments, the
                                                                                           is from about 6 hours to about 14 days.
cific amount of time. In some embodiments of at least one
aspect described above, the varying frequencies are frequen           In some embodiments of at least one aspect described
cies hopping around within a pre-determined frequency above, the method improves an indication selected from the
range. In some embodiments of at least one aspect described 15 group consisting of replacement for meditation, quick nap,
above, the varying frequencies are frequencies hopping stress release, attention span, comprehension, memory, low
around an intrinsic frequency within a specified EEG band of ered blood pressure, increased libido, sports performance,
a healthy population database. In some embodiments of at academic performance, and any combination thereof. In
least one aspect described above, the pre-selected or target Some embodiments of at least one aspect described above, the
frequency is an average intrinsic frequency of a healthy popu method improves a mental disorder selected from the group
lation database within a specified EEG band. In some consisting of depression, bipolar, anxiety, obsessive-compul
embodiments of at least one aspect described above, the pre sive, seizure, Parkinson's disease, ADHD, autism, Substance
selected or target frequency is an intrinsic frequency of a brain abuse, head injury, Alzheimer's disease, eating disorder,
of the subject within a specified EEG band.                         sleep disorder, tinnitus, and any combination thereof. In some
   In some embodiments of at least one aspect described 25 embodiments of at least one aspect described above, the
above, the methods further comprise the step of measuring method improves symptoms of fibromyalgia. In some
EEG data of the subject after the applying step. In some embodiments of at least one aspect described above, the
embodiments, further comprising the steps of:                       method halts the onset of a seizure. In some embodiments of
adjusting frequency of said magnetic field based on the EEG at least one aspect described above, the method prevents the
data of the Subject; and repeating the applying step with an 30 onset of a seizure. In some embodiments of at least one aspect
adjusted frequency.
   In some embodiments of at least one aspect described described               above, the method improves a characteristic
                                                                    selected from the group consisting of peripheral visual
above, the applying of the magnetic field is continuous, in that response,     attention span, immediate reaction time (IRT),
it does not consist of discrete pulses separated by significant
sections in which no magnetic field is applied. In some 35 movement time (MT), simple perceptual reaction time (SPR),
embodiments of at least one aspect described above, the mag conflict perceptual reaction time (CPR), and any combination
netic field is continuously applied. A magnetic field that is thereof. In some embodiments of at least one aspect described
continuously applied may alternate between a positive and above, the method provides an improvement as measured
negative field and include one or more neutral field(s), or using a rating scale selected from the group consisting of
alternate between a positive field and a neutral field, or alter 40 HAMA, HAMD, PANSS, MADRS, BARS, SAS, and any
nate between a negative field and a neutral field, or some other combination thereof. In some embodiments of at least one
combination of magnetic fields. It is continuous in the sense aspect described above, the method provides an improvement
that it has a repetitive pattern (waveform) of charged fields as measured using the Unified Parkinson's Rating Scale. In
(whether positive, negative, or a combination thereof) and Some embodiments of at least one aspect described above, the
uncharged fields. In some embodiments of at least one aspect 45 method provides an improvement as measured using a modi
described above, the applying of the magnetic field applies fied Unified Parkinson's Rating Scale. In some embodiments
the magnetic field to a diffused area in a brain of the subject. of at least one aspect described above, the method uses a
   In some embodiments of at least one aspect described Permanent Magneto-EEG Resonant Therapy (pMERT)
above, the magnetic field is generated by movement of at least device (alternatively called a Neuro-EEG Synchronization
one permanent magnet. In some embodiments, said move 50 Therapy (NEST) device). In some embodiments of at least
ment comprises rotation of at least one said permanent mag one aspect described above, the method uses a device
net. In some embodiments, said movement comprises linear described herein. In some embodiments of at least one aspect
motion of at least one said permanent magnet. In some described above, the method does not use a Transcranial
embodiments, said movement comprises curvilinear motion Magnetic Stimulation (TMS) device.
of at least one said permanent magnet. In some embodiments, 55 In another aspect are devices comprising,
said movement comprises at least one of rotational motion,            (a) at least one permanent magnet; and
linear motion, and Swing motion. In some embodiments, the             (b) a subunit coupled to the magnet;
strength of the at least one permanent magnetic is from about wherein the subunit enables movement of at least one said
10 Gauss to about 4 Tesla. In some embodiments, the distance        magnet at a frequency between about 0.5 Hz and about 100
between the at least one permanent magnet and the Subject is 60 HZ.
from about 0 inches to about 12 inches, from about/32 inches          In another aspect are devices comprising,
to about 12 inches, from about/16 inches to about 5 inches, or        (a) at least one permanent magnet; and
from about 1 inch to about 5 inches. As used herein, the term         (b) a subunit coupled to the magnet;
“about when referring to distance between the at least one wherein the subunit enables movement of at least one said
permanent magnet and the Subject can mean variations of/64 65 magnet at a frequency between about 2 Hz, and about 20 Hz.
inch, /32 inch, /16 inch, /8 inch, /4 inch, /3 inch, /2 inch, or 1    In another aspect are devices comprising a means for
inch.                                                               applying a magnetic field to a head of a Subject; whereby the
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means for applying the magnetic field is capable of influenc frequency in response to EEG readings of a subject before
ing an intrinsic frequency of a brain of the Subject within a and/or during treatment. In some embodiments of at least one
specified EEG band.                                             aspect described above, the devices further comprise logic
   In another aspect are devices comprising a means for that allows a user to set duration of a treatment before said
applying a magnetic field to a head of a Subject; whereby the treatment. In some embodiments, the user may be, for non
means for applying the magnetic field is capable of influenc limiting example, a patient, a therapist, a psychiatrist, a psy
ing a Q-factor of an intrinsic frequency of a brain of the chologist, a neurologist, a family doctor, a general practitio
subject within a specified EEG band.                            ner, a another medical professional, or a person treating a
   In another aspect are devices comprising a means for patient. In some embodiments, the user is not a patient.
applying a magnetic field to a head of a Subject; whereby the 10 In some embodiments of at least one aspect described
means for applying the magnetic field is capable of influenc above, the devices comprise a white noise generator.
ing a coherence of intrinsic frequencies among multiple sites      In some embodiments, the devices further comprise a cou
in a brain of the subject within a specified EEG band.          pling to at least one of an internet line and a phone line. In
   In some embodiments of at least one aspect described Some embodiments, at least a portion of the coupling to the
above, the subunit comprises a rotating mechanism. In some 15 internet line or to the phone line is wireless. The device may
embodiments, said rotating mechanism comprises:                 further comprise a Smart card for storing and transferring
   (a) a motor;                                                 information.
   (b) a power source capable of powering the motor; and           In some embodiments of at least one aspect described
   (c) a rotating element coupled to the motor and coupled to above, the devices further comprise logic that calculates
      the magnet.                                               information from EEG data collected from the subject within
   In some embodiments of at least one aspect described a specified EEG band,
above, said device comprises at least one permanent magnet. wherein said information comprises at least one of items
In some embodiments of at least one aspect described above, listed below:
the strength of the at least one permanent magnet is from          (a) at least one intrinsic frequency;
about 10 Gauss to about 4 Tesla. In some embodiments of at 25      (b) Q-factor of the at least one intrinsic frequency;
least one aspect described above, the magnetic field is an         (c) a coherence value of intrinsic frequencies;
alternating magnetic field.                                        (d) an EEG phase; and
   In some embodiments of at least one aspect described            (e) any combination thereof.
above, the magnetic field is generated by movement of at least     In some embodiments, the devices further comprise logic
one permanent magnet. In some embodiments, the movement 30 that uploads said information through at least one of an inter
of the at least one said magnetis at a frequency between about net line and a telephone line to an EEG data analysis service
0.5 Hz and about 100 Hz. In some embodiments, the move          capable of storing said information. In some embodiments,
ment of the at least one said magnet is at a frequency between said EEG data analysis service is capable of associating the
about 2 Hz, and about 20 Hz.                                     said information with an identification associated with the
   In some embodiments of at least one aspect described 35 Subject.
above, said movement comprises rotation of at least one said        In some embodiments of at least one aspect described
permanent magnet. In some embodiments of at least one above, the devices further comprise logic that uploads EEG
aspect described above, said movement comprises linear data collected from the subject to an EEG data analysis ser
motion of at least one said permanent magnet. In some vice, wherein the EEG data analysis service is capable of
embodiments of at least one aspect described above, said 40 validating information uploaded from the device, wherein
movement comprises Swing motion of at least one said per said information comprises at least one of items listed below:
manent magnet. In some embodiments, said movement com               (a) at least one intrinsic frequency;
prises at least one of rotational motion, linear motion, and        (b) Q-factor of the at least one intrinsic frequency;
Swing motion.                                                       (c) a coherence value of intrinsic frequencies;
   In some embodiments of at least one aspect described 45 (d) an EEG phase; and
above, said movement generates an alternating magnetic              (e) any combination thereof.
field. In some embodiments of at least one aspect described         In some embodiments, said information comprises at least
above, the magnetic field is continuously applied. In some two of the listed items. In some embodiments of at least one
embodiments of at least one aspect described above, the mag aspect described above, further comprising logic that down
netic field covers a diffused area in a brain of a subject. In 50 loads a treatment dosage quota. In some embodiments, the
Some embodiments of at least one aspect described above, the treatment dosage quota is chosen by a user treating the Subject
device is a Permanent Magneto-EEG Resonant Therapy based on a diagnosis of the Subject. In some embodiments, the
(pMERT) device. In some embodiments of at least one aspect treatment dosage quota is chosen by a user who is charged for
described above, the device is a Neuro-EEG Synchronization requesting a download of a cumulative treatment time based
Therapy (NEST) device. As used herein, the terms Neuro 55 on a diagnosis of the Subject. In some embodiments, the user
EEG Synchronization Therapy (NEST) device and Perma is charged by a billing service before, during, or after the
nent Magneto-EEG Resonant Therapy (pMERT) device may download of the dosage quota.
be used interchangeably.                                            In some embodiments of at least one aspect described
   In some embodiments of at least one aspect described above, the devices further comprise logic that uploads a Sub
above, the devices further comprise logic that controls the 60 ject's EEG data through at least one of an internet line and a
frequency to be any frequency between about 2 and about 20 phone line to an EEG data analysis service. In some embodi
HZ in increments of about 0.1 Hz. In some embodiments of at       ments of at least one aspect described above, the devices
least one aspect described above, the devices further comprise further comprise logic that records usage information for
logic that controls the frequency to be any frequency between using the device. In some embodiments, the device further
about 2 and about 50 Hz in increments of about 0.1 Hz. In 65 comprises logic that ceases to deliver treatment after a treat
Some embodiments of at least one aspect described above, the ment dosage quota is depleted. In some embodiments, the
devices further comprise logic that automatically changes the billing service is a vendor of the device. In some embodi
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ments of at least one aspect described above, the devices           (c) based on each Subject and each therapeutic dosage quota
further comprise logic that allows a user to establish a user       administered to each Subject, fields for storing at least one of
acCOunt.                                                            (1) EEG data of the subject,
   In some embodiments, the device comprises at least two (2) intrinsic frequency within a specified EEG band of the
permanent magnets. In some embodiments, the device com Subject,
prises a helmet to be used for a subjects head. In some (3) Q-factor of the intrinsic frequency of the subject
embodiments of at least one aspect described above, the (4) an EEG phase of a specified EEG frequency of the subject,
device comprises a communication Subunit for coupling to an (5) a coherence value of intrinsic frequencies of the Subject,
internet line. In some embodiments of at least one aspect 10 (6)        treatment information of the subject, and
described above, the device comprises a communication Sub (7)Indevice     some
                                                                                usage information for the subject.
                                                                                embodiments, the user information excludes iden
unit for coupling to a phone line. In some embodiments, the tifying information           (e.g. user names).
device comprises a memory Subunit for storing information              In  some   embodiments     of at least one aspect described
during a treatment.                                                 above, the methods further comprise the step of charging at
   In another aspect are methods for ordering a therapeutic 15 least one of the user, the Subject, and an insurance company
dosage quota through internet, comprising,                          associated with the subject a fee for use of the device based on
   (a) receiving a request from a user to access a user account the dosage quota ordered in at least one of the user account
      through internet for ordering the therapeutic dosage and the device.
      quota,                                                           In another aspect are methods for administration of treat
   (b) allowing the user to select at least one desired thera ment of Subjects, comprising,
      peutic dosage quota; and                                         (a) storing data in a device of an individual Subject during
   (c) allowing the downloading ofatherapeutic dosage quota               treatment using the device, wherein the device com
      into a device comprising a means for applying a mag                 prises a means for applying a magnetic field to a head of
      netic field to a head of a subject.                                 the subject;
   The user may be allowed, in Some embodiments, to down 25 (b) retrieving the data of said individual subject from said
load the therapeutic dosage quota. In some embodiment, the                device; and
methods further comprise the step of establishing a user               (c) updating a database for the Subject with the data,
account based on a request from a user for ordering a thera               through at least one of an internet line and a phone line.
peutic dosage quota.                                                   In some embodiments, said data of said individual Subject
   In another aspect are methods for uploading EEG data 30 comprises at least one of EEG data of the subject, at least one
associated with a subject through internet, comprising,             intrinsic frequency within a specified EEG band of the sub
   (a) creating a database for storing a user account associated ject, Q-factor of the intrinsic frequency of the subject, a
      with a user;                                                  coherence value of intrinsic frequencies of the Subject, an
   (b) storing the user account in the database,                    EEG phase of a specified EEG frequency of the subject,
   (c) receiving a request from the user to access the user 35 treatment information of the Subject, and device usage infor
      acCOunt,                                                      mation for the Subject. In some embodiments, the retrieving
   (d) allowing said EEG data to be recorded into a device and updating steps occur upon the Subjects visit to a psychia
      comprising a means for applying a magnetic field to a trist, a therapist, a treatment provider, and/or another type of
      head of the subject;                                          medical professional. In some embodiments, the retrieving
   (e) determining from said EEG data at least one of an 40 and updating steps occur prior to a Subject's visit to a psy
      intrinsic frequency within a specified EEG band, Q-fac chiatrist, atherapist, a treatment provider, and/or another type
      tor of the intrinsic frequency, an EEG phase, and a coher of medical professional. In some embodiments, the retrieving
      ence value of intrinsic frequencies; and                      and updating steps occur following a Subject's visit to a
   (f) allowing the uploading of at least one of the EEG data, psychiatrist, a therapist, a treatment provider, and/or another
      the intrinsic frequency within a specified EEG band, the 45 type of medical professional.
      Q-factor of the intrinsic frequency, the EEG phase, the          In some embodiments of at least one aspect described
      coherence value of intrinsic frequencies, and any com above, the methods or devices use a Transcranial Magnetic
      bination thereof.                                             Stimulation (TMS) device.
   In some embodiments, allowing the user to upload may                Provided herein is a method comprising adjusting an out
include allowing the user to move data from a device as 50 put current of an electric alternating current source for influ
described herein to a database. The method may comprise encing an intrinsic frequency of an EEG band of a subject
receiving a request from the user to access the user account toward a target frequency of the EEG band; and applying said
through at least one of an internet line or a phone line for output current across a head of the Subject.
access to said database. The method may comprise allowing              In some embodiments, the step of adjusting the output
the user to upload at least one of an intrinsic frequency within 55 current comprises setting the output current to a frequency
a specified EEG band, Q-factor of the intrinsic frequency, an that is lower than the intrinsic frequency of the subject.
EEG phase, and a coherence value of intrinsic frequencies.             In some embodiments, the step of adjusting the output
The data may include at least one of the EEG data, an intrinsic current comprises setting the output current to a frequency
frequency within a specified EEG band, Q-factor of the intrin that is higher than the intrinsic frequency of the Subject.
sic frequency, a coherence value of intrinsic frequencies, or 60 In some embodiments, the step of adjusting the output
any combination thereof.                                            current comprises setting the output current to the target
   In some embodiments of at least one aspect described frequency.
above, the device is any device described herein. In some              Provided herein is a method comprising determining the
embodiments of at least one aspect described above, the user intrinsic frequency of the EEG band of the subject; and com
account comprises                                                65 paring the intrinsic frequency to the target frequency of the
(a) user information;                                               EEG band, wherein the target frequency is an average intrin
(b) user access information; and                                    sic frequency of the EEG band of a healthy population of
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people, wherein if the intrinsic frequency is higher than the on the Subject in at least a portion of the ear canal of the
target frequency, the step of adjusting the output current com subject, and wherein the second electrode is located on the
prises setting the output current to a frequency that is lower Subject.
than the intrinsic frequency of the Subject, and if the intrinsic        In some embodiments of the methods described herein, the
frequency is lower than the target frequency, the step of 5 method or methods may comprise locating a first electrode
adjusting the output current comprises setting the output cur operable to detect electrical brain activity on the subject in at
rent to a frequency that is higher than the intrinsic frequency least one of an area of low electrical resistivity on a subject
of the subject.                                                       and an area with Substantially no electrical impulse interfer
   Provided herein is a method comprising adjusting an out 10 ence          on a subject. The method or methods may further com
put current of an electric alternating current source for influ prise       locating a second electrode operable to detect a refer
encing a Q-factor of an intrinsic frequency of an EEG band of furthersignal
                                                                      ence           on the Subject. The method or methods may
                                                                              comprise determining the intrinsic frequency from the
a subject toward a target Q-factor, and applying said output electrical          brain activity detected by the first electrode and the
current across a head of the Subject.                                 reference   signal detected by the second electrode. In some
   In some embodiments, the step of adjusting the output 15 embodiments,               determining the intrinsic frequency may com
current comprises varying a frequency of the output current. prise removing the reference signal detected by the second
   In some embodiments, the step of adjusting the output electrode from the electrical brainactivity detected by the first
current comprises setting the output current to a frequency electrode. The method or methods may further comprise
that is higher than the intrinsic frequency of the Subject.           determining the Q-factor of an intrinsic frequency of the
   In some embodiments, the step of adjusting the output specified EEG band from the electrical brain activity detected
current comprises setting the output current to a frequency by the first electrode and the reference signal detected by the
that is lower than the intrinsic frequency of the subject.            second electrode. In some embodiments, determining the
   In some embodiments, the step of adjusting the output Q-factor of an intrinsic frequency of the specified EEG band
current comprises setting the output current to the target comprises ascertaining the Q-factor from the electrical brain
frequency.                                                         25 activity detected by the first electrode and the reference signal
   In some embodiments, the method further comprises deter detected by the second electrode.
mining the Q-factor of the intrinsic frequency of the EEG                In some embodiments of the methods described herein, the
band of the Subject; and comparing the Q-factor to the target method or methods may comprise locating a first electrode
Q-factor, wherein the target Q-factor is an average Q-factor of operable to detect electrical brain activity on the subject in at
the intrinsic frequencies of the EEG band of a healthy popu 30 least a portion of the ear canal of the subject. The method or
lation of people, wherein if the Q-factor of the intrinsic fre methods may further comprise locating a second electrode
quency is higher than the target Q-factor, the step of adjusting operable to detect a reference signal on the subject. The
the output current comprises varying a frequency of the out method or methods may further comprise determining the
put current, and if the Q-factor of the intrinsic frequency is intrinsic frequency from the electrical brain activity detected
lower than the target Q-factor, the step of adjusting the output 35 by the first electrode and the reference signal detected by the
current comprises setting the output current to a frequency second electrode.
that is the intrinsic frequency of the Subject.                          In some embodiments, a device as described herein is
   In some embodiments, influencing an intrinsic frequency operable to influence an EEG phase between two sites in the
may include influencing harmonics of the pre-selected intrin brain of a subject of a specified EEG frequency. The device
sic frequency of the specified EEG band. In some embodi 40 may comprise a second permanent magnet, wherein the Sub
ments, the pre-selected intrinsic frequency is a harmonic of unit is coupled to the second magnet, and wherein the Subunit
the peak intrinsic frequency of a specified EEG band. In some enables movement of the second magnet at a frequency
embodiments, influencing the pre-selected intrinsic fre between about 0.5 Hz and about 100 Hz. The subunit may
quency includes applying harmonic frequencies of the pre enable movement of the second magnet at a frequency
selected intrinsic frequency. In some embodiments, the vary 45 between about 2 Hz, and about 20 Hz. The first permanent
ing frequencies comprise harmonic frequencies of a single magnet may have a first rotational orientation relative to a
frequency. The single frequency may comprise the pre-se treatment Surface of the device and the second permanent
lected intrinsic frequency.                                           magnet may have a second rotational orientation relative to
   In some embodiments, a device as described herein is               the treatment surface of the device. The device may be oper
operable to influence an intrinsic frequency of the brain of a 50 able to move the first permanent magnet at the same fre
subject within a specified EEG band. A device as described quency as the second permanent magnet. The first rotational
herein may be operable to influence a Q-factor of an intrinsic orientation relative to a first portion of a treatment surface of
frequency of the brain of a subject within a specified EEG the device may be between at least about 0 degrees and about
band. A device as described herein may be operable to influ 360 degrees different from the second rotational orientation
ence a coherence of intrinsic frequencies among multiple 55 relative to a second portion of the treatment surface of the
sites in the brain of a subject within a specified EEG band.          device. The first rotational orientation relative to a first por
   In some embodiments, a device as described hereinfurther           tion of a treatment surface of the device may be at least one of:
comprises a first electrode operable to detect electrical brain between at least about 0 degrees and about 180 degrees,
activity; and a second electrode operable to detect a reference between at least about 0 degrees and about 90 degrees,
signal, wherein the first electrode is located on the subject in 60 between at least about 0 degrees and about 45 degrees,
at least one of an area of low electrical resistivity on a subject, between at least about 0 degrees and about 30 degrees,
and an area with Substantially no electrical impulse interfer between at least about 0 degrees and about 15 degrees,
ence on a Subject, and wherein the second electrode is located between at least about 0 degrees and about 10 degrees, at least
on the Subject. In some embodiments, a device as described about 5 degrees, at least about 10 degrees, at least about 15
herein further comprises a first electrode operable to detect 65 degrees, at least about 30 degrees, at least about 45 degrees, at
electrical brain activity; and a second electrode operable to least about 60 degrees, at least about 90 degrees, at least about
detect a reference signal, wherein the first electrode is located     120 degrees, at least about 180 degrees, at least about 240
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degrees, and at least about 270 degrees different from the the subject within a specified EEG band; (b) a Q-factor of an
second rotational orientation relative to a second portion of intrinsic frequency of a brain of the subject within a specified
the treatment surface of the device. The specified EEG fre EEG band; (c) a coherence of intrinsic frequencies among
quency may be an intrinsic frequency as described herein. multiple sites in a brain of the subject within a specified EEG
The specified EEG frequency may be a pre-selected fre band; or (d) a combination thereof. Provided herein is a
quency as described herein. The pre-selected frequency may method of treating depression in a Subject, comprising:
be an average intrinsic frequency of a healthy population adjusting output of a magnetic field for influencing an intrin
database within a specified EEG band.                              sic frequency of a specified EEG band of the subject toward a
   In some embodiments, a magnetic field results from a first pre-selected intrinsic frequency of the specified EEG band;
magnetic source and a second magnetic source. In some 10 and applying said magnetic field close to a head of the Subject
embodiments, the first magnetic source and the second mag and thereby increasing blood flow in the cortex. In some
netic source are out of phase relative to each other. In some embodiments, the blood flow increase is in the frontal cortex.
embodiments, the amount that the first magnetic source and            Provided herein is a method of treating depression in a
the second magnetic source are out of phase relative to each Subject, comprising: adjusting output of a magnetic field for
other is called the magnetic phase.                             15 influencing a Q-factor of an intrinsic frequency within a
   In some embodiments, the first portion of the treatment specified EEG band of the subject toward a pre-selected
Surface is the portion of the treatment Surface approximately Q-factor, and applying said magnetic field close to a head of
closest to the first permanent magnet, and wherein the second the subject and thereby increasing blood flow in the cortex. In
portion of the treatment surface is the portion of the treatment some embodiments, the blood flow increase is in the frontal
Surface approximately closest to the second permanent mag COrteX.
net. In some embodiments, the first portion of the treatment          Provided herein is a method of treating depression in a
surface is the portion of the treatment surface closest to the Subject, comprising: (a)
first permanent magnet that is intended to be approximately           adjusting output of a magnetic field for influencing a coher
tangential to the head of the Subject nearest that treatment ence of intrinsic frequencies among multiple sites in a brain of
Surface, and wherein the second portion of the treatment 25 the subject within a specified EEG band toward a pre-selected
Surface is the portion of the treatment Surface approximately coherence value; and (b) applying said magnetic field close to
closest to the second permanent magnet that is intended to be ahead of the subject and thereby increasing blood flow in the
approximately tangential to the head of the Subject nearest cortex. In some embodiments, the blood flow increase is in
that treatment Surface.                                            the frontal cortex.
  In some embodiments of the devices disclosed herein, the 30         Provided herein is a method for treating depression in a
difference between the first rotational orientation and the        Subject, comprising: adjusting output of a magnetic field for
second rotational orientation results in a magnetic phase influencing an EEG phase between two sites in the brain of a
when the first permanent magnet is moved at the same fre subject of a specified EEG frequency toward a pre-selected
quency as the second permanent magnet. The magnetic phase EEG phase of the specified EEG frequency; and applying said
of the device may be operable to influence an EEG phase 35 magnetic field close to a head of the subject and thereby
between a first site and a second site in the brain of a subject increasing blood flow in the cortex. In some embodiments,
within a specified EEG band. The first site generally aligns the blood flow increase is in the frontal cortex.
with the first permanent magnet, and the second site generally        Provided herein is a method of treating depression in a
aligns with the second permanent magnet of the device.             Subject, comprising tuning down the Q-factor of an intrinsic
   Provided herein is a device comprising,                      40 frequency of the Subject by applying a magnetic field close to
   (a) a means for applying a first magnetic field to a head of a head of the subject thereby increasing blood flow in the
      a Subject; and                                               cortex, wherein the magnetic field comprises at least one of
   (b) a means for applying a second magnetic field to a head (a) a single pre-selected frequency; (b) a plurality of frequen
      of a subject;                                                cies within a specified EEG band; and (c) an intrinsic fre
   whereby the means for applying the first magnetic field and 45 quency of a brain of the subject within a specified EEG band.
the means for applying the second magnetic field are capable In some embodiments, the blood flow increase is in the frontal
of influencing an EEG phase between at least two sites in a COrteX.
brain of the subject of a specified EEG frequency.                    In some embodiments, the method further comprises the
   The magnetic fields (first magnetic field, and second mag step of measuring EEG data of the Subject after the applying
netic field) may be of the same frequency, but out of phase 50 step. In some embodiments, the method further comprises the
with each other. Additional magnetic fields may be provided steps of adjusting frequency of said magnetic field based on
by additional means for applying Such magnetic fields. These the EEG data of the Subject; and repeating the applying step
too may be out of phase with each other, or with any of the with an adjusted frequency.
magnetic fields. Nevertheless, the magnetic fields in some            In some embodiments, the applying of the magnetic field
embodiments may have the same frequencies. The devices 55 applies the magnetic field to a diffuse area in a brain of the
may be a Permanent Magneto-EEG Resonant Therapy Subject. In some embodiments, the magnetic field is gener
(pMERT) (i.e. a Neuro-EEG Synchronization Therapy NEST ated by movement of at least one permanent magnet.
device) as described herein. The specified EEG frequency              In some embodiments, the strength of the at least one
may be an intrinsic frequency as described herein. The speci permanent magnetic is from about 10 Gauss to about 4 Tesla.
fied EEG frequency may be a pre-selected frequency as 60 In some embodiments, the distance between the at least one
described herein. The pre-selected frequency may be an aver permanent magnet and the Subject is from about /32 in to
age intrinsic frequency of a healthy population database about 12 in.
within a specified EEG band.                                          In some embodiments, the step of applying the magnetic
   In some aspects, is a device for use in treating a Subject, field is for about 5 minutes to about two hours.
comprising: a Transcranial Magnetic Stimulation (TMS) 65 In some embodiments, the method further comprises
device; whereby the means for applying the magnetic field is repeating the applying step after an interval about 6 hours to
capable of influencing (a) an intrinsic frequency of a brain of about 14 days. In some embodiments, the method further
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comprises: (a) locating a first electrode operable to detect         intrinsic frequency of a specified EEG band of a subject
electrical brain activity on the Subject in at least one of an area  toward a pre-selected intrinsic frequency of the specified
of low electrical resistivity on a Subject, and an area with         EEG band; and applying said magnetic field close to a head of
Substantially no electrical impulse interference on a subject;       the Subject; wherein the pre-selected intrinsic frequency is a
(b) locating a second electrode operable to detect a reference       frequency that decreases blood flow in a lower region of the
signal on the Subject; and (c) determining the intrinsic fre         brain of the subject.
quency from the electrical brain activity detected by the first         The methods may further comprise taking EEG measure
electrode and the reference signal detected by the second            ments   of the subject before the adjusting step or after the
electrode.
                                                                     applying  step, or both before the adjusting step and after the
   In some embodiments, the method provides an improve 10 applying step. The methods may further comprise determin
ment as measured using a HAMD rating scale.
   Provided herein is a device for use in treating depression in ing at least one of the Subjects intrinsic frequency of the
a Subject, comprising: a means for applying a magnetic field specified EEG band and the subject's Q-factor of an intrinsic
to a head of a subject thereby increasing blood flow in the frequency within a specified EEG band.
cortex; whereby the means for applying the magnetic field is 15 In some methods, the applying of the magnetic field applies
capable of influencing at least one of: (a) an intrinsic fre the magnetic field to a diffuse area in a brain of the subject.
quency of a brain of the subject within a specified EEG band;           In some methods, the magnetic field is generated by move
(b) a Q-factor of an intrinsic frequency of a brain of the ment of at least one permanent magnet. In some methods, the
subject within a specified EEG band; (c) a coherence of strength of the at least one permanent magnetic is from about
intrinsic frequencies among multiple sites in a brain of the         10 Gauss to about 4 Tesla.
subject within a specified EEG band; and (d) a EEG phase                In some methods, the step of applying the magnetic field is
between two sites in the brain of a subject of a specified EEG for about 5 minutes to about two hours.
frequency. In some embodiments, the blood flow increase is              The methods may further comprise repeating the applying
in the frontal cortex.                                               step after an interval about 6 hours to about 14 days.
   In some embodiments, the device comprises at least one 25 The methods may further comprise: (a) locating a first
permanent magnet. In some embodiments, the magnetic field electrode operable to detect electrical brain activity on the
is generated by movement of at least one permanent magnet.           subject in at least one of an area of low electrical resistivity on
In some embodiments, the movement of the at least one said           a Subject, and an area with Substantially no electrical impulse
magnet is at a frequency between about 0.5 Hz and about 100 interference on a subject; (b) locating a second electrode
HZ. In some embodiments, said movement comprises at least 30 operable to detect a reference signal on the Subject; and (c)
one of rotational motion, linear motion, and Swing motion. In determining the intrinsic frequency or the Q-factor or both
some embodiments, the movement generates an alternating from the electrical brainactivity detected by the first electrode
magnetic field.                                                      and the reference signal detected by the second electrode.
   In some embodiments, the device comprises logic that                 The methods may provide an improvement as measured
controls the frequency to be any frequency between about 0.5 35 using a HAMD rating scale.
HZ and about 100 Hz in increments of about 0.1 Hz. In some              Provided herein is a system for treating depression com
embodiments, the device comprises logic that automatically prising: a means for applying a magnetic field to a head of a
changes the frequency in response to EEG readings of a Subject; whereby the means for applying the magnetic field is
Subject during treatment.                                            capable of influencing at least one of: (a) an intrinsic fre
   In some embodiments, the device comprises logic that 40 quency of a brain of the subject within a specified EEG band;
calculates information from EEG data collected from the              (b) a Q-factor of an intrinsic frequency of the brain of the
subject within a specified EEG band, wherein said informa subject within a specified EEG band; (c) a coherence of
tion comprises at least one of items listed below: (a) at least intrinsic frequencies among multiple sites in the brain of the
one intrinsic frequency; (b) Q-factor of the at least one intrin subject within a specified EEG band; and (d) a EEG phase
sic frequency; (c) a coherence value of intrinsic frequencies; 45 between two sites in the brain of the subject of a specified
(d) an EEG phase; and (e) any combination thereof.                   EEG frequency, and a device capable of determining the
   In some embodiments, the device comprises: (a) a first blood flow of at least one of the cortex and a lower region of
electrode operable to detect electrical brain activity; and (b) a the brain.
second electrode operable to detect a reference signal;                 The system may comprise at least one permanent magnet.
wherein the first electrode is located on the subject in at least 50 The magnetic field is generated by movement of at least one
one of an area of low electrical resistivity on a subject, and an permanent magnet. In some embodiments, the movement of
area with Substantially no electrical impulse interference on a the at least one said magnet is at a frequency between about
subject, and wherein the second electrode is located on the 0.5 Hz and about 100 Hz. In some embodiments, said move
Subject.                                                             ment comprises at least one of rotational motion, linear
   Provided herein is a method to treat depression compris 55 motion, and Swing motion. In some embodiments, said move
ing: adjusting output of a magnetic field for influencing at ment generates an alternating magnetic field.
least one of an intrinsic frequency of a specified EEG band of          In some embodiments, the system comprises logic that
a Subject toward a pre-selected intrinsic frequency of the controls the frequency to be any frequency between about 0.5
specified EEG band and a Q-factor of an intrinsic frequency HZ and about 100 Hz in increments of about 0.1 Hz.
within a specified EEG band of a subject toward a pre-se 60 In some embodiments, the system comprises logic that
lected Q-factor and applying said magnetic field close to a automatically changes the frequency in response to EEG
head of the subject; wherein the pre-selected intrinsic fre readings of a Subject during treatment.
quency is a frequency that increases blood flow in the cortex           In some embodiments, the system comprises logic that
of the subject, and wherein the pre-selected Q-factor is a calculates information from EEG data collected from the
Q-factor that increases blood flow in the cortex of the subject. 65 subject within a specified EEG band, wherein said informa
   Provided herein is a method for treating depression com tion comprises at least one of items listed below: (a) at least
prising: adjusting output of a magnetic field for influencing an one intrinsic frequency; (b) Q-factor of the at least one intrin
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sic frequency; (c) a coherence value of intrinsic frequencies; top rear of the device, to allow it to be connected via a USB
(d) an EEG phase; and (e) any combination thereof.                cable to a PC, allowing uploading of data and downloading of
   In some embodiments, the system comprises: (a) a first a dosage quota.
electrode operable to detect electrical brain activity; and (b) a    FIG. 8 shows the pMERT or NEST device from FIG. 7 in
second electrode operable to detect a reference signal; which a subject is lying with the head against the concave
wherein the first electrode is located on the subject in at least Surface. At least one moving magnet is unseen inside the
one of an area of low electrical resistivity on a subject, and an pMERT or NEST device in order to deliver therapy to the
area with Substantially no electrical impulse interference on a subject. The subjects head is pressed against the button EEG
subject, and wherein the second electrode is located on the 10 electrode,
                                                                  right ear.
                                                                              with the second electrode attached to the subjects
Subject.
                                                                     FIG. 9 shows an alternate angle of the subject receiving
           INCORPORATION BY REFERENCE                             therapy   from the pMERT or NEST device as described in
                                                                    FIG 8.
                                                                       FIG. 10 shows some exemplary embodiments for various
   All publications and patent applications mentioned in this 15 movements
specification are herein incorporated by reference to the same                   of at least one permanent magnet.
extent as if each individual publication or patent application embodiments forthrough
                                                                       FIGS.   11A
                                                                                        various
                                                                                                11K show additional exemplary
                                                                                                movements of at least one perma
was specifically and individually indicated to be incorporated nent magnet.
by reference.                                                          FIG. 12 shows an example of the Q-factor as used in this
       BRIEF DESCRIPTION OF THE DRAWINGS
                                                                    invention. The figure shows a sample graph of the frequency
                                                                    distribution of the energy of an EEG signal. It can be seen that
                                                                    a frequency range. Afcan be defined as the frequency band
   A better understanding of the features and advantages of width for which the energy is above one-half the peak energy.
the systems and methods provided will be obtained by refer The frequency f is defined as the intrinsic frequency in the
ence to the following detailed description that sets forth illus 25 specified band. The Q-factor is defined as the ratio offAf. As
trative embodiments and the accompanying drawings of can be seen, when AF decreases for a given fo, the Q-factor
which:                                                              will increase. This can occur when the peakenergy E of the
   FIG. 1 shows an exemplary device in which the magnet signal increases or when the bandwidth of the EEG signal
rotates so that the plane of rotation is perpendicular to the decreases.
Surface of the Scalp.                                            30    FIG. 13 shows an example embodiment of a diametrically
   FIG. 2 shows an exemplary device in which a horseshoe magnetized cylindrical magnet for use in a NEST device.
magnetis positioned such that the plane of rotation is parallel        FIG. 14 shows an example embodiment of a NEST device
to the surface of the scalp.                                        having a diametrically magnetized cylindrical magnet rotat
   FIG.3 shows an exemplary device which two bar magnets ing about its cylinder axis and applied to a Subject.
are rotated synchronously to provide a more uniform phase 35 having    FIG. 15 shows an example embodiment of a NEST device
for the magnetic field in the brain.                                         two diametrically magnetized cylindrical magnets
   FIG. 4 shows an exemplary device in which the magnet             rotating about their cylinder axes and applied to a subject.
                                                                       FIG.16
rotates so that the plane of rotation is perpendicular to the having three      shows an example embodiment of a NEST device
                                                                                   diametrically magnetized cylindrical magnets
Surface of the scalp and a pair of electrodes is used to record 40 rotating about their cylinder axes and applied to a subject.
the EEG of the patient.                                                FIG. 17 shows an example embodiment of a NEST device
   FIG. 5 shows a sample EEG segment for a subject before having            three diametrically magnetized cylindrical magnets
therapy is delivered. The block on the left shows a time series configured to rotate about their cylinder axes.
EEG while the subject is sitting at rest with eyes closed. The         FIG. 18 shows an exploded view of the example embodi
block in the center shows the energy across the frequency 45 ment of the NEST device of FIG. 17 having three diametri
spectrum for the sampled EEG. The vertical line drawn cally magnetized cylindrical magnets configured to rotate
through the peaks is at 9.1 Hz, the subjects intrinsic alpha about their cylinder axes.
frequency. The circle at the right shows the distribution of           FIG. 19 shows the example NEST device embodiment of
EEG energy at the intrinsic alpha frequency throughout the FIG. 17 having three diametrically magnetized cylindrical
Scalp, looking down on the top of the Subjects head. In the 50 magnets configured to rotate about their cylinder axes and
circle representation, the majority of the EEG energy at the including a frame and base for mounting the NEST device.
alpha frequency is concentrated at the back of the brain.              FIG. 20 shows an example embodiment of a NEST device
   FIG. 6 is similar to FIG. 5, except the EEG was sampled having eight diametrically magnetized cylindrical magnets
immediately following therapy. In this, it can be seen that the configured to rotate about their cylinder axes.
energy associated with the intrinsic alpha frequency has 55 FIG. 21 shows the magnet rotation of the example NEST
increased significantly. From the circle representation on the device embodiment of FIG. 20 having eight diametrically
right, it can be seen that the distribution of energy at the magnetized cylindrical magnets configured to rotate about
intrinsic alpha frequency throughout the head is more uni their cylinder axes.
form, though the majority of energy is still concentrated at the       FIG.22 shows an example embodiment of a NEST device
back of the brain.                                               60 having two axially polarized half-disc magnets that rotate
   FIG. 7 shows an exemplary embodiment of the pMERT or about a common rotation axis.
NEST device. In this embodiment, abutton EEG electrode is              FIG. 23 shows an exploded view of an alternate embodi
located on the concave Surface of the device and a second           ment of an example NEST device embodiment similar to that
reference electrode extends via a wire from the side of the         of FIG. 22 having two rectangular magnets that rotate about a
device. The display and control buttons are located on top of 65 common rotation axis.
the device to provide information and allow the user to adjust         FIG. 24 shows an example embodiment of a NEST device
parameters and enter patient data. A USB port is located at the similar to the embodiments depicted in FIGS. 22 and/or 23
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having two magnets rotating about a common rotation axis             FIG. 35d, and shows the fitted Gaussian curve of the Fast
applied to a subject and showing the controller Subunit.              Fourier Transformation curve having an intrinsic frequency
   FIG. 25 shows block diagram of an example embodiment               of 9.27 Hz, and having a deltaf (Af) of 1.06 Hz.
of a NEST showing the elements of the NEST device and its                FIG.37 shows a general relationship between the measures
controller subunit.                                                   of neural activity in the cortex and a possible indication for
    FIG. 26 shows an example embodiment of a NEST device major Depressive Disorder (MDD).
having a single bar magnet that moves linearly along its                 FIG.38 is a comparison of change in the HAMD score of
north-South axis once each time the Supporting ring is rotated,       Responders versus Non-Responders; a graph of baseline and
providing a pulse-type alternating magnetic field at the fre weekly change in HAMD-17 scores for the NEST device
quency of rotation.                                                10 fixed frequency test group, the NEST device random (hop
    FIG. 27 shows an example embodiment of a NEST device ping) frequency test group, and the SHAM group.
having an EEG electrode located in the subject’s ear canal,              FIG. 39 is a comparison of the change in HAMD scores
and a reference EEG electrode located on an earlobe of the            Subjects receiving NEST therapy versus Subjects receiving
Subject.                                                              SHAM (i.e. control) therapy showing the average drop in
    FIG. 28 shows an example embodiment of a NEST device 15 HAMD-17 score for the active NEST group compared to
applied to a subject, wherein the NEST device has three SHAM.
diametrically magnetized cylindrical magnets rotating about              FIG. 40 depicts the percent improvement in HAMD score
their cylinder axes having a magnetic phase between at least compared to the percent change in Q-factor for Subjects given
two of the magnets that is not Zero.                                  the NEST device treatment.
    FIG. 29 shows the magnetic field strengths of two magnets            FIG. 41 shows the change in HAMA score of two patients
moving at the same frequency at the same time, but having a over a period of three weeks.
magnetic phase relative to one another (out of phase relative            FIG. 42 shows how the increase in rCBF in orbital frontal
to each other).                                                       cortex predicts clinical improvement in depression (r=-0.67.
    FIG. 30 shows a theoretical EEG electrode readings mea P=0.04).
sured at two locations on a subject’s head within a single EEG 25
band when the two locations are exhibiting similar (or the                DETAILED DESCRIPTION OF THE INVENTION
same) frequency, but are out of phase relative to each other,
i.e. displaying an EEG phase.                                            While certain embodiments have been provided and
    FIG. 31 shows an equation that may be used to determine described herein, it will be readily apparent to those skilled in
the fitted Gaussian curve A(f) of EEG data from a subject. 30 the art that such embodiments are provided by way of
    FIG. 32 shows an equation for the goodness of fit of the example only. It should be understood that various alterna
FFT (Fast Fourier Transformation) X(f) and the fitted Gaus tives to the embodiments described herein may be employed,
sian curve A(f) of the EEG data from a subject.                       and are part of the invention described herein.
   FIG. 33 shows the Fast Fourier Transformation of EEG                  Since brain activity is a distributed phenomenon, conven
data of a subject in the alphaband, and shows one, two, nine 35 tional high-energy pulses used by rTMS that focus on a spe
and fifteen optimization iteration(s) of the fitted Gaussian cific area of the brain may not be optimal for influencing the
curve A(f) where the gain G is chosen as a low value (one overall frequency of the brain. Instead of using short high
fourth of the peak value of the FFT curve in the alpha band) energy pulses at the desired frequency, it is possible instead
Such that with Subsequent iterations, the fitted curve rises up use a sinusoidal or near-sinusoidal magnetic field (likely with
from the x-axis to determine the optimal fit of A(f).              40 lower energy) to generate a similar effect. To affect the brain
   FIG. 34 shows the Fast Fourier Transformation of EEG               with a lower energy magnetic field, the stimulation may need
data of a Subject in the alpha band, and shows one, three, to be applied for a longer period.
eight, eleven, and fifteen optimization iteration(s) of the fitted       In some embodiments, described are methods and devices
Gaussian curve A(f) where the gain G is chosen as a high that provide low frequency sinusoidal or near-sinusoidal tran
value (1.5 times the peak value of the FFT curve in the alpha 45 Scranial magnetic stimulation therapy by rotating one or more
band) such that with subsequent iterations, the fitted curve permanent magnets in close proximity to the Subjects head.
moved down toward the x-axis to determine the optimal fit of             Described are methods and systems for novel, inexpensive,
A(f).                                                                 easy to use therapy for a number of mental disorders.
    FIG.35a shows an example EEG waveform for a subject Described are methods and devices to treat mental disorders
having Major Depressive Disorder.                                  50 that involve no medication. Methods and devices described
   FIG. 35b shows the Fast Fourier Transformation of EEG              herein gently “tune' the brain and affect mood, focus, and
data of FIG. 35a which is an example EEG waveform for a cognition of Subjects.
subject having Major Depressive Disorder.                                In one aspectare methods of treating a subject, comprising:
    FIG. 35c shows an example EEG waveform for a subject (a) adjusting output of a magnetic field for influencing an
who does not have Major Depressive Disorder.                       55 intrinsic frequency of a specified EEG band of the subject
   FIG. 35d shows the Fast Fourier Transformation of EEG              toward a pre-selected or target intrinsic frequency of the
data of FIG. 35c which is an example EEG waveform for a specified EEG band; and (b) applying said magnetic field
subject who does not have Major Depressive Disorder.                  close to a head of the subject.
    FIG. 36 a shows the Fast Fourier Transformation curve of             Provided herein are methods of treating a Subject, compris
EEG data of an example EEG waveform for a subject having 60 ing determining the intrinsic frequency (f) of the Subject
Major Depressive Disorder, also depicted in FIG. 35b, and within the specified EEG band by: obtaining EEG data of the
shows the fitted Gaussian curve of the Fast Fourier Transfor          Subject's brain; removing any DC component in the signal;
mation curve having an intrinsic frequency of 8.56 Hz, and performing a Fast Fourier Transformation the EEG data to
having a delta f (Af) of 0.51 Hz.                                     determine a FFT curve X(f); and achieving a fitted Gaussian
  FIG. 36b shows the Fast Fourier Transformation curve of 65 curve, A(f), of a local maximum of the FFT curve X(f) by:
EEG data of an example EEG waveform for a subject who               using the equation A(f)=Ge''' (also depicted in FIG.
does not have Major Depressive Disorder, also depicted in            31), wherein G is gain, d is standard deviation, and S is the
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mean frequency based on the specified EEG band, and deter               a Gaussian function, and a Lorentzian curve function. In some
mining a goodness of fit measure by optimizing using the                embodiments, the fitted curve is determined by polynomial
following equation                                                      interpolation.
                                                                            In some embodiments, the method comprises comparing
                                                                        the intrinsic frequency to an average intrinsic frequency of a
                                                                        healthy population database; if the intrinsic frequency is
                                                                        higher than the average intrinsic frequency of the healthy
                                                                        population database, shifting down the intrinsic frequency of
                                                                        the  Subject by applying a magnetic field close to a head of the
(also depicted in FIG. 32), by: estimating a first mean fre 10 Subject, wherein said magnetic field has a frequency lower
quency, a first standard of deviation, and first gain for the first than the intrinsic frequency of the subject; and if the intrinsic
optimizing loop, shifting the gain, G, up or down slightly frequency is lower than the average intrinsic frequency of the
from the first gain, determining a new gain resulting in a better healthy population database, shifting up the intrinsic fre
fit than that of the first gain, shifting the standard of deviation, 15 quency of the Subject by applying a magnetic field close to a
d, up or down slightly from the first standard of deviation, head of the subject, wherein said magnetic field has a fre
determining a new standard of deviation resulting in a better quency higher than the intrinsic frequency of the Subject.
fit than that of the first standard of deviation, shifting the mean         Provided herein is a method of using a Transcranial Mag
frequency, S, up or down slightly from the first mean fre netic Stimulation (TMS) device for influencing an intrinsic
quency, determining a new mean frequency resulting in a frequency of a subject within a specified EEG band, compris
better fit than that of the first mean frequency, and repeating ing: adjusting output of said TMS device; changing EEG
steps 2), 3), and 4), in which the first gain, the first standard of frequency, Q-factor, or coherence by repetitive firing of a
deviation, and the first mean frequency are replaced with a magnetic field using said TMS device; and applying said
second gain, a second standard of deviation, and a second magnetic field close to a head of the subject, wherein the
mean frequency, respectively, until the three parameters are 25 intrinsic frequency of the subject within the specified EEG
optimized, comparing the intrinsic frequency from step (a) to band is determined by: obtaining EEG data of the subjects
an average intrinsic frequency of a healthy population data brain; removing any DC component in the signal; performing
base; if the intrinsic frequency from step (a) is higher than the a Fast Fourier Transformation the EEG data to determine a
average intrinsic frequency of the healthy population data FFT curve X(f); and achieving a fitted Gaussian curve, A(f),
base, shifting down the intrinsic frequency of the Subject by 30 of         a local maximum of the FFT curve X(f) by: using the
applying a magnetic field close to a head of the Subject, wherein GA(f)=Ge-O-2d)
                                                                        equation                            (also depicted in FIG. 31),
wherein said magnetic field has a frequency lower than the frequency based on the specified deviation,
                                                                                       is gain, d is standard             and s is the mean
                                                                                                               EEG band, and determining
intrinsic frequency of the subject; and if the intrinsic fre a goodness of fit measure by optimizing using the following
quency from step (a) is lower than the average intrinsic fre 35 equation
quency of the healthy population database, shifting up the
intrinsic frequency of the Subject by applying a magnetic field
close to a head of the Subject, wherein said magnetic field has
a frequency higher than the intrinsic frequency of the Subject.
    Provided herein are methods of treating a Subject, compris 40
ing determining the intrinsic frequency (f) of the Subject
within the specified EEG band by: obtaining EEG data of the (also depicted in FIG. 32), by: estimating a first mean fre
subjects brain; performing a Fourier Transformation (which quency, a first standard of deviation, and first gain for the first
may or may not be a fast fourier transformation) of the EEG optimizing loop, shifting the gain, G, up or down slightly
data to determine a curve X(f); and achieving a fitted curve 45 from the first gain, determining a new gain resulting in a better
around a local maximum of the curve X(f).                               fit than that of the first gain, shifting the standard of deviation,
    In Some embodiments, the fitted curve is a Gaussian curve.          d, up or down slightly from the first standard of deviation,
In some embodiments, the fitted curve is a second degree determining a new standard of deviation resulting in a better
polynomial curve. In some embodiments, the fitted curve is a fit than that of the first standard of deviation, shifting the mean
third degree polynomial curve. In some embodiments, the 50 frequency, S, up or down slightly from the first mean fre
fitted curve is a complex curve. In some embodiments, the quency, determining a new mean frequency resulting in a
fitted curve is used to determine the Q-factor. In some better                   fit than that of the first mean frequency, and repeating
                                                                        steps 2), 3), and 4), in which the first gain, the first standard of
embodiments, the fitted curve is used in determining a coher deviation,               and the first mean frequency are replaced with a
ence value. In some embodiments the goodness of fit is deter 55 second gain,              a second standard of deviation, and a second
mined by a least squares method. In some embodiments the mean frequency,                      respectively, until the three parameters are
goodness of fit is determined by a ordinary least squares optimized.
method. In some embodiments the goodness of fit is deter                    In some embodiments, the local maximum of the FFT X(f)
mined by a total least squares method. In some embodiments curve                is based on the EEG band of interest (the specified EEG
the goodness of fit is determined by a nonlinear least squares 60 band). In some embodiments, the local maximum is between
method. In some embodiments the goodness of fit is deter 8 Hz and 13 Hz within the alpha band.
mined by a weighted least squares method. In some embodi                    As used herein the terms “FFT', “Fast Fourier Transform',
ments the fitted curve is determined by nonlinear regression. and “Fast Fourier Transformation' may be used interchange
In some embodiments the fitted curve is determined by ably.
regression analysis. In some embodiments the fitted curve is 65 In some embodiments, the intrinsic frequency of a brain of
determined by at least one of an exponential function, a loga a Subject, for example, in the alpha band, may be determined
rithmic function, a trigonometric function, a power function, as follows: Capture 30 sec worth of EEG data at 256 samples/
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sec. Filter the data twice with a 10th order 3 Hz high-pass IIR     adjusted  frequency.    In some   embodiments, applying of the
filter. Note that this removes any DC component in the signal. magnetic field applies the magnetic field to a diffuse area in a
Perform a Fast Fourier Transform (FFT) on the EEG data to brain of the Subject. In some embodiments, the magnetic field
determine X(f). The size of the FFT is twice the number of is generated by movement of at least one permanent magnet.
EEG samples. Achieve the best fit of a Gaussian curve to the 5 In some embodiments, said movement comprises at least one
FFT in the band from 8 Hz-13 Hz over the following param of rotational motion, linear motion, and Swing motion. In
eters (depicted in FIG.31 and below), where mean frequency Some embodiments, a frequency of the magnetic field with
is “s’, gain is “G” and standard deviation is “d.                   the specified EEG band is from about 0.5Hz to about 100 Hz.
        A(f)=Ge(-(fs 2d)                                            In some embodiments, the strength of the at least one perma
                                                                 10 nent magnet is from about 10 Gauss to about 4 Tesla. In some
   To determine a goodness of fit measure, Subtract one wave embodiments, the distance between the at least one perma
form from the other, take the absolute value, and sum. Use a        nent magnet and the Subject is from about/32 into about 12 in.
window around the Gaussian curve that goes +/-1 Hz on In Some embodiments, the step of applying the magnetic field
either side of the Gaussian peak. Although the Mean fre is for about 5 minutes to about two hours. In some embodi
quency is limited to a value between 8 Hz and 13 Hz, the 15 ments, the method comprises repeating the applying step after
window is allowed to go outside this region if necessary. The an interval about 6 hours to about 14 days.
formula for goodness of fit of the FFT of the EEG data X(f)            In some embodiments, the method comprises: (a) locating
and the fitted Gaussian curve A(f) is given below (and a first electrode operable to detect electrical brain activity on
depicted in FIG. 32).                                               the subject in at least one of an area of low electrical resistivity
                                                                    on a Subject, and an area with Substantially no electrical
                                                                    impulse interference on a Subject; (b) locating a second elec
                                                                    trode operable to detect a reference signal on the Subject; and
                                                                    (c) determining the intrinsic frequency from the electrical
                                                                    brain activity detected by the first electrode and the reference
                                                                 25 signal detected by the second electrode.
    Before the optimization loop, choose estimates for S, d, and       In some embodiments, the method improves an indication
G. For each cycle of the loop, perform the following:               selected from the group consisting of replacement for medi
1. Shift the gain up or down slightly:                              tation, quick nap, stress release, attention span, comprehen
   a. Calculate the fit for the current G.                          Sion, memory, lowered blood pressure, increased libido,
   b. Calculate the fit for G+0.01                               30 sports performance, academic performance, increased blood
  c. Calculate the fit for G-0.01                                     flow, lowered blood flow, increased metabolism, lowered
  d. Set the new G to the value that has the best fit.               metabolism, and any combination thereof.
2. Shift the standard deviation up or down slightly:                    In some embodiments, the method improves a disorder
    a. Calculate the fit for the current d.                          selected from the group consisting of depression, bipolar,
    b. Calculate the fit for d+0.001                              35 anxiety, obsessive-compulsive, seizure, Parkinson's disease,
    c. Calculate the fit for d-0.001                                 ADHD, autism, substance abuse, head injury, Alzheimer's
    d. Set the new d to the value that has the best fit.             disease, eating disorder, sleep disorder, tinnitus, fibromyal
3. Shift the mean frequency up or down slightly:                     gia, and any combination thereof.
    a. Calculate the fit for the currents.                              In some embodiments, the method improves a character
    b. Calculate the fit for s+1 FFT sample                       40 istic selected from the group consisting of peripheral visual
    c. Calculate the fit for S-1 FFT sample                          response, attention span, immediate reaction time (IRT),
    d. Set the new s to the value that has the best fit for which    movement time (MT), simple perceptual reaction time (SPR),
the new s is in the range from 8 Hz to 13 Hz.                        conflict perceptual reaction time (CPR), and any combination
    The loop continues until all three parameters are optimized thereof.
and none of them changes. The optimization method goes 45 In some embodiments, the magnetic field results from a
through two complete optimizations in order to avoid local first magnetic source and a second magnetic source. In some
optima. It first picks a starting point that with a very low value embodiments, the first magnetic source and the second mag
for G (4 the peak value of the FFT in the alpha band) so that netic source are out of phase relative to each other.
the fitted curve will rise up from the bottom to determine the          In some embodiments, the EEG band is the alphaband, and
optimal fit (as depicted in FIG. 33). Then the algorithm goes 50 the mean frequency ranges from about 8 Hz to about 13 Hz.
through a second optimization with a high G (1.5x the peak              In some embodiments, removing the DC component of the
value of the FFT in the alphaband) that will result in an initial signal comprises filtering the EEG data with a 10th order 3 Hz
curve that is guaranteed to be above the FFT and move down high-pass IIR filter. In some embodiments, removing the DC
to determine the optimal fit (as depicted in FIG.34). The value component of the signal comprises filtering the EEG data
for the alpha frequency is the mean frequency s for the curve 55 twice with a 10th order 3 Hz high-pass IIR filter.
that results in the best match. FIGS. 36 and 37 show sample             In some embodiments, the EEG data comprises about 30
fitted curves to the Fourier transform of the EEG data. FIG.33       seconds worth of EEG data at about 256 samples per second.
shows the curve as iterations progress moving up from a low             In Some embodiments, the first gain is about one fourth ("/4)
G. FIG. 34 shows the same optimization moving down from of the peak value of a peak value of the Fast Fourier Trans
an initial high G. In this example, both methods converge to 60 formation of the EEG data.
the same fitted curve. However, one method may give a better            In some embodiments, a second optimization is performed
fit if the Fourier transform contains spurious peaks or is noisy. having a first gain of at least about 1.5 times the peak value of
In some embodiments, the method comprises the step of the Fast Fourier Transformation of the EEG data.
measuring EEG data of the Subject after the applying step.              In some embodiments, at least one of the intrinsic fre
    In some embodiments, the method comprises the steps of 65 quency and the fitted Gaussian curve is used to determine a
adjusting frequency of said magnetic field based on the EEG Q-factor of the intrinsic frequency within the specified EEG
data of the Subject; and repeating the applying step with an band of the subject.
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   In some embodiments, at least one of the intrinsic fre          frequency, S, up or down slightly from the first mean fre
quency and the fitted Gaussian curve is used to determine a quency, determining a new mean frequency resulting in a
coherence value of intrinsic frequencies among multiple sites better fit than that of the first mean frequency, and repeating
in the brain of a subject within a specified EEG band.             steps 2), 3), and 4), in which the first gain, the first standard of
   In some embodiments, at least one of the intrinsic fre          deviation, and the first mean frequency are replaced with a
quency and the fitted Gaussian curve is used to determine an second gain, a second standard of deviation, and a second
EEG phase between two sites in the brain of a subject of a mean           frequency, respectively, until the three parameters are
                                                                   optimized,
specified EEG frequency.
   In some embodiments, shifting the standard of deviation of Ininfluencesome embodiments, the device is operable to at least one
                                                                                  the intrinsic frequency of the brain of a subject
comprises a shift from the first standard deviation of at least 10 within  the  specified  EEG band; influence a Q-factor of the
one of about 0.005, about 0.01, about 0.02, about 0.05, about      intrinsic frequency; influence a coherence of intrinsic fre
0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,       quencies among multiple sites in the brain of a subject within
about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,  a specified EEG band; and influence an EEG phase between
about 1.75, about 2 and about 2.5. As used herein, the term 15 two sites in the brain of a subject of a specified EEG fre
“about when used in reference to standard deviation can                quency.
mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,                    In some embodiments, a magnetic field is generated by
1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,            movement of at least the permanent magnet. In some embodi
and/or 25% to 50%.                                                ments, said movement comprises at least one of rotational
   In some embodiments, shifting the gain comprises a shift motion, linear motion, and Swing motion.
from the first gain of at least one of about 0.005, about 0.01,      In some embodiments, the device comprises logic that
about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about    controls the frequency in increments of about 0.1 Hz.
0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,         In some embodiments, the device improves an indication
about 1.1, about 1.2, about 1.5, about 1.75, about 2 and about    selected from the group consisting of replacement for medi
2.5. As used herein, the term “about when used in reference 25 tation, quick nap, stress release, attention span, comprehen
to gain can mean variations of 1%, 10%. 20%, 25%, 50%,            Sion, memory, lowered blood pressure, increased libido,
1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%,                 sports performance, academic performance, increased blood
10% to 25%, and/or 25% to 50%.                                    flow, lowered blood flow, increased metabolism, lowered
   In some embodiments, shifting the mean frequency com metabolism, and any combination thereof.
prises a shift from the first mean frequency of at least one of 30 In some embodiments, the device improves a disorder
about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,       selected from the group consisting of depression, bipolar,
about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about     anxiety, obsessive-compulsive, seizure, Parkinson's disease,
0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about ADHD, autism, substance abuse, head injury, Alzheimer's
1.75, about 2 and about 2.5. As used herein, the term “about      disease, eating disorder, sleep disorder, tinnitus, fibromyal
when used in reference to mean frequency can mean varia 35 gia, and any combination thereof.
tions of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%, 5% to                In Some embodiments, the device improves a characteristic
10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or 25% to            selected from the group consisting of peripheral visual
50%.                                                              response, attention span, immediate reaction time (IRT),
   Provided herein is a device comprising: at least one per movement time (MT), simple perceptual reaction time (SPR),
manent magnet, a subunit coupled to the magnet, wherein the 40 conflict perceptual reaction time (CPR), and any combination
Subunit enables movement of said at least one permanent thereof.
magnet at a frequency between about 0.5 Hz and about 100             In some embodiments, shifting the standard of deviation
HZ, and logic that is operable to determine an intrinsic fre comprises a shift from the first standard deviation of at least
quency (f) of a brain of a subject within a specified EEG band one of about 0.005, about 0.01, about 0.02, about 0.05, about
by: obtaining EEG data of the subject’s brain; removing any 45 0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,
DC component in the signal; performing a Fast Fourier Trans about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,
formation the EEG data to determine a FFT curve X(f); and about 1.75, about 2 and about 2.5. As used herein, the term
achieving a fitted Gaussian curve, A(f), of a local maximum “about when used in reference to standard deviation can
of the FFT curve X(f) by: using the equation A(f)= mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,
Ge-(f-s)/2d) (also depicted in FIG.31), wherein G is gain, dis 50 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,
standard deviation, and S is the mean frequency based on the and/or 25% to 50%.
specified EEG band, and determining a goodness of fit mea            In some embodiments, shifting the gain comprises a shift
Sure by optimizing using the following equation                   from the first gain of at least one of about 0.005, about 0.01,
                                                                       about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about
                                                                  55   0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,
                                                                       about 1.1, about 1.2, about 1.5, about 1.75, about 2 and about
                                                                       2.5. As used herein, the term “about when used in reference
                                                                       to gain can mean variations of 1%, 10%. 20%, 25%, 50%,
                                                                       1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%,
(also depicted in FIG. 32), by: estimating a first mean fre 60 10% to 25%, and/or 25% to 50%.
quency, a first standard of deviation, and first gain for the first    In some embodiments, shifting the mean frequency com
optimizing loop, shifting the gain, G, up or down slightly prises a shift from the first mean frequency of at least one of
from the first gain, determining a new gain resulting in a better about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,
fit than that of the first gain, shifting the standard of deviation, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about
d, up or down slightly from the first standard of deviation, 65 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
determining a new standard of deviation resulting in a better 1.75, about 2 and about 2.5. As used herein, the term “about
fit than that of the first standard of deviation, shifting the mean when used in reference to mean frequency can mean varia
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tions of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%, 5% to                 In another aspectare methods of using a Transcranial Mag
10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or 25% to             netic Stimulation (TMS) device for influencing an intrinsic
50%.                                                               frequency of a subject within a specified EEG band, compris
   In another aspect are methods of altering an intrinsic fre ing: (a) adjusting output of said TMS device; (b) changing
quency of a brain of a subject within a specified EEG band,        EEG frequency, Q-factor, or coherence by repetitive firing of
comprising: (a) determining the intrinsic frequency of the a magnetic field using said TMS device; and (c) applying said
subject within the specified EEG band; (b) comparing the magnetic field close to a head of the Subject;
intrinsic frequency from step (a) to an average intrinsic fre prising:In another aspect are methods for treating a Subject, com
quency of a healthy population database; (c) if the intrinsic 10            (a) adjusting output of a magnetic field for influenc
                                                                   ing an
frequency from step (a) is higher than the average intrinsic of a specifiedEEG   phase between two sites in the brain of a subject
frequency of the healthy population database, shifting down phase of the specified  EEG frequency toward a pre-selected EEG
the intrinsic frequency of the Subject by applying a specific magnetic field close toEEG        frequency; and (b) applying said
                                                                                            a head of the Subject.
magnetic field close to a head of the Subject, wherein said           In another aspect are methods of treating anxiety in a
specific magnetic field has a frequency lower than the intrin 15 Subject, comprising tuning up the Q-factor of an intrinsic
sic frequency of the Subject; and (d) if the intrinsic frequency frequency of the Subject by applying a magnetic field close to
from step (a) is lower than the average intrinsic frequency of ahead of the Subject, wherein the magnetic field comprises at
the healthy population database, shifting up the intrinsic fre least one of (a) a single pre-selected frequency; (b) a plurality
quency of the Subject by applying a specific magnetic field offrequencies within a specified EEG band; and (c) an intrin
close to a head of the Subject, wherein said specific magnetic sic frequency of a brain of the subject within a specified EEG
field has a frequency higher than the intrinsic frequency of the band. In some embodiments, any of the devices described
Subject.                                                           herein may be used to treat anxiety.
   In another aspect are methods of treating a subject, com           Increased neuronal activity in a region of the brain is asso
prising: (a) adjusting output of a magnetic field for influenc ciated with an increase in blood flow, and hence a higher rate
ing a Q-factor, a measure of frequency selectivity of a speci 25 of oxygenated/deoxygenated hemoglobin as measured by
fied EEG band, of the subject toward a pre-selected or target Blood Oxygenation Level Detection (BOLD). In Major
Q-factor of the band; and (b) applying said magnetic field Depressive Disorder (“MDD” and/or shortened herein in
close to a head of the subject.                                    Some embodiments as “depression'), there is a significant
   In another aspect are methods of treating a subject, com decrease in blood flow, and therefore a decrease in metabolic
prising: determining the Q-factor of the intrinsic frequency 30 activity in the cortex. In some embodiments, the blood flow
within the specified EEG band of the subject; comparing the increase (and or increase in metabolic activity) is in the fron
Q-factor of the intrinsic frequency from step (a) to an average tal cortex. This can be shown in studies using SPECT and
Q-factor of the intrinsic frequency of a healthy population PET scans. The lower the blood flow to the cortex, the greater
database; if the Q-factor of the intrinsic frequency from step the severity of the depression. This decreased blood flow
(a) is higher than the average Q-factor of the intrinsic fre 35 becomes more significant for Subjects with increased cogni
quency of the healthy population database, tuning down the tive impairment associated with their depression. The
Q-factor of the intrinsic frequency of the Subject by applying decrease in regional cerebral blood flow (rCBF) is particu
a magnetic field with a plurality of frequencies or with a larly evident in the prefrontal cortex and cingulated gyrus.
single pre-selected frequency close to a head of the Subject;      Studies of correlations between rCBF and symptom severity
and if the Q-factor of the intrinsic frequency from step (a) is 40 in MDD show a decrease in metabolism in the amygdale,
lower than the average Q-factor of the intrinsic frequency of lentiform nucleus, parahippocampal gyrus, and an increase in
the healthy population database, tuning up the Q-factor of the metabolism in the postero-lateral parietal cortex. Other stud
intrinsic frequency of the Subject by applying a magnetic field ies have shown an increase in blood flow in the lower regions
with a pre-selected frequency to a head of the Subject.            of the brain during MDD, such as the cerebellum and
   In another aspect are methods of treating a subject, com 45 amygdala for depressed Subjects. The metabolism of a region
prising: (a) adjusting output of a magnetic field for influenc of the brain can be related to the energy consumed by that
ing a coherence of intrinsic frequencies among multiple sites region. An area of high metabolism may be considered an area
in a brain of the subject within a specified EEG band toward of high energy or high activity. Likewise, an area of low
a pre-selected or target coherence value; and (b) applying said metabolism may be considered an area of low energy.
magnetic field close to a head of the Subject                   50    Provided herein is a method for treating depression com
   In another aspect are methods adjusting output of a mag prising: adjusting output of a magnetic field for influencing at
netic field for influencing a coherence of intrinsic frequencies least one of an intrinsic frequency of a specified EEG band of
among multiple sites in a brain of the Subject within a speci a Subject toward a pre-selected intrinsic frequency of the
fied EEG band toward a pre-selected or target coherence specified EEG band and a Q-factor of an intrinsic frequency
value comprising: determining the coherence value of the 55 within a specified EEG band of a subject toward a pre-se
intrinsic frequencies among multiple locations throughout a lected Q-factor and applying said magnetic field close to a
Scalp of the Subject; comparing the coherence value from step head of the subject; wherein the pre-selected intrinsic fre
(a) to an average coherence value of a healthy population quency is a frequency that increases blood flow in the cortex
database; if the coherence value from step (a) is higher than of the subject, and wherein the pre-selected Q-factor is a
the average coherence value of the healthy population data 60 Q-factor that increases blood flow in the cortex of the subject.
base, lowering the coherence value of the Subject by applying Provided herein is a method for treating depression compris
at least two asynchronous magnetic fields close to a head of ing: adjusting output of a magnetic field for influencing an
the subject; if the coherence value from step (a) is lower than intrinsic frequency of a specified EEG band of a subject
the average coherence value of the healthy population data toward a pre-selected intrinsic frequency of the specified
base, raising the coherence value of the Subject by applying at 65 EEG band and applying said magnetic field close to a head of
least one synchronized magnetic field close to a head of the the Subject; wherein the pre-selected intrinsic frequency is a
Subject.                                                           frequency that increases blood flow in the cortex of the sub
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ject. Provided herein is a method for treating depression com interference on a subject; (b) locating a second electrode
prising: adjusting output of a magnetic field for influencing a operable to detect a reference signal on the Subject; and (c)
Q-factor of an intrinsic frequency within a specified EEG determining the intrinsic frequency or the Q-factor or both
band of a Subject toward a pre-selected Q-factor and applying from the electrical brainactivity detected by the first electrode
said magnetic field close to a head of the subject; wherein the and the reference signal detected by the second electrode.
pre-selected Q-factor is a Q-factor that increases blood flow            The methods may provide an improvement as measured
in the dorsal and frontal regions of the cortex of the subject. In using a HAMD rating scale. In some embodiments, severity
Some embodiments, the dorsal and frontal region comprises of psychosis, depression, and movement disorders can be
at least one of the orbital frontal cortex, prefrontal tip, and assessed with PANSS, Montgomery-Asberg Depression Rat
dorsal lateral prefrontal cortex.                                  10 ing Scale (MADRS), Barnes Akathisia Rating Scale (BARS),
   Provided herein is a method for treating depression com and Simpson-Angus Scale (SAS). In some embodiments,
prising: adjusting output of a magnetic field for influencing an severity of psychosis, depression, and movement disorders
intrinsic frequency of a specified EEG band of a subject can be assessed with the Hamilton Anxiety Scale (HAMA),
toward a pre-selected intrinsic frequency of the specified the Hamilton Depression Scale (HAMD), or any methods
EEG band; and applying said magnetic field close to a head of 15 known in the art.
the Subject; wherein the pre-selected intrinsic frequency is a           Provided herein is a system for treating depression com
frequency that decreases blood flow in a lower region of the prising: a means for applying a magnetic field to a head of a
brain of the subject. Provided herein is a method for treating Subject; whereby the means for applying the magnetic field is
depression comprising: adjusting output of a magnetic field capable of influencing at least one of: (a) an intrinsic fre
for influencing a Q-factor of an intrinsic frequency of a speci quency of a brain of the subject within a specified EEG band;
fied EEG band of a subject toward a pre-selected Q-factor;            (b) a Q-factor of an intrinsic frequency of the brain of the
and applying said magnetic field close to a head of the Subject;      subject within a specified EEG band; (c) a coherence of
wherein the pre-selected Q-factor is a Q-factor that decreases intrinsic frequencies among multiple sites in the brain of the
blood flow in a parietal-occipital region of the brain of the subject within a specified EEG band; and (d) a EEG phase
Subject. In some embodiments, the parietal-occipital region 25 between two sites in the brain of the subject of a specified
comprises at least one of the anterior cingulated gyrus, ante EEG frequency, and a device capable of determining the
rior temporal lobe, parietal lobe, occipital lobe, limbic sys blood flow of at least one of the cortex, a dorsal and frontal
tem, and basal ganglia.                                               region, and a parietal-occipital region of the brain. In some
   Provided herein is a method for treating depression com embodiments, the parietal-occipital region comprises at least
prising: adjusting output of a magnetic field for influencing an 30 one of the anterior cingulate, anterior temporal lobe, parietal
intrinsic frequency of a specified EEG band of a subject lobe, occipital lobe, limbic system, and basal ganglia. In some
toward a pre-selected intrinsic frequency of the specified embodiments, the dorsal and frontal region comprises at least
EEG band; and applying said magnetic field close to a head of one of the orbital frontal cortex, prefrontal tip, and dorsal
the Subject; wherein the pre-selected intrinsic frequency is a lateral prefrontal cortex.
frequency that decreases blood flow in a rear region of the 35 The system may comprise at least one permanent magnet.
brain of the subject. Provided herein is a method for treating The magnetic field is generated by movement of at least one
depression comprising: adjusting output of a magnetic field permanent magnet. In some embodiments, the movement of
for influencing a Q-factor of an intrinsic frequency of a speci the at least one said magnet is at a frequency between about
fied EEG band of a subject toward a pre-selected Q-factor; 0.5 Hz and about 100 Hz. In some embodiments, said move
and applying said magnetic field close to a head of the Subject; 40 ment comprises at least one of rotational motion, linear
wherein the pre-selected Q-factor is a Q-factor that decreases motion, and Swing motion. In some embodiments, said move
blood flow in a parietal-occipital region of the brain of the ment generates an alternating magnetic field.
Subject. In some embodiments, the parietal-occipital region              In some embodiments, the system comprises logic that
comprises at least one of the anterior cingulate, anterior tem controls the frequency to be any frequency between about 0.5
poral lobe, parietal lobe, occipital lobe, limbic system, and 45 HZ and about 100 Hz in increments of about 0.1 Hz.
basal ganglia.                                                           In some embodiments, the system comprises logic that
   The methods may further comprise taking EEG measure automatically changes the frequency in response to EEG
ments of the subject before the adjusting step or after the readings of a Subject during treatment.
applying step, or both before the adjusting step and after the           In some embodiments, the system comprises logic that
applying step. The methods may further comprise determin 50 calculates information from EEG data collected from the
ing at least one of the Subjects intrinsic frequency of the subject within a specified EEG band, wherein said informa
specified EEG band and the subject's Q-factor of an intrinsic tion comprises at least one of items listed below: (a) at least
frequency within a specified EEG band.                                one intrinsic frequency; (b) Q-factor of the at least one intrin
   In some methods, the applying of the magnetic field applies sic frequency; (c) a coherence value of intrinsic frequencies;
the magnetic field to a diffuse area in a brain of the subject. In 55 (d) an EEG phase; and (e) any combination thereof.
Some methods, the magnetic field is generated by movement                In some embodiments, the system comprises: (a) a first
of at least one permanent magnet. In some methods, the electrode operable to detect electrical brain activity; and (b) a
strength of the at least one permanent magnetic is from about second electrode operable to detect a reference signal;
10 Gauss to about 4 Tesla.                                            wherein the first electrode is located on the subject in at least
   In Some methods, the step of applying the magnetic field is 60 one of an area of low electrical resistivity on a Subject, and an
for about 5 minutes to about two hours.                               area with Substantially no electrical impulse interference on a
   The methods may further comprise repeating the applying subject, and wherein the second electrode is located on the
step after an interval about 6 hours to about 14 days.                Subject.
   The methods may further comprise: (a) locating a first                Parallel to the rCBF studies, EEG studies have shown that
electrode operable to detect electrical brain activity on the 65 MDD subjects have higher alpha band activities. The alpha
subject in at least one of an area of low electrical resistivity on band is a dominant EEG component with frequency ranged
a subject, and an area with Substantially no electrical impulse between 8 Hz and 13 Hz. A negative correlation has been
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shown between alpha power and therCBF in the cortex where         system energy is at least half its peak value. FIG. 12 also
the alpha was measured. This suggests that a high alpha           shows a pictorial example of the elements of Q-factor. In the
power is indicative of low rCBF, and therefore a low metabo       plot shown in FIG. 12, fo is the alpha frequency and Af(delta
lism (and energy), in the region of cortex where the EEG was      f) is the bandwidth at half energy Emax.
recorded. A number of studies have shown this excessive              Q-factor gives a representation of the resonance of an oscil
EEG alpha power, which may be a result of neural activity latory system. If the system has a high Q, then it has high
being overly synchronous. By applying a low magnitude resonance, and tends to oscillate with very little loss in
alternating magnetic field, activity becomes less synchronous energy. A physical example for this type of system would be
and EEG alpha power decreases. These changes correlate a pendulum, which can oscillate for a long time with no
with improvement in clinical symptoms.                         10 external energy input. A system with a low Q, however, has
   To understand alpha power and its relation to system much less resonance, and may be considered to be damped.
energy, the frequency spectrum of the EEG was examined.              The Q-factor of the EEG waveform can be represented by
FIGS. 38a–38d show the Fourier transform of two subjects, fitting a Gaussian-shaped curve to the frequency plot, as
both with significantly different activity in the alpha band.     shown in FIG. 36a, and FIG. 36b (having a measure of energy
Subjects were recorded during a resting period with eyes 15 shown on the y-axes of these plots, and frequency in Hertz
closed, which is a time when the alpha activity is most evi shown on the x-axis of these plots). In this, Afis defined as the
dent. However, alpha power is still present in the brain even bandwidth at 0.7071 of the maximum amplitude, because the
when the eyes are open and the alpha wave is not seen on the energy of a system is proportional to the square of the Fourier
conventional EEG. The plot of FIG.35a shows an EEG that is transform. The high-Q EEG has significantly more reso
significantly more synchronous than the plot of FIG.35c. The nance, and therefore less energy consumption, than the low-Q
Fourier transform (FIG.35b) of the EEG of FIG.35a shows EEG. It can be stated, therefore, that the region of cortex
an alpha frequency band that is more focused around the underneath the electrode requires less energy, and therefore
alpha frequency than the Fourier transform (FIG. 35d) of the has a lower metabolism, for the high-Q patient than the low-Q
EEG data of FIG.35c).                                             patient.
   FIG. 35a-35d show EEG waveforms (CZ location) and 25 FIG. 36a, and FIG. 36b depict the frequency plots from
frequency plots of two patients, which show a different focus FIG. 35b, and FIG. 35d, respectively, with a fitted Gaussian
of activity around the alpha frequency. FIG. 35a shows an waveforms shown. FIG. 36 a shows the fitted Gaussian curve
example EEG waveform for a subject having Major Depres of the Fast Fourier Transformation curve having an intrinsic
sive Disorder (with time in seconds on the X-axis, and ampli frequency of 8.56 Hz, and having a deltaf (Af) of 0.51 Hz. The
tude in mV on the y-axis). FIG. 35b shows the Fast Fourier 30 Q-factor of the fitted Gaussian curve peak is in FIG. 36a is
Transformation of EEG data of FIG.35a which is an example         16.78.
EEG waveform for a subject having Major Depressive Dis               FIG. 36b shows the Fast Fourier Transformation curve of
order (with a measure of energy shown on the y-axis, and EEG data of an example EEG waveform for a subject who
frequency in Hertz shown on the x-axis). FIG. 35c shows an does not have Major Depressive Disorder, also depicted in
example EEG waveform for a subject who does not have 35 FIG. 35d, and shows the fitted Gaussian curve of the Fast
Major Depressive Disorder (with time in seconds on the Fourier Transformation curve having an intrinsic frequency
x-axis, and amplitude in mV on the y-axis). FIG. 35d shows of 9.27 Hz, and having a deltaf (Af) of 1.06 Hz. The Q-factor
the Fast Fourier Transformation of EEG data of FIG. 35c           of the fitted Gaussian curve peak is in FIG. 36a is 7.74.
which is an example EEG waveform for a subject who does              The power of the alpha band relative to other bands is
not have Major Depressive Disorder (with a measure of 40 generally higher for patients with MDD. Since the overall
energy shown on the y-axis, and frequency in Hertz shown on metabolism of the brain is generally constant, the increase in
the x-axis). While the plots in FIGS. 38a–38d are taken from alpha power will result in a higher alpha Q-factor, which
individuals having MDD and/or not having MDD, the wave indicates a lower metabolism, and energy, of the cortex.
forms alone are not necessarily indicative or dispositive of Patients with MDD usually have lower metabolism in the
having MDD, although they may be. Each individual should 45 cortex, especially in the frontal regions, therefore the Q-factor
be diagnosed according to diagnostic norms, and not neces of alpha EEG in those regions will be high, indicative of a
sarily diagnosed based on the waveforms of their brain EEG low-energy system. FIG. 37 shows a general relationship
data. A subject who does not have MDD may have a EEG between the measures of neural activity in the cortex and a
waveform such as shown in FIG. 35a. Likewise, a subject possible indication for Major Depressive Disorder (MDD).
who has MDD may have an EEG waveform such as shown in 50 Lowering the Q-factor of patients with MDD may improve
FIG. 35c, and treating such a subject with a device and or by MDD symptoms in some patients. The methods and devices
a method provided herein may still provide the improvement provided herein can lower the Q-factor of a subject.
in their depression noted herein by shifting their intrinsic         The brain is a non-linear resonant system. To increase the
frequency, changing their Q-factor, and/or changing their resonance, and thereby the Q-factor of the system, an alter
coherence, etc. Each subject should be treated as an indi 55 nating magnetic field may be applied that matches the alpha
vidual, and changes to their EEG waveforms are relative to frequency. To decrease the resonance and lower the Q-factor,
their own starting EEG waveforms. Nevertheless, generally an alternating magnetic field is applied that is slightly off the
speaking, a population of Subjects having MDD might have alpha frequency. Since the brain is a resonant system, the
waveforms more rhythmic than that of a population of sub magnetic field does not need to be large. It is not necessary, in
jects not having MDD.                                          60 Some embodiments, to actively cause current to flow in the
   This focusing of the energy in the band can be quantified by brain.
the Q-factor of the Fourier transform. Q-factor represents the       The low energy sinusoidal alternating magnetic field cre
ratio of the total energy of a system stored divided by the ates a low Voltage alternating electric field in the tissue, but
energy lost in a single oscillation of the system. It can be any current created directly is negligible. The methods and
characterized by the equation for Q depicted in FIG. 12, 65 devices provided herein, in some embodiments, “encourage'
where fo is the alpha frequency and Af(delta f) is the band firing at the magnetic field frequency by causing the baseline
width, the width of the range of frequencies for which the potential across the neuron to vary slightly in time with the
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electric field. The variation of the potential can be subthresh increasing blood flow in the cortex. In some embodiments,
old, which will not induce any neuronal firing. In some the blood flow increase is in the frontal cortex.
embodiments, if the magnetic field frequency matches the              Provided herein is a method of treating depression in a
alpha frequency of a region of cortex, the Q-factor of that Subject, comprising tuning down the Q-factor of an intrinsic
region will increase. If it does not match, in Some embodi frequency of the Subject by applying a magnetic field close to
ments, the Q-factor will decrease.                                 a head of the subject thereby increasing blood flow in the
   Alpha frequency in the brain is not constant, however, and cortex,
                                                                   (a) a
                                                                            wherein the magnetic field comprises at least one of
                                                                         single pre-selected frequency; (b) a plurality of frequen
can change from one moment to the next, and can vary spa
tially throughout the brain. Therefore, applying an alternating 10 cies within a specified EEG band; and (c) an intrinsic fre
magnetic field at a single frequency will increase resonant quency          of a brain of the subject within a specified EEG band.
                                                                   In some embodiments, the blood flow increase is in the frontal
behavior at Some times and locations, and decrease it at oth         COrteX.
ers. As noted in examples described herein, single alternating
magnetic field at a single calculated average frequency may stepIn ofsome        embodiments, the method further comprises the
                                                                             measuring EEG data of the Subject after the applying
reduce the overall Q-factor of the cortex if the Q-factor was 15 step. In some embodiments, the method further comprises the
high before treatment began, and may increase the Q-factor if steps of adjusting frequency of said magnetic field based on
the Q-factor was low before treatment began.                         the EEG data of the Subject; and repeating the applying step
   If the brain was a linear resonator, one would be unable to       with an adjusted frequency.
change the Q-factor simply by applying an external magnetic             In some embodiments, the applying of the magnetic field
field. Once the magnetic field was turned off, it might be applies the magnetic field to a diffuse area in a brain of the
expected that the brain to return to its original state. Instead,    Subject. In some embodiments, the magnetic field is gener
however, as shown in examples mentioned herein using the ated by movement of at least one permanent magnet.
methods and devices provided herein, the brain adjusts its              In some embodiments, the strength of the at least one
Q-factor a small amount due to the applied magnetic field, permanent magnetic is from about 10 Gauss to about 4 Tesla.
and that adjustment is additive as therapy progresses.            25 In some embodiments, the distance between the at least one
   Application of a low energy alternating magnetic field near permanent magnet and the Subject is from about /32 in to
the head of a patient suffering from MDD (i.e., the patient has about 12 in.
a high Q-factor) with the magnetic field frequency equal to             In some embodiments, the step of applying the magnetic
the average alpha frequency should result in a decrease in the field is for about 5 minutes to about two hours.
patient's Q-factor. The decrease in Q-factor causes the cortex 30 In some embodiments, the method further comprises
to be higher energy, which causes a decrease in the symptoms repeating the applying step after an interval about 6 hours to
of MDD.                                                              about 14 days. In some embodiments, the method further
   In some embodiments, treatment of MDD with devices and            comprises: (a) locating a first electrode operable to detect
methods provided herein are designed to create low energy electrical brain activity on the Subject in at least one of an area
alternating magnetic fields at a specific frequency in the alpha 35 of low electrical resistivity on a subject, and an area with
band.                                                                Substantially no electrical impulse interference on a Subject;
   Provided herein is a method of treating depression in a (b) locating a second electrode operable to detect a reference
Subject, comprising: adjusting output of a magnetic field for signal on the Subject; and (c) determining the intrinsic fre
influencing an intrinsic frequency of a specified EEG band of quency from the electrical brain activity detected by the first
the Subject toward a pre-selected intrinsic frequency of the 40 electrode and the reference signal detected by the second
specified EEG band; and applying said magnetic field close to electrode.
ahead of the subject and thereby increasing blood flow in the           In some embodiments, the method provides an improve
cortex. In some embodiments, the blood flow increase is in           ment as measured using a HAMD rating scale.
the frontal cortex.                                                     Provided herein is a device for use in treating depression in
   Provided herein is a method of treating depression in a 45 a subject, comprising: a means for applying a magnetic field
Subject, comprising: adjusting output of a magnetic field for to a head of a subject thereby increasing blood flow in the
influencing a Q-factor of an intrinsic frequency within a cortex; whereby the means for applying the magnetic field is
specified EEG band of the subject toward a pre-selected capable of influencing at least one of (a) an intrinsic fre
Q-factor, and applying said magnetic field close to a head of quency of a brain of the subject within a specified EEG band;
the subject and thereby increasing blood flow in the cortex. In 50 (b) a Q-factor of an intrinsic frequency of a brain of the
some embodiments, the blood flow increase is in the frontal          subject within a specified EEG band; (c) a coherence of
COrteX.                                                              intrinsic frequencies among multiple sites in a brain of the
   Provided herein is a method of treating depression in a subject within a specified EEG band; and (d) a EEG phase
Subject, comprising: (a)                                             between two sites in the brain of a subject of a specified EEG
   adjusting output of a magnetic field for influencing a coher 55 frequency. In some embodiments, the blood flow increase is
ence of intrinsic frequencies among multiple sites in a brain of in the frontal cortex.
the subject within a specified EEG band toward a pre-selected           In some embodiments, the device comprises at least one
coherence value; and (b) applying said magnetic field close to permanent magnet. In some embodiments, the magnetic field
ahead of the subject and thereby increasing blood flow in the is generated by movement of at least one permanent magnet.
cortex. In some embodiments, the blood flow increase is in 60 In some embodiments, the movement of the at least one said
the frontal cortex.                                           magnet is at a frequency between about 0.5 Hz and about 100
   Provided herein is a method for treating depression in a HZ. In some embodiments, said movement comprises at least
Subject, comprising: adjusting output of a magnetic field for one of rotational motion, linear motion, and Swing motion. In
influencing an EEG phase between two sites in the brain of a Some embodiments, the movement generates an alternating
subject of a specified EEG frequency toward a pre-selected 65 magnetic field.
EEG phase of the specified EEG frequency; and applying said     In some embodiments, the device comprises logic that
magnetic field close to a head of the subject and thereby controls the frequency to be any frequency between about 0.5
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HZ and about 100 Hz in increments of about 0.1 Hz. In some              In some embodiments, the method further comprises the
embodiments, the device comprises logic that automatically step of measuring EEG data of the Subject after the applying
changes the frequency in response to EEG readings of a step. In some embodiments, the method further comprises the
Subject during treatment.                                            steps of adjusting frequency of said magnetic field based on
   In some embodiments, the device comprises logic that the EEG data of the Subject; and repeating the applying step
calculates information from EEG data collected from the              with an adjusted frequency.
subject within a specified EEG band, wherein said informa               In some embodiments, the applying of the magnetic field
tion comprises at least one of items listed below: (a) at least applies the magnetic field to a diffuse area in a brain of the
one intrinsic frequency; (b) Q-factor of the at least one intrin Subject. In some embodiments, the magnetic field is gener
sic frequency; (c) a coherence value of intrinsic frequencies; 10 ated by movement of at least one permanent magnet.
(d) an EEG phase; and (e) any combination thereof.                      In some embodiments, the strength of the at least one
   In some embodiments, the device comprises: (a) a first permanent magnetic is from about 10 Gauss to about 4 Tesla.
electrode operable to detect electrical brain activity; and (b) a In some embodiments, the distance between the at least one
second electrode operable to detect a reference signal; permanent magnet and the Subject is from about /32 in to
wherein the first electrode is located on the subject in at least 15 about 12 in.
one of an area of low electrical resistivity on a subject, and an       In some embodiments, the step of applying the magnetic
area with Substantially no electrical impulse interference on a field is for about 5 minutes to about two hours.
subject, and wherein the second electrode is located on the             In some embodiments, the method further comprises
Subject.                                                             repeating the applying step after an interval about 6 hours to
   Provided herein is a method of treating depression in a about 14 days. In some embodiments, the method further
Subject, comprising: adjusting output of a magnetic field for comprises: (a) locating a first electrode operable to detect
influencing an intrinsic frequency of a specified EEG band of electrical brain activity on the Subject in at least one of an area
the Subject toward a pre-selected intrinsic frequency of the of low electrical resistivity on a subject, and an area with
specified EEG band; and applying said magnetic field close to Substantially no electrical impulse interference on a Subject;
a head of the Subject and thereby increasing energy in the 25 (b) locating a second electrode operable to detect a reference
cortex and/or metabolism of the cortex. In some embodi               signal on the Subject; and (c) determining the intrinsic fre
ments, the blood flow increase and/or the increased metabo           quency from the electrical brain activity detected by the first
lism is in the frontal cortex.                                       electrode and the reference signal detected by the second
   Provided herein is a method of treating depression in a electrode.
Subject, comprising: adjusting output of a magnetic field for 30 In some embodiments, the method provides an improve
influencing a Q-factor of an intrinsic frequency within a ment as measured using a HAMD rating scale.
specified EEG band of the subject toward a pre-selected                 Provided herein is a device for use in treating depression in
Q-factor, and applying said magnetic field close to a head of a subject, comprising: a means for applying a magnetic field
the Subject and thereby increasing energy in the cortex and/or to a head of a subject thereby increasing energy in the cortex
metabolism of the cortex. In some embodiments, the blood 35 and/or metabolism of the cortex; whereby the means for
flow increase and/or the increased metabolism is in the frontal      applying the magnetic field is capable of influencing at least
COrteX.                                                              one of: (a) an intrinsic frequency of a brain of the Subject
   Provided herein is a method of treating depression in a within a specified EEG band; (b) a Q-factor of an intrinsic
Subject, comprising: (a)                                             frequency of a brain of the subject within a specified EEG
   adjusting output of a magnetic field for influencing a coher 40 band; (c) a coherence of intrinsic frequencies among multiple
ence of intrinsic frequencies among multiple sites in a brain of sites in a brain of the subject within a specified EEG band; and
the subject within a specified EEG band toward a pre-selected (d) a EEG phase between two sites in the brain of a subject of
coherence value; and (b) applying said magnetic field close to a specified EEG frequency. In some embodiments, the blood
a head of the Subject and thereby increasing energy in the flow increase and/or the increased metabolism is in the frontal
cortex and/or metabolism of the cortex. In some embodi 45 COrteX.
ments, the blood flow increase and/or the increased metabo              In some embodiments, the device comprises at least one
lism is in the frontal cortex.                                       permanent magnet. In some embodiments, the magnetic field
   Provided herein is a method for treating depression in a          is generated by movement of at least one permanent magnet.
Subject, comprising: adjusting output of a magnetic field for In some embodiments, the movement of the at least one said
influencing an EEG phase between two sites in the brain of a 50 magnet is at a frequency between about 0.5 Hz and about 100
subject of a specified EEG frequency toward a pre-selected HZ. In some embodiments, said movement comprises at least
EEG phase of the specified EEG frequency; and applying said one of rotational motion, linear motion, and Swing motion. In
magnetic field close to a head of the subject and thereby Some embodiments, the movement generates an alternating
increasing energy in the cortex and/or metabolism of the magnetic field.
cortex. In some embodiments, the blood flow increase and/or 55 In some embodiments, the device comprises logic that
the increased metabolism is in the frontal cortex.               controls the frequency to be any frequency between about 0.5
   Provided herein is a method of treating depression in a HZ and about 100 Hz in increments of about 0.1 Hz. In some
Subject, comprising tuning down the Q-factor of an intrinsic embodiments, the device comprises logic that automatically
frequency of the Subject by applying a magnetic field close to changes the frequency in response to EEG readings of a
a head of the Subject thereby increasing energy in the cortex 60 Subject during treatment.
and/or metabolism of the cortex, wherein the magnetic field         In some embodiments, the device comprises logic that
comprises at least one of (a) a single pre-selected frequency; calculates information from EEG data collected from the
(b) a plurality of frequencies within a specified EEG band;      subject within a specified EEG band, wherein said informa
and (c) an intrinsic frequency of a brain of the Subject within tion comprises at least one of items listed below: (a) at least
a specified EEG band. In some embodiments, the blood flow 65 one intrinsic frequency; (b) Q-factor of the at least one intrin
increase and/or the increased metabolism is in the frontal       sic frequency; (c) a coherence value of intrinsic frequencies;
COrteX.                                                          (d) an EEG phase; and (e) any combination thereof.
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   In some embodiments, the device comprises: (a) a first             rotation  may  include, for non-limiting    example, the speed of
electrode operable to detect electrical brain activity; and (b) a rotation, and the acceleration and/or deceleration of rotation,
second electrode operable to detect a reference signal; the time of rotation, and the direction of rotation (e.g. clock
wherein the first electrode is located on the subject in at least wise, counter-clockwise).
one of an area of low electrical resistivity on a subject, and an 5 FIG. 2 shows an exemplary device in which a magnet 2 in
area with Substantially no electrical impulse interference on a the shape of a horseshoe is coupled to and rotated by a motor
subject, and wherein the second electrode is located on the 72,            and the magnet 2 is positioned Such that the plane of
                                                                      rotation is generally parallel to at least a portion of the Surface
Subject.
   In some embodiments, are method of treating depression in of           the scalp of the subject 6, and the rotation axis 36 is
                                                                      generally perpendicular to at least a portion of the Surface of
a subject, comprising tuning down the Q-factor of an intrinsic 10 the      scalp of the subject 6. The motor 72 is coupled to the
frequency of the Subject by applying a magnetic field close to magnet          2 by a drive shaft 4, and the magnet rotation is con
ahead of the Subject, wherein the magnetic field comprises at trolled by          a controller 58 (i.e. controller subunit) that can at
least one of (a) a single frequency; (b) a plurality of frequen least monitor         and/or control the rotation of the magnet 2.
cies within a specified EEG band; and (c) an intrinsic fre Control of the rotation may include, for non-limiting
quency of a brain of the subject within a specified EEG band. 15 example, the speed of rotation, and the acceleration and/or
In some embodiments, any of the devices described herein deceleration of rotation, the time of rotation, and the direction
may be used to treat depression.                                      of rotation (e.g. clockwise, counter-clockwise).
   In some embodiments, the pre-selected EEG phase is lower              FIG.3 shows an exemplary device which two bar magnets
than the EEG phase between the two sites in the brain of the 2a, 2b are coupled to and rotated by motors 72a, 72b, and the
subject. In some embodiments, the pre-selected EEG phase is magnets 2a, 2b are rotated synchronously to provide a more
any EEG phase lower than the EEG phase between the two uniform phase for the magnetic field in the brain of a subject
sites in the brain of the subject. In some embodiments, the 6. The motors 72a, 72b are coupled to the magnets 2a, 2b,
pre-selected EEG phase is higher than the EEG phase respectively, by a drive shafts 4a, 4b, and the rotation of the
between the two sites in the brain of the subject. In some magnets 2a and 2b about rotation axes 36a,36b, respectively,
embodiments, the pre-selected EEG phase is any EEG phase 25 is controlled by a controller 58 (i.e. controller subunit) that
higher than the EEG phase between the two sites in the brain can at least monitor and/or control the rotation of the magnet
of the subject. In some embodiments, the pre-selected EEG 2a, 2b. Control of the rotation of the magnets may include, for
phase is an EEG phase of a population of people. The popu non-limiting example, the speed of rotation, and the accelera
lation of people may be a set of people having a particular tion and/or deceleration of rotation, the time of rotation, and
trait, characteristic, ability, or feature. The population may be 30 the direction of rotation (e.g. clockwise, counter-clockwise).
a healthy population of people. The population of people may The rotation of a single magnet (magnet 2a, for example),
be a set of people not having a particular disorder, such as may be controlled independently from and/or simultaneously
anxiety, depression, or other disorders mentioned herein. In with the rotation of a second magnet (magnet 2b, for
Some embodiments, the methods comprise measuring EEG example) by the controller 58. Additional magnets may be
data of two sites in the brain of the Subject, and calculating the 35 similarly added to the device. In another embodiment, a
EEG phase between the two sites in the brain of a subject. The single motor is coupled to a plurality of magnets, and each of
specified EEG frequency may be an intrinsic frequency as the magnets may be controlled by the controller, indepen
described herein. The specified EEG frequency may be a dently or simultaneously.
pre-selected frequency as described herein. The pre-selected             In some embodiments, the magnetic field used by the meth
frequency may be an average intrinsic frequency of a healthy 40 ods or devices are not capable of exciting brain cells. In some
population database within a specified EEG band.                      embodiments, the magnetic field used by the methods or
   In another aspect are methods for influencing an EEG devices are below thresholds of exciting brain cells. In some
phase of a specified EEG frequency between multiple loca embodiments, the devices described can have one or more
tions of a brain of a Subject, comprising: (a) determining the permanent magnets mounted onto one or more rotating shafts
EEG phase the between at least two locations measured on the 45 in Such a way that it creates an alternating magnetic field
head of the subject; (b) comparing the EEG phase from step when the shaft or shafts are spun. In some embodiments, the
(a) to an average EEG phase of a healthy population; and (c) speed of rotation can be set by the user or controlled using
applying a magnetic field close to a head of the Subject neurological feedback to provide optimal therapy.
wherein applying the magnetic field influences the deter                 Methods and devices described herein can be used to treat
mined EEG phase toward the average EEG phase of a healthy 50 at least one mental disorder listed below:
population.                                                              (a) Major depression;
   In another aspect are methods for using a Transcranial                (b) Bipolar disorder;
Magnetic Stimulation (TMS) device for influencing an EEG                 (c) Schizophrenia;
phase of a Subject of a specified EEG frequency, comprising:             (d) Anxiety disorder;
(a) adjusting output of said TMS device; (b) changing the 55 (e) Obsessive-Compulsive disorder;
EEG phase by repetitive firing of at least one magnetic field            (f) ADHD;
using said TMS device; and (c) applying said magnetic field              (g) Autism;
close to a head of the subject.                                          (h) Sleep disorder;
   FIG. 1 shows an exemplary device having a magnet 2                    (i) Parkinson's disease;
coupled to and rotated by a motor 72 in which the magnet 2 60 (k) Drug addiction;
rotates so that the plane of rotation is generally perpendicular         (1) Substance abuse:
to the surface of the scalp of the subject 6, and the rotation axis      (m) Seizure;
36 is generally parallel to at least a portion of the surface of the     (n) Head Injury:
scalp of the subject 6. The motor 72 is coupled to the magnet            (o) Alzheimer's disease:
2 by a drive shaft 4, and the magnet rotation is controlled by 65 (p) Eating disorder,
a controller 58 (i.e. controller subunit) that can at least moni         (q) Tinnitus; and
tor and/or control the rotation of the magnet 2. Control of the          (r) Fibromyalgia.
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   In some embodiments, methods and devices described             eases, hereditary diseases, infections involving the brain,
herein can be used to treat at least two mental disorders listed  encephalitis, brain abscess, bacterial meningitis, kidney fail
above. In some embodiments, methods and devices described         ure, and chronic renal failure. For non-limiting example, the
hereincan be used to treat at least three mental disorders listed injuries may include choking, head injuries, electrical inju
above. In some embodiments, methods and devices described 5 ries, birth injuries, poisonous bites or stings.
hereincan be used to treat at least four mental disorders listed     Methods and devices described herein can be used to
above. In some embodiments, methods and devices described         improve at least one indication selected from the group con
herein can be used to treat at least five mental disorders listed sisting of replacement for meditation, quick nap, stress
                                                                  release,
above. In some embodiments, methods and devices described 10 blood pressure,attention span, comprehension, memory, lowered
herein can be used to treat at least six mental disorders listed                    increased libido, sports performance, aca
above. In some embodiments, methods and devices described         demic   performance,  and any combination thereof. In some
herein are not used to treat Schizophrenia.                       embodiments, methods and devices described herein can be
   In another aspect are methods of treating anxiety in a used          to improve at least two indications from the group pre
                                                                  sented above. In some embodiments, methods and devices
Subject, comprising tuning up the Q-factor of an intrinsic 15 described herein can be used to improve at least three indica
frequency of the Subject by applying a magnetic field close to tions    from the group presented above. In some embodiments,
ahead of the Subject, wherein the magnetic field comprises at methods and devices described herein can be used to improve
least one of (a) a single pre-selected frequency; (b) a plurality at least four indications from the group presented above. In
offrequencies within a specified EEG band; and (c) an intrin some embodiments, methods and devices described herein
sic frequency of a brain of the subject within a specified EEG can be used to improve at least five indications from the group
band. In some embodiments, any of the devices described presented above. In some embodiments, methods and devices
herein may be used to treat anxiety.                              described herein can be used to improve at least six indica
   In some embodiments, are method of treating depression in tions from the group presented above.
a subject, comprising tuning down the Q-factor of an intrinsic       In some embodiments, methods and devices described
frequency of the Subject by applying a magnetic field close to 25 herein can be used to improve at least one indication from the
ahead of the Subject, wherein the magnetic field comprises at group presented above, and at least one mental disorder listed
least one of (a) a single frequency; (b) a plurality of frequen above. In some embodiments, methods and devices described
cies within a specified EEG band; and (c) an intrinsic fre herein can be used to improve at least one indication from the
quency of a brain of the subject within a specified EEG band. group presented above, and at least two mental disorders
In some embodiments, any of the devices described herein 30 listed above. In some embodiments, methods and devices
may be used to treat depression.                                  described herein can be used to improve at least two indica
   In some embodiments, methods and/or devices as                 tions from the group presented above, and at least one mental
described herein can be used to treat symptoms of fibromy disorder listed above. In some embodiments, methods and
algia. In some embodiments, methods and/or devices as devices described herein can be used to improve at least two
described herein can be used to improve symptoms of fibro 35 indications from the group presented above, and at least two
myalgia. For non-limiting example, some symptoms that may mental disorders listed above. In some embodiments, meth
be improved include widespread pain, tenderness to touch, ods and devices described herein can be used to improve at
nausea dizziness, temporomandibular joint dysfunction, skin least one indication from the group presented above, and at
problems, depression, myofascial pain, morning stiffness, least three mental disorders listed above. In some embodi
sleep issues, headaches, chemical sensitivity, dysmenorrhea, 40 ments, methods and devices described herein can be used to
muscle twitches and weakness, fatigue, urinary and pelvic improve at least two indications from the group presented
problems, fibro-fog cognitive and/or memory impairment, above, and at least three mental disorders listed above. In
anxiety, memory loss, breathing problems, and vision prob some embodiments, methods and devices described herein
lems.                                                             can be used to improve at least three indications from the
   In some embodiments, methods and/or devices as 45 group presented above, and at least three mental disorders
described herein can be used to halt the onset of a seizure. In    listed above. In some embodiments, methods and devices
Some embodiments, methods and/or devices as described              described herein can be used to improve at least three indica
herein can be used to prevent the onset of a seizure. In some      tions from the group presented above, and at least two one
embodiments, methods and/or devices as described herein            mental disorders listed above.
can be used to reduce or eliminate seizures by detuning the 50 Methods and devices described herein can be used to
brain near the frequency of the seizures. In some embodi improve at least one characteristic selected from the group
ments, methods and/or devices as described herein can be          consisting of peripheral visual response, attention span,
used to reduce or eliminate seizures by tuning up an area of immediate reaction time (IRT), movement time (MT), simple
the brain (i.e., an intrinsic frequency in aband, such as alpha) perceptual reaction time (SPR), conflict perceptual reaction
different than the seizure area of the brain, thereby reducing 55 time (CPR), and any combination thereof. In some embodi
the energy in the frequency associated with the seizure. The ments, methods and devices described herein can be used to
seizure may be caused by various conditions, diseases, inju improve at least two indications from the group presented
ries, and/or other factors. For non-limiting example, the con above. In some embodiments, methods and devices described
ditions may include abnormalities in the blood vessels of the herein can be used to improve at least three indications from
brain, atherosclerosis, or hardening of the arteries Supplying 60 the group presented above. In some embodiments, methods
the brain, bleeding into the brain, Such as a Subarachnoid and devices described herein can be used to improve at least
hemorrhage, brain tumors, chromosomal abnormalities, con four indications from the group presented above. In some
genital diseases or conditions, high blood pressure, preg embodiments, methods and devices described herein can be
nancy and problems associated with pregnancy, stroke, tran used to improve at least five indications from the group pre
sient ischemic attack (mini-stroke). For non-limiting 65 sented above. In some embodiments, methods and devices
example, the diseases may include liver disease, Alzheimer's described herein can be used to improve at least six indica
disease, dementia diseases, epilepsy, nervous system dis tions from the group presented above.
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   In some embodiments, methods and devices described          rotate at a specific frequency or frequencies to bring about the
herein can be used to improve at least one characteristic from desired therapy. A single, dual, or multi-channel EEG is
the group presented above, and at least one mental disorder incorporated in the device to acquire a sample EEG segment
listed above. In some embodiments, methods and devices         and determine the alpha frequency distribution. From this
described herein can be used to improve at least one charac information, the device controls the frequency of rotation of
teristic from the group presented above, and at least two the magnet or magnets to deliver therapy.
mental disorders listed above. In some embodiments, meth          FIG. 4 shows an exemplary device in which the magnet 2
ods and devices described herein can be used to improve at rotates so that the plane of rotation is generally perpendicular
least two characteristics from the group presented above, and to the surface of the scalp of a subject 6 and a bio-feedback
at least one mental disorder listed above. In some embodi 10 sensor and/or EEG electrode 82a is used to control the speed
ments, methods and devices described herein can be used to       of rotation about the rotation axis 36. The rotation of the
improve at least two characteristics from the group presented    magnet 2 is driven by a motor 72 which is coupled to a drive
above, and at least two mental disorders listed above. In some   shaft 4, and the drive shaft 4 is coupled to the magnet 2. In
embodiments, methods and devices described herein can be          some embodiments at least two EEG electrodes, 82a, 82b are
used to improve at least one characteristic from the group 15 used to control the speed of rotation, wherein at least one EEG
presented above, and at least three mental disorders listed electrode, for example EEG electrode 82b, is used as a refer
above. In some embodiments, methods and devices described      ence electrode (and/or a ground electrode). The electrodes,
hereincan be used to improve at least two characteristics from 82a, 82b may be connected to an amplifier 80 which can
the group presented above, and at least three mental disorders amplify the signal received from the electrodes, 82a, 82b. The
listed above. In some embodiments, methods and devices         magnet rotation may be controlled and/or monitored by a
described herein can be used to improve at least three char controller subunit (controller), 58, which may also receive,
acteristics from the group presented above, and at least three record, and/or display the signal or signals received from the
mental disorders listed above. In some embodiments, meth       EEG electrodes 82a, 82b. In some embodiments, the reading
ods and devices described herein can be used to improve at from a reference EEG electrode, for example EEG electrode
least three characteristics from the group presented above, 25 82b, is subtracted and/or otherwise removed from the reading
and at least two one mental disorders listed above.            from the second EEG electrode, for example EEG electrode
  In some embodiments, methods and devices described             82a. In some embodiments, the bio-feedback sensor/EEG
herein can be used to improve at least one characteristic from   electrode is used, at least in part, to determine the Subsequent
the group presented above, and at least one indication pre       treatment regimen for the Subject.
sented above. In some embodiments, methods and devices 30           In some embodiments, the EEG electrodes are used to
described herein can be used to improve at least one charac measure the brain waves of the subject at various times, for
teristic from the group presented above, and at least two non-limiting example, prior to applying a method of treat
indications presented above. In some embodiments, methods ment as provided herein using a device described herein,
and devices described herein can be used to improve at least during application of a method of treatment as provided
two characteristics from the group presented above, and at 35 herein using a device described herein, and/or after applying
least one indication presented above. In some embodiments, a method of treatment as provided herein using a device
methods and devices described herein can be used to improve described herein. In some embodiments, the EEG electrodes
at least two characteristics from the group presented above, are used to measure the brain waves of the subject at various
and at least two indications presented above. In some embodi times, for non-limiting example, prior to using a device
ments, methods and devices described herein can be used to 40 described herein, during use of a device described herein,
improve at least one characteristic from the group presented and/or after using a device described herein. In some embodi
above, and at least three indications presented above. In some ments, the EEG electrodes are used to measure the brain
embodiments, methods and devices described herein can be       waves of the subject continuously for a specified period of
used to improve at least two characteristics from the group time. In some embodiments the specified period of time is for
presented above, and at least three indications presented 45 non-limiting example, at least about one hour, at least about
above. In some embodiments, methods and devices described        45 minutes, at least about 40 minutes, at least about 30 min
herein can be used to improve at least three characteristics utes, at least about 20 minutes, at least about 15 minutes, at
from the group presented above, and at least three indications least about 10 minutes, at least about 5 minutes, at least about
presented above. In some embodiments, methods and devices       1 minute, at least 30 seconds, at least about 10 seconds, at
described herein can be used to improve at least three char 50 least about 5 seconds, and at least about 1 second. The term
acteristics from the group presented above, and at least two “about when referring to the specified period of time of use
one indications presented above.                                of the EEG electrodes to measure brain waves can mean
   Methods and devices described herein can be used to pro variation of, for example, 1 minute to 5 minutes, 30 seconds
vide an improvement to a mental disorder as measured using to 1 minute, 15 seconds to 30 seconds, 5 seconds to 15
a rating scale selected from the group consisting of HAMA, 55 seconds, 1 second to 10 seconds, 1 second to 5 seconds, 0.5
HAMD, PANSS, MADRS, BARS, SAS, and any combina seconds to 1 second, and 0.1 seconds to 0.5 second.
tion thereof. In some embodiments of at least one aspect           In some embodiments, the intrinsic frequency of the Sub
described above, the method provides an improvement as ject is an alpha frequency of a brain of the Subject. In some
measured using the Unified Parkinson's Rating Scale. In embodiments, alpha EEGofa brain of a subject can be critical
Some embodiments of at least one aspect described above, the 60 in normal cognitive processes and the desynchronization of
method provides an improvement as measured using a modi alpha activity can play a pathophysiological role in the mental
fied Unified Parkinson's Rating Scale. The modified Unified disorders listed above. In some embodiments, the therapy
Parkinson's Rating Scale may include, for non-limiting using methods or systems described lasts for about 20 min
example, measuring muscle tone and knee/arm flexibility.        utes, is very gentle, and unnoticeable to the Subject. In some
   In some embodiments, the pMERT (permanent Magneto 65 embodiments, the quantifiable change in alpha frequency can
EEG Resonant Therapy) device (i.e. the NEST device) com be seen clearly following the therapy session, and the patient
prises one or more powerful magnets (>5000 G each) that may have an immediate reduction in Symptoms. The therapy
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using methods or systems described can be mild enough to be        pointing toward a head of a Subject. Accordingly, the Subject
used every day or as needed. The therapy using methods or          is subjected to a dynamic magnetic field having a specific
systems described does not have to involve any medication          polarity.
whatsoever.                                                           In some embodiments, the devices described comprise at
   “Patient' and “subject” are synonyms, and are used inter least one rotating mechanism. In some embodiments,
changeably. As used herein, they mean any animal (e.g. a mechanical subunits including cams, gears and/or linkages
mammal) on which the inventions described herein may be may be utilized to move at least one magnet. These mechani
practiced. Neither the term “subject nor the term “patient' is cal Subunits may be powered through motorized means or
limited to an animal under the care of a physician.                may be connected to other devices moving in the Surrounding
   FIG. 5 shows a sample EEG segment for a subject before 10 environment which will cause the mechanical device to move
therapy is delivered. The block on the left shows a time series the magnet. An external exciter magnet may be positioned
EEG while the subject is sitting at rest with eyes closed. The near the devices described, where the external exciter magnet
block in the center shows the energy across the frequency generating a Sufficiently strong magnetic field to cause move
spectrum for the sampled EEG. The vertical line drawn 15 ment of at least one magnet contained within the devices
through the peaks is at 9.1 Hz, the subjects intrinsic alpha described.
frequency. The circle at the right shows the distribution of          In some embodiments, magnets of the devices described
EEG energy at the intrinsic alpha frequency throughout the can be rotated by a rotating mechanism other than a motor. In
head, looking down on the top of the subject’s head. In the Some embodiments, the devices comprise at least one orifice
circle representation, the majority of the EEG energy at the so that a stream of fluid Such as a gas or liquid may be forced
alpha frequency is concentrated at the back of the brain.          into the devices, wherein the stream offluid being sufficiently
   FIG. 6 is similar to FIG. 5, except the EEG was sampled strong so as to move at least one magnet, thus creating relative
immediately following therapy. In this, it can be seen that the movement between the at least one magnet and a head of a
energy associated with the intrinsic alpha frequency has Subject.
increased significantly. From the circle representation on the 25 While permanent magnets of any strength may be utilized
right, it can be seen that the distribution of energy at the for the methods and devices described herein, generally mag
intrinsic alpha frequency throughout the head is more uni nets having strengths within the range of about 10 Gauss to
form, though the majority of energy is still concentrated at the about 4 Tesla can be used. In some embodiments, the strength
back of the brain.                                                 of at least one permanent magnet is from about 100 Gauss to
The pMERT Device (NEST Device)                                  30 about 2 Tesla. In some embodiments, the strength of at least
   Devices described may contain a plurality of magnets, and one permanent magnet is from about 300 Gauss to about 1
a plurality of magnets may be used to form an array to pro Tesla.
duce a desired magnetic field. Such magnetic field can be a           In some embodiments, the permanent magnets for the
pulsing or temporally variable unipolar magnetic field where methods and devices described comprise rare earth magnets
treatments are performed with a magnetic field having a spe 35 Such as neodymium, iron, boron or Samarium cobalt magnets.
cific pole.                                                        In some embodiments, the permanent magnets for the meth
   In some embodiments of a device or devices as described         ods and devices described are neodymium iron boron mag
herein, the device is operable to influence an intrinsic fre nets. In some embodiments, ceramic magnets, electromag
quency of the brain of a subject within a specified EEG band. nets or other more powerful magnets may be utilized as they
A device as described herein may be operable to influence a 40 become available. In some embodiments, electromagnets
Q-factor of an intrinsic frequency of the brain of a subject may be utilized for the methods and devices described. Cur
within a specified EEG band. A device as described herein rent can be Supplied to the electromagnetby wires penetrating
may be operable to influence a coherence of intrinsic frequen through the devices described and connecting to an external
cies among multiple sites in the brain of a Subject within a power source.
specified EEG band. A device as described herein may be 45 Described are magnetic therapeutic devices and methods
operable to influence a EEG phase of intrinsic frequencies for magnetic therapies where a brain of a Subject is subject to
among multiple sites in the brain of a subject within a speci at least one dynamic magnetic field having an amplitude of at
fied EEG band.                                                       least a half waveform. In certain embodiments, the treatment
   In some embodiments, a method of treating a subject com area is exposed to a half waveform of magnetic flux. In other
prises: (a) adjusting output of a magnetic field for influencing 50 embodiments, the treatment area is exposed to a full wave
a Q-factor, a measure of frequency selectivity of a specified form of magnetic flux. Still other embodiments may permit
EEG band, of the subject toward a pre-selected or target treatment area to be exposed to either a half or full waveform.
Q-factor of the band; and (c) applying said magnetic field To subject the treatment area to Such a dynamic magnetic
close to a head of the subject.                                      field, the magnetic source may be rotated, oscillated, moved
   In some embodiments, devices described can comprise a 55 through a particular pattern, or otherwise moved relative to a
Substantially planar member upon which are affixed a plural head of a subject. The application area of the subject can be
ity of magnets. Thus, the magnets may be oriented so as to positioned relative to the magnetic source so that the mag
permit application of a magnetic field having a substantially netic field extends around and/or through the application area.
uniform polarity to a user. In some embodiments, the magnets In certain embodiments, the devices described comprise at
may also be positioned on the array so that adjacent magnets 60 least one magnet having a north and South magnetic pole and
have opposite polarities.                                            a pole width equal to the width of the magnet at the poles.
   In some embodiments, the devices described may be con                Three parameters of magnetic fields generated by the
figured so as to restrict, in one or more directions, the move devices described can be manipulated:
ment of the magnet within the devices, thereby enabling                 (a) the intensity of the magnetic field at the treatment site,
selection of the polarity of the magnetic field to which the user 65       which can be determined by the strength of the magnets
is subjected. For example, magnets may be placed within the                used and the distance between the magnets and the Sub
devices described so that one face of the magnet is always                 jects head;
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   (b) the frequency of the magnetic field, i.e., the rate of shows a full waveform in the form of a step function where a
      change of the magnetic field, which can be determined magnetic field cycles through a sequence wherein the mag
      by movements of at least one magnet, Such as by varying netic field is positive (+) then neutral, then negative (-), then
      the speed at which at least one magnet moved relative to neutral, and repeats. FIG. 10C shows a half waveform in the
      the application area;                                       5 form of a step function where a magnetic field cycles through
   (c) the amplitude of the net change in magnetic flux (or a sequence wherein the magnetic field is positive (+) then
      waveform) to which the application area is Subjected, neutral, and repeating this sequence. FIG. 10D shows an
      and                                                           alternative a half waveform in the form of a step function
   (d) the phase of the magnetic field between two (or more) where a magnetic field cycles through a sequence wherein the
      magnets (i.e. the magnetic phase) when the magnetic 10 magnetic field is positive (+) then off (or neutral), remaining
      field frequencies of the two (or more) magnets are the off (neutral) for a longer period of time than remaining posi
      same (or Substantially the same).                             tive (+), and repeating this sequence. FIGS. 10E, 10F and 10G.
   As to the amplitude of the net change in magnetic flux, it is each show example full wave forms resulting from embodi
generally known that permanent magnets have a north pole ments of a NEST device having at least one magnet wherein
and Southpole, with north pole magnetic flux emanating from 15 the magnets, or magnets’ north pole and South pole alterna
the north pole, and South pole magnetic flux emanating from tively change distances from the Subject in a regular pattern.
the South pole. In some embodiments, the application area is By shielding a pole of the magnets of the array, half wave
subject to a “full waveform” according to the devices and forms may be created using the same array of magnets, for
methods described. For example, when a permanent magnet example shielding as shown in FIG. 11C and/or FIG. 11D,
rotates relative to an application area, the application area discussed further below.
may initially be subjected to a “full north pole field' where the      In some embodiments, the application area is Subject to a
north pole of the magnet is closest to the application area. As “half waveform” according to the devices and methods
the north pole rotates away from the application area and the described. For example, an object may be subjected to a “half
South pole rotates toward the application area, the strength of waveform where the magnet rotates relative to the applica
the north pole field decreases until a “neutral field' is encoun 25 tion area from a full north pole field to a neutral field or from
tered, approximately at the midpoint of the magnet. As the full south pole field to a neutral filed. In some embodiments,
South pole continues to rotate toward the application area, the the “half waveform’ treatment can be achieved by limiting
application area is Subjected to a South pole field of increasing rotation or movement of the magnets. In some embodiments,
intensity until the South pole is closest to the application area the “half waveform’ treatment can be achieved by shielding
where the application area is subjected to a “full south pole 30 the north pole or South pole of the magnet, leaving only the
field. By rotating in this fashion, the object is subjected to a other pole exposed for the treatment of the application area.
“full waveform.” Likewise, the application area is also subject        To subject the treatment area to a dynamic magnetic field
to a “full waveform' when the magnet rotates from the south by the methods and devices described herein, the magnetic
pole to the north pole. As used herein, a South pole may also Source may be rotated, oscillated, moved through a particular
be referred to as “negative. (-), or S, and a north pole may 35 pattern, or otherwise moved relative to the treatment area. In
also be referred to as “positive.” (+), or N.                       Some embodiments, the magnetic source is rotated about an
   For example, FIG. 10A through FIG. 10G show some axis. In some embodiments, the magnetic source is oscillated
exemplary embodiments for various movements of at least with respect to the application area. In some embodiments,
one permanent magnet. FIG. 10A shows a graph of the mag the magnetic source has a linear movement with respect to the
netic field over time. That is, it shows a graph92a expressing 40 application area. Such linear movement can be like a piston
an example magnetic field experienced by a Subject 6a as a movement. In some embodiments, the magnetic source has a
magnet 2a rotation about an axis between the north pole (+) Swing motion with respect to the application area. Such Swing
and South pole (-) of the magnet 2a. The position of the motion can be like a Swinging pendulum movement. In some
magnet relative to the Subject 6a and the field strength (+ or -, embodiments, the magnetic source has a combination of rota
amplitude can vary, depending on for example, the applica 45 tion, linear, oscillated, and Swing movements. In some
tion, method, magnet and therapy being delivered) is shown embodiments, the magnetic source has any combination of
in FIG. 10A. For example at Time-0, the subject 6a may rotation, linear, oscillated, and Swing movements. In some
experience no magnetic field (i.e. a neutral field) when the embodiments, said movement comprises at least one of rota
magnet’s north pole is equally as far from the Subject 6a as the tional motion, linear motion, and Swing motion.
magnet’s South pole (assuming the north pole and South pole 50 In some oscillatory embodiments, a plurality of magnets
have equal strengths yet opposite polarities). As the magnet are fixedly mounted on a Supporting plate, the magnets being
2a spins such that the South pole of the magnet 2a is closest to spaced apart from each other so that the each magnetis spaced
the Subject 6a, the Subject 6a experiences a negative magnetic apart from the next nearest magnets by at least one pole width.
field, as shown in FIG. 10a, and as the magnet 2a spins Each magnet may be positioned so that the upwardly facing
further, the Subject 6a is exposed to a changing magnetic field 55 pole of each magnet is the same. For example, in one con
from, for example, a neutral field, to a negative field, to a figuration, the north pole face of each magnetis mounted to a
neutral field, to a positive field, and so on. As further shown in Supporting plate. In an alternate configuration, the South pole
FIG. 10A, an array of magnets (i.e. a plurality) may be used face of each magnet is mounted to a Supporting plate. By
alternatively to a single magnet to provide a more uniform laterally displacing magnets so arranged proximate to an
field to the subjects brain. FIG. 10A shows a subject 6a1 60 application area, Such area is subjected to a repeating half
exposed to an array of nine rotating magnets, as well as a waveform (full north to Zero to full north). In another embodi
Subject 6a2 exposed to an array of five rotating magnets. In ment, by reversing the polarity of the magnets proximate to
Some embodiments, any number of rotating magnets may be the application area, Such area is subjected to a repeating half
used to provide a more uniform field to the subjects brain.         waveform (full south to Zero to full south).
   Various exemplary wave forms resulting from embodi 65 In some oscillatory embodiments, a plurality of elongated
ments of the devices and methods provided herein are shown magnetic sources are placed adjacent to each other so that a
in FIGS. 10B through FIG. 10G. For example, FIG. 10B repeating pattern of alternating magnetic poles are formed,
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the poles being spaced apart by a predetermined distance. The        FIG.11 I shows another embodiment device having a single
oscillation of the magnetic sources by a distance equal to or     magnet 102i mounted a distance away from the rotation axis
greater than the predetermined distance Subjects an applica       138 of the device, and having the north pole (N) of the magnet
tion area to a complete reversal of magnetic flux, i.e., a full   102i closer to the rotation axis 138 than the south pole (S) of
waveform.                                                       5 the magnet 102i. In the embodiment of FIG. 11I, the subject
   FIGS. 11A through 11K show additional exemplary (not shown) could be positioned, for example, Such that the
embodiments for various movements of at least one perma rotation axis 138 is generally perpendicular with the scalp of
nent magnet. FIG. 11A shows two magnets 102a1, 102a2 the               subject, or wherein the rotation axis 138 is generally
                                                                  parallel to the scalp of the Subject, depending on the desired
coupled to each other and spun about a rotation axis 138a. In 10 waveform
the embodiment of FIG. 11A, the subject (not shown) could FIG. 11J isand/or           magnetic flux for the particular Subject.
                                                                                similar  to FIG. 11I but with the magnet 102k
be positioned, for example, such that the rotation axis 138 is having opposite polarity      to the magnet 102i of FIG. 11I.
generally perpendicular with the scalp of the Subject, or            FIG.  11K  depicts an alternate embodiment device having a
wherein the rotation axis 138 is generally parallel to the scalp single arc-like magnet 1021 (which      may be, for example, a
of the subject, depending on the desired waveform and/or 15 horseshoe magnet), that is coupled to a drive shaft 104 aligned
magnetic flux for the particular subject. FIG. 11B is similar to with the rotation axis 138. As the drive shaft 104 spins about
FIG. 11A but with the magnets 102b1,102b2 having opposite the rotation axis 138, the magnet 102d likewise rotates about
polarity to the magnets 102a1, 102a2 of FIG. 11A.                 the rotation axis 138. In the embodiment of FIG. 11K, the
   FIG. 11C depicts another embodiment device having a Subject (not shown) could be positioned, for example, Such
single magnet 102c having a shield 194 covering the north 20 that the rotation axis 138 is generally perpendicular with the
pole of the magnet 102c. The magnet 102c spins about a scalp of the subject, or wherein the rotation axis 138 is gen
rotation axis 138 along the neutral plane of the magnet (i.e. erally parallel to the scalp of the Subject, depending on the
between the north and southpoles of the magnet 102c). In the desired waveform and/or magnetic flux for the particular
embodiment of FIG. 11C, the subject (not shown) could be Subject.
positioned, for example, such that the rotation axis 138 is 25 The phrase “continuously applied' or “continuous appli
generally perpendicular with the scalp of the Subject, or cation” refer to treatments where an application area is Sub
wherein the rotation axis 138 is generally parallel to the scalp ject to at least one magnetic field with a full waveform or a
of the subject, depending on the desired waveform and/or half waveform for a period of time typically longer than 2
magnetic flux for the particular subject. FIG. 11D is similar to minutes. Such phrases are distinguished from short pulse
FIG. 11C but with the magnet 102d having opposite polarity 30 application (typically microseconds) of a magnetic field.
to the magnet 102c of FIG. 11C. FIG. 11D shows single                In some embodiments, the devices described can be pow
magnet 102d having a shield 194 covering the south pole of ered with a rechargeable battery. One battery charge can be
the magnet 102d.                                                  enough for one or more therapy sessions. In some embodi
   FIG. 11E shows another embodiment device having a ments, a display can indicate battery life remaining and signal
single magnet 102e that Swings with pendulum-like motion 35 when the device should be recharged.
along a pendulum path 198, the pendulum path 198 at least in         In some embodiments, the devices described use at least
part defined by the distance between magnet 102e and the one connection to a computer to allow for upload of therapy
pendulum pivot 96. In the shown embodiment, the south pole information, download of software upgrades, and to order
(S) of the magnet 102e is farther from the pendulum pivot 96      more sessions to be allowed for the device. The connection
than the north pole (N) of the magnet 102e. In the embodi- 40 may be a USB type of connection, or another type of connec
ment of FIG. 11E, the subject (not shown) could be posi tion known or contemplated.
tioned, for example, such that the pendulum path 198 is              The speed of rotation can be critical to the specific therapy
generally perpendicular with the scalp of the Subject, or that is delivered. Therefore, in some embodiments, the speed
wherein the pendulum path 198 is generally parallel to the of rotation is tightly controlled. In some embodiments, the
Scalp of the Subject, depending on the desired waveform 45 speed setting may be set by the user or may be set by a
and/or magnetic flux for the particular subject. FIG. 11F has controller that uses a biological sensor as feedback to opti
similar characteristics to FIG. 11E, but with the magnet 102f mize the magnetic field frequency.
of FIG. 11F having opposite polarity to magnet 102e of FIG.          In some embodiments, the methods and devices described
11E.                                                                use at least one bio-feedback sensor, the sensor can bean EEG
   FIG. 11G depicts another embodiment device having a 50 lead placed on the scalp, along with a reference electrode that
single magnet 102g that is configured to spin about a rotation can be placed in an area of little sensed brain activity. When
axis 138 positioned in the north pole region of the magnet more than one EEG sensor is used, correlation information
102g (i.e. somewhere between the neutral plane of the magnet can begained among separate areas of the brain. The EEG and
and the north pole (N) end of the magnet 102g). The rotation reference leads can be connected through a differential ampli
axis 138 is generally parallel to the neutral plane (not shown) 55 fier to a controller module that regulates the speed of at least
of the magnet 102g. In the embodiment of FIG. 11G, the one motor to rotate at least one magnet above the scalp.
Subject (not shown) could be positioned, for example, Such            Sensing EEG with a magnet rotating in the vicinity can be
that the rotation axis 138 is generally perpendicular with the difficult, since the magnet can affect the electrode. To allow
scalp of the subject, or wherein the rotation axis 138 is gen proper EEG measurement, a technique may be used to Sub
erally parallel to the scalp of the Subject, depending on the 60 tract the pure sine wave from the sensed EEG. In some
desired waveform and/or magnetic flux for the particular embodiments, the magnet rotation can be stopped tempo
subject. FIG. 11H is similar to FIG. 11G but with the magnet rarily in order to take an EEG measurement that does not
102h having opposite polarity to the magnet 102g of FIG. include the effect of the rotating magnet.
11G, and wherein the rotation axis 138 positioned in the south        Provided herein is a device operable to influence an EEG
pole region of the magnet 102h (i.e. somewhere between the 65 phase between two sites in the brain of a subject 2806 within
neutral plane of the magnet and the south pole (S) end of the a specified EEG band, for example, as shown in FIG. 28. Any
magnet 102h).                                                      of the devices described herein may be used to influence the
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EEG phase between two sites in the brain of a subject within            In some embodiments of the devices disclosed herein, the
a specified EEG band. The device may comprise at least two difference between the first rotational orientation and the
permanent magnets 2802a, 2802b, wherein the subunit (not second rotational orientation results in a magnetic phase
shown in FIG. 28, but shown in other figures, for example, when the first permanent magnet is moved at the same fre
FIGS. 1-4, 24, 25, 27) of the device is coupled to both the first 5 quency as the second permanent magnet. As shown in FIG.
and the second magnet, and wherein the subunit enables 28,               for non-limiting example, the first magnet 2802a has a
movement of the second magnet at a frequency between rotational orientation relative to the treatment surface 2899
about 0.5 Hz and about 100 Hz. The subunit may enable that is different than the rotational orientation of second mag
movement of the second magnet at a frequency between 10 wherein      net 2802b. The first magnet 2802a has a rotational orientation
about 2 Hz, and about 20 Hz. The subunit may enable move the treatment        its neutral axis nearly parallel (or tangential, where
ment of the first and second magnet at the same frequencies. nearest it, withsurface         is curved) to the treatment surface 2899
                                                                                      its north pole closest to the treatment surface
   FIG. 28 shows an example embodiment of a NEST device 2899. The second
applied to a subject 2806, wherein the NEST device has three wherein its neutralmagnet             2802b has a rotational orientation
                                                                                            axis that is nearly perpendicular to the
diametrically magnetized cylindrical magnets 2802a, 2802b, 15 treatment surface 2899             nearest it, with its north pole only
2802c, rotating about their cylinder axes having a magnetic slightly closer to the treatment surface 2899 than its south
phase between at least two of the magnets that is not Zero. As pole. Relative to the treatment Surface nearest each magnet,
shown in FIG. 27. a first permanent magnet 2802a of a device thus, the first magnet 2802a has a rotational orientation that is
operable to influence an EEG phase may have a first rotational offset from the rotational axis of the second magnet 2802b by
orientation relative to a treatment surface 2899 of the device       around 90 degrees. The first rotational orientation relative to
and the second permanent magnet 2802b may have a second a first portion of a treatment surface of the device may be
rotational orientation relative to the treatment surface 2899 of     between at least about 0 degrees and about 360 degrees dif
the device. The device may be operable to move the first ferent from the second rotational orientation relative to a
permanent magnet 2802a at the same frequency as the second second portion of the treatment surface of the device. The first
permanent magnet 2802b.                                           25 rotational orientation relative to a first portion of a treatment
   In some embodiments, a magnetic field results from a first surface of the device may be at least one of between at least
magnetic source and a second magnetic source. FIG. 29 about 0 degrees and about 180 degrees, between at least about
shows the magnetic field strengths 2997a, 2997b of two mag 0 degrees and about 90 degrees, between at least about 0
nets moving at the same frequency at the same time 2992, but degrees and about 45 degrees, between at least about 0
having a magnetic phase 2991 relative to one another (out of 30 degrees and about 30 degrees, between at least about 0
phase relative to each other). The magnetic field strengths in degrees and about 15 degrees, between at least about 0
this graph are plotted with time on the X axis, and magnetic degrees and about 10 degrees, at least about 5 degrees, at least
field strength on the y axis (with two X axis, to show the about 10 degrees, at least about 15 degrees, at least about 30
relative field strengths of each magnet simultaneously). As degrees, at least about 45 degrees, at least about 60 degrees, at
depicted in FIG. 29, a first magnetic source and a second 35 least about 90 degrees, at least about 120 degrees, at least
magnetic source may be out of phase relative to each other in about 180 degrees, at least about 240 degrees, and at least
order to influence the EEG phase of the subject. In some about 270 degrees different from the second rotational orien
embodiments, the amount that the first magnetic source and tation relative to a second portion of the treatment surface of
the second magnetic source are out of phase relative to each the device. The specified EEG frequency may be an intrinsic
other is called the magnetic phase 2991. The magnetic phase 40 frequency as described herein. The specified EEG frequency
may be measured peak to peak (i.e. peak of the first magnets may be a pre-selected frequency as described herein. The
field strength to peak of the second magnet’s field strength— pre-selected frequency may be an average intrinsic frequency
as shown in FIG. 29, at 2991), or trough to trough, or inflec of a healthy population database within a specified EEG band.
tion to inflection, or any similar plot characteristic on both of       The magnetic phase of the device may be operable to
the magnets field strength graphs.                                45 influence an EEG phase between a first site and a second site
   In some embodiments, the first portion of the treatment in the brain of a subject of a specified EEG frequency. FIG.30
Surface is the portion of the treatment Surface approximately shows theoretical EEG electrode readings 3095a,3095b mea
closest to the first permanent magnet, and wherein the second sured at two locations on a subject’s head within a single EEG
portion of the treatment surface is the portion of the treatment band when the two locations are exhibiting similar (or the
Surface approximately closest to the second permanent mag- 50 same) frequency, but are out of phase relative to each other,
net. For example, in FIG. 28, the treatment surface 2899 i.e. displaying an EEG phase 3089. The EEG readings over
extends between the magnets 2802a, 2802b, 2802c and the time in this graph are plotted with time on the x axis, and EEG
head of the subject 2806. The first portion of the treatment readings on the y axis (with two X axis, to show two EEG
surface is that portion of the treatment surface 2899 between electrode readings taken simultaneously at different locations
the first magnet 2802a and the nearest portion of the head of 55 on the head of the subject). As depicted in FIG.30, a first EEG
the subject 2806, Likewise, the second portion of the treat reading 3095a, and a second EEG reading 3095b may be out
ment surface is that portion of the treatment surface 2899 of phase relative to each other. In some embodiments, the
between the second magnet 2802b and the nearest portion of amount that the first EEG reading and the second EEG read
the head of the subject 2806. In some embodiments, the first ing are out of phase relative to each other is called the EEG
portion of the treatment surface is the portion of the treatment 60 phase 3089. The EEG phase 3089 may be measured peak to
Surface closest to the first permanent magnet that is intended peak (i.e. peak of the first EEG reading to peak of the second
to be approximately tangential to the head of the Subject EEG reading as shown in FIG. 30, at 3089), or trough to
nearest that treatment Surface. In some embodiments, the             trough, or inflection to inflection, or any similar plot charac
second portion of the treatment surface is the portion of the teristic on both of the EEG reading graphs.
treatment Surface approximately closest to the second perma- 65 In some embodiments, the first site in the brain of a subject
nent magnet that is intended to be approximately tangential to may generally align with a first permanent magnet, and the
the head of the subject nearest that treatment surface.              second site in the brain of a Subject may generally align with
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a second permanent magnet of the device to influence the and may include the EEG electrodes as described. Other
EEG phase between those two sites. Additional sites also be magnet, magnets, and/or magnetic field configurations as
measured, and additional magnets may additionally be used described herein may be used. Other controller subunits as
to influence the EEG phase between given sites toward a described herein may be used. The first electrode may be
pre-selected EEG phase.                                              shaped to fit the area having Substantially no electrical
   Provided herein is a device comprising, a means for apply impulse interference, for non-limiting example, a portion of
ing a first magnetic field to a head of a Subject; and a means for the ear canal or a portion of the nasal cavity. The electrode
applying a second magnetic field to a head of a subject may be shaped like a hearing aid, including, for non-limiting
whereby the means for applying the first magnetic field and example, completely in the canal shaped, canal shaped, half
the means for applying the second magnetic field are capable 10 shell shaped, full shell shaped, behind the ear shaped, and
of influencing an EEG phase between at least two sites in a open ear shaped. The first electrode may be conformable to
brain of the subject of a specified EEG frequency. The mag the area having Substantially no electrical impulse interfer
netic fields (first magnetic field, and second magnetic field) ence. The first electrode may be compliant such that it fits the
may be of the same frequency, but out of phase with each specific anatomy of the Subject. The first electrode may come
other.                                                            15 in multiple sizes to accommodate a range of Subjects
   Additional magnetic fields may be provided by additional anatomy. The first electrode may be configured such that the
means for applying Such magnetic fields. These too may be Subject may place the electrode in the area having Substan
out of phase with each other, or with any of the magnetic tially no electrical impulse interference without assistance
fields. Nevertheless, the magnetic fields in some embodi from, for non-limiting example, a second person, a trained
ments may have the same frequencies. The devices may be a EEG technician, or a medical professional.
Permanent Magneto-EEG Resonant Therapy (pMERT) (i.e. a                  The area having Substantially no electrical impulse inter
Neuro-EEG Synchronization Therapy NEST device) as ference may be a location having Substantially no muscle
described herein.                                                    activity. The area having Substantially no muscle activity may
   Even a device having a magnetic phase of 0, where the naturally have Substantially no muscle activity. Alternatively,
magnets spin at the same frequencies, and in-phase relative to 25 the area having Substantially no muscle activity may be
the treatment surface of the device (and/or relative to the head relaxed by a muscle relaxation means such as, for non-limit
of the subject), may influence the EEG phase between two ing example, an injection with a substance that relaxes (and/
locations measured on the Subjects head. For example, if or paralyzes) the muscles in the area, a topical application of
prior to treatment, two EEG electrodes take EEG readings a Substance that relaxes (and/or paralyzes) the muscles in the
within an EEG band, and the frequencies are the same (or 30 area, and/or by an ingested muscle relaxation Substance.
substantially so), however, the EEG readings have peaks for             While an anatomical location of substantially no electrical
each electrode at different times (i.e. a non-zero EEG phase), impulse interference (but where brain activity may be mea
a device as described herein may influence the EEG phase by Sured) may provide a clearer EEG signal resulting in less
applying a magnetic field having a magnetic phase (i.e. where noise and reduced resistivity from the skull, the first electrode
the magnets move at the same frequency and in-phase with 35 may alternatively be placed on the scalp (either directly, and/
each other).                                                         or with hair between the scalp and the electrode). A single or
   In some embodiments, a device comprises a first electrode a plurality of electrodes may be placed on the scalp for coher
operable to detect electrical brain activity; and a second elec ence measurement, phase measurement, intrinsic frequency
trode operable to detect a reference signal, wherein the first measurement, and/or Q-factor measurement. Noise from
electrode is located on the Subject in at least one of an area of 40 scalp movement and/or resistivity from the skull may be
low electrical resistivity on a Subject, and an area with Sub filtered from the signal (or signals) received from the EEG
stantially no electrical impulse interference on a Subject, and electrodes, however, such filtering may not be necessary.
wherein the second electrode is located on the subject. In Curve Smoothing may be applied to the signal (or signals)
Some embodiments, a device comprises a first electrode oper received from the EEG electrodes, however, such curve
able to detect electrical brain activity; and a second electrode 45 Smoothing may not be necessary. Using any of the EEG
operable to detect a reference signal, wherein the first elec recording means noted herein, multiple signal recordings
trode is located on the subject in at least a portion of the ear may be taken and combined to determine, for non-limiting
canal of the subject, and wherein the second electrode is example, a coherence measurement, an intrinsic frequency
located on the Subject. Such electrode placements and con measurement, and/or a Q-factor measurement. An EEG elec
figurations may be part of any NEST device described herein. 50 trode cap may be used, and signals from one or more elec
Alternatively, these electrode configurations (including trodes of the cap may be used as described hereinto determine
placement and conformation) may be part of any device an intrinsic frequency, a Q-factor, or coherence.
wherein a clearer EEG signal is desired, since these configu            The area of the scalp upon which the first EEG electrode (or
rations result in reductions in noise and reduced resistivity the plurality of electrodes) is/are placed may be induced to
from other signals (such as muscle twitches, etc) as compared 55 have less muscle activity, or it may naturally have less muscle
to electrodes placed on, for example, the head of a Subject.         activity than other areas on the scalp. Inducing less muscle
   FIG. 27 shows an example embodiment of a NEST device activity in the area of the scalp may be achieved in various
having a first EEG electrode 2782a located in the subject’s ear ways. For non-limiting example, the area may be relaxed by
canal 2707, and a reference EEG electrode 2782b (i.e. a a muscle relaxation means such as an injection with a Sub
second electrode) located on an earlobe of the subject 2706. 60 stance that relaxes (and/or paralyzes) the muscles in the area,
Conductive gel 2783 may also be used with the first electrode a topical application of a Substance that relaxes (and/or para
2782b. In the embodiment shown in FIG. 27, the electrodes            lyzes) the muscles in the area, and/or by an ingested muscle
2782a, 2782b, couple by wires to a controller subunit 2758. relaxation Substance.
The controller subunit 2758 also couples to at least one mag            In some embodiments, the second electrode operable to
net 2702 operable to apply a magnetic field to the subjects 65 detect a reference signal is a ground reference. The second
2706 brain by spinning the magnet 2702 about its axis (not electrode may be an ear clip attached to, for non-limiting
shown). Other NEST devices as described herein may be used example, a subject’s earlobe. The second electrode may be
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attached to a location showing substantially no EEG activity. Q-factor a measure of frequency selectivity of a specified
The second electrode may be an ear clip.                            EEG band of the subject toward a pre-selected Q-factor of the
   The device as described herein may be operable to measure band; and applying said magnetic field close to a head of the
the EEG signal from the subjects brain prior to and/or after subject. In some embodiments, a NEST device, such as one of
the application of the magnetic field to the subject. The device 5 the NEST devices (pMERT devices) described herein is used
as described herein may comprise logic (in a computer read to create the magnetic field of the method.
able format—for non-limiting example, hardware, software)              Provided herein is a method of treating a subject, compris
that receives and records the EEG signal prior to and/or fol ing adjusting output of a magnetic field for influencing a
lowing application of the magnetic field to the Subjects brain coherence of intrinsic frequencies among multiple sites in a
(or a portion thereof). The device as described herein may 10 brain of the subject within a specified EEG band toward a
comprise logic (in a computer readable format) that deter pre-selected coherence value; and applying said magnetic
mines the intrinsic frequency of a specified EEG band of the field close to a head of the subject. In some embodiments, a
Subject using the EEG signal prior to and/or following appli NEST device, such as one of the NEST devices (pMERT
cation of the magnetic field to the Subject's brain (or a portion devices) described herein is used to create the magnetic field
thereof). The device as described herein may comprise logic 15 of the method.
(in a computer readable format) that determines the Q-factor           Provided herein is a method of altering an intrinsic fre
of an intrinsic frequency of a specified EEG band of the quency of a brain of a subject within a specified EEG band,
Subject using the EEG signal prior to and/or following appli comprising determining the intrinsic frequency of the Subject
cation of the magnetic field to the Subject's brain (or a portion within the specified EEG band; comparing the intrinsic fre
thereof). The device as described herein may comprise logic 20 quency from step (a) to an average intrinsic frequency of a
(in a computer readable format) that determines the coher healthy population database; if the intrinsic frequency from
ence of the intrinsic frequencies of a specified EEG band of step (a) is higher than the average intrinsic frequency of the
the subject measured at multiple brain locations. The device healthy population database, shifting down the intrinsic fre
as described herein may comprise logic (in a computer read quency of the Subject by applying a specific magnetic field
able format) that determines the phase of the intrinsic fre- 25 close to a head of the Subject, wherein said specific magnetic
quencies of a specified EEG band of the subject measured at field has a frequency lower than the intrinsic frequency of the
multiple brain locations.                                           Subject; and if the intrinsic frequency from Step (a) is lower
   Provided herein is a method of treating a subject, compris than the average intrinsic frequency of the healthy population
ing adjusting output of a magnetic field for influencing an database, shifting up the intrinsic frequency of the Subject by
intrinsic frequency of a specified EEG band of the subject 30 applying a specific magnetic field close to a head of the
toward a pre-selected intrinsic frequency of the specified Subject, wherein said specific magnetic field has a frequency
EEG band; and applying said magnetic field close to a head of higher than the intrinsic frequency of the subject. In some
the subject. In some embodiments, a NEST device, such as embodiments, a NEST device, such as one of the NEST
one of the NEST devices (pMERT devices) described herein devices (pMERT devices) described herein is used to create
is used to create the magnetic field of the method. In some 35 the magnetic field of the method.
embodiments, influencing an intrinsic frequency may include            Provided herein is a method of altering a Q-factor of an
influencing harmonics of the pre-selected intrinsic frequency intrinsic frequency within a specified EEG band of a subject,
of the specified EEG band. In some embodiments, the pre comprising determining the Q-factor of the intrinsic fre
selected intrinsic frequency is a harmonic of the peak intrinsic quency within the specified EEG band of the subject; com
frequency of a specified EEG band. In some embodiments, 40 paring the Q-factor of the intrinsic frequency from step (a) to
influencing an intrinsic frequency may include providing a an average Q-factor of the intrinsic frequency of a healthy
magnetic field having a target frequency that can be repre population database; if the Q-factor of the intrinsic frequency
sented in the frequency domain by an impulse function. In from step (a) is higher than the average Q-factor of the intrin
Some embodiments, influencing an intrinsic frequency may sic frequency of the healthy population database, tuning
include providing a magnetic field having a target frequency 45 down the Q-factor of the intrinsic frequency of the subject by
having no variation (standard of deviation around the target applying a magnetic field with varying frequencies close to a
frequency is 0). In some embodiments, influencing an intrin head of the subject; and if the Q-factor of the intrinsic fre
sic frequency may include providing a magnetic field having quency from step (a) is lower than the average Q-factor of the
a target frequency plus or minus at most 1% of the target intrinsic frequency of the healthy population database, tuning
frequency. In some embodiments, influencing an intrinsic 50 up the Q-factor of the intrinsic frequency of the subject by
frequency may include providing a magnetic field having a applying a specific magnetic field with a pre-selected fre
target frequency plus or minus at most 5% of the target fre quency close to a head of the Subject. In some embodiments,
quency. In some embodiments, influencing an intrinsic fre a NEST device, such as one of the NEST devices (pMERT
quency may include providing a magnetic field having a devices) described herein is used to create the magnetic field
target frequency plus or minus at most 10% of the target 55 of the method.
frequency. In some embodiments, influencing an intrinsic               Provided herein is a method of improving coherence of
frequency may include providing a magnetic field having a intrinsic frequencies within a specified EEG band among
target frequency plus or minus at most 10% of the target multiple locations of a brain of a Subject, comprising deter
frequency. In some embodiments, influencing an intrinsic mining the coherence value of the intrinsic frequencies
frequency may include providing a magnetic field having a 60 among multiple locations throughout a scalp of the Subject;
target frequency plus or minus at most 15% of the target comparing the coherence value from step (a) to an average
frequency. In some embodiments, influencing an intrinsic coherence value of a healthy population database; if the
frequency may include providing a magnetic field having a coherence value from step (a) is higher than the average
target frequency plus or minus at most 20% of the target coherence value of the healthy population database, lowering
frequency.                                                       65 the coherence value of the Subject by applying at least two
   Provided herein is a method of treating a subject, compris asynchronous magnetic fields close to a head of the Subject; if
ing adjusting output of a magnetic field for influencing a the coherence value from step (a) is lower than the average
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coherence value of the healthy population database, raising        embodiments, the amount that the first magnetic source and
the coherence value of the Subject by applying at least one        the second magnetic source are out of phase relative to each
synchronized magnetic field close to a head of the Subject. In     other is called the magnetic phase.
some embodiments, a NEST device, such as one of the NEST              In some embodiments of at least one aspect described
devices (pMERT devices) described herein is used to create         herein, the step of applying the magnetic field is for a pre
the magnetic field of the method.                                    determined cumulative treatment time. In some embodiments
   Provided herein is a method comprising adjusting an out of at least one aspect described above, the pre-selected or
put current of an electric alternating current source for influ target intrinsic frequency with the specified EEG band is from
encing a Q-factor of an intrinsic frequency of an EEG band of about 0.5 Hz to about 100 Hz. In some embodiments of at
a subject toward a target Q-factor, and applying said output 10 least one aspect described above, the pre-selected or target
current across a head of the Subject.                                intrinsic frequency with the specified EEG band is from about
   Provided herein is a method comprising adjusting output of 1 Hz to about 100 Hz. In some embodiments of at least one
a magnetic field for influencing an EEG phase between two aspect described above, the pre-selected or target intrinsic
sites in the brain of a subject of a specified EEG frequency frequency with the specified EEG band is not greater than
toward a pre-selected EEG phase of the specified EEG fre 15 about 50 Hz. In some embodiments of at least one aspect
quency; and applying said magnetic field close to a head of described above, the pre-selected or target intrinsic frequency
the subject.                                                         with the specified EEG band is not greater than about 30 Hz.
   In some embodiments, the pre-selected EEG phase is lower In some embodiments of at least one aspect described above,
than the EEG phase between the two sites in the brain of the the pre-selected or target intrinsic frequency with the speci
subject. In some embodiments, the pre-selected EEG phase is fied EEG band is not greater than about 20 Hz. In some
any EEG phase lower than the EEG phase between the two embodiments of at least one aspect described above, the pre
sites in the brain of the subject. In some embodiments, the selected or target intrinsic frequency with the specified EEG
pre-selected EEG phase is higher than the EEG phase band is not greater than about 10 Hz. In some embodiments of
between the two sites in the brain of the subject. In some at least one aspect described above, the pre-selected or target
embodiments, the pre-selected EEG phase is any EEG phase 25 intrinsic frequency with the specified EEG band is greater
higher than the EEG phase between the two sites in the brain than about 3 Hz. In some embodiments of at least one aspect
of the subject. In some embodiments, the pre-selected EEG described above, the pre-selected or target intrinsic frequency
phase is an EEG phase of a population of people. The popu with the specified EEG band is greater than about 1 Hz.
lation of people may be a set of people having a particular             In some embodiments, of at least one aspect described
trait, characteristic, ability, or feature. The population may be 30 above, the pre-selected or target intrinsic frequency with the
a healthy population of people. The population of people may specified EEG band is up to about 25 Hz. As used herein, the
be a set of people not having a particular disorder, such as term “about when referring to a frequency can mean varia
anxiety, depression, or other disorders mentioned herein. In tions of 0.1 HZ-0.2 HZ, 0.1 Hz to 0.5 HZ, 0.5 Hz to 1 Hz, or 1
Some embodiments, the methods comprise measuring EEG HZ to 5 HZ.
data of two sites in the brain of the Subject, and calculating the 35 In some embodiments, the pre-selected and/or target intrin
EEG phase between the two sites in the brain of a subject.           sic frequency is chosen from a plurality of intrinsic frequen
   In some embodiments, there is no pre-selected EEG phase. cies in the specified EEG band. In some embodiments the
Rather, the method comprises adjusting output of a magnetic pre-selected and/or target intrinsic frequency is chosen from
field for influencing an EEG phase between two sites in the a plurality of intrinsic frequencies across a plurality of EEG
brain of a subject within a specified EEG band; and applying 40 bands. In some embodiments the specified EEG band is the
said magnetic field close to a head of the subject. The EEG Alphaband. In some embodiments the specified EEG band is
phase may be influenced to be lower, or higher.                      the Beta band.
   In another aspect are methods for influencing an EEG                 In some embodiments of the methods described herein, the
phase of a specified EEG frequency between multiple loca method or methods may comprise locating a first electrode
tions of a brain of a subject, comprising determining the EEG 45 operable to detect electrical brain activity on the subject in an
phase the between at least two locations measured on the head area of low electrical resistivity on a subject. In some embodi
of the subject; comparing the EEG phase to an average EEG            ments of the methods described herein, the method or meth
phase of a healthy population; and applying a magnetic field ods may comprise locating a first electrode operable to detect
close to a head of the Subject. Applying the magnetic field electrical brain activity on the Subject in an area with Substan
may influences the determined EEG phase toward the average 50 tially no electrical impulse interference on a subject. In some
EEG phase of a healthy population. The specified EEG fre embodiments of the methods described herein, the method or
quency may be an intrinsic frequency as described herein. methods may comprise locating a first electrode operable to
The specified EEG frequency may be a pre-selected fre detect electrical brain activity on the Subject in an area having
quency as described herein. The pre-selected frequency may Substantially no electrical impulse interference. In some
be an average intrinsic frequency of a healthy population 55 embodiments of the methods described herein, the method or
database within a specified EEG band.                                methods may comprise locating a first electrode operable to
   In another aspect are methods for using a Transcranial detect electrical brain activity on the subject in a location
Magnetic Stimulation (TMS) device for influencing an EEG having Substantially no muscle activity. The method or meth
phase of a Subject within a specified EEG band, comprising:          ods may further comprise locating a second electrode oper
adjusting output of said TMS device; changing the EEG 60 able to detect a reference signal on the subject. The method or
phase by repetitive firing of at least one magnetic field using methods may further comprise determining the intrinsic fre
said TMS device; and applying said magnetic field close to a quency from: the electrical brain activity detected by the first
head of the subject.                                                 electrode, and the reference signal detected by the second
   In some embodiments, the magnetic field results from a electrode.
first magnetic source and a second magnetic source. In some 65 In some embodiments of the methods described herein, the
embodiments, the first magnetic source and the second mag method or methods may comprise locating a first electrode
netic source are out of phase relative to each other. In some operable to detect electrical brain activity on the subject in at
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least a portion of the ear canal of the subject. The method or         from the EEG electrodes noise from scalp movement and/or
methods may further comprise locating a second electrode               resistivity from the skull. The methods provided herein may
operable to detect a reference signal on the subject. The              comprise Smoothing the signal curve received and/or deter
method or methods may further comprise determining the                 mined from the EEG electrodes. The methods provided
intrinsic frequency from the electrical brain activity detected        herein may comprise determining from multiple signal
by the first electrode and the reference signal detected by the        recordings: a coherence measurement, an intrinsic frequency
second electrode.                                                      measurement, and/or a Q-factor measurement using any of
   The method or methods described herein may comprise the EEG recording means noted herein. An EEG electrode
applying conductive gel to the area of low electrical resistivity cap may be used, and signals from one or more electrodes of
on a subject (i.e. the location at which the first electrode is 10 the cap may be used as described herein to determine an
placed). The method or methods described herein may com intrinsic frequency, a Q-factor, or coherence.
prise applying conductive gel to the area having Substantially            The area of the scalp upon which the first EEG electrode (or
no electrical impulse interference on a subject (i.e. the loca the plurality of electrodes) is/are placed may be induced to
tion at which the first electrode is placed). The method or have less muscle activity, or it may naturally have less muscle
methods described herein may comprise applying conductive 15 activity than other areas on the scalp. Inducing less muscle
gel to the area having Substantially no muscle activity (i.e. the activity in the area of the scalp may be achieved in various
location at which the first electrode is placed). Alternatively, ways. For non-limiting example, the methods may comprise
or in addition to the applying the gel, the method may com relaxing the area where the first electrode is placed, for non
prise shaping the first electrode to fit the area at which the first limiting example, by injecting the area with a substance that
electrode is placed, for non-limiting example, the portion of relaxes (and/or paralyzes) the muscles in the area, applying a
the earcanal or the portion of the nasal cavity in which the first topical Substance that relaxes (and/or paralyzes) the muscles
electrode is placed. The electrode may be pre-shaped togen in the area, and/or by providing an ingestible muscle relax
erally fit the intended anatomical location of electrode place ation Substance that relaxes the muscles in the area.
ment, or the electrode may be shaped in-situ to fit the specific          In some embodiments, the method comprises placing a
Subjects anatomical location of electrode placement. The 25 second electrode operable to detect a reference signal,
method may comprise shaping the electrode to fit an anatomi wherein the second electrode is a ground reference. The
cal location (for example, the area at which the first electrode method may comprise attaching an ear clip electrode to, for
is to be placed). The method may comprise providing an non-limiting example, a Subjects earlobe. The ear clip may
electrode that fits an anatomical location (for example, the be removable. The method may comprise attaching the sec
area at which the first electrode is to be placed). The first 30 ond electrode to a location showing substantially no EEG
electrode may come in multiple sizes to accommodate a range activity.
of subjects anatomy. The first electrode may be configured                Measuring the EEG signal from the subject’s brain (i.e.
Such that the Subject may place the electrode in the area measuring EEG data of the subject) may be done prior to
having Substantially no electrical impulse interference with and/or after the application of the magnetic field to the sub
out assistance from, for non-limiting example, a second per 35 ject. The method may comprise receiving the EEG signals
son, a trained EEG technician, or a medical professional.              (i.e. receiving the reference signal from the reference elec
   The method or methods described herein may comprise trode and receiving the brain activity from the first electrode)
placing the first electrode in a location having Substantially no prior to application of the magnetic field to the subject’s brain
electrical impulse interference may be a location having Sub (or a portion thereof). The method may comprise recording
stantially no muscle activity. The area having Substantially no 40 the EEG signals prior to application of the magnetic field to
muscle activity may naturally have Substantially no muscle the subjects brain (or a portion thereof). The EEG signals
activity. The method or methods described herein may com (i.e. receiving the reference signal from the reference elec
prise relaxing the area of the subject at which the first elec trode and receiving the brain activity from the first electrode)
trode is placed by a muscle relaxation means such as by, for received and/or recorded prior to application of the magnetic
non-limiting example, injecting with a Substance that relaxes 45 field to the subjects brain (or a portion thereof) may be used
the muscles in the area, applying a topical Substance that in determining at least one of the intrinsic frequency of a
relaxes the muscles in the area, and/or by providing an ingest specified EEG band of the subject, the Q-factor of an intrinsic
ible muscle relaxation substance to the subject that relaxes the frequency of a specified EEG band of the subject, the phase of
muscles in the area. The method or methods described herein            the intrinsic frequencies of a specified EEG band of the sub
may comprise paralyzing the area of the Subject at which the 50 ject, and the coherence of the intrinsic frequencies of a speci
first electrode is placed by a muscle paralysis means such as fied EEG band of the subject measured at multiple brain
by, for non-limiting example, and/or injecting with a Sub locations. The method may comprise receiving the EEG sig
stance that Substantially paralyzes the muscles in the area, nals (i.e. receiving the reference signal from the reference
applying a topical Substance that Substantially paralyzes the electrode and receiving the brain activity from the first elec
muscles in the area.                                                55 trode) following (or after) application of the magnetic field to
   While an anatomical location of substantially no electrical the subjects brain (or a portion thereof). The method may
impulse interference, and/or a location having Substantially comprise recording the EEG signals (i.e. the reference signal
no muscle activity (but where brain activity may be mea from the reference electrode and the brain activity from the
Sured) may provide a clearer EEG signal resulting in less first electrode) following or after application of the magnetic
noise and reduced resistivity from the skull, nevertheless, the 60 field to the subjects brain (or a portion thereof). The EEG
methods provided herein may comprise placing the first elec signals received and/or recorded (i.e. the reference signal
trode on the scalp (either directly, and/or with hair between from the reference electrode and the brain activity from the
the scalp and the electrode). The methods provided herein first electrode) following (or after) application of the mag
may comprise placing a plurality of electrodes on the scalp for netic field to the subject’s brain (or a portion thereof) may be
coherence measurement, intrinsic frequency measurement, 65 used in determining at least one of the post-treatment intrinsic
and/or Q-factor measurement. The methods provided herein frequency of a specified EEG band of the subject, the post
may comprise filtering from the signal (or signals) received treatment Q-factor of an intrinsic frequency of a specified
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EEG band of the subject, the post-treatment phase of the variance (MANOVA) with repeated measures can be used to
intrinsic frequencies of a specified EEG band of the subject, determine the main effect interactions as described in Jin Yet
and the post-treatment coherence of the intrinsic frequencies al. above.
of a specified EEG band of the subject measured at multiple             Since EEG changes can be direct consequences of treat
brain locations. Determining the intrinsic frequency may ments using the methods or devices described herein, those
comprise removing the reference signal detected by the sec EEG changes can be used to clinically correlate improvement
ond electrode from the electrical brain activity detected by the in Symptoms of mental disorders. Improvement in Symptoms
first electrode. Determining the Q-factor of an intrinsic fre can include positive symptoms and negative symptoms. In
quency of the specified EEG band comprises ascertaining the Some embodiments, the EEG changes after using the methods
Q-factor from the electrical brain activity detected by the first 10 or devices described correlated to both positive symptoms
electrode and the reference signal detected by the second and negative symptoms. In some embodiments, the EEG
electrode by removing the reference signal detected by the changes after using the methods or devices described corre
second electrode from the electrical brain activity detected by lated to only positive symptoms. In some embodiments, the
the first electrode and calculating the Q-factor from the intrin EEG changes after using the methods or devices described
sic frequency fo and the Afas shown in FIG. 12.                   15 correlated to only negative symptoms. In some embodiments,
rTMS Therapy                                                         correlations between EEG changes and improvement in nega
   Repetitive Transcranial Magnetic Stimulation (rTMS) tive symptoms are only significant in the absence of positive
refers to uses of a magnetic field administered in very short symptoms. In some embodiments, correlations between EEG
grouped pulses (microseconds in length) to a patients head to changes and improvement in positive symptoms are only
achieve a constant train of activation over brief periods of a significant in the absence of negative symptoms.
treatment session. These brief magnetic fields can stimulate            In some embodiments, negative symptoms include, but not
Small areas of the brain non-invasively. During a single ses limited to, loss of motivation, anhedonia, emotional flatten
Sion, about 3,000 magnetic pulses can be given over an inter ing, and psychomotor retardation. These negative symptoms
val of about 30 minutes.                                             can be associated with patient’s cognitive deficits and poorer
   The short pulses of magnetic energy generated by rTMS 25 clinical prognosis, and often resistant to antipsychotic medi
devices can stimulate nerve cells of the brain, often at fre         cations. See Gasquet et al., Pharmacological treatment and
quencies close to thresholds of exciting brain cells. Magnetic other predictors of treatment outcomes in previously
fields generated by rTMS devices can pass through the skull untreated patients with schizophrenia: results from the Euro
and into the cortex without being distorted. The result is a pean Schizophrenia Outpatient Health Outcomes (SOHO)
very focal type of stimulation, minimizing stimulation of 30 study. Int Clin Psychopharmacol. 20: 199-205 (2005), which
brain tissue not intended to be stimulated.                          is incorporated by reference in its entirety.
   The magnetic pulses generated by rTMS devices are gen CESTherapy
erally believed to induce electrical charges to flow. The               Cranial Electrotherapy Stimulation (CES) is a method of
amount of electricity created in the brain is very Small, and applying microcurrent levels of electrical stimulation across
can not be felt by the patient. These flowing electric charges 35 the head via transcutaneous electrodes. Provided herein is
can cause the neurons to fire or become active under certain         method including applying an electric alternating current
circumstances. Typically, an objective of rTMS Therapy is to (AC) across ahead of a subject, and adjusting and/or varying
stimulate (or activate) brain cells.                                 the frequency of the AC current to effect at least one of a
   Jin Y et al. Therapeutic effects of individualized alpha characteristic, mental disorder, and an indication presented
frequency transcranial magnetic stimulation (alphaTMS) on 40 herein. In some embodiments, the AC current is a microcur
the negative symptoms of Schizophrenia. Schizophr Bull.              rent.
32(3):556-61 (2006July; Epub 2005 Oct. 27), which is incor              Provided herein is a method comprising adjusting an out
porated by reference in its entirety, described four stimulation put of an electric alternating current source for influencing an
parameters that require optimization for rTMS:                       intrinsic frequency of a EEG band of a subject toward a target
(a) Frequency—Higher frequencies (>10 Hz) are believed to 45 frequency of the EEG band; and applying said electric alter
increase cortical excitability;                                      nating current across a head of the Subject. In some embodi
(b) Intensity—As a percentage of the threshold at which ments of the methods, a CES therapy is used to influence the
motor activity can be elicited (~1-2 Tesla);                         intrinsic frequency of a patient's brain toward a target fre
(c) Duration Pulse trains are brief (1-2 seconds), and inter quency as measured by EEG.
train intervals can be 30-60 seconds; and                         50    Provided herein is a method comprising adjusting an out
(d) Site of Stimulation—Depending on patient population or put current of an electric alternating current source for influ
specific brain functions.                                            encing an intrinsic frequency of an EEG band of a subject
   In some embodiments, severity of psychosis, depression, toward a target frequency of the EEG band; and applying said
and movement disorders can be assessed with PANSS, Mont              output current across a head of the Subject. In some embodi
gomery-Asberg Depression Rating Scale (MADRS), Barnes 55 ments, the step of adjusting the output current comprises
Akathisia Rating Scale (BARS), and Simpson-Angus Scale setting the output current to a frequency that is lower than the
(SAS), as described by Jin Y et al. above. In some embodi intrinsic frequency of the Subject. In some embodiments, the
ments, severity of psychosis, depression, and movement dis step of adjusting the output current comprises setting the
orders can be assessed with the Hamilton Anxiety Scale output current to a frequency that is higher than the intrinsic
(HAMA), the Hamilton Depression Scale (HAMD), or any 60 frequency of the Subject. In some embodiments, the step of
methods known in the art. In some embodiments, efficacy in adjusting the output current comprises setting the output cur
clinical ratings can be evaluated by using analyses of variance rent to the target frequency. In some embodiments, the
(ANOVA) as described by Jin Yet al. above. In some embodi method further comprises determining the intrinsic frequency
ments, raw EEG data can be edited offline by an experienced of the EEG band of the subject; and comparing the intrinsic
technician who is blind to the treatment conditions to elimi 65 frequency to the target frequency of the EEG band, wherein
nate any significant or apparent artifact as described in Jin Y the target frequency is an average intrinsic frequency of the
et al. above. In some embodiments, multivariate analysis of EEG bands of a healthy population of people, wherein if the
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intrinsic frequency is higher than the target frequency, the of people comprises at least two people, each of whom do not
step of adjusting the output current comprises setting the have at least one of the mental disorders listed above. In some
output current to a frequency that is lower than the intrinsic embodiments, the healthy population of people comprises at
frequency of the Subject, and if the intrinsic frequency is least two people without any of the mental disorders listed
lower than the target frequency, the step of adjusting the above.
output current comprises setting the output current to a fre          It will be understood by those of skill in the art that numer
quency that is higher than the intrinsic frequency of the Sub ous and various modifications can be made without departing
ject.                                                              from the spirit of the present invention. Therefore, it should be
    Provided herein is a method comprising adjusting an out clearly         understood that the forms of the present invention are
put of an electric alternating current source for influencing a 10 illustrative only and are not intended to limit the scope of the
Q-factor a measure of frequency selectivity of a specified present invention.
EEG band of a subject toward a target Q-factor of the band;                                   EXAMPLES
and applying said electric alternating current across ahead of
the Subject. In some embodiments of the methods, a con                The invention is described in greater detail by the following
trolled waveform CES therapy is used to influence a Q-factor 15 non-limiting examples.
ofan intrinsic frequency of apatient’s brain. FIG. 12 shows an
example of the Q-factor as used in this invention. The figure                                   Example 1
shows a sample graph of the frequency distribution of the
energy of an EEG signal. It can be seen that a frequency range,       In some embodiments, described are devices that provide
Afcan be defined as the frequency bandwidth for which the low frequency near-sinusoidal TMS therapy by rotating at
energy is above one-half the peak energy. The frequency f is least one permanent magnet in close proximity to the Sub
defined as the intrinsic frequency in the specified band. The jects head. The direction of rotation relative to the subject
Q-factor is defined as the ratio off/Af. As can be seen, when can       vary depending on the specific therapy desired. Also, the
                                                                   speed of rotation can be adjusted to provide the optimal
AF decreases for a given f, the Q-factor will increase. This therapeutic         benefit. The speed adjustment itself can come
can occur when the peak energy E of the signal increases 25 from the user            of the device or from a controller that uses
or when the bandwidth of the EEG signal decreases.
    Provided herein is a method comprising adjusting an out feedback           from a bio-sensor to determine the optimal speed.
put current of an electric alternating current source for influ theInend particular embodiments, a bar magnet can be mounted at
encing a Q-factor of an intrinsic frequency of an EEG band of dicular toofthe   the shaft with the line through the poles perpen
                                                                                   axis of the shaft. The shaft can be rotated by an
a subject toward a target Q-factor, and applying said output 30 adjustable motor.       The magnet can rotate so that the plane of
current across a head of the Subject. In some embodiments, rotation is perpendicular to the Surface of the scalp. Accord
the step of adjusting the output current comprises varying a ingly, the positive and negative poles of the magnet can be
frequency of the output current. In some embodiments, the alternately brought in close proximity to the scalp. This can
step of adjusting the output current comprises setting the create a near-sinusoidal magnetic field in the brain in which
output current to a frequency that is higher than the intrinsic 35 the location where the field is strongest is that which is closest
frequency of the Subject. In some embodiments, the step of to the magnet.
adjusting the output current comprises setting the output cur
rent to a frequency that is lower than the intrinsic frequency of                               Example 2
the Subject. In some embodiments, the step of adjusting the
output current comprises setting the output current to the 40 In particular embodiments, a horseshoe magnet can be
target frequency. In some embodiments, the method further mounted at the end of the shaft with the poles positioned at the
comprises determining the Q-factor of the intrinsic frequency far end from the shaft. The shaft can be rotated by an adjust
of the EEG band of the subject; and comparing the Q-factor to able       motor, as in the previous example. The magnet can be
                                                                   positioned   above the subjects scalp such that the plane of
the target Q-factor, wherein the target Q-factor is an average rotation is parallel     to the Surface of the scalp. Accordingly, the
Q-factor of the intrinsic frequencies of the EEG bands of a 45 positive and negative
healthy population of people, wherein if the intrinsic fre Scalp. This can create apoles           can rotate in a circle around the
quency is higher than the target frequency, the step of adjust in which the phase of sinusoidalthe
                                                                                                          magnetic field in the brain
                                                                                                   magnetic    field is dependent on
ing the output current comprises varying a frequency of the where the magnetic poles are in their rotation.             In general, the
output current, and if the intrinsic frequency is lower than the magnetic field under one pole will be of opposite polarity to
target frequency, the step of adjusting the output current com 50 the magnetic field under the opposite pole.
prises setting the output current to a frequency that is higher
than the intrinsic frequency of the Subject.                                                    Example 3
    In some embodiments, the frequency of the output current
has a waveform. In some embodiments, the waveform is a                In particular embodiments, two bar magnets can be used,
sinusoidal or near-sinusoidal AC microcurrent waveform (i.e. 55 each mounted at the end of a shaft. The shafts can be rotated
a controlled waveform). In some embodiments, the waveform by adjustable motors. The magnets can be positioned on
is any waveform described herein, including but not limited to opposite sides of the Subjects head, and they are rotated
a half waveform and/or a full waveform. In some embodi             synchronously to provide a more uniform phase for the mag
ments, the EEG band is the alpha band measured by EEG. In netic field in the brain. When the north Pole of one bar magnet
Some embodiments, the intrinsic frequency is the alpha fre 60 is next to the subject’s scalp, the south Pole of the other
quency of the patient’s brain measured by EEG. In some magnet will be next to the Subject's scalp on the opposite side
embodiments, the target frequency is a target frequency of the of the subject’s head.
alpha band as measure by EEG. In some embodiments the
target frequency is an average frequency of a group of at least                                 Example 4
two people of the specified EEG band. In some embodiments, 65
the healthy population of people comprises at least two               In particular embodiments, the NEST (pMERT) device is a
healthy people. In some embodiments, the healthy population Small, generally cube-shaped device with one side that is
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curved to allow contact with the top of the subjects head.                                    Example 5
FIGS. 7-9 show the NEST (pMERT) device in such embodi
ments, and also show the NEST (pMERT) device with a                      Purchasing Dosage Quotas and Report Generation
subject lying on his/her back with his/her head resting in the
device to receive therapy.                                             The methods and devices described are intended to be used
   FIGS. 7, 8, and 9 show an exemplary embodiment of the           by psychiatrists/therapists to treat patients with mental disor
pMERT (NEST) device 88. In this embodiment, a button               ders. Psychiatrists who take advantage of this therapy can
EEG electrode 82a is located on the concave surface of the         register accounts with a vendor of the devices described and
device 88 and a second reference electrode 82b extends via a       be given a username and password. When a psychiatrist sees
wire from the side of the device 88. The display 64 and control a patient with a disorder and the psychiatrist feels that the
                                                                10
                                                                   patient could benefit from the methods or devices described
buttons 86 (device controls) are located on top of the device herein,
88 to provide information and allow the user to adjust param that hasthe    been
                                                                                psychiatrist either orders a device or selects one
                                                                                   pre-purchased.
eters and enter patient data. A USB port 84 (which may also           The  psychiatrist   (or administrative assistant) can plug a
and/or alternatively be at least one of an internet connection 15 pMERT (NEST) device         into a USB port on a PC connected to
port, a power Supply, a modem connection, and another type an internet. Using web access             and their username?password,
of communications means) is located at the top rear of the the psychiatrist can login to the NeoSync website. The
device 88, to allow it to be connected via a USB cable to a PC,    pMERT (NEST) will be automatically detected by the Neo
allowing uploading of data and downloading of a dosage Sync website, and any necessary Software upgrades will be
quota. FIG.8 shows the pMERT (NEST) device 88 from FIG. downloaded.
7 in which a subject 6 is lying with his/her head against the         The psychiatrist can then order a number of dosage quotas
concave surface of the device 88. At least one moving magnet for a particular disorder from the website, such as 15
is unseen inside the pMERT (NEST) device 88 in order to 20-minute therapy treatment, one per day, to treat depression.
deliver therapy to the Subject 6. Moving magnets Such as An encrypted key will be downloaded to the pMERT (NEST),
those in configurations described herein may be used in the 25 which will be set to allow the dosage quotas requested by the
device 88 shown in FIGS. 7, 8, and 9. The subject’s head is psychiatrist. Once this occurs, the psychiatrist will automati
pressed against the button EEG electrode (not shown), with cally be billed based on the number and type of dosage quo
the second electrode 82b attached to the subject's right ear. tas. The psychiatrist will then bill the patient (or eventually
FIG. 9 shows an alternate angle of the subject 6 receiving the patients insurance) for the procedure. The patient can
therapy from the pMERT (NEST) device 88 as described in 30 take the pMERT (NEST) device to his/her home to use the
FIG. 7 and/or FIG. 8.                                              device in accordance with the therapy prescribed by the psy
   In these particular embodiments, the pMERT as shown in office.  chiatrist or the patient can be treated in the psychiatrist’s
FIGS. 7-9 contains a single EEG lead (i.e. electrode) which is        Once the patient has used up all the dosage quotas the
to be placed at the top of the subjects head. Alternatively, 35 psychiatrist     has loaded onto the device, the patient returns to
multiple EEG electrodes may be used in recording and/or the psychiatrist              with the pMERT (NEST) device. The psy
monitoring the subjects brain waves at least one of before, chiatrist will connect
during, and after the therapy is applied to the Subject. The via a USB cable and the             pMERT (NEST) device to the PC
                                                                                            will login to the NeoSync website as
subject or nurse can prepare the EEG leads (and/or elec before. The website will detect the pMERT (NEST) and will
trodes) with an electrolytic gel beforehand to lower the 40 upload all treatment information. A report can be generated
impedance. The reference electrode can be placed on the with this information, giving the psychiatrist a quantitative
Subject’s ear. In some embodiments, the reading from a ref indication of progress. The report can include for each treat
erence EEG electrode is subtracted and/or otherwise removed        ment the date, start time, end time, initial EEG alpha param
from the reading from the second EEG electrode.                    eters (i.e., power and Q-factor), and the final EEG alpha
   When therapy is needed, the subject or nurse can follow the 45 parameters. The psychiatrist can print the report or save it to
instructions on the display, which will provide a walkthrough a file to be placed in the patient’s record. At this point, the
of the EEG electrode preparation. Once complete and the psychiatrist can clear the memory of the device and use it for
patient is situated in the device, the EEG is checked by the another patient or he/she can order more dosage quotas for the
pMERT to ensure that the electrode is placed correctly. If not, 50 current patient.
an audible tone or instruction is given to allow the patient to       If the psychiatrist decides that the patient should use the
resituate himself/herself until proper contact is made.            pMERT (NEST) for a longer period, the psychiatrist can set
   Once contact is made, the patient lies still with eyes closed up   an account for the patient with NeoSync, Inc. This way, the
                                                                   patient is able to order more dosage quotas without returning
while the pMERT (NEST) acquires a representative EEG to               the psychiatrist. Only the dosage quotas approved by the
sample. The EEG data is analyzed and, depending on the 55 psychiatrist            will be allowed for the patient to order. The
therapy to be delivered, the magnet or magnets are rotated at patient can pay
the appropriate speed. The patient does not feel anything tually) insurance.NeoSync     For each
                                                                                                directly with a credit card or (even
                                                                                                  session, the psychiatrist may also
during the procedure, except for a diminution of the Symp be paid. The psychiatrist would                have access to all reports
toms of the disorder, and perhaps a feeling of calm. During uploaded from the pMERT (NEST) via the website.
therapy, the device may sample the EEG data either by sub 60
tracting out the influence of the magnet or by temporarily                                     Example 6
halting the magnet while the EEG data is sampled. The dis
play is used to show time remaining and any other necessary           Each patient admitted to the study is randomly assigned
status information for the device. After the therapy time, the into one of the two study groups based on treatment using a
magnet stops and a second EEG is taken, to be compared to 65 plugged pMERT (NEST) device and sham, where a pMERT
the first EEG. Upon completion of the second EEG acquisi (NEST) device rotates a non-magnetic metal block instead of
tion, an audible signal is given to indicate end of therapy.       a magnet. Patients are kept blind to the treatment condition.
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Each treatment consists of 22 daily sessions during a 30-day     Sure of the alpha frequency selectivity. It is measured in the
period (and/or at least 10 sessions during a 2 week period or frequency domain by using a 60 sec artifact free EEG epoch
more). Patients current antipsychotic treatments are kept and a 2.048 data point FFT with a 10-point smooth procedure.
unchanged during the study.                                      Multivariate analysis of variance (MANOVA) across all
   EEG data during treatments are recorded and individual channels for each variable is performed to test the treatment
ized according to the alpha EEG intrinsic frequency (8-13 and stimulus location effects. Change score for each variable
Hz). The precision of the stimulus rate can be refined to the before and after pMERT (NEST) treatment is used to corre
level of 10% of a hertz. It is determined on each patients late with the change score of each clinical measure from the
average alpha frequency, obtained from 3 central EEG leads same time points.
(C3, C4, and Cz).                                             10   FIG. 12 shows an example of the Q-factor as used in this
   EEG data during treatments are recorded from each subject invention. The figure shows a sample graph of the frequency
in a Supine position with their eyes closed throughout the distribution of the energy of an EEG signal. It can be seen that
testing period. Nineteen EEG electrodes (Ag Ag Cl) are a frequency range. Afcan be defined as the frequency band
used according to the International 10-20 system and refer width for which the energy is above one-half the peak energy.
enced to linked mastoids. Electrooculograms (EOGs) from 15 The frequency f is defined as the intrinsic frequency in the
the outer canthus of both eyes are recorded simultaneously to specified band. The Q-factor is defined as the ratio off/Af. As
monitor eye movements. At least two minutes of EEG epochs can be seen, when AF decreases for a given f, the Q-factor
are collected and digitized by a 12-bit A/D (analog/digital) will increase. This can occur when the peakenergy E of the
converter at the rate of 200 Hz by a Cadwell EZ II acquisition signal increases or when the bandwidth of the EEG signal
system. Sixty seconds of artifact free epochs are utilized for decreases.
fast Fourier transformations (FFT). FFT window is set at 512
data points with 80% overlap.                                                             Example 7
   Severity of psychosis, depression, and movement disorders
are assessed with the Hamilton Anxiety Scale (HAMA), the              Effect of NEST Device Lowering Blood Pressure
Hamilton Depression Scale (HAMD), PANSS, Montgomery 25
Asberg Depression Rating Scale (MADRS), Barnes Akathi              An effect of use of a NEST (i.e. pMERT) device using a
sia Rating Scale (BARS), and Simpson-Angus Scale (SAS), method provided herein was shown to lower blood pressure in
respectively. All rating scales and EEGs are administered at a female patient. The patient, originally using a NEST to treat
screening, baseline (immediately prior to first treatment), anxiety, complained of a moderate tension headache and her
immediately following the fifth and tenth treatments.         30 blood pressure was taken, and read at 110/90 mmHg. A NEST
   While the technician administering the pMERT (NEST) device was set at a fixed specified frequency equal to an
device cannot be blinded, the evaluating physicians and EEG intrinsic frequency within her alpha EEG band and the mag
technicians remain unaware of the type of treatment through netic field emanating from the device was applied to the
out the duration of study. A priori categorical definition for patient's head (cerebral cortex). During treatment using the
clinical response is >30% baseline-to-post treatment reduc 35 NEST device, three consecutive blood pressure measure
tion at the end of treatment on PANSS negative symptom ments were taken at ten minute intervals, showing 110/85
Subscale.                                                        mmHg, 100/82 mmHg, and 100/70 mmHg, respectively. An
  Patients with a baseline and at least 1 additional set of       hour after treatment with the NEST device had ceased, the
completed assessments (at least 5 treatment sessions) are patient's tension headache returned, and her blood pressure
included in the analysis of mean treatment effect. Efficacy in 40 was measured, reading 110/90 mmHg.
clinical ratings is evaluated by using analyses of variance
(ANOVA) with repeated measure over time. The models                                        Example 8
include 2 between-subject factors of treatment and location,
and 1 within-subject factors of time. Effect of concomitant          In particular embodiments, a single cylindrical magnet that
antipsychotic treatment can be tested based on the categori 45 is diametrically magnetized (pole on the left and right sides of
Zation of typical and atypical neuroleptic medications. the cylinder) spins about the cylinder axis. The magnet can be
Grouping differences of all other measures are tested indi placed anywhere around the patient's head, and locations can
vidually using the same statistical model. Using a predefined be chosen based on the desire for a more focal therapy at a
response criterion, a contingent table analysis can be used to particular location. Alternative embodiments can include
test the group difference in responding rate.                  50 stringing two or more cylindrical magnets together on the
   Raw EEG data are edited offline by an experienced tech same shaft, or along different shafts, to spin the magnets in
nician who is blind to the treatment conditions to eliminate      unison to create a particular magnetic field in treating the
any significant (>3 arc) eye movements or any other type of patient. A non-limiting examples of this are found in FIGS. 13
apparent artifact. Ten to twenty-four artifact-free epochs through 15.
(1,024 data points per epoch) in each recording channel are 55 FIG. 13 shows an example embodiment of a diametrically
calculated by a fast Fourier transform (FFT) routine to pro magnetized cylindrical magnet 2 for use in a NEST device.
duce a power spectrum with 0.2 Hz frequency resolution. The FIG. 14 shows an example embodiment of a NEST device
intrinsic frequency of alpha EEG is defined as the mean peak applied to a subject 1406, the device having a diametrically
frequency (Fp) of 3 central leads (C3, C4, and Cz). EEG magnetized cylindrical magnet 1402 and a drive shaft 1404
variables used in the analysis included power density (Pwr), 60 that rotates the magnet 1402 about its cylinder axis, wherein
peak frequency (Fp), Fp longitudinal coherence, and fre the cylinder axis coincides with rotation axis 1438. FIG. 15
quency selectivity (Q). See Jin Y et al. Alpha EEG predicts shows an example embodiment of a NEST device applied to
visual reaction time. Int J. Neurosci. 116: 1035-44 (2006), a subject 1506, the device having two diametrically magne
which is incorporated by reference in its entirety.               tized cylindrical magnets 1502a, 1502b and a drive shaft 1404
   Coherence analysis is carried out between Fz and PZ in the 65 that simultaneously rotates the magnets 1502a, 1502b about
peak alpha frequency. Recording from CZ is chosen to calcu their cylinder axes, wherein the cylinder axes are coincident
late the Q-factor (peak freq/half-power bandwidth), a mea with each other and with rotation axis. In this example
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embodiment device, the north pole of magnet 1502a and the       magnets 1702a, 1702b. 1702c are rotatably mounted to at
north pole of magnet 1502b are aligned to provide a more        least one of the side supports 1722, 1720, such that each of the
uniform magnetic field to the subject 1506.                     magnets 1702a, 1702b. 1702c can rotate about their rotation
                                                                axes (cylinder axes) without motion of either of the side
                        Example 9                               supports 1722, 1720. Likewise, at least the tensioner drive
                                                                pulleys 1714a, 1714b. 1714c. (and one tensioner drive pulley
   In particular embodiments, multiple cylindrical magnets
can be arrayed above a patients head so they spin in unison. unshown        in FIG. 17) of the tensioner assemblies 1708a,
                                                                1708b are rotatably mounted (coupled) to at least one of the
These may be connected to each other by belts or gears so that side supports 1722, 1720, such that each of the tensioner drive
they are driven by at least one motor. Non-limiting examples 10 pulleys  1714a, 1714b. 1714c. (and one tensioner drive pulley
of these embodiments are shown in FIGS. 16 through 21.          unshown    in FIG. 17) can rotate about their rotation axes (not
   FIG.16 shows an example embodiment of a NEST device
having three diametrically magnetized cylindrical magnets shown) without motion of the side supports 1722, 1720.
1602a, 1602b, 1602c rotating about their cylinder axes and         For example, drive belt 1718a wraps at least partially
applied to a subject 1606. The poles of each the magnets 15 around the magnet drive pulley 1716a of magnet 1702a, and
1602a, 1602b, 1602c of the shown device are aligned gener also wraps at least partially around the tensioner drive pulley
ally to provide a peak magnetic field to the subject 1606 that 1714a of the first tensioner assembly 1708a. The drive shaft
is coincident with the peak magnetic fields delivered to the 1704, coupled to a motor (not shown), drives the rotation of
subject 1606 from each of the other magnets 1602a, 1602b, all of the magnets 1702a, 1702b, 1702c of the shown device
1602C. Another way of saying this is that each of the magnets 1788. The drive shaft 1704 is coupled to a first magnet 1702a
1602a, 1602b, 1602c has a neutral plane indicated by the which, through its magnet drive pulley 1716a and associated
dotted line on each of magnets 1602a, 1602b, and 1602c, and belt 1718a turns the first tensioner drive pulley 1714a of the
each the neutral planes is aligned to be generally parallel to first tensioner assembly 1708a. The first tensioner drive pull
the scalp of the subject 1606. This configuration provides a ley 1714a of the first tensioner assembly 1708a is coupled to
more uniform field to the subject 1606 than if the magnets 25 the second tensioner pulley (not shown—obscured by side
1602a, 1602b, 1602c are not aligned in such a manner.           support 1722) of the first tensioner assembly 1708a, and,
   FIG. 17 shows an example embodiment of a NEST device thus, when the first tensioner pulley 1714a is turned by the
1788 having three diametrically magnetized cylindrical mag first drive belt 1718a, the second tensioner pulley (not shown)
nets 1702a, 1702b, 1702c configured to rotate about their is also turned. Since the second drive belt 1718bis wrapped at
cylinder axes (not shown). Each of the magnets 1702a, 30 least partially around the second tensioner pulley (not shown)
1702b. 1702c of this example embodiment is coupled to at as well as the second magnet drive pulley 1716b of the second
least one magnet drive pulley 1716a, 1716b, 1716c. 1716d. magnet 1702b, the motion of the second tensioner pulley (not
Each of the magnet drive pulleys 1716a, 1716b, 1716c. 1716d shown) moves the second drive belt 1718b and likewise
has at least one drive belt 1718a, 1718b, 1718C, 1718d          drives the rotation of the second magnet 1702b. The second
wrapped at least partially about it. The device 1788 also 35 magnet 1702 has a third magnet drive pulley 1716c which is
comprises two tensioner assemblies 1708a, 1708b, each com coupled to the second drive pulley 1716b, and the third drive
prising a tensioner block 1710a, 1710b, a tensioner arm belt 1718c wraps at least partially around the third magnet
1712a, 1712b, and at least one tensioner drive pulley 1714a, drive pulley 1716c, thus, motion of the second drive belt
1714b. 1714c each rotating about an axis going through the 1718b also causes motion of the third drive belt 1718C
tensioner arm 1712a, 1712b, respectively, the axis generally 40 wrapped at least partially around the third magnet drive pull
being parallel to the rotation axis of the magnets and to the ley 1716c. The motion of the third drive belt 1718c, also
drive shaft 1704 of the device 1788. In the embodiment shown    wrapped at least partially around the third tensioner pulley
in FIG. 17, each of the tensioner assemblies has two tensioner  1714b of the second tensioner assembly 1708b thus drives the
drive pulleys 1714a, 1714b. 1714c., (one tensioner drive pull rotation of the fourth tensioner pulley 1714c of the second
ley of tensioner assembly 1708 is not shown in FIG. 17—ob 45 tensioner assembly 1708b which is coupled to the third ten
scured by the side support 1722, but can be seen, for example,  sioner pulley 1714b of the second tensioner assembly 1708b.
in FIG. 18). The drive belts 1718a, 1718b, 1718c, 1718d are Furthermore, since the fourth drive belt 1718d is wrapped at
each also wrapped at least partially about at least one ten least partially around the fourth tensioner pulley 1714c of the
sioner drive pulley 1714a, 1714b. 1714c., (one tensioner drive second tensioner assembly 1708b, and is also wrapped at least
pulley of tensioner assembly 1708 is not shown in FIG. 50 partially around the fourth magnet pulley 1716d of the third
17—obscured by the side support 1722), such that each the magnet 1702c, the motion of the fourth drive belt 1718d
drive belts 1718a, 1718b, 1718c, 1718d is wrapped at least drives the rotation of the third magnet 1702c simultaneously
partially around at least one of the magnet drive pulleys with the rotation of the other two magnets 1702a, 1702b.
1716a, 1716b, 1716c. 1716d and is also wrapped at least            In an alternative embodiment, the tensioner assemblies are
partially around at least one of the tensioner drive pulleys 55 not present, and the drive shaft drives the magnets connected
1714a, 1714b. 1714c., (one tensioner drive pulley oftensioner only to each other using drive belts. In an alternative embodi
assembly 1708 is not shown in FIG. 17 obscured by the side ment, only one tensioner assembly is present and is coupled to
support 1722, but can be seen, for example, in FIG. 18) of the at least two magnets. In an alternative embodiment, only one
tensioner subassembly's 1708a, 1708b.                           tensioner assembly is present and is coupled to each of the
   The device 1788 shown in FIG. 17 is held together by two 60 magnets. In an alternative embodiment, the magnets are
side supports 1722, 1720 connected by a support column coupled to each other by gears. In an alternative embodiment,
1724a. In some embodiments, a second Support column the magnets are coupled to each other by a combination of at
1724b, a third Support column (not shown) may also connect least one gear and at least one belt. In an alternative embodi
the side supports 1722, 1720. Each of the tensioner assem ment, the magnets are coupled to each other by a combination
blies 1708a, 1708b and each of the magnets 1702a, 1702b, 65 of at least one gear and at least two belts, wherein each belt is
1702c are mounted to (coupled to) at least one of these sup coupled to a tensioner assembly as generally described
ports, if not both the side supports 1722, 1720. Each of the herein. In an alternative embodiment, the magnets are
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coupled to each other by a rotation means, wherein the rota           Also shown in FIG. 18 are support screws 1826a, 1826b
tion means is configured to drive the rotation of the magnets      which attach the support columns 1824b (other support col
simultaneously.                                                    umns are either not called-out or not shown in FIG. 18) to the
   The tensioner assemblies in the embodiments shown in            side support 1822 and/or to the side support 1820.
FIG. 17, FIG. 18, and FIG. 19, for non-limiting example, are          FIG. 19 shows the example NEST device embodiment of
configured to keep the drive belts taut during use and, there FIG. 17 and/or of FIG. 18 having three diametrically magne
fore, ensure that the rotation of the magnets is simultaneous tized cylindrical magnets 1902a, 1902b, 1902c configured to
and generally in-phase as applied to the Subject where the rotate about their cylinder axes and including a frame 1934
magnets are aligned Such that each of the neutral planes of and base 1936 for mounting the NEST device. The embodi
each of the three magnets are generally aligned to be parallel 10 ment shown in FIG. 19 includes a NEST device having three
to the scalp of the subject.                                       magnets 1902a, 1902b, 1902c, each having magnet drive
   FIG. 18 depicts an exploded view of the example embodi pulleys 1916a, 1916b, 1916C, 1916d at least partially about
ment of the NEST device 1888 of FIG. 17 having three which is wrapped a drive belt 1918a, 1918b, 1918c, 1918d
diametrically magnetized cylindrical magnets configured to each of which is also at least partially wrapped around a
rotate about their cylinder axes. Shown in FIG. 18 is a NEST 15 tensioner drive pulley 1914a, 1914b (not shown) 1914c (not
device 1888 having two tensioner assemblies 1808a, 1808b.          shown) 1914d (not shown) coupled to a tensioner arm 1912a,
Tensioner assembly 1808a comprises a tensioner block 1912b (not shown) of a tensioner assembly. Each tensioner
1810a that couples to the side support 1822 by at least one assembly may include a tensioner block 1910a (not shown)
tensioner dowel pin 1832a. The tensioner block 1810a also          1910b, and a tensioner spring 1930a (not shown), 1930c
couples to the side support 1820 by at least one tensioner which cooperate with at least one of the side supports 1922,
dowel pin 1832b. The tensioner block 1810a floats freely 1920 to pull the drive belts 1918a, 1918b, 1918c, 1918d taut.
along at least a portion of the dowel pins 1832a, 1832b. The The magnets 1902a, 1902b, 1902c are rotatably coupled to
tensioner block 1810a is attached to a tensioner arm 1812a         side supports 1922, 1920, and at least one magnet 1902a in
which has two tensioner drive pulleys 1814a, 1814d, which the embodiment shown is coupled to a drive shaft 1904 which
couple to drive belts 1818a, 1818b (respectively) which 25 rotates the magnet 1902a to which it is directly coupled, and
themselves are coupled to magnets 1802a, 1802b (respec through the cooperation of the magnet drive pulleys 1916a,
tively) of the device 1888 through magnet drive pulleys 1916b, 1916c, 1916d, drive belts 1918a, 1918b, 1918c,
1816a, 1816b. The tensioner block 1810a exerts a force on the      1918d, and tensioner drive pulleys 914a, 1914b (not shown)
belts 1818a, 1818b to keep the belts taut during use, since the 1914c (not shown) 1914d (not shown), also rotates the other
tensioner block 1810a is also coupled to tensioner springs 30 magnets 1902b, 1902c of the NEST device such that all of the
1830a, 1830b which push the tensioner block 1810a away magnets 1902a, 1902b, 1902c rotate simultaneously.
from the side supports 1822, 1820, and thus, away from the            FIG. 20 shows an example embodiment of a NEST device
magnet drive pulleys 1816a, 1816b coupled to the side Sup having eight diametrically magnetized cylindrical magnets
ports 1822, 1820 by centerpins (not shown) that run through 2002a-2002h, configured to rotate about their cylinder axes.
each of the drive pulleys 1816a, 1816b and the magnets 35 Each of the magnets 2002a-2002h has at least one magnet
1802a, 1802b. When the centerpin is also attached to a motor, drive pulley 2016a-2016n coupled to it which rotates the
it may also rotate the magnet and its associated magnet drive magnet 2002a-2002h when the magnet drive pulley 2016a
pulley(s), and it may be called a drive shaft. Nevertheless, the 2016n is rotated by a belt 2018.a-2018h that is at least partially
magnet drive pulleys 1816a, 1816b can rotate, and with their wrapped around at least one of the magnet drive pulleys
rotational movement the magnet drive pulleys 1816a, 1816b 40 2016a-2016 n. In the embodiment shown, a drive shaft 2004
can rotate, or be rotated by, the magnets 1802a, 1802b.            has two drive belts 2018d, 2018e wrapped at least partially
   Likewise, tensioner assembly 1808b comprises a tensioner around the drive shaft 2004. The drive shaft 2004 thus rotates
block 1810b that couples to the side support 1822 by at least all of the magnets 2002a-2002h simultaneously through a
one tensioner dowel pin 1832c. The tensioner block 1810b series of drive belts 2018.a-2018h and magnet drive pulleys
also couples to the side support 1820 by at least one tensioner 45 2016a-2016.n all coupled to the drive shaft 2004.
dowel pin 1832c. The tensioner block 1810b floats freely              For example, the first drive belt 2018e is wrapped at least
along at least a portion of the dowel pins 1832c, 1832d. The partially around the drive shaft 2004, and is also wrapped at
tensioner block 1810b is attached to a tensioner arm 1812b         least partially around a first magnet drive pulley 2016.h of a
which has two tensioner drive pulleys 1814b. 1814c, which first magnet 2002e. A second drive belt 2018fis wrapped at
couple to drive belts 1818d, 1818c (not shown) (respectively) 50 least partially around a second magnet drive pulley 2016i of
which themselves are coupled to magnets 1802b, 1802c(re the first magnet 2002e. The second drive belt 2018f is also
spectively) of the device 1888 through the magnet drive pull wrapped at least partially around a third magnet drive pulley
leys 1816c. 1816d. The tensioner block 1810b exerts a force 2016i of the second magnet 2002f. A third drive belt 2018g is
on the belts 1818d, 1818c (not shown) to keep the belts taut wrapped at least partially around a fourth magnet drive pulley
during use, since the tensioner block 1810b is also coupled to 55 2016k of the second magnet 2002f. The third drive belt 2018g
tensioner springs 1830c. 1830d which push the tensioner is also wrapped at least partially around a fifth magnet drive
block 1810b away from the side supports 1822, 1820, and pulley 2016l of a third magnet 2002g. A fourth drive belt
thus, away from the magnet drive pulleys 1816c. 1816d 2018h is wrapped at least partially around a sixth magnet
coupled to the side supports 1822, 1820 by center pins (not drive pulley 2016m of the third magnet 2002g. The fourth
shown) that run through each of the drive pulleys 1816c. 60 drive belt 2018h is also wrapped at least partially around a
1816d and the magnets 1802b, 1802c. When the centerpin is seventh magnet drive pulley 2016n of a fourth magnet 2002h.
also attached to a motor, it may also rotate the magnet(s) and As arranged, therefore, the motion of the first drive belt 2018e
its associated magnet drive pulley(s), and it may be called a coupled to the drive shaft 2004 rotates the first magnet 2002e,
drive shaft. Nevertheless, the magnet drive pulleys 1816c. the second magnet 2002f the third magnet 2002g, and the
1816d can rotate, and with their rotational movement the 65 fourth magnet 2002h simultaneously.
magnet drive pulleys 1816c. 1816d can rotate, or be rotated           Similarly, the fifth drive belt 2018d is wrapped at least
by, the magnets 1802b, 1802c.                                      partially around the drive shaft 2004, and is also wrapped at
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least partially around an eighth magnet drive pulley 2016g of 22, and an example of the rectangular magnet similar to the
a fifth magnet 2002d. A sixth drive belt 2018c is wrapped at disc magnet is shown in FIG. 23.
least partially around a ninth magnet drive pulley 2016.fof the         FIG.22 shows an example embodiment of a NEST device
fifth magnet 2002d. The sixth drive belt 2018c is also having two disc magnets 2202a, 2202b that rotate about a
wrapped at least partially around a tenth magnet drive pulley 5 common rotation axis 2236. The device comprises two disc
2016e of the sixth magnet 2002c. A seventh drive belt 2018b shaped magnets 2202a, 2202b that are axially magnetized
is wrapped at least partially around an eleventh magnet drive (the poles are on the top and bottom faces). The north pole of
pulley 2016d of the sixth magnet 2002c. The seventh drive the first magnet 2202a aligns with the southpole of the second
belt 2018b is also wrapped at least partially around a twelfth 10 magnet 2202b (aligning their neutral planes). The device
magnet drive pulley 2016c of a seventh magnet 2002b. An further comprises a drive shaft 2204 that aligns with the
eighth drive belt 2018a is wrapped at least partially around a center of the disc magnets 2202a, 2202b and with, therefore,
thirteenth magnet drive pulley 2016b of the seventh magnet theFIG.       rotation axis 2236 of the magnets 2202a, 2202b.
2002b. The eighth drive belt 2018a is also wrapped at least ment of 23           shows an exploded view of an alternate embodi
partially around a fourteenth magnet drive pulley 2016.a of an 15 of FIG.22 having twoNEST
                                                                              an example          device embodiment similar to that
                                                                                              rectangular magnets 2302a, 2302b that
eighth magnet 2002a. As arranged, therefore, the motion of rotate around a common rotation axis              2336. The device com
the fifth drive belt 2018d coupled to the drive shaft 2004 prises two rectangular magnets 2302a, 2302b that are mag
rotates the fifth magnet 2002d, the sixth magnet 2002c, the netized such that the north pole of the first magnet 2302a
seventh magnet 2002b, and the eighth magnet 2002a simul faces away from the drive shaft2304, and the south pole of the
taneously. In an alternative embodiment, the drive shaft has first magnet 2302a faces the drive shaft 2304, and the north
only one drive belt that drives all of the rotation of all of the pole of the second magnet 2302b faces the drive shaft 2304
magnets. Also shown in FIG. 20 are the side supports 2022, while the south pole of the second magnet 2302b faces away
2020 connected by at least two support columns 2024a, from the drive shaft 2304. The poles of each of the magnets
2024b. The supports 2020, 2022 hold each of the magnets 2302a, 2302b, thus, face the top cover 2352 and the bottom
2002a-2002h in place relative to the supports 2020, 2022 25 cover 2350 of the device, but the magnets 2302a, 2302b, have
while allowing rotational motion of the magnets 2002a opposite polarity. In the embodiment shown, the first magnet
2002h and of the drive shaft 2004 which may be driven, for 2302a is held in place in the device by a first magnet holder
non-limiting example, by a motor (not shown).                        2344a having two pieces that are connected by a magnet
   FIG. 21 shows the magnet rotation of the example NEST holder cap screw 2342 and a magnet holder dowel pin 2340.
device embodiment of FIG. 20 having eight diametrically 30 The first magnet 2302a is placed between and at least partially
magnetized cylindrical magnets 2102a-2102h configured to within the pieces of the first holder 2344a. Likewise, the
rotate about their cylinder axes. FIG. 21 shows a side view of second magnet 2302b is held in place in the device by a
an embodiment of a NEST device (not showing, for example,            second magnet holder 2344b having two pieces that are con
side Supports), which is similar to the embodiment shown in nected by a magnet holder cap screw (not shown) and a
FIG. 20. In this embodiment, each of the magnets 2102a 35 magnet holder dowel pin (not shown). The second magnet
2102h has at least two drive belts (for example, drive belts 2302b is placed between and at least partially within the
2118a-2118h) coupled to it which rotate the magnet 2102a pieces of the second holder 2344b. The two holders 2344a,
2102h, or which are rotated by the magnet 2102a-2102h, 2344b are coupled together, and may have a centerbeam 2348
when the drive shaft 2104 is rotated. In the embodiment              that holds the first and second holders 2344a, 2344b together.
shown, two drive belts 2118d, 2118e are wrapped at least 40 The holders 2344a, 2344b may also be held together addi
partially around the drive shaft 2104. The drive shaft 2104 tionally or alternatively by adhesive 2346. The drive shaft
thus rotates all of the magnets 2102a-2102h simultaneously 2304 is coupled to the holders 2344a, 2344b, in the embodi
through a series of drive belts 2118a-2118h all coupled to the ment shown, by attaching to the centerbeam 2348, which thus
drive shaft 2104. Shown in this embodiment is an example of couples the magnets 2302a, 2302b to the drive shaft 2304
the direction of rotation of the magnets 2102a-2102h (indi- 45 such that rotation of the drive shaft 2304 likewise spins the
cated by arrows) resulting from a clockwise rotation of the magnets 2302a, 2302b within the holders 2344a, 2344b about
drive shaft 2104. An opposite direction of movement is the rotation axis 2336. The drive shaft 2304 may alternatively
achieved when the drive shaft is rotated in a counter-clock          and/or additionally be coupled to the holders 2344a, 2344b
wise direction. In the embodiment shown, the clockwise rota          and to the center beam 2348 by adhesive 2346. The magnets
tion of the drive shaft 2104 rotates all of the magnets 2102a- 50 2302a, 2302b encased in the holders 2344a, 2344b are addi
2102h in a clockwise direction due to the belt 2118q-2118h           tionally housed within a top cover 2352 and a bottom cover
arrangement shown. Each of the belts 2118a-2118h shown is 2350. The covers 2350, 2352 are connected to one another by
wrapped either around two magnets or around a magnet and at least one cover cap screw 2354. The drive shaft 2304 fits
the drive shaft.                                                     through at a hole 2356 in at least one of the covers, for
                                                                  55 example, the bottom cover 2350. Where the cover 2350 is
                           Example 10                                disc-shaped, as shown in FIG. 23, the hole 2356 is located the
                                                                     center of the disc cover 2350, and the hole 2356 is configured
   In particular embodiments, a disc shaped magnet that is such that the drive shaft2304 may rotate freely within the hole
axially magnetized (the poles are on the top and bottom faces) 2304, for example, with aid of a bearing which allows drive
can be cut in half, one half turned over (aligning N of one half 60 shaft rotation (and, thus, magnet rotation) relative to the cov
with S of the other half) and placed together. This disc can be ers 2350, 2352.
spun about the center of the disc to get a magnetic field that is
uniform over a large area. In a similar embodiment, two                                         Example 11
rectangular magnets having poles aligned and positioned
similarly to the disc as previously described can be spun about 65 FIG. 24 shows an example embodiment of a NEST device
the center of the rectangular magnets to create a similarly similar to the embodiments depicted in FIGS. 22 and/or 23
uniform field. An example of the disc magnetis shown in FIG. having two magnets 2402a, 2402b rotating about a common
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rotation axis applied to a subject 2406 and showing the con                                   Example   12
troller subunit 2458 coupled to a drive shaft 2404 that rotates
the magnets 2402a, 2402b. The controller subunit 2458 may                   Effect of a Device Lowering Blood Pressure
contain a motor (not shown) that cooperates with the drive
shaft 2404 to rotate the magnets 2402a, 2402b.                        An effect of use of a modified rTMS device according to
   FIG. 25 shows block diagram of an example embodiment the methods and device descriptions provided herein was
of a NEST device showing example elements of the NEST shown to reduce the symptoms of fibromyalgia. The patient
device and of its controller subunit. For example the embodi complained of chronic widespread pain and tenderness to
ment shown depicts a magnet 2502 that is mounted by a frame 10 light touch, and was diagnosed with fibromyalgia. The NEST
2534 to a base 2536. This allows the magnet 2502 to be held device  alpha
                                                                           was used to tune an intrinsic frequency (of the patients
                                                                           wave).   Following treatment, the patient reported a
stationary as the device treats a subject whose head may be
positioned near to the magnet 2502 (within the magnetic field reduction of the symptoms of fibromyalgia.
produced by the magnet 2502). The magnet 2502 is coupled                                      Example 13
to the controller subunit 2558 by a drive shaft 2504. The drive 15
shaft 2504 may couple to a motor 2572 of the controller               FIG. 26 shows an example embodiment of a NEST device
subunit 2558 by a coupling 2578. The coupling may allow for having a single bar magnet 2602 that moves linearly along its
various magnet arrangements to be interchanged by merely north-south axis 2639 once each time the Supporting ring (or
decoupling the drive shaft from the controller subunit and annulus) 2619 is rotated (rotation shown by arrows in FIG.
coupling a device having another arrangement of magnets 26), providing a pulse-type alternating magnetic field at the
(such as, for example, those described herein). The magnet frequency of rotation. In this embodiment, a magnet 2602 is
2502 may be controlled by the controller subunit 2558 secured against a rotating ring (or annulus)2619 with a spring
through the motor 2572 that may be driven by a motor driver 2628, where the ring 2619 has one or more detents 2629. The
2574. The motor driver 2574 may be coupled (directly or subject 2606 is shown below the ring 2619 in FIG. 26. When
indirectly) to a power supply 2576. The motor driver 2574, 25 the ring 2619 is rotated, as shown with the arrows in FIG. 26,
which can control, for non-limiting example, the speed, direc the magnet 2602 will be thrust into each detent 2629 once per
tion, acceleration, etc., of the magnet 2502 through the drive rotation. As the ring 2619 continues to rotate, the magnet
shaft 2504, can be directed and/or monitored by controls such 2602 will        move back to its original position. This periodic
as, for example, a device speed control 2560, an on/off control 30 thrust may generate a more unipolar pulsatile magnetic field
2562, a display 2564, a random/continuous control 2566, and than         that generated by a rotating magnet. The width and
a high/low control 2568. A user can adjust each of these strength ofof
                                                                    amplitude      the magnetic pulse depends on the mass and
controls, which are coupled to a processor circuit board 2570 and the depth ofmagnet,
                                                                                the
                                                                                      the
                                                                                             as well as the strength of the spring,
                                                                                          detent.
and thus coupled to the motor driver 2574.                            In alternative embodiments to that shown in FIG. 26, there
   Alternatively, and/or additionally, the drive shaft 2504 and/ 35 could  be multiple detents in the ring. The ring could be
or the magnet(s) may be controlled automatically based on a non-circular.         The magnet could rotate around the ring, while
prescribed treatment (time of treatment, frequency of magnet the ring is stationary. There could be multiple magnets and a
rotation, etc) that is downloaded and/or programmed into the single detent. There could be multiple magnets and multiple
processor circuit board 2570 from a source external or inter detents. Instead of a detent, the magnet or magnets could
nal to the controller subunit, as previously described herein. 40 encounter a ridge, or multiple ridges. The magnet or magnets
Treatments received may be stored by the controller subunit. could encounter slopes, rather than sharp detents or ridges.
Additionally and/or alternatively, where EEG electrodes are The magnet could be positioned such that the north pole is
also present in the device and are capable of measuring the closer to the treatment area than the South pole, or Such that
Subject’s brain waves, the device may adjust the treatment the south pole is closer to the treatment area than the north
automatically by a biofeedback system. Additionally and/or 45 pole (such as is shown in FIG. 26). In some embodiments, the
alternatively, where EEG electrodes are present in the device number of detents is the same as the number of magnets of the
and are capable of measuring the Subject's brain waves, the device. In some embodiments, the number of detents is not
treatment may be chosen based on the readings of the Sub the same as the number of magnets of the device. In some
jects brain waves prior to the treatment. Additionally and/or embodiments, the number of detents is a multiple of the
alternatively, where EEG electrodes are present in the device 50 number of magnets of the device. In some embodiments, the
and are capable of measuring the Subject's brain waves, the number of detents is not a multiple of the number of magnets
treatment may be chosen automatically by the device based of the device.
on the readings of the subject’s brain waves prior to the             In an alternative embodiments of the device, the magnet
treatment and based on a set of rules stored in the controller      may flip (or rotate) about an axis between the north pole and
subunit. Additionally and/or alternatively, where EEG elec 55 south pole as a ring similar to that shown in FIG. 26 rotates.
trodes are present in the device and are capable of measuring The magnet may be freely rotatable about the axis between
the subject’s brain waves, the controller subunit is capable of the north pole and South pole, and the magnet may be rotat
storing the output of the EEG electrodes prior to, during, able about a shaft. The shaft, in this embodiment, is not
and/or after treatment with the NEST device. Additionally coupled to a drive source. Rather, the ring itselfmay drive the
and/or alternatively, where EEG electrodes are present in the 60 flipping (rotating) of the magnet by capturing a first portion of
device and are capable of measuring the Subject’s brain the magnet in a first detent and moving that first portion as the
waves, the controller Subunit is capable of transmitting the ring moves until a second portion of the magnetis captured by
output of the EEG electrodes prior to, during, and/or after second detent of the ring which likewise moves the second
treatment with the NEST device. This transmitting may be portion of the magnet. In some embodiments, the first portion
real-time (during measurement), or after storage of the EEG 65 is associated with a first pole of the magnet, and the second
electrode outputs and during an upload or download from the portion is associated with a second pole of the magnet. In one
NEST device.                                                        embodiment, the first pole may be the north pole of the
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magnet and the second pole may be the South pole of the            and     12    HZ,   changing    frequencies  once per second. If the
magnet. In another embodiment, the first pole may be the patient was in the "SHAM” group, the magnets in the NEST
South pole of the magnet and the second pole may be the north were replaced with steel cylinders, thereby imparting no mag
pole of the magnet. A drive source may drive the movement of netic field to a head of the patient. The patients in this group
the ring which, in turn, drives the rotation of the magnet. The 5 were divided into two subgroups with equal probability, with
drive source may be motor, for non-limiting example.               one group having the cylinders rotated at the intrinsic fre
                                                                   quency and the other group having the cylinders rotated at
                          Example 14                               random frequencies as noted above.
                                                                       Study subjects were treated daily on weekdays (Monday
   A study was conducted a controlled, randomized, double 10 through Friday) for four weeks, with treatment consisting of
blind multicenter study using the NEST device as shown in a single 30-minute session. All treatment sessions were
FIG. 19, with permanent magnets arranged as shown in FIG.
16 to treat subjects with moderate to severe depressive disor administered
                                                                   symptoms
                                                                                        at the study site. Baseline EEG and clinical
                                                                                     were    recorded 3 days or less prior to the first
der. Outcomes were measured by Ham-D, CGI-I, and CGI-S.            session      of treatment     followed by series of quantitative analy
FIGS. 38-41 show the results of the study utilizing the NEST    15
device and methods for the treatment of depression as pro SCS.
vided herein.                                                          The subject's EEG was recorded weekly during the study
   The study was conducted at two sites. In the method used with a 19-channel system with the subject at rest with eyes
in this trial, a magnetic field was adjusted to influence the closed. An FFT with a 30-second window was used to quan
Q-factor of an intrinsic frequency of each subject within the tify the signal of each channel to produce consecutive fre
alpha-band. The magnetic field was applied close to the head quency bands alpha, beta, delta, and theta. The alpha band
of the subject. EEG readings were taken before treatment was further analyzed with the non-linear curve fitting to
began. The magnets were in the same location and rotated in obtain the Q-factor for the subject. Single Photon Emission
the same manner for all Subjects receiving the magnetic Computed Tomography (SPECT) scans were taken at base
therapy. All subjects underwent a traditional 19-lead EEG 25 line and at the end of the 4-week study for the subjects
recording. A Cadwell Easy 2.1 EEG system was used to take enrolled at the U.S. clinical site. Voxel readings of given areas
the 19-lead EEG reading. The intrinsic frequency in the alpha were averaged across different slices to render a mean value
band (7-11 Hz) was determined using the initial EEG reading. of each Region of Interest (ROI).
The specific alpha frequency (pre-selected frequency) was              Efficacy and adverse effects of the treatment were evalu
selected from the EEG recording using a curve-fitting tech 30 ated on a weekly basis during the treatment using EEG and
nique to determine the Subjects intrinsic frequency of the quantitative depression scales. The determination of a Suc
alpha wave and to determine the Q-factor of the alpha wave. cessful outcome based on change in HAMD-17 score was
    Patients were placed in one of three groups: constant fre made at 4 weeks for each subject. Each of the study subjects
quency, random frequency, or sham, with equal probability were contacted at 8 weeks and interviewed to determine
for each group. The sham treatment (SHAM) was created 35 whether any adverse events had occurred during the previous
using the prototype by Substituting steel cylinders of the same month.
weight and size for the 3 magnets. The sham operates iden              A total of 52 subjects with MDD were enrolled in this
tically to the device, except that no alternating magnetic field study. All subjects met the eligibility criteria for enrollment.
is generated. The sham is indistinguishable from the device in As shown in Table 1, mean age of the population was 43.8
that it looks and Sounds the same, and has the same vibration 40 years, and 56.8% of subjects were female. No clinically rel
when in operation. When using the sham, the same procedure evant differences were observed at baseline for demographic
as the prototype was followed in that the subject's EEG was characteristics or baseline MDD severity (Table 2).
recorded and the sham cylinder rotation was set to the average                                        TABLE 1
alpha frequency (the Subjects intrinsic frequency of his/her
alpha wave).                                                    45              CLINICAL STUDY DEMOGRAPHIC INFORMATION
    Study subjects had been diagnosed with MDD, with a                                               NEST        SHAM Statistics
Hamilton Depression (HAMD-17) score of 17 or greater.
Additional eligibility criteria included an unsatisfactory clini Gender (Male:Female)                 12:17        7:8     X = 0.11, P=
cal response to previous antidepressant therapy prescribed at                                                              O.74
adequate dose and appropriate time interval prior to the trial 50  Age   (s.d.)                    42.5 (15.0) 46.3 (12.7) t = 0.85, P = 0.40
treatment. All study Subjects were using concomitant antide Years of Education (s.d.) 13.9 (4.2) 14.1 (3.2) t = 0.16, P = 0.87
pressant treatment and had been stable on medications for
greater than one month prior to their admission into the study:                                       TABLE 2
no adjustment to the Subjects antidepressant regimen was
made during the study.                                          55         CLINICAL STUDY BASELINE CLINICAL INFORMATION
    Study subjects were randomized to one of three treatment                                         NEST         Sham     Statistics
arms, consisting of either a fixed frequency magnet rotation,
a random frequency magnet rotation, or sham treatment. Age of Onset (s.d.)                         33.0 (14.6) 30.7 (13.9) t = 0.50, P = 0.62
Sham treatments (SHAM) simulating both fixed and random Duration               of Illness (s.d.)
                                                                   Hamilton Score (s.d.)
                                                                                                   11.1 (9.7)
                                                                                                   21.3 (4.0)
                                                                                                               13.6 (11.4) t = 0.79, P = 0.44
                                                                                                               19.4 (4.1) t = 1.55, P = 0.13
frequency were employed to ensure blinding of the study 60 Antidepressents             (SSRI          28,3        1570     X2 = 1.55, P =
Subjects and personnel at the clinical sites. Both a fixed and a other)                                                    O.21
random frequency were evaluated, with the goal of assessing Alpha EEG Power (s.d.) 44.9 (37.0) 41.2 (40.2) t = 0.31, P = 0.76
any differences between these two treatment patterns. If the Alpha (s.d.)
                                                                           EEG Frequency            9.7 (0.9)   9.3 (1.1) t = 1.39, P = 0.17
patient was in the “constant frequency” group, the NEST was Alpha          EEG Q-factor            10.4 (5.1)   9.9 (4.7) t = 0.38, P = 0.71
set to rotate the magnets at the intrinsic frequency. If the 65 (s.d.)
patient was in the “random frequency” group, the NEST was
set to rotate the magnets at random frequencies between 6 HZ
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                              81                                                                                          82
   Seven subjects withdrew from the study prior to the Week                                   subject who experienced at least 50% improvement on the
1 visit, due to problems returning to the study site. Thus no                                 HAMD-17. Table 4 gives the responder vs. non-responder
post-baseline data were available. For subjects who did not                                   data for the sham and active (NEST) groups. There were
complete the 4-week follow-up, the last available value was                                   significantly more responders in the active treatment group
imputed (LOCF) for each of the assessment scales.                                             (1%9 or 55.2%) compared to sham (2/16 or 12.5%) (2–7.82,
   No study site interaction was found(F1,43=0.22, P=0.64).                                   P=0.005).
Therefore, the results provided combine data from both sites.
FIG.38 shows the HAMD-17 score mean and standard error                                                                     TABLE 4
at baseline and at the end of each week of treatment. The first
set of four bars represent the HAMD-17 weekly change in the 10 Proportion of Subiects with at least a 50%. Improvement in Symptoms
SHAM group, the second set of four bars represent the                                Non-responder       Responder           Total
HAMD-17 weekly change in the test group (NEST) of sub
jects having a fixed pre-selected frequency emitted from the             Sham        14 (87.5%)            2 (12.5%)          16
device (the fixed pre-selected frequency being, in this                  Active      13 (44.8%)          16 (55.2%)           29
example, the Subjects own average intrinsic frequency), and 15           Total       27                  18                   45
the third set of four bars represent the HAMD-17 weekly
change in the test group (NEST) of subjects having a random
frequencies (hopping frequencies) emitted from the device              Each subject's EEG was recorded at baseline and at the
within the alpha band (8-13 Hz), independent of the subjects conclusion of 4 weeks of treatment. The NEST device
own average intrinsic frequency. Each of the bars within each reduced the alpha EEG Q-factor significantly (F1, 18>4.3,
test group represents the average HAMD score at the end of a P<0.05) as measured by the global average or the average at
week, starting with week 0 (baseline), week 1, 2, 3, and 4, left the pre-frontal cortex (P=0.03). The decrease in Q-factor
to right, respectively. After the fourth week of treatment, the correlates well with clinical improvement in depression
NEST groups were significantly better than the SHAM as an symptoms (r=0.46, P=0.01). FIG. 40 shows the change in
overall measure (F1, 43=10.17, P=0.003), or on a time by 25 HAMD-17 score versus the change in the alpha Q-factor. That
treatment interaction (F3, 129=6.7, P=0).                           is, it shows the percent improvement in HAMD score com
   FIG. 39 shows the average drop in HAMD-17 score pared to the percent change in Q-factor for Subjects who
between the active group (NEST fixed and random frequency received the NEST device treatment. The change in the Q-fac
groups combined) and the SHAM, along with Table 3 show tor of the alpha wave (as a %) is presented along the X-axis,
ing the week by week change, with standard error and confi 30 while the change in HAMD Score (as a %) is presented along
dence interval. After the fourth week of treatment, the active      the y-axis. A decrease in HAMD-17 score was generally
group (NEST groups combined) was significantly better than accompanied by a decrease in Q-factor of the alpha fre
the sham as an overall measure (F1, 43-6.5, P=0.01), or on a quency. The bestfit line was plotted of the data (Linear regres
time by treatment interaction. The first data point represents sion R Squared value of 0.212).
the Baseline measurement (value of 0 change). The second 35 The regional Cerebral Blood Flow (rCBF) of subjects
data point represents the average change after one (1) week of enrolled at the US study site was evaluated using a SPECT
treatment. The third data point is the average change after two scan at baseline and again after the 4 weeks of treatment. A
(2) weeks of treatment. The fourth data point is the average significant correlation between changes in rCBF and HAMD
change after three (3) weeks of treatment. The fifth data point     17 score was found, specifically in the orbital frontal cortex
is the average change after four (4) weeks of treatment. The 40 (r=-0.67, P=0.04), prefrontal tip (r=-0.66, P=0.05), and dor
top line represents the average HAMD score for subjects sal lateral prefrontal cortex (r—-0.55, P=0.12). See Table 5
treated with the SHAM device, the bottom line represents the showing the correlation between Changes in rCBF (%) and
average HAMD score for subjects treated with the NEST HAMD Score (%). Areas of increased activation of the active
device.                                                             NEST device compared to sham were observed, along with
                                                                 45 areas of deactivation of the active NEST device compared to
                            TABLE 3                                 SHAM. Areas of the cortex were observed to be activated by
                                                                    NEST device treatment compared to SHAM. Areas of the
     MEAN, STANDARD ERROR, AND CONFIDENCE INTERVAL                  cortex were observed to be deactivated by NEST device com
        FOR THE DROPIN HAMD-17 SCORE FORTREATMENT
                       AND SHAM GROUPS                              pared to SHAM. A significant portion of the cortex was
                                                                 50 shown to have increased blood flow for the active subjects
                                              95% Confidence
                                                  Interval
                                                                    (using the NEST device) compared to sham. Much of this
                                                                    activation occurs in the prefrontal cortex. Using the therapy,
     Dependent                        Std.   Lower       Upper      activation of the cortex occurs, especially in the frontal
     Variable      Tx      Mean      Error   Bound       Bound      region, whereas deactivation occurs in the rear and lower
                                                                 55 regions of the brain.
     Week 1         O      1.383     O.792   -0.214        2.980
                         1        2.460°        OS46         1.359         3.S60
     Week 2              O        2.267         1.087        O.O76         4.459                                           TABLE 5
                         1        4.806         O.749        3.296         6.317
     Week 3              O        4.351         1.199        1932          6.770                                                    HAMD
                         1        7.443           827        5.776         9.110         60                                         Pearson
     Week 4              O        4495          1.433        1604          7.385                                                     Corr.    N   Sig.
                         1        9.986         O.988        7.994        11.979
                                                                                                 Orbital Frontal Cortex             -0.67     9   O.04
Covariates appearing in the model are evaluated at the following values: Baseline HAMD           Prefrontal Tip                     -0.66     9   O.OS
= 20.72.                                                                                         Dorsal Lateral Prefrontal Cortex   -O.S.S    9   O.12
                                                                                                 Anterior Cingular                  -0.4      9   O.29
  For further analysis, the test subjects using the SHAM 65                                      Anterior Temporal Lobe             -0.15     9   0.7
device and the NEST device were divided into two groups:                                         Parietal Lobe                      -0.47     9   O.21
responders and non-responders. A responder was defined as a
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                      TABLE 5-continued                             the Internet and/or other computer networks via one or more
                                                                    data transfer protocols (e.g., HTTP, FTP, SMTP, etc.). When
                                      HAMD
                                     Pearson
                                                                    received within a computer system via one or more computer
                                       Corr.    N       Sig.     5 readable media, such data and/or instruction-based expres
                                                                    sions of components and/or processes under the ICS may be
     Occipital Lobe                   -0.08     9       O.83        processed by a processing entity (e.g., one or more proces
     Limbic System                    -0.34     9       0.37        sors) within the computer system in conjunction with execu
     Basal Ganglia                    -0.25     9       O.S1
                                                                    tion of one or more other computer programs.
                                                                        Unless the context clearly requires otherwise, throughout
   In this study, a large, statistically significant decrease in 10 the description and the claims, the words "comprise.” “com
HAMD score was observed in subjects treated with the NEST prising.” and the like are to be construed in an inclusive sense
device. This improvement in Symptoms of depression was as opposed to an exclusive or exhaustive sense; that is to say,
accompanied by a significant decrease in Q-factor in the in a sense of “including, but not limited to.” Words using the
cortex. In addition, in subjects treated with the active NEST singular or plural number also include the plural or singular
device, there was an increase in blood flow, and therefore an 15 number respectively. Additionally, the words “herein.” “here
increase in metabolism in the cortex, particularly in the pre under,” “above.” “below,” and words of similar import refer to
frontal region, the area of the brain associated with mood. this application as a whole and not to any particular portions
FIG. 42 shows how the increase in rCBF in orbital frontal           of this application. When the word 'or' is used in reference to
cortex predicts clinical improvement in depression (r=-0.67. a list of two or more items, that word covers all of the follow
P=0.04). This figure shows that as the blood flow in the orbital 20 ing interpretations of the word: any of the items in the list, all
frontal cortex is increased, the HAMD score decreases.              of the items in the list and any combination of the items in the
                                                                    list.
                          Example 15                                   The above descriptions of illustrated embodiments of the
                                                                    system, methods, or devices are not intended to be exhaustive
   FIG. 41 shows the results of a clinical trial utilizing the 25 or to be limited to the precise form disclosed. While specific
NEST device for the treatment of anxiety. This trial involved embodiments of and examples for, the system, methods, or
two (2) patients (subjects). Both patients received treatment devices are described herein for illustrative purposes, various
with the NEST device as shown in FIG. 19, with permanent equivalent modifications are possible within the scope of the
magnets arranged as shown in FIG.16. In the method used for system, methods, or devices, as those skilled in the relevant
these patients, a magnetic field was adjusted to influence the 30 art will recognize. The teachings of the system, methods, or
Q-factor of an intrinsic frequency of each subject within the devices provided herein can be applied to other processing
alpha-band. The magnetic field was applied close to the head systems, methods, or devices, not only for the systems, meth
of the subject. EEG readings were taken before treatment ods, or devices described.
began. A Cadwell Easy 2.1 EEG system was used to take a                The elements and acts of the various embodiments
19-lead EEG reading. The intrinsic frequency in the alpha 35 described can be combined to provide further embodiments.
band (7-11 Hz) was determined using the initial EEG reading. These and other changes can be made to the system in light of
Both patients were treated with a constant frequency, wherein the above detailed description.
for each patient the NEST was set to rotate the magnets at the          In general, in the following claims, the terms used should
intrinsic frequency detected for that patient. Patients received not be construed to limit the system, methods, or devices to
treatment every weekday for 30 days. EEG readings were 40 the specific embodiments disclosed in the specification and
taken after treatment at least on a weekly basis. The first data the claims, but should be construed to include all processing
point is the baseline HAMA score. The second data point for systems that operate under the claims. Accordingly, the sys
each line represents the HAMA score after one (1) week of tem, methods, and devices are not limited by the disclosure,
treatment for each patient. The third data point for each line but instead the scopes of the system, methods, or devices are
represents the HAMA score after two (2) weeks of treatment 45 to be determined entirely by the claims.
for each patient. The fourth data point for each line represents       While certain aspects of the system, methods, or devices
the HAMA score after four (4) weeks of treatment for each are presented below in certain claim forms, the inventors
patient.                                                            contemplate the various aspects of the system, methods, or
   The various functions or processes disclosed herein (such devices in any number of claim forms. For example, while
as, for non-limiting example, logic that performs a function or 50 only one aspect of the system, methods, or devices is recited
process) may be described as data and/or instructions embod as embodied in machine-readable medium, other aspects may
ied in various computer-readable media, in terms of their likewise be embodied in machine-readable medium. Accord
behavioral, register transfer, logic component, transistor, lay ingly, the inventors reserve the right to add additional claims
out geometries, and/or other characteristics. The logic after filing the application to pursue Such additional claim
described herein may comprise, according to various embodi- 55 forms for other aspects of the system, methods, or devices.
ments of the invention, Software, hardware, or a combination           While preferred embodiments of the present invention
of software and hardware. The logic described herein may have been shown and described herein, it will be obvious to
comprise computer-readable media, Computer-readable those skilled in the art that such embodiments are provided by
media in which Such formatted data and/or instructions may way of example only. Numerous variations, changes, and
be embodied include, but are not limited to, non-volatile 60 substitutions will now occur to those skilled in the art without
storage media in various forms (e.g., optical, magnetic or           departing from the invention. It should be understood that
semiconductor storage media) and carrier waves that may be           various alternatives to the embodiments of the invention
used to transfer Such formatted data and/or instructions             described herein may be employed in practicing the inven
through wireless, optical, or wired signaling media or any           tion. It is intended that the following claims define the scope
combination thereof. Examples of transfers of such formatted 65 of the invention and that methods and structures within the
data and/or instructions by carrier waves include, but are not Scope of these claims and their equivalents be covered
limited to, transfers (uploads, downloads, e-mail, etc.) over thereby.
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  What is claimed is:                                                  wherein the magnetic field increases the blood flow of a
   1. A system for treating depressionina Subject comprising:              cortex of the brain or decreases the blood flow of a lower
a magnetic field generator adapted to apply a magnetic field to            region of the brain.
a head of the Subject, wherein the magnetic field generator             2. The system of claim 1, comprising at least one perma
comprises:                                                           nent magnet.
   a) a non-transitory computer readable medium containing              3. The system of claim 1, wherein the magnetic field is
      a Subject data value comprising                                generated by movement of at least one permanent magnet.
      i) a first intrinsic frequency of a brain of the subject          4. The system of claim 3, wherein the movement of the at
         within a specified EEG band,                                least one said magnet is at a frequency between about 0.5 HZ
      ii) a Q-factor of the first intrinsic frequency,            10
                                                                     and about 100 HZ.
      iii) a coherence value of a second intrinsic frequency and        5. The system of claim 3, wherein said movement com
         a third intrinsic frequency, wherein the second and prises
         third intrinsic frequencies are from two different sites Swing at      least one of rotational motion, linear motion, and
                                                                             motion.
         in the brain of the subject within the specified EEG
         band, or                                                 15    6. The system of claim 3, wherein said movement gener
      iv) an EEG phase between two sites in the brain of the ates an alternating magnetic field.
          subject of a specified EEG frequency, wherein the two         7. The system of claim 1, further comprising logic config
          sites are different; and                                   ured to control the intrinsic frequency to be any intrinsic
   b) a processor configured to control the magnetic field frequency between about 0.5 Hz and about 100 Hz in incre
      based on said Subject data value, wherein the magnetic         ments of about 0.1 Hz.
      field is configured to                                            8. The system of claim 1, further comprising logic config
      i) move the first intrinsic frequency in a pre-selected ured to automatically change the intrinsic frequency in
         direction, up or down, within the specified EEG band response to EEG readings of a subject during treatment.
         using said magnetic field,                                     9. The system of claim 1, further comprising logic config
      ii) move the Q-factor of the first intrinsic frequency in a 25 ured to calculate the subject data value from EEG data col
         pre-selected direction, up or down, within the speci lected from the subject.
         fied EEG band using the magnetic field,                        10. The system of claim 1, further comprising: (a) a first
      iii) move the coherence value by applying the magnetic electrode operable to detect electrical brain activity; and (b) a
         field and a second magnetic field that is asynchronous second electrode operable to detect a reference signal;
         with the magnetic field close to the head of the subject 30 wherein the first electrode is adapted to be located on the
         and reducing the coherence value, or by applying the subject in at least one of an area of low electrical resistivity
         magnetic field and the second magnetic field that is on         said Subject, and an area with Substantially no electrical
          synchronized with the magnetic field close to the head impulse       interference on said Subject, and wherein the second
         of the Subject and raising the coherence value, or
      iv) move the EEG phase of the specified EEG frequency, 35 electrode is adapted to be located on the subject.
         wherein the magnetic field comprises a first magnetic          11. The system of claim 1, further comprising a device
         field that is in-phase with the second magnetic field or configured
                                                                     and  a lower
                                                                                  to measure blood flow of at least one of the cortex
                                                                                   region of the brain.
         a first magnetic field that is out of phase with the
          second magnetic field; and                                                          k   k   k  k    k
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                   EXHIBIT C
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                                                                                                          USOO8465408B2


(12) United States Patent                                                               (10) Patent No.:                 US 8.465,408 B2
       Phillips et al.                                                                  (45) Date of Patent:                      *Jun. 18, 2013
(54) SYSTEMS AND METHODS FOR                                                              5,092,835 A        3, 1992 Schurig et al.
        MODULATING THE ELECTRICAL                                                         s: A                  32 RA 1
        ACTIVITY OF A BRAIN USING NEURO-EEG                                               3.65s A               66. ANN s A.
        SYNCHRONIZATION THERAPY                                                           5,632,720 A        5, 1997 Kleitz
                                                                                          5,667.469 A * 9/1997 Zhang et al. ...................... 600/9
(75) Inventors: James William Phillips, Fountain                                                                         9.
                Valley, CA (US); Yi Jin, Irvine, CA (US)                                                       (Continued)
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(73) Assignee: Neosync, Inc., Newport Beach, CA (US)                               DE                298.21635 U1       8/1998
                                                                                   WO           WO-96-15829 A2          5, 1996
(*) Notice:                Subject to any disclaimer, the term of this
                           patent is extended or adjusted under 35                                             (Continued)
                           U.S.C. 154(b) by 0 days.
                                                                                                      OTHER PUBLICATIONS
                           This patent is Subject to a terminal dis
                           claimer.                                                Hamidi et al., “Repetitive transcranial magnetic stimulation affects
                                                                                   behavior by biasing endogenous cortical oscillations.” Frontiers in
(21) Appl. No.: 12/850,547                                                         Integrative Neuroscience 3(14): 1-12 (2009).
(22) Filed:                Aug. 4, 2010                                                                        (Continued)
(65)                            Prior Publication Data
        US 2011 FOO34822 A1                         Feb. 10, 2011                  Primary Examiner — Christine Matthews
                                                       eb. 1U,                     Assistant Examiner — Joshua D Lannu
              Related U.S. Application Data                                        (74) Attorney, Agent, or Firm — Wilson, Sonsini, Goodrich
(60) Provisional application No. 61/231,928, filed on Aug.                         & Rosati
     6, 2009.
(51) Int. Cl.                                                                      (57)                       ABSTRACT
        33N2%                                  3:08:                               Described are methods, devices, and systems for a novel,
        A6IN 2/02                              (2006. 01)                          inexpensive, easy to use therapy for treatment of coma, post
52) U.S. C                                                                         traumatic stress disorder, Parkinson's disease, cognitive per
(52) USPG                                                 6OO/9: 6OO/544: 6OO/14   formance, and/or amblyopia. Described are methods and
(58)    Field fo - - - - - ificati- - - - - -s - - - - - - h     s      s          devices to treat coma, post-traumatic stress disorder, Parkin
        ise."               SSCO Sea 600/9, 13, 14, 544, 545                       son's disease, cognitive performance, and/or amblyopia that
     See a lication file for complete search histo s                               involves no medication. Methods and devices described
          pp                     p                ry.                              herein use alternating magnetic fields to gently “tune' the
(56)              References Cited                                                 brain and affect symptoms of coma, post-traumatic stress
                                                                                   disorder, Parkinson's disease, cognitive performance, and/or
                     U.S. PATENT DOCUMENTS                                         amblyopia.
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                                     Figure 2
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              82b




                                Figure 8
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                                  Figure 10A
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               Figure 10B                            Figure 10C



               Figure 10D                            Figure 10E




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                  102c

          Figure 11C                        Figure 1 1D
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                Figure 11E                              Figure 11F


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       102g                               102h N
           NS     N



                Figure 11G                             Figure 11H


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       Figure 11 I                Figure 11 J                     Figure 11 K
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                                     Figure 16
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                                   Figure 21




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                                   Figure 22
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                              Figure 23
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                                   Figure 24
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                                             Figure 25
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                             Figure 26
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                                    Figure 27
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                                      Figure 28
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         Figure 29                                    Figure 30
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                                      Time (Weeks)




                                      Figure 33
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                                                     US 8,465,408 B2
                              1.                                                                  2
         SYSTEMS AND METHODS FOR                                      In another aspectare methods of modulating the electrical
        MODULATING THE ELECTRICAL                                  activity of a brainina Subject in need thereof, comprising: (a)
    ACTIVITY OF A BRAIN USING NEURO-EEG                            adjusting output of a magnetic field for influencing a Q-factor,
         SYNCHRONIZATION THERAPY                                   a measure of frequency selectivity of a specified EEG band, of
                                                                   the subject toward a target Q-factor of the band; and (b)
            CROSS-REFERENCE TO RELATED                             applying said magnetic field close to a head of the Subject.
       APPLICATIONS AND CLAIM TO PRIORITY                             In another aspectare methods of modulating the electrical
                                                                   activity of a brain in a Subject in need thereof, comprising:
   This application claims priority to U.S. Provisional patent determining the Q-factor of the intrinsic frequency within the
application Ser. No. 61/231,928, filed Aug. 6, 2009, which is 10 specified EEG band of the subject; comparing the Q-factor of
incorporated herein by reference in its entirety.                  the intrinsic frequency from step (a) to an average Q-factor of
                                                                   the intrinsic frequency of a control group; if the Q-factor of
           BACKGROUND OF THE INVENTION                             the intrinsic frequency from step (a) is higher than the average
                                                                   Q-factor of the intrinsic frequency of the control group, tun
   A neurological disorder generates serious problems for the 15 ing down the Q-factor of the intrinsic frequency of the subject
affected Subjects, their families, and Society. Currently, psy by applying a magnetic field with a plurality of frequencies or
chiatrists and neurophysiologists treat these disorders with a with a single target frequency close to a head of the Subject;
variety of medications, many of which have significant nega and if the Q-factor of the intrinsic frequency from step (a) is
tive side effects.                                                 lower than the average Q-factor of the intrinsic frequency of
   Repetitive Transcranial Magnetic Stimulation (rTMS) uses the control group, tuning up the Q-factor of the intrinsic
an electromagnet placed on the scalp that generates a series of frequency of the Subject by applying a magnetic field with a
magnetic field pulses roughly the strength of an MRI scan. target frequency to a head of the Subject. In some embodi
Some studies have shown that rTMS can reduce the negative ments, the control group is a set of subjects having a particular
symptoms of schizophrenia and depression under certain cir trait, characteristic, ability, or feature. In some embodiments,
cumstances. To generate low frequency magnetic field pulses 25 the control group is a control group set of Subjects not having
using an electromagnet such as in rTMS requires high cur a neurological disorder disclosed herein (e.g., Post Traumatic
rent. Over time, this high current results in significant heat Stress Disorder, coma, amblyopia, or Parkinson's disease).
that must be actively dissipated.                                     In another aspectare methods of modulating the electrical
                                                                   activity of a brainina Subject in need thereof, comprising: (a)
              SUMMARY OF THE INVENTION                          30 adjusting output of a magnetic field for influencing a coher
                                                                   ence of intrinsic frequencies among multiple sites in a brain of
   Described herein, in certain embodiments, are methods           the subject within a specified EEG band toward a target coher
and systems for modulating the electrical activity of a brain. ence value; and (b) applying said magnetic field close to a
Described are methods and devices for modulating the elec head of the Subject In another aspect are methods adjusting
trical activity of a brain that involve no medication. Methods 35 output of a magnetic field for influencing a coherence of
and devices described herein gently “tune' the brain and intrinsic frequencies among multiple sites in a brain of the
affect mood, focus, and cognition of human Subjects. Meth subject within a specified EEG band toward a target coher
ods and devices described herein gently “tune” the brain and ence value comprising: determining the coherence value of
affect mood, focus, and cognition of Subjects.                     the intrinsic frequencies among multiple locations through
   In one aspect are methods of modulating the electrical 40 out a scalp of the Subject; comparing the coherence value
activity of a brainina Subject in need thereof, comprising: (a) from Step (a) to an average coherence value of a control
adjusting output of a magnetic field for influencing an intrin group; if the coherence value from step (a) is higher than the
sic frequency of a specified EEG band of the subject toward a average coherence value of the control group, lowering the
target intrinsic frequency of the specified EEG band; and (b) coherence value of the Subject by applying at least two asyn
applying said magnetic field close to a head of the Subject. 45 chronous magnetic fields close to a head of the Subject; if the
   In another aspect are methods of altering an intrinsic fre coherence value from step (a) is lower than the average coher
quency of a brain of a subject within a specified EEG band, ence value of the control group, raising the coherence value of
comprising: (a) determining the intrinsic frequency of the the Subject by applying at least one synchronized magnetic
subject within the specified EEG band; (b) comparing the field close to a head of the subject. In some embodiments, the
intrinsic frequency from step (a) to an average intrinsic fre 50 control group is a set of Subjects having a particular trait,
quency of a control group; (c) if the intrinsic frequency from characteristic, ability, or feature. In some embodiments, the
step (a) is higher than the average intrinsic frequency of the control group is a control group set of Subjects not having a
control group, shifting down the intrinsic frequency of the neurological disorder disclosed herein (e.g., Post Traumatic
Subject by applying a specific magnetic field close to a head of Stress Disorder, coma, amblyopia, or Parkinson's disease).
the Subject, wherein said specific magnetic field has a fre 55 In another aspectare methods of using a Transcranial Mag
quency lower than the intrinsic frequency of the Subject; and netic Stimulation (TMS) device for influencing an intrinsic
(d) if the intrinsic frequency from step (a) is lower than the frequency of a subject within a specified EEG band, compris
average intrinsic frequency of the control group, shifting up ing: (a) adjusting output of said TMS device; (b) changing
the intrinsic frequency of the Subject by applying a specific EEG frequency, Q-factor, or coherence by repetitive firing of
magnetic field close to a head of the Subject, wherein said 60 a magnetic field using said TMS device; and (c) applying said
specific magnetic field has a frequency higher than the intrin magnetic field close to a head of the Subject;
sic frequency of the Subject. In some embodiments, the con            In some embodiments, a method is provided for treating
trol group is a set of Subjects having a particular trait, char post traumatic stress disorder in a Subject, comprising tuning
acteristic, ability, or feature. In some embodiments, the the Q-factor of an intrinsic frequency of the Subject by apply
control group is a control group set of Subjects not having a 65 ing a magnetic field close to a head of the Subject, wherein the
neurological disorder disclosed herein (e.g., Post Traumatic magnetic field comprises at least one of (a) a single fre
Stress Disorder, coma, amblyopia or Parkinson's disease).          quency; (b) a plurality of frequencies within a specified EEG
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                                                    US 8,465,408 B2
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band; and (c) an intrinsic frequency of a brain of the Subject     Subjects not having a neurological disorder disclosed herein
within a specified EEG band. In some embodiments, any of           (e.g., Post Traumatic Stress Disorder, coma, amblyopia, or
the devices described herein may be used to treat post trau        Parkinson's disease). In some embodiments, the methods
matic stress disorder.                                             comprise measuring EEG data of two sites in the brain of the
   In some embodiments, a method is provided for treating subject, and calculating the EEG phase between the two sites
coma in a Subject (and/or treating a subject in a coma), com in the brain of a subject. The specified EEG frequency may be
prising tuning the Q-factor of an intrinsic frequency of the an intrinsic frequency as described herein. The specified EEG
Subject by applying a magnetic field close to a head of the frequency may be a target frequency as described herein. The
Subject, wherein the magnetic field comprises at least one of target frequency may be an average intrinsic frequency of a
(a) a single frequency; (b) a plurality of frequencies within a 10 control group within a specified EEG band.
specified EEG band; and (c) an intrinsic frequency of a brain         In another aspect are methods for influencing an EEG
of the subject within a specified EEG band. In some embodi phase
ments, any of the devices described herein may be used to tions ofofaabrain    specified EEG frequency between multiple loca
                                                                                    of a Subject, comprising: (a) determining the
treat COma.
   In some embodiments, a method is provided for treating 15 EEG phase the between at least two locations measured on the
amblyopia in a subject, comprising tuning the Q-factor of an head of the subject; (b) comparing the EEG phase from step
intrinsic frequency of the Subject by applying a magnetic field (a) to an average EEG phase of a control group; and (c)
close to a head of the subject, wherein the magnetic field applying a magnetic field close to a head of the Subject
comprises at least one of (a) a single frequency; (b) a plurality wherein applying the magnetic field influences the deter
offrequencies within a specified EEG band; and (c) an intrin mined EEG phase toward the average EEG phase of a control
sic frequency of a brain of the subject within a specified EEG group. In some embodiments, the control group is a set of
band. In some embodiments, any of the devices described Subjects having a particular trait, characteristic, ability, or
herein may be used to treat amblyopia.                             feature. In some embodiments, the control group is a control
   In some embodiments, a method is provided for treating group set of Subjects not having a neurological disorder dis
Parkinson's Disease in a Subject, comprising adjusting an 25 closed herein (e.g., Post Traumatic Stress Disorder, coma,
intrinsic frequency of the Subject by applying a magnetic field amblyopia, or Parkinson's disease).
close to a head of the subject, wherein the magnetic field            In another aspect are methods for using a Transcranial
comprises at least one of (a) a single frequency; (b) a plurality Magnetic Stimulation (TMS) device for influencing an EEG
offrequencies within a specified EEG band; and (c) an intrin phase of a Subject of a specified EEG frequency, comprising:
sic frequency of a brain of the subject within a specified EEG 30 (a) adjusting output of said TMS device; (b) changing the
band. In some embodiments, any of the devices described EEG phase by repetitive firing of at least one magnetic field
herein may be used to treat Parkinson’s Disease.                   using said TMS device; and (c) applying said magnetic field
   In some embodiments, a method is provided for improving close to a head of the subject.
performance in a subject, comprising tuning the Q-factor of           In some embodiments, the magnetic field results from a
an intrinsic frequency of the Subject by applying a magnetic 35 first magnetic source and a second magnetic source. In some
field close to a head of the subject, wherein the magnetic field embodiments, the first magnetic source and the second mag
comprises at least one of (a) a single frequency; (b) a plurality netic source are out of phase relative to each other. In some
offrequencies within a specified EEG band; and (c) an intrin embodiments, the amount that the first magnetic source and
sic frequency of a brain of the subject within a specified EEG the second magnetic source are out of phase relative to each
band. In some embodiments, any of the devices described 40 other is called the magnetic phase.
herein may be used to improve performance. In some                    In some embodiments of at least one aspect described
embodiments, any of the devices described herein may be above, the step of applying the magnetic field is for a pre
used to improve military performance. In some embodi determined cumulative treatment time. In some embodiments
ments, any of the devices described herein may be used to of at least one aspect described above, the target intrinsic
improve athletic performance. In some embodiments, any of 45 frequency with the specified EEG band is from about 0.5 Hz
the devices described herein may be used to improve aca to about 100 Hz. In some embodiments of at least one aspect
demic performance.                                                 described above, the target intrinsic frequency with the speci
   In another aspectare methods for modulating the electrical fied EEG band is from about 1 Hz to about 100 Hz. In some
activity of a brainina Subject in need thereof, comprising: (a) embodiments of at least one aspect described above, the target
adjusting output of a magnetic field for influencing an EEG 50 intrinsic frequency with the specified EEG band is not greater
phase between two sites in the brain of a subject of a specified than about 50 Hz. In some embodiments of at least one aspect
EEG frequency toward a target EEG phase of the specified described above, the target intrinsic frequency with the speci
EEG frequency; and (b) applying said magnetic field close to fied EEG band is not greater than about 30 Hz. In some
a head of the subject.                                             embodiments of at least one aspect described above, the target
   In some embodiments, the target EEG phase is lower than 55 intrinsic frequency with the specified EEG band is not greater
the EEG phase between the two sites in the brain of the than about 20 Hz. In some embodiments of at least one aspect
Subject. In some embodiments, the target EEG phase is any described above, the target intrinsic frequency with the speci
EEG phase lower than the EEG phase between the two sites in fied EEG band is not greater than about 10 Hz. In some
the brain of the subject. In some embodiments, the target EEG embodiments of at least one aspect described above, the target
phase is higher than the EEG phase between the two sites in 60 intrinsic frequency with the specified EEG band is greater
the brain of the subject. In some embodiments, the target EEG than about 3 Hz. In some embodiments of at least one aspect
phase is any EEG phase higher than the EEG phase between described above, the target intrinsic frequency with the speci
the two sites in the brain of the subject. In some embodiments, fied EEG band is greater than about 1 Hz. In some embodi
the target EEG phase is an EEG phase of a control group. In ments, of at least one aspect described above, the target intrin
Some embodiments, the control group is a set of Subjects 65 sic frequency with the specified EEG band is up to about 25
having a particular trait, characteristic, ability, or feature. In HZ. As used herein, the term “about when referring to a
Some embodiments, the control group is a control group set of frequency can mean variations of 0.1 Hz to 0.2 Hz, 0.1 Hz to
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0.5 HZ, 0.5Hz to 1 Hz, or 1 Hz to 5Hz. In some embodiments,         described  above,   the applying  of the magnetic field applies
applying of the magnetic field is to the motor cortex of the the magnetic field to a diffused area in a brain of the subject.
Subject.                                                               In some embodiments of at least one aspect described
   In some embodiments, the target and/or target intrinsic above, the magnetic field is generated by movement of at least
frequency is chosen from a plurality of intrinsic frequencies one permanent magnet. In some embodiments, said move
in the specified EEG band. In some embodiments the target ment comprises rotation of at least one said permanent mag
and/or target intrinsic frequency is chosen from a plurality of net. In some embodiments, said movement comprises linear
intrinsic frequencies across a plurality of EEG bands. In some motion of at least one said permanent magnet. In some
embodiments the specified EEG band is the Alpha band. In embodiments, said movement comprises curvilinear motion
some embodiments the specified EEG band is the Beta band. 10 of at least one said permanent magnet. In some embodiments,
   In some embodiments of at least one aspect described said movement comprises at least one of rotational motion,
above, the methods further comprise the step of measuring linear
EEG data of the subject before the applying step. In some strengthmotion,    of the
                                                                                    and Swing motion. In some embodiments, the
                                                                                    at least one permanent magnetic is from about
embodiments of at least one aspect described above, said
higher frequency is not greater than about 50 Hz. In some 15 10 Gauss to about 4 Tesla. In some embodiments, the distance
embodiments of at least one aspect described above, said between the at least one permanent magnet and the Subject is
higher frequency is not greater than about 30 Hz.                   from about 0 inches to about 12 inches, from about/32 inches
   In some embodiments of at least one aspect described to about 12 inches, from about/16 inches to about 5 inches, or
above, the varying frequencies (e.g. hopping frequencies) are from about 1 inch to about 5 inches. As used herein, the term
moving average frequencies based on a pre-determined fre “about when referring to distance between the at least one
quency around an intrinsic frequency within a predetermined permanent magnet and the Subject can mean variations of/64
frequency range. In some embodiments, the varying frequen inch, /32 inch, /16 inch, /8 inch, 4 inch, /3 inch, /2 inch, or 1
cies are randomly selected within a predetermined frequency inch.
range. In some embodiments of at least one aspect described            In some embodiments where the step of applying the mag
above, the varying frequencies are moving average frequen 25 netic field is for a pre-determined cumulative treatment time,
cies within a specified EEG band of a control group. In some said pre-determined cumulative treatment time is at least 5
embodiments, the control group is a set of Subjects having a min. In some embodiments where the step of applying the
particular trait, characteristic, ability, or feature. In some magnetic field is for a pre-determined cumulative treatment
embodiments, the control group is a control group set of time, said pre-determined cumulative treatment time is from
Subjects not having a neurological disorder disclosed herein 30 about 5 minto about two hours.
(e.g., Post Traumatic Stress Disorder, coma, amblyopia, or             In some embodiments of at least one aspect described
Parkinson’s disease).                                               above, the methods further comprise repeating the applying
   In some embodiments, the moving average frequencies step after an interval of treatment. In some embodiments, the
change from an initial frequency to a target frequency within interval of treatment is from about 6 hours to about 14 days.
a specific amount of time. In some embodiments of at least 35 In some embodiments of at least one aspect described
one aspect described above, the varying frequencies are fre above, the method improves an indication selected from
quencies hopping around within a pre-determined frequency sports performance, academic performance, and any combi
range. In some embodiments of at least one aspect described nation thereof. In some embodiments of at least one aspect
above, the varying frequencies are frequencies hopping described above, the method improves Parkinson's disease.
around an intrinsic frequency within a specified EEG band of 40 In some embodiments of at least one aspect described above,
a control group. In some embodiments of at least one aspect the method improves symptoms of PTSD (post-traumatic
described above, the target frequency is an average intrinsic stress disorder). In some embodiments of at least one aspect
frequency of a control group within a specified EEG band. In described above, the method revives a subject from a coma
Some embodiments of at least one aspect described above, the tose state (a subject in a coma). In some embodiments of at
target frequency is an intrinsic frequency of a brain of the 45 least one aspect described above, the method improves the
subject within a specified EEG band.                                symptoms of amblyopia in a subject. In some embodiments of
   In some embodiments of at least one aspect described at least one aspect described above, the method improves the
above, the methods further comprise the step of measuring cognitive performance of a Subject. In some embodiments of
EEG data of the subject after the applying step. In some at least one aspect described above, the method improves a
embodiments, further comprising the steps of:                    50 characteristic selected from the group consisting of periph
   (a) adjusting frequency of said magnetic field based on the eral visual response, attention span, immediate reaction time
      EEG data of the subject; and                                  (IRT), movement time (MT), simple perceptual reaction time
   (b) repeating the applying step with an adjusted frequency.      (SPR), conflict perceptual reaction time (CPR), and any com
   In some embodiments of at least one aspect described bination thereof. In some embodiments of at least one aspect
above, the applying of the magnetic field is continuous, in that 55 described above, the method provides an improvement as
it does not consist of discrete pulses separated by significant measured using the Unified Parkinson's Rating Scale. In
sections in which no magnetic field is applied. In some Some embodiments of at least one aspect described above, the
embodiments of at least one aspect described above, the mag method provides an improvement as measured using a modi
netic field is continuously applied. A magnetic field that is fied Unified Parkinson's Rating Scale. In some embodiments
continuously applied may alternate between a positive and 60 of at least one aspect described above, the method uses a
negative field and include one or more neutral field(s), or Permanent Magneto-EEG Resonant Therapy (pMERT)
alternate between a positive field and a neutral field, or alter device (alternatively called a Neuro-EEG Synchronization
nate between a negative field and a neutral field, or some other Therapy (NEST) device). In some embodiments of at least
combination of magnetic fields. It is continuous in the sense one aspect described above, the method uses a device as
that it has a repetitive pattern (waveform) of charged fields 65 described herein. In some embodiments of at least one aspect
(whether positive, negative, or a combination thereof) and described above, the method does not use a Transcranial
uncharged fields. In some embodiments of at least one aspect Magnetic Stimulation (TMS) device.
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  In another aspectare devices comprising,                        Therapy (NEST) device. As used herein, the terms Neuro
  (a) at least one permanent magnet; and                          EEG Synchronization Therapy (NEST) device and Perma
  (b) a subunit coupled to the magnet;                            nent Magneto-EEG Resonant Therapy (pMERT) device may
wherein the subunit enables movement of at least one said         be used interchangeably.
magnet at a frequency between about 0.5 Hz and about 100            In some embodiments of at least one aspect described
HZ.                                                               above, the devices further comprise logic that controls the
  In another aspectare devices comprising,                        frequency to be any frequency between about 2 and about 20
  (a) at least one permanent magnet; and                          HZ in increments of about 0.1 Hz. In some embodiments of at
  (b) a subunit coupled to the magnet;                            least one aspect described above, the devices further comprise
wherein the subunit enables movement of at least one said 10 logic that controls the frequency to be any frequency between
magnet at a frequency between about 2 Hz, and about 20 Hz. about 2 and about 50 Hz in increments of about 0.1 Hz. In
   In another aspect are devices comprising a means for Some embodiments of at least one aspect described above, the
applying a magnetic field to a head of a Subject; whereby the devices further comprise logic that automatically changes the
means for applying the magnetic field is capable of influenc frequency in response to EEG readings of a subject before
ing an intrinsic frequency of a brain of the Subject within a 15 and/or during treatment. In some embodiments of at least one
specified EEG band.                                               aspect described above, the devices further comprise logic
   In another aspect are devices comprising a means for that allows a user to set duration of a treatment before said
applying a magnetic field to a head of a Subject; whereby the treatment. In some embodiments, the user may be, for non
means for applying the magnetic field is capable of influenc limiting example, a patient, a therapist, a psychiatrist, a psy
ing a Q-factor of an intrinsic frequency of a brain of the chologist, a neurologist, a family doctor, a general practitio
subject within a specified EEG band.                              ner, a another medical professional, or a person treating a
   In another aspect are devices comprising a means for patient. In some embodiments, the user is not a patient.
applying a magnetic field to a head of a Subject; whereby the        In some embodiments of at least one aspect described
means for applying the magnetic field is capable of influenc above, the devices comprise a white noise generator.
ing a coherence of intrinsic frequencies among multiple sites 25 In some embodiments, the devices further comprise a cou
in a brain of the subject within a specified EEG band.            pling to at least one of an internet line and a phone line. In
   In some embodiments of at least one aspect described Some embodiments, at least a portion of the coupling to the
above, the subunit comprises a rotating mechanism. In some internet line or to the phone line is wireless. The device may
embodiments, said rotating mechanism comprises:                   further comprise a Smart card for storing and transferring
   (a) a motor;                                                30 information.
   (b) a power source capable of powering the motor; and             In some embodiments of at least one aspect described
   (c) a rotating element coupled to the motor and coupled to above, the devices further comprise logic that calculates
      the magnet.                                                 information from EEG data collected from the subject within
   In some embodiments of at least one aspect described a specified EEG band,
above, said device comprises at least one permanent magnet. 35 wherein said information comprises at least one of items
In some embodiments of at least one aspect described above, listed below:
the strength of the at least one permanent magnet is from            (a) at least one intrinsic frequency;
about 10 Gauss to about 4 Tesla. In some embodiments of at           (b) Q-factor of the at least one intrinsic frequency;
least one aspect described above, the magnetic field is an           (c) a coherence value of intrinsic frequencies;
alternating magnetic field.                                    40    (d) an EEG phase; and
   In some embodiments of at least one aspect described              (e) any combination thereof.
above, the magnetic field is generated by movement of at least       In some embodiments, the devices further comprise logic
one permanent magnet. In some embodiments, the movement that uploads said information through at least one of an inter
of the at least one said magnetis at a frequency between about net line and a telephone line to an EEG data analysis service
0.5 Hz and about 100 Hz. In some embodiments, the move 45 capable of storing said information. In some embodiments,
ment of the at least one said magnet is at a frequency between said EEG data analysis service is capable of associating the
about 2 Hz, and about 20 Hz.                                      said information with an identification associated with the
   In some embodiments of at least one aspect described Subject.
above, said movement comprises rotation of at least one said     In some embodiments of at least one aspect described
permanent magnet. In some embodiments of at least one 50 above, the devices further comprise logic that uploads EEG
aspect described above, said movement comprises linear data collected from the subject to an EEG data analysis ser
motion of at least one said permanent magnet. In some vice, wherein the EEG data analysis service is capable of
embodiments of at least one aspect described above, said validating information uploaded from the device, wherein
movement comprises Swing motion of at least one said per said information comprises at least one of items listed below:
manent magnet. In some embodiments, said movement com 55 (a) at least one intrinsic frequency;
prises at least one of rotational motion, linear motion, and     (b) Q-factor of the at least one intrinsic frequency;
Swing motion.                                                    (c) a coherence value of intrinsic frequencies;
   In some embodiments of at least one aspect described          (d) an EEG phase; and
above, said movement generates an alternating magnetic           (e) any combination thereof.
field. In some embodiments of at least one aspect described 60 In some embodiments, said information comprises at least
above, the magnetic field is continuously applied. In some two of the listed items. In some embodiments of at least one
embodiments of at least one aspect described above, the mag aspect described above, further comprising logic that down
netic field covers a diffused area in a brain of a subject. In loads a treatment dosage quota. In some embodiments, the
Some embodiments of at least one aspect described above, the treatment dosage quota is chosen by a user treating the Subject
device is a Permanent Magneto-EEG Resonant Therapy 65 based on a diagnosis of the Subject. In some embodiments, the
(pMERT) device. In some embodiments of at least one aspect treatment dosage quota is chosen by a user who is charged for
described above, the device is a Neuro-EEG Synchronization requesting a download of a cumulative treatment time based
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on a diagnosis of the Subject. In some embodiments, the user a specified EEG band, Q-factor of the intrinsic frequency, an
is charged by a billing service before, during, or after the EEG phase, and a coherence value of intrinsic frequencies.
download of the dosage quota.                                      The data may include at least one of the EEG data, an intrinsic
   In some embodiments of at least one aspect described frequency within a specified EEG band, Q-factor of the intrin
above, the devices further comprise logic that uploads a Sub sic frequency, a coherence value of intrinsic frequencies, or
jects EEG data through at least one of an internet line and a any combination thereof.
phone line to an EEG data analysis service. In some embodi            In some embodiments of at least one aspect described
ments of at least one aspect described above, the devices above, the device is any device of claims 44-88. In some
further comprise logic that records usage information for embodiments of at least one aspect described above, the user
using the device. In some embodiments, the device further 10 account comprises
comprises logic that ceases to deliver treatment after a treat        (a) user information;
ment dosage quota is depleted. In some embodiments, the               (b) user access information; and
billing service is a vendor of the device. In some embodi             (c) based on each individual and each therapeutic dosage
ments of at least one aspect described above, the devices                quota administered to each individual, fields for storing
further comprise logic that allows a user to establish a user 15         at least one of (1) EEG data of the subject,
acCOunt.                                                                 (2) intrinsic frequency within a specified EEG band of
   In some embodiments, the device comprises at least two                   the Subject,
permanent magnets. In some embodiments, the device com                   (3) Q-factor of the intrinsic frequency of the subject
prises a helmet to be used for a subjects head. In some                  (4) an EEG phase of a specified EEG frequency of the
embodiments of at least one aspect described above, the                     Subject,
device comprises a communication Subunit for coupling to an              (5) a coherence value of intrinsic frequencies of the
internet line. In some embodiments of at least one aspect                   Subject,
described above, the device comprises a communication Sub                (6) treatment information of the subject, and
unit for coupling to a phone line. In some embodiments, the              (7) device usage information for the subject.
device comprises a memory Subunit for storing information 25 In some embodiments, the user information excludes iden
during a treatment.                                                tifying information (e.g. user names).
   In another aspect are methods for ordering a therapeutic           In some embodiments of at least one aspect described
dosage quota through internet, comprising,                         above, the methods further comprise the step of charging at
   (a) receiving a request from a user to access a user account least one of the user, the Subject, and an insurance company
      through internet for ordering the therapeutic dosage 30 associated with the subject a fee for use of the device based on
      quota,                                                       the dosage quota ordered in at least one of the user account
   (b) allowing the user to select at least one desired thera and the device.
      peutic dosage quota; and                                        In another aspect are methods for administration of treat
   (c) allowing the downloading ofatherapeutic dosage quota ment of Subjects, comprising,
      into a device comprising a means for applying a mag 35 (a) storing data in a device of a subject individual during
      netic field to a head of a subject.                                treatment using the device, wherein the device com
   The user may be allowed, in Some embodiments, to down                 prises a means for applying a magnetic field to a head of
load the therapeutic dosage quota. In some embodiment, the               the subject;
methods further comprise the step of establishing a user              (b) retrieving the data of said individual from said device;
account based on a request from a user for ordering a thera 40           and
peutic dosage quota.                                                  (c) updating a database for the Subject with the data,
   In another aspect are methods for uploading EEG data                  through at least one of an internet line and a phone line.
associated with a subject through internet, comprising,               In some embodiments, said data of said Subject comprises
   (a) creating a database for storing a user account associated at least one of EEG data of the subject, at least one intrinsic
      with a user;                                              45 frequency within a specified EEG band of the subject, Q-fac
   (b) storing the user account in the database,                   tor of the intrinsic frequency of the Subject, a coherence value
   (c) receiving a request from the user to access the user of intrinsic frequencies of the subject, an EEG phase of a
      acCOunt,                                                     specified EEG frequency of the subject, treatment informa
   (d) allowing said EEG data to be recorded into a device tion of the Subject, and device usage information for the
      comprising a means for applying a magnetic field to a 50 Subject. In some embodiments, the retrieving and updating
      head of the subject;                                         steps occur upon the Subject's visit to a psychiatrist, a thera
   (e) determining from said EEG data at least one of an pist, a treatment provider, and/or another type of medical
      intrinsic frequency within a specified EEG band, Q-fac professional. In some embodiments, the retrieving and updat
      tor of the intrinsic frequency, an EEG phase, and a coher ing steps occur prior to a subjects visit to a psychiatrist, a
      ence value of intrinsic frequencies; and                  55 therapist, a treatment provider, and/or another type of medical
   (f) allowing the uploading of at least one of the EEG data, professional. In some embodiments, the retrieving and updat
      the intrinsic frequency within a specified EEG band, the ing steps occur following a Subject's visit to a psychiatrist, a
      Q-factor of the intrinsic frequency, the EEG phase, the therapist, a treatment provider, and/or another type of medical
      coherence value of intrinsic frequencies, and any com professional.
      bination thereof.                                         60    In some embodiments of at least one aspect described
   In some embodiments, allowing the user to upload may above, the methods or devices use a Transcranial Magnetic
include allowing the user to move data from a device as Stimulation (TMS) device.
described herein to a database. The method may comprise               Provided herein is a method comprising adjusting an out
receiving a request from the user to access the user account put current of an electric alternating current source for influ
through at least one of an internet line or a phone line for 65 encing an intrinsic frequency of an EEG band of a subject
access to said database. The method may comprise allowing toward a target frequency of the EEG band; and applying said
the user to upload at least one of an intrinsic frequency within output current across a head of the Subject.
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   In some embodiments, the step of adjusting the output            Some   embodiments,    the varying  frequencies comprise har
current comprises setting the output current to a frequency monic frequencies of a single frequency. The single fre
that is lower than the intrinsic frequency of the subject.          quency may comprise the target intrinsic frequency.
   In some embodiments, the step of adjusting the output               In some embodiments, a device as described herein is
current comprises setting the output current to a frequency 5 operable to influence an intrinsic frequency of the brain of a
that is higher than the intrinsic frequency of the Subject.         subject within a specified EEG band. A device as described
   In some embodiments, the step of adjusting the output herein may be operable to influence a Q-factor of an intrinsic
current comprises setting the output current to the target frequency of the brain of a subject within a specified EEG
frequency.                                                          band. A device as described herein may be operable to influ
   Provided herein is a method comprising determining the 10 ence a coherence of intrinsic frequencies among multiple
intrinsic frequency of the EEG band of the subject; and com sites in the brain of a subject within a specified EEG band.
paring the intrinsic frequency to the target frequency of the          In some embodiments, a device as described hereinfurther
EEG band, wherein the target frequency is an average intrin comprises a first electrode operable to detect electrical brain
sic frequency of the EEG band of a control group, wherein if activity; and a second electrode operable to detect a reference
the intrinsic frequency is higher than the target frequency, the 15 signal, wherein the first electrode is located on the subject in
step of adjusting the output current comprises setting the at least one of an area of low electrical resistivity on a Subject,
output current to a frequency that is lower than the intrinsic and an area with Substantially no electrical impulse interfer
frequency of the Subject, and if the intrinsic frequency is ence on a Subject, and wherein the second electrode is located
lower than the target frequency, the step of adjusting the on the Subject. In some embodiments, a device as described
output current comprises setting the output current to a fre herein further comprises a first electrode operable to detect
quency that is higher than the intrinsic frequency of the Sub electrical brain activity; and a second electrode operable to
ject. In some embodiments, the control group is a set of detect a reference signal, wherein the first electrode is located
Subjects having a particular trait, characteristic, ability, or on the Subject in at least a portion of the ear canal of the
feature. In some embodiments, the control group is a control subject, and wherein the second electrode is located on the
group set of Subjects not having a neurological disorder dis 25 Subject.
closed herein (e.g., Post Traumatic Stress Disorder, coma, or          In some embodiments of the methods described herein, the
Parkinson's disease).                                               method or methods may comprise locating a first electrode
   Provided herein is a method comprising adjusting an out operable to detect electrical brain activity on the subject in at
put current of an electric alternating current source for influ least one of an area of low electrical resistivity on a subject
encing a Q-factor of an intrinsic frequency of an EEG band of 30 and an area with Substantially no electrical impulse interfer
a subject toward a target Q-factor, and applying said output ence on a subject. The method or methods may further com
current across a head of the subject.                               prise locating a second electrode operable to detect a refer
   In some embodiments, the step of adjusting the output ence signal on the Subject. The method or methods may
current comprises varying a frequency of the output current. further comprise determining the intrinsic frequency from the
   In some embodiments, the step of adjusting the output 35 electrical brain activity detected by the first electrode and the
current comprises setting the output current to a frequency reference signal detected by the second electrode. In some
that is higher than the intrinsic frequency of the Subject.         embodiments, determining the intrinsic frequency may com
   In some embodiments, the step of adjusting the output prise removing the reference signal detected by the second
current comprises setting the output current to a frequency electrode from the electrical brainactivity detected by the first
that is lower than the intrinsic frequency of the subject.       40 electrode. The method or methods may further comprise
   In some embodiments, the step of adjusting the output determining the Q-factor of an intrinsic frequency of the
current comprises setting the output current to the target specified EEG band from the electrical brain activity detected
frequency.                                                          by the first electrode and the reference signal detected by the
   In some embodiments, the method further comprises deter second electrode. In some embodiments, determining the
mining the Q-factor of the intrinsic frequency of the EEG 45 Q-factor of an intrinsic frequency of the specified EEG band
band of the Subject; and comparing the Q-factor to the target comprises ascertaining the Q-factor from the electrical brain
Q-factor, wherein the target Q-factor is an average Q-factor of activity detected by the first electrode and the reference signal
the intrinsic frequencies of the EEG band of a control group, detected by the second electrode.
wherein if the Q-factor of the intrinsic frequency is higher           In some embodiments of the methods described herein, the
than the target Q-factor, the step of adjusting the output cur 50 method or methods may comprise locating a first electrode
rent comprises varying a frequency of the output current, and operable to detect electrical brain activity on the subject in at
if the Q-factor of the intrinsic frequency is lower than the least a portion of the ear canal of the subject. The method or
target Q-factor, the step of adjusting the output current com methods may further comprise locating a second electrode
prises setting the output current to a frequency that is the operable to detect a reference signal on the subject. The
intrinsic frequency of the Subject. In some embodiments, the 55 method or methods may further comprise determining the
control group is a set of Subjects having a particular trait, intrinsic frequency from the electrical brain activity detected
characteristic, ability, or feature. In some embodiments, the by the first electrode and the reference signal detected by the
control group is a control group set of Subjects not having a second electrode.
neurological disorder disclosed herein (e.g., Post Traumatic           In some embodiments, a device as described herein is
Stress Disorder, coma, or Parkinson's disease).                  60 operable to influence an EEG phase between two sites in the
   In some embodiments, influencing an intrinsic frequency brain of a subject of a specified EEG frequency. The device
may include influencing harmonics of the target intrinsic may comprise a second permanent magnet, wherein the Sub
frequency of the specified EEG band. In some embodiments, unit is coupled to the second magnet, and wherein the Subunit
the target intrinsic frequency is a harmonic of the peak intrin enables movement of the second magnet at a frequency
sic frequency of a specified EEG band. In some embodiments, 65 between about 0.5 Hz and about 100 Hz. The subunit may
influencing the target intrinsic frequency includes applying enable movement of the second magnet at a frequency
harmonic frequencies of the target intrinsic frequency. In between about 2 Hz, and about 20 Hz. The first permanent
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magnet may have a first rotational orientation relative to a            Provided herein is a device comprising,
treatment Surface of the device and the second permanent                (a) a means for applying a first magnetic field to a head of
magnet may have a second rotational orientation relative to                a Subject; and
the treatment surface of the device. The device may be oper             (b) a means for applying a second magnetic field to a head
able to move the first permanent magnet at the same fre                    of a subject;
quency as the second permanent magnet. The first rotational             whereby the means for applying the first magnetic field and
orientation relative to a first portion of a treatment surface of          the means for applying the second magnetic field are
the device may be between at least about 0 degrees and about               capable of influencing an EEG phase between at least
360 degrees different from the second rotational orientation 10            two sites in a brain of the subject of a specified EEG
relative to a second portion of the treatment surface of the               frequency.
device. The first rotational orientation relative to a first por        The magnetic fields (first magnetic field, and second mag
tion of a treatment surface of the device may be at least one of:    netic field) may be of the same frequency, but out of phase
between at least about 0 degrees and about 180 degrees, with each other. Additional magnetic fields may be provided
between at least about 0 degrees and about 90 degrees, 15 by additional means for applying Such magnetic fields. These
between at least about 0 degrees and about 45 degrees, too may be out of phase with each other, or with any of the
between at least about 0 degrees and about 30 degrees, magnetic fields. Nevertheless, the magnetic fields in some
between at least about 0 degrees and about 15 degrees, embodiments may have the same frequencies. The devices
between at least about 0 degrees and about 10 degrees, at least may be a Permanent Magneto-EEG Resonant Therapy
about 5 degrees, at least about 10 degrees, at least about 15        (pMERT) (i.e. a Neuro-EEGSynchronization Therapy NEST
degrees, at least about 30 degrees, at least about 45 degrees, at device) as described herein. The specified EEG frequency
least about 60 degrees, at least about 90 degrees, at least about may be an intrinsic frequency as described herein. The speci
120 degrees, at least about 180 degrees, at least about 240 fied EEG frequency may be a target frequency as described
degrees, and at least about 270 degrees different from the herein. The target frequency may be an average intrinsic
second rotational orientation relative to a second portion of 25 frequency of a control group within a specified EEG band. In
the treatment surface of the device. The specified EEG fre Some embodiments, the control group is a set of Subjects
quency may be an intrinsic frequency as described herein. having a particular trait, characteristic, ability, or feature. In
The specified EEG frequency may be a target frequency as Some embodiments, the control group is a control group set of
described herein. The target frequency may be an average Subjects not having a neurological disorder disclosed herein
intrinsic frequency of a control group within a specified EEG 30 (e.g., Post Traumatic Stress Disorder, coma, amblyopia, or
band. In some embodiments, the control group is a set of Parkinson's disease).
subjects having a particular trait, characteristic, ability, or         In some aspects, is a device for use in modulating the
feature. In some embodiments, the control group is a control electrical          activity of a brain in a subject in need thereof,
group set of Subjects not having a neurological disorder dis
                                                                     comprising:
closed herein (e.g., Post Traumatic Stress Disorder, coma, device; whereby
                                                                  35                a Transcranial Magnetic Stimulation (TMS)
amblyopia, or Parkinson's disease).                                                     the means for applying the magnetic field is
   In some embodiments, a magnetic field results from a first        capable   of influencing (a) an intrinsic frequency of a brain of
magnetic source and a second magnetic source. In some the subject within a specified EEG band; (b) a Q-factor of an
embodiments, the first magnetic source and the second mag intrinsic frequency of a brain of the subject within a specified
netic source are out of phase relative to each other. In some 40 EEG band; (c) a coherence of intrinsic frequencies among
embodiments, the amount that the first magnetic source and multiple sites in a brain of the subject within a specified EEG
the second magnetic source are out of phase relative to each band; or (d) a combination thereof.
other is called the magnetic phase.
   In some embodiments, the first portion of the treatment                       INCORPORATION BY REFERENCE
Surface is the portion of the treatment Surface approximately 45
closest to the first permanent magnet, and wherein the second           All publications and patent applications mentioned in this
portion of the treatment surface is the portion of the treatment specification are herein incorporated by reference to the same
Surface approximately closest to the second permanent mag extent as if each individual publication or patent application
net. In some embodiments, the first portion of the treatment was specifically and individually indicated to be incorporated
surface is the portion of the treatment surface closest to the 50 by reference.
first permanent magnet that is intended to be approximately
tangential to the head of the Subject nearest that treatment                 BRIEF DESCRIPTION OF THE DRAWINGS
Surface, and wherein the second portion of the treatment
Surface is the portion of the treatment Surface approximately           A better understanding of the features and advantages of
closest to the second permanent magnet that is intended to be 55 the systems and methods provided will be obtained by refer
approximately tangential to the head of the Subject nearest ence to the following detailed description that sets forth illus
that treatment Surface.                                              trative embodiments and the accompanying drawings of
  In some embodiments of the devices disclosed herein, the           which:
difference between the first rotational orientation and the         FIG. 1 shows an exemplary device in which the magnet
second rotational orientation results in a magnetic phase 60 rotates so that the plane of rotation is perpendicular to the
when the first permanent magnet is moved at the same fre Surface of the Scalp.
quency as the second permanent magnet. The magnetic phase           FIG. 2 shows an exemplary device in which a horseshoe
of the device may be operable to influence an EEG phase magnet is positioned such that the plane of rotation is parallel
between a first site and a second site in the brain of a subject to the surface of the scalp.
within a specified EEG band. The first site generally aligns 65 FIG.3 shows an exemplary device which two bar magnets
with the first permanent magnet, and the second site generally are rotated synchronously to provide a more uniform phase
aligns with the second permanent magnet of the device.           for the magnetic field in the brain.
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   FIG. 4 shows an exemplary device in which the magnet              FIG.16 shows an example embodiment of a NEST device
rotates so that the plane of rotation is perpendicular to the having three diametrically magnetized cylindrical magnets
Surface of the scalp and a pair of electrodes is used to record rotating about their cylinder axes and applied to a subject.
the EEG of the patient.                                              FIG. 17 shows an example embodiment of a NEST device
   FIG. 5 shows a sample EEG segment for a subject before having three diametrically magnetized cylindrical magnets
therapy is delivered. The block on the left shows a time series configured to rotate about their cylinder axes.
EEG while the subject is sitting at rest with eyes closed. The       FIG. 18 shows an exploded view of the example embodi
block in the center shows the energy across the frequency ment           of the NEST device of FIG. 17 having three diametri
spectrum for the sampled EEG. The vertical line drawn cally              magnetized cylindrical magnets configured to rotate
through the peaks is at 9.1 Hz, the subjects intrinsic alpha 10 FIG.their
                                                                   about
                                                                           19
                                                                               cylinder axes.
                                                                               shows the example NEST device embodiment of
frequency. The circle at the right shows the distribution of FIG. 17 having three
EEG energy at the intrinsic alpha frequency throughout the magnets configured todiametrically
                                                                                            rotate  about
                                                                                                          magnetized cylindrical
                                                                                                          their cylinder axes and
Scalp, looking down on the top of the Subjects head. In the including a frame and base for mounting the            NEST device.
circle representation, the majority of the EEG energy at the         FIG.  20 shows  an example    embodiment   of a NEST device
alpha frequency is concentrated at the back of the brain.       15 having eight diametrically magnetized cylindrical magnets
   FIG. 6 is similar to FIG. 5, except the EEG was sampled configured to rotate about their cylinder axes.
immediately following therapy. In this, it can be seen that the      FIG. 21 shows the magnet rotation of the example NEST
energy associated with the intrinsic alpha frequency has device embodiment of FIG. 20 having eight diametrically
increased significantly. From the circle representation on the magnetized cylindrical magnets configured to rotate about
right, it can be seen that the distribution of energy at the their cylinder axes.
intrinsic alpha frequency throughout the head is more uni            FIG.22 shows an example embodiment of a NEST device
form, though the majority of energy is still concentrated at the having two axially polarized half-disc magnets that rotate
back of the brain.                                                   about a common rotation axis.
  FIG. 7 shows an exemplary embodiment of the pMERT or                  FIG. 23 shows an exploded view of an alternate embodi
NEST device. In this embodiment, abutton EEG electrode is 25 ment of an example NEST device embodiment similar to that
located on the concave Surface of the device and a second            of FIG. 22 having two rectangular magnets that rotate about a
reference electrode extends via a wire from the side of the          common rotation axis.
device. The display and control buttons are located on top of similar  FIG. 24 shows an example embodiment of a NEST device
the device to provide information and allow the user to adjust having        to the embodiments depicted in FIGS. 22 and/or 23
parameters and enter patient data. A USB port is located at the 30 applied to a magnets
                                                                             two           rotating about a common rotation axis
                                                                                  Subject and showing the controller Subunit.
top rear of the device, to allow it to be connected via a USB
cable to a PC, allowing uploading of data and downloading of of FIG.   a NEST
                                                                             25 shows block diagram of an example embodiment
                                                                                 showing the elements of the NEST device and its
a dosage quota.                                                     controller subunit.
   FIG. 8 shows the pMERT or NEST device from FIG. 7 in                FIG. 26 shows an example embodiment of a NEST device
which a subject is lying with the head against the concave 35 having a single bar magnet that moves linearly along its
Surface. At least one moving magnet is unseen inside the north-south axis once each time the Supporting ring is rotated,
pMERT or NEST device in order to deliver therapy to the providing a pulse-type alternating magnetic field at the fre
subject. The subjects head is pressed against the button EEG quency of rotation.
electrode, with the second electrode attached to the subjects          FIG. 27 shows an example embodiment of a NEST device
right ear.                                                       40 having an EEG electrode located in the subject’s ear canal,
   FIG. 9 shows an alternate angle of the subject receiving and a reference EEG electrode located on an earlobe of the
therapy from the pMERT or NEST device as described in Subject.
FIG 8.                                                                 FIG. 28 shows an example embodiment of a NEST device
   FIG. 10 shows some exemplary embodiments for various applied               to a subject, wherein the NEST device has three
movements of at least one permanent magnet.                      45 diametrically magnetized cylindrical magnets rotating about
   FIG. 11A through 11K show additional exemplary their cylinder axes having a magnetic phase between at least
embodiments for various movements of at least one perma twoFIG.          of the magnets that is not Zero.
                                                                             29 shows the magnetic field strengths of two magnets
nent magnet.
   FIG. 12 shows an example of the Q-factor as used in this moving  magnetic
                                                                             at the same frequency at the same time, but having a
                                                                               phase relative to one another (out of phase relative
invention. The figure shows a sample graph of the frequency 50 to each other).
distribution of the energy of an EEG signal. It can be seen that       FIG. 30 shows a theoretical EEG electrode readings mea
a frequency range. Afcan be defined as the frequency band sured           at two locations on a subject’s head within a single EEG
width for which the energy is above one-half the peak energy. band when the two locations are exhibiting similar (or the
The frequency f is defined as the intrinsic frequency in the same) frequency, but are out of phase relative to each other,
specified band. The Q-factor is defined as the ratio off/Af. As 55 i.e. displaying an EEG phase.
can be seen, when AF decreases for a given f, the Q-factor             FIG. 31 is a comparison of change in the HAMD score of
will increase. This can occur when the peakenergy E of the Responders versus Non-Responders.
signal increases or when the bandwidth of the EEG signal               FIG. 32 is a comparison of the change in HAMD scores
decreases.                                                          Subjects receiving NEST therapy versus Subjects receiving
   FIG. 13 shows an example embodiment of a diametrically 60 SHAM (i.e. control) therapy.
magnetized cylindrical magnet for use in a NEST device.                FIG.33 shows the change in HAMA score of two patients
   FIG. 14 shows an example embodiment of a NEST device over a period of three weeks.
having a diametrically magnetized cylindrical magnet rotat
ing about its cylinder axis and applied to a Subject.                    DETAILED DESCRIPTION OF THE INVENTION
   FIG. 15 shows an example embodiment of a NEST device 65
having two diametrically magnetized cylindrical magnets                While certain embodiments have been provided and
rotating about their cylinder axes and applied to a subject.        described herein, it will be readily apparent to those skilled in
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the art that such embodiments are provided by way of another aspectare methods of modulating the electrical activ
example only. It should be understood that various alterna ity of a brain in a subject in need thereof, comprising: deter
tives to the embodiments described herein may be employed, mining the Q-factor of the intrinsic frequency within the
and are part of the invention described herein.                         specified EEG band of the subject; comparing the Q-factor of
   Since brain activity is a distributed phenomenon, conven the intrinsic frequency from step (a) to an average Q-factor of
tional high-energy pulses used by rTMS that focus on a spe the intrinsic frequency of a control group; if the Q-factor of
cific area of the brain are not optimal for influencing the the intrinsic frequency from step (a) is higher than the average
overall frequency of the brain. Instead of using short high Q-factor of the intrinsic frequency of the control group, tun
energy pulses at the desired frequency, it is possible instead ing down the Q-factor of the intrinsic frequency of the subject
use a sinusoidal or near-sinusoidal magnetic field (likely with 10 by      applying a magnetic field with a plurality of frequencies or
lower energy) to generate a similar effect. To affect the brain with a single target frequency close to a head of the Subject;
with a lower energy magnetic field, the stimulation may need and if the Q-factor of the intrinsic frequency from step (a) is
to be applied for a longer period.
   In some embodiments, described are methods and devices               lower than the average Q-factor of the intrinsic frequency of
that provide low frequency sinusoidal or near-sinusoidal tran 15 the control group, tuning up the Q-factor of the intrinsic
Scranial magnetic stimulation therapy by rotating one or more frequency of the Subject by applying a magnetic field with a
permanent magnets in close proximity to a Subject's head. As target frequency to a head of the Subject.
used herein, “Subject’ means a mammal, preferably a human                  In another aspectare methods of modulating the electrical
mammal. The term “subject” does not require the oversight activity of a brainina Subject in need thereof, comprising: (a)
(either continuous or intermittent) of a medical or scientific adjusting output of a magnetic field for influencing a coher
professional (e.g., a physician, nurse, physicians assistant, ence of intrinsic frequencies among multiple sites in a brain of
clinical research associate, orderly, and hospice worker); the subject within a specified EEG band toward a target coher
however, the term does not preclude the oversight of a medi ence value; and (b) applying said magnetic field close to a
cal or Scientific professional.                                         head of the Subject In another aspect are methods adjusting
   Described herein, in certain embodiments, are methods 25 output of a magnetic field for influencing a coherence of
and systems for modulating the electrical activity of a brain. intrinsic frequencies among multiple sites in a brain of the
Described are methods and devices for modulating the elec subject within a specified EEG band toward a target coher
trical activity of a brain that involve no medication. Methods ence value comprising: determining the coherence value of
and devices described herein gently “tune' the brain and the intrinsic frequencies among multiple locations through
affect mood, focus, and cognition of human Subjects. Meth 30 out a scalp of the Subject; comparing the coherence value
ods and devices described herein gently “tune” the brain and from Step (a) to an average coherence value of a control
affect mood, focus, and cognition of subjects. In one aspect group: if the coherence value from step (a) is higher than the
are methods of modulating the electrical activity of a brain in average coherence value of the control group, lowering the
a subject in need thereof, comprising: (a) adjusting output of coherence value of the Subject by applying at least two asyn
a magnetic field for influencing an intrinsic frequency of a 35 chronous magnetic fields close to a head of the Subject; if the
specified EEG band of the subject toward a target intrinsic coherence value from step (a) is lower than the average coher
frequency of the specified EEG band; and (b) applying said ence value of the control group, raising the coherence value of
magnetic field close to a head of the Subject.                          the Subject by applying at least one synchronized magnetic
   In another aspect are methods of altering an intrinsic fre field close to a head of the subject.
quency of a brain of a subject within a specified EEG band, 40 In another aspectare methods of using a Transcranial Mag
comprising: (a) determining the intrinsic frequency of the netic Stimulation (TMS) device for influencing an intrinsic
subject within the specified EEG band; (b) comparing the frequency of a subject within a specified EEG band, compris
intrinsic frequency from step (a) to an average intrinsic fre ing: (a) adjusting output of said TMS device; (b) changing
quency of a control group; (c) if the intrinsic frequency from EEG frequency, Q-factor, or coherence by repetitive firing of
step (a) is higher than the average intrinsic frequency of the 45 a magnetic field using said TMS device; and (c) applying said
control group, shifting down the intrinsic frequency of the magnetic field close to a head of the Subject;
Subject by applying a specific magnetic field close to a head of           In another aspectare methods for modulating the electrical
the Subject, wherein said specific magnetic field has a fre activity of a brainina Subject in need thereof, comprising: (a)
quency lower than the intrinsic frequency of the Subject; and adjusting output of a magnetic field for influencing an EEG
(d) if the intrinsic frequency from step (a) is lower than the 50 phase between two sites in the brain of a subject of a specified
average intrinsic frequency of the control group, shifting up EEG frequency toward a target EEG phase of the specified
the intrinsic frequency of the Subject by applying a specific EEG frequency; and (b) applying said magnetic field close to
magnetic field close to a head of the Subject, wherein said a head of the subject.
specific magnetic field has a frequency higher than the intrin             In another aspect are methods for influencing an EEG
sic frequency of the Subject.                                        55 phase of a specified EEG frequency between multiple loca
   As used herein, a "control group” means a set of Subjects tions of a brain of a Subject, comprising: (a) determining the
having aparticular trait, characteristic, ability, or feature (e.g.,    EEG phase the between at least two locations measured on the
a certain level of cognitive performance); or a set of Subjects head of the subject; (b) comparing the EEG phase from step
not having a neurological disorder mentioned herein. In some (a) to an average EEG phase of a control group; and (c)
embodiments, the control group comprises at least two Sub 60 applying a magnetic field close to a head of the Subject
jects.                                                                  wherein applying the magnetic field influences the deter
   In another aspect are methods of modulating the electrical mined EEG phase toward the average EEG phase of a control
activity of a brainina Subject in need thereof, comprising: (a) group.
adjusting output of a magnetic field for influencing a Q-factor,           In another aspect are methods for using a Transcranial
a measure offrequency selectivity of a specified EEG band, of 65 Magnetic Stimulation (TMS) device for influencing an EEG
the subject toward a target Q-factor of the band; and (b) phase of a Subject of a specified EEG frequency, comprising:
applying said magnetic field close to a head of the Subject. In (a) adjusting output of said TMS device; (b) changing the
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EEG phase by repetitive firing of at least one magnetic field        Disclosed herein, in certain embodiments, are methods of
using said TMS device; and (c) applying said magnetic field        treating PTSD by modulating the electrical activity of a brain
close to a head of the subject.                                    in a subject in need thereof, comprising: (a) adjusting output
PTSD                                                               of a magnetic field for influencing a coherence of intrinsic
   As used herein, “posttraumatic stress disorder” or “post frequencies among multiple sites in a brain of the Subject
traumatic stress disorder” or “PTSD means a neurological within a specified EEG band toward a target coherence value:
disorder that develops after exposure to a traumatic event. The and (b) applying said magnetic field close to a head of the
diagnostic criteria for PTSD are: (a) exposure to a traumatic Subject Disclosed herein, in certain embodiments, are meth
event (i.e., the person experienced, witnessed, or was con ods of treating PTSD by adjusting output of a magnetic field
fronted with an event or events that involved actual or threat 10 for influencing a coherence of intrinsic frequencies among
ened death or serious injury, or a threat to the physical integ multiple sites in a brain of the subject within a specified EEG
rity of self or others; and the person’s response involved band toward a target coherence value comprising: determin
intense fear, helplessness, or horror); (b) persistent re-expe ing the coherence value of the intrinsic frequencies among
rience of the traumatic event; (c) persistent avoidance of multiple locations throughout a scalp of the Subject; compar
stimuli associated with the trauma; (d) persistent symptoms 15 ing the coherence value from step (a) to an average coherence
of increased arousal (e.g. difficulty falling or staying asleep, value of a control group; if the coherence value from step (a)
anger and hypervigilance); (e) significant impairment in is higher than the average coherence value of the control
Social or occupational functioning; and (f) duration of symp group, lowering the coherence value of the Subject by apply
toms is for more than 1 month.                                     ing at least two asynchronous magnetic fields close to a head
   In some embodiments, the brain waves of a subject suffer of the subject; if the coherence value from step (a) is lower
ing from PTSD are primarily characterized by periods of than the average coherence value of the control group, raising
complex and chaotic firing (i.e. low Q-factor), and occasional the coherence value of the Subject by applying at least one
periods of more rhythmic firing (i.e., high Q-factor). In some synchronized magnetic field close to a head of the Subject.
embodiments, adjusting the brain waves of a subject with              Disclosed herein, in certain embodiments, are methods of
PTSD to increase the rhythmic-ness of the waves results 25 treating PTSD by using a TMS device to influence an intrinsic
(partially or fully) in a decrease in the symptoms of PTSD.        frequency of a subject within a specified EEG band, compris
   Disclosed herein, in certain embodiments, are methods of ing: (a) adjusting output of said TMS device; (b) changing
treating PTSD by altering an intrinsic frequency of a brain of EEG frequency, Q-factor, or coherence by repetitive firing of
a subject within a specified EEG band, comprising: (a) deter a magnetic field using said TMS device; and (c) applying said
mining the intrinsic frequency of the Subject within the speci 30 magnetic field close to a head of the Subject;
fied EEG band; (b) comparing the intrinsic frequency from             Disclosed herein, in certain embodiments, are methods of
step (a) to an average intrinsic frequency of a control group: treating PTSD by modulating the electrical activity of a brain
(c) if the intrinsic frequency from step (a) is higher than the in a subject in need thereof, comprising: (a) adjusting output
average intrinsic frequency of the control group, shifting ofa magnetic field for influencing an EEG phase between two
down the intrinsic frequency of the Subject by applying a 35 sites in the brain of a subject of a specified EEG frequency
specific magnetic field close to a head of the Subject, wherein toward a target EEG phase of the specified EEG frequency;
said specific magnetic field has a frequency lower than the and (b) applying said magnetic field close to a head of the
intrinsic frequency of the subject; and (d) if the intrinsic Subject.
frequency from step (a) is lower than the average intrinsic           Disclosed herein, in certain embodiments, are methods of
frequency of the control group, shifting up the intrinsic fre 40 treating PTSD by influencing an EEG phase of a specified
quency of the Subject by applying a specific magnetic field EEG frequency between multiple locations of a brain of a
close to a head of the Subject, wherein said specific magnetic Subject, comprising: (a) determining the EEG phase the
field has a frequency higher than the intrinsic frequency of the between at least two locations measured on the head of the
Subject. Disclosed herein, in certain embodiments, are meth Subject; (b) comparing the EEG phase from step (a) to an
ods of treating PTSD by modulating the electrical activity of 45 average EEG phase of a control group; and (c) applying a
a brain in a subject in need thereof, comprising: (a) adjusting magnetic field close to a head of the Subject wherein applying
output of a magnetic field for influencing a Q-factor (i.e., a the magnetic field influences the determined EEG phase
measure of frequency selectivity of a specified EEG band) of toward the average EEG phase of a control group.
the subject toward a target Q-factor of the band; and (b)             Disclosed herein, in certain embodiments, are methods of
applying said magnetic field close to a head of the Subject. In 50 treating PTSD by using a TMS device to influence an EEG
Some embodiments, the Q-factor is adjusted (or tuned) up. In phase of a Subject of a specified EEG frequency, comprising:
another aspectare methods of modulating the electrical activ (a) adjusting output of said TMS device; (b) changing the
ity of a brain in a Subject in need thereof, comprising: deter EEG phase by repetitive firing of at least one magnetic field
mining the Q-factor of the intrinsic frequency within the using said TMS device; and (c) applying said magnetic field
specified EEG band of the subject; comparing the Q-factor of 55 close to a head of the subject.
the intrinsic frequency from step (a) to an average Q-factor of Coma
the intrinsic frequency of a control group; if the Q-factor of        As used herein, "coma' means a neurological disorder
the intrinsic frequency from step (a) is higher than the average characterized by a profound state of unconsciousness. Sub
Q-factor of the intrinsic frequency of the control group, tun jects in a comatose state (i.e., in a coma) do not have sleep
ing down the Q-factor of the intrinsic frequency of the subject 60 wake cycles, cannot be awakened, fail to respond to stimuli
by applying a magnetic field with a plurality of frequencies or (e.g., pain or light), and do not take Voluntary actions. In
with a single target frequency close to a head of the Subject; certain instances, a Subject will emerge from a coma in vary
and if the Q-factor of the intrinsic frequency from step (a) is ing levels of consciousness (e.g., vegetative to fully con
lower than the average Q-factor of the intrinsic frequency of scious). In some embodiments, stimulating the area of the
the control group, tuning up the Q-factor of the intrinsic 65 brain responsible for arousal results (partially or fully) in a
frequency of the Subject by applying a magnetic field with a Subject emerging from a coma. In some embodiments, a
target frequency to a head of the Subject.                         Subject in a coma displays slow sinusoidal brain waves. In
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Some embodiments, stimulating a subject's brain waves at Subject. In certain instances, there is high coherence between
their alpha frequency results in the Subject emerging from a different regions of the brain. In certain instances, in a coma,
coma. In some embodiments, stimulating a subjects brain the Subject has almost no neural activity (e.g., poor coher
waves at or near their alpha frequency results in the Subject ence). In certain instances, in a coma, the Subject has a nearly
emerging from a coma. In some embodiments, stimulating a sinusoidal EEG waveform (e.g., very high coherence). In
subjects brainwaves at 9.6 HZ results in the subject emerging Some embodiments, the coherence of a Subject is adjusted
from a coma. In some embodiments, as the Subject regains Such that it falls between poor coherence and high coherence.
consciousness, the frequency used to stimulate the Subjects Disclosed herein, in certain embodiments, are methods of
brain waves is adjusted. In some embodiments, as the Subject treating a coma by adjusting output of a magnetic field for
regains consciousness, the frequency used to stimulate the 10 influencing a coherence of intrinsic frequencies among mul
Subject’s brainwaves is adjusted to a frequency closer to their
alpha frequency. As used herein, “alpha frequency' means a tiple      sites in a brain of the subject within a specified EEG band
type of brainwave predominantly found to originate from the toward       a target coherence value comprising: lowering the
                                                                  coherence  value of the Subject by applying at least two asyn
occipital lobe during periods of waking relaxation. In certain
instances, alpha waves are attenuated during periods of sleep. 15 chronous magnetic fields close to a head of the Subject. Dis
  Disclosed herein, in certain embodiments, are methods of        closed herein, in certain embodiments, are methods of treat
treating a coma by altering an intrinsic frequency of a brain of ing a coma by adjusting output of a magnetic field for
a subject within a specified EEG band, comprising: (a) deter influencing a coherence of intrinsic frequencies among mul
mining the intrinsic frequency of the Subject within the speci tiple sites in a brain of the subject within a specified EEG band
fied EEG band; (b) comparing the intrinsic frequency from toward a target coherence value comprising raising the coher
step (a) to an average intrinsic frequency of a control group; ence value of the Subject by applying at least one synchro
(c) if the intrinsic frequency from step (a) is higher than the nized magnetic field close to a head of the Subject.
average intrinsic frequency of the control group, shifting             Disclosed herein, in certain embodiments, are methods of
down the intrinsic frequency of the Subject by applying a treating a coma by using a TMS device to influence an intrin
specific magnetic field close to a head of the Subject, wherein 25 sic frequency of a subject within a specified EEG band, com
said specific magnetic field has a frequency lower than the prising: (a) adjusting output of said TMS device; (b) changing
intrinsic frequency of the subject; and (d) if the intrinsic EEG frequency, Q-factor, or coherence by repetitive firing of
frequency from step (a) is lower than the average intrinsic a magnetic field using said TMS device; and (c) applying said
frequency of the control group, shifting up the intrinsic fre magnetic field close to a head of the Subject;
quency of the Subject by applying a specific magnetic field 30 Disclosed herein, in certain embodiments, are methods of
close to a head of the Subject, wherein said specific magnetic treating a coma by modulating the electrical activity of a brain
field has a frequency higher than the intrinsic frequency of the in a subject in need thereof, comprising: (a) adjusting output
Subject. In some embodiments, the Subjects alpha frequency ofa magnetic field for influencing an EEG phase between two
is increased. In some embodiments, the Subjects coherence is sites in the brain of a subject of a specified EEG frequency
increased. Disclosed herein, in certain embodiments, are 35 toward a target EEG phase of the specified EEG frequency;
methods of treating a coma by modulating the electrical activ and (b) applying said magnetic field close to a head of the
ity of a brain in a Subject in need thereof, comprising: (a) Subject.
adjusting output of a magnetic field for influencing a Q-factor,       Disclosed herein, in certain embodiments, are methods of
a measure offrequency selectivity of a specified EEG band, of treating a coma by influencing an EEG phase of a specified
the subject toward a target Q-factor of the band; and (b) 40 EEG frequency between multiple locations of a brain of a
applying said magnetic field close to a head of the Subject. In Subject, comprising: (a) determining the EEG phase the
Some embodiments, a Subject in a coma has a Q factor at or between at least two locations measured on the head of the
near Zero. In some embodiments, the Subject’s Q factor is Subject; (b) comparing the EEG phase from step (a) to an
increased. In another aspect are methods of modulating the average EEG phase of a control group; and (c) applying a
electrical activity of a brain in a subject in need thereof, 45 magnetic field close to a head of the Subject wherein applying
comprising: determining the Q-factor of the intrinsic fre the magnetic field influences the determined EEG phase
quency within the specified EEG band of the subject; com toward the average EEG phase of a control group.
paring the Q-factor of the intrinsic frequency from step (a) to        Disclosed herein, in certain embodiments, are methods of
an average Q-factor of the intrinsic frequency of a control treating a coma by using a TMS device to influence an EEG
group; if the Q-factor of the intrinsic frequency from step (a) 50 phase of a Subject of a specified EEG frequency, comprising:
is higher than the average Q-factor of the intrinsic frequency (a) adjusting output of said TMS device; (b) changing the
of the control group, tuning down the Q-factor of the intrinsic EEG phase by repetitive firing of at least one magnetic field
frequency of the Subject by applying a magnetic field with a using said TMS device; and (c) applying said magnetic field
plurality of frequencies or with a single target frequency close close to a head of the subject.
to a head of the subject; and if the Q-factor of the intrinsic 55 Amblyopia
frequency from step (a) is lower than the average Q-factor of         As used herein, “amblyopia' is a neurological disorder
the intrinsic frequency of the control group, tuning up the characterized by poor or indistinct vision in a physiologically
Q-factor of the intrinsic frequency of the Subject by applying normal eye. In certain instances, the disorder results from no
a magnetic field with a target frequency to a head of the transmission or poor transmission of visual images to the
Subject.                                                         60 brain for a Sustained period of time. In some embodiments,
   Disclosed herein, in certain embodiments, are methods of Subjects with amblyopia display asymmetric activity in the
treating a coma by modulating the electrical activity of a brain occipital lobe. In some embodiments, increasing the symme
in a subject in need thereof, comprising: (a) adjusting output try of activity in the occipital lobe decreases the symptoms of
of a magnetic field for influencing a coherence of intrinsic amblyopia. In some embodiments, applying a magnetic field
frequencies among multiple sites in a brain of the Subject 65 at the alpha frequency across the whole brain improves the
within a specified EEG band toward a target coherence value: coherence. In some embodiments, increasing coherence less
and (b) applying said magnetic field close to a head of the ens the effects of the amblyopia.
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  Disclosed herein, in certain embodiments, are methods of          quency that causes the tremors. In some embodiments, shift
treating amblyopia by modulating the electrical activity of a       ing the Subjects alpha frequency higher or lower reduces the
brain in a Subject in need thereof, comprising: (a) adjusting       tremors. In some embodiments, shifting the Subject's alpha
output of a magnetic field for influencing a coherence of frequency results in the alpha frequency no longer a 2"
intrinsic frequencies among multiple sites in a brain of the harmonic of the patient’s tremor frequency. Disclosed herein,
subject within a specified EEG band toward a target coher in certain embodiments, are methods of treating Parkinson's
ence value; and (b) applying said magnetic field close to a disease. As used herein, “treating Parkinson's disease' means
head of the Subject. In some embodiments, increasing the an improvement as measured using the Unified Parkinson's
coherence of the subject increases the symmetry of the sub Rating Scale. The modified Unified Parkinson's Rating Scale
jects brain. In some embodiments, increasing the symmetry 10 may include, for non-limiting example, measuring muscle
of the subjects brain increases the activity in the affected tone and knee/arm flexibility.
visual cortex. In some embodiments, increasing the coher               Disclosed herein, in certain embodiments, are methods of
ence of a Subject's brain decreases the symptoms of amblyo treating Parkinson's disease by altering an intrinsic frequency
p1a.                                                                of a brain of a subject within a specified EEG band, compris
   Disclosed herein, in certain embodiments, are methods of 15 ing: (a) determining the intrinsic frequency of the Subject
treating amblyopia by using a TMS device to influence an within the specified EEG band; (b) comparing the intrinsic
intrinsic frequency of a subject within a specified EEG band, frequency from Step (a) to an average intrinsic frequency of a
comprising: (a) adjusting output of said TMS device; (b) control group; (c) if the intrinsic frequency from step (a) is
changing EEG frequency, Q-factor, or coherence by repeti higher than the average intrinsic frequency of the control
tive firing of a magnetic field using said TMS device; and (c) group, shifting down the intrinsic frequency of the Subject by
applying said magnetic field close to a head of the Subject;        applying a specific magnetic field close to a head of the
   Disclosed herein, in certain embodiments, are methods of Subject, wherein said specific magnetic field has a frequency
treating amblyopia by modulating the electrical activity of a lower than the intrinsic frequency of the subject; and (d) if the
brain in a Subject in need thereof, comprising: (a) adjusting intrinsic frequency from step (a) is lower than the average
output of a magnetic field for influencing an EEG phase 25 intrinsic frequency of the control group, shifting up the intrin
between two sites in the brain of a subject of a specified EEG      sic frequency of the Subject by applying a specific magnetic
frequency toward a target EEG phase of the specified EEG field close to a head of the subject, wherein said specific
frequency; and (b) applying said magnetic field close to a magnetic field has a frequency higher than the intrinsic fre
head of the subject.                                                quency of the Subject. In some embodiments, stimulating a
   Disclosed herein, in certain embodiments, are methods of 30 Subjects intrinsic frequency comprises accentuating a non
treating amblyopia by influencing an EEG phase of a speci harmonic frequency in the alphaband. In some embodiments,
fied EEG frequency between multiple locations of a brain of stimulating a subjects intrinsic frequency comprises shifting
a subject, comprising: (a) determining the EEG phase the the Subjects alpha frequency. Disclosed herein, in certain
between at least two locations measured on the head of the          embodiments, are methods of treating Parkinson's disease by
Subject; (b) comparing the EEG phase from step (a) to an 35 modulating the electrical activity of a brain in a subject in
average EEG phase of a control group; and (c) applying a need thereof, comprising: (a) adjusting output of a magnetic
magnetic field close to a head of the Subject wherein applying field for influencing a Q-factor, a measure of frequency selec
the magnetic field influences the determined EEG phase tivity of a specified EEG band, of the subject toward a target
toward the average EEG phase of a control group.                    Q-factor of the band; and (b) applying said magnetic field
   Disclosed herein, in certain embodiments, are methods of 40 close to a head of the Subject. In some embodiments, stimu
treating amblyopia by using a TMS device to influence an lation increases the Q factorina subject with a Q-factor below
EEG phase of a subject of a specified EEG frequency, com their natural Q-factor. In some embodiments, the Q factor is
prising: (a) adjusting output of said TMS device; (b) changing shifted up. In some embodiments, stimulation decreases the
the EEG phase by repetitive firing of at least one magnetic Q factor in a subject with a Q-factor above their natural
field using said TMS device; and (c) applying said magnetic 45 Q-factor. In another aspect are methods of modulating the
field close to a head of the subject.                               electrical activity of a brain in a subject in need thereof,
Parkinson's Disease                                                 comprising: determining the Q-factor of the intrinsic fre
   As used herein, "Parkinson's disease' means a degenera quency within the specified EEG band of the subject; com
tive neurological disorder characterized by a progressive loss paring the Q-factor of the intrinsic frequency from step (a) to
of motor control. In some embodiments, Parkinson's disease 50 an average Q-factor of the intrinsic frequency of a control
results from a deficiency in dopamine levels. In certain group; if the Q-factor of the intrinsic frequency from step (a)
instances, deficient dopamine levels results in the increased is higher than the average Q-factor of the intrinsic frequency
and uncontrolled firing of neurons. In certain instances, the of the control group, tuning down the Q-factor of the intrinsic
cells of the Substantia nigra generate dopamine. In certain frequency of the Subject by applying a magnetic field with a
instances, loss of cells in the Substantia nigra (and the result 55 plurality of frequencies or with a single target frequency close
ing dopamine deficiency) results in (partially or fully) the to a head of the subject; and if the Q-factor of the intrinsic
development of Parkinson's.                                         frequency from step (a) is lower than the average Q-factor of
   A common symptom of Parkinson's is the rhythmic the intrinsic frequency of the control group, tuning up the
tremor. In some embodiments, the rhythmic tremor results Q-factor of the intrinsic frequency of the Subject by applying
from neurons firingata frequency of 4-5 Hz. In some embodi 60 a magnetic field with a target frequency to a head of the
ments, adjusting the brainwaves of a subject with Parkinson's Subject.
results (partially or fully) in a decrease in rhythmic tremors.        Disclosed herein, in certain embodiments, are methods of
In some embodiments, applying a magnetic field at a fre treating Parkinson's disease by adjusting output of a mag
quency greater than the frequency of a rhythmic tremor (i.e., netic field for influencing a coherence of intrinsic frequencies
4-5 Hz) accentuates the EEG frequency equal to that of the 65 among multiple sites in a brain of the Subject within a speci
alternating magnetic field. In some embodiments, adjusting fied EEG band toward a target coherence value comprising:
the magnetic field decreases the influence of the EEG fre determining the coherence value of the intrinsic frequencies
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among multiple locations throughout a scalp of the Subject; of tasks. Disclosed herein, in certain embodiments, are meth
comparing the coherence value from step (a) to an average ods of improving cognitive performance. As used herein,
coherence value of a control group; if the coherence value “cognitive performance” means the rate at which a subject
from step (a) is higher than the average coherence value of the processes information. Cognitive performance includes, but
control group, lowering the coherence value of the Subject by is not limited to, (a) the rate at which a subject learns, (b) the
applying at least two asynchronous magnetic fields close to a speed at which a Subject reacts to stimuli, (c) a subjects
head of the subject; if the coherence value from step (a) is attentiveness, (d) a Subject’s ability to concentrate, or a com
lower than the average coherence value of the control group, bination thereof. In some embodiments, improving cognitive
raising the coherence value of the Subject by applying at least performance improves military performance (e.g., the perfor
one synchronized magnetic field close to a head of the Sub 10 mance of a solider under battlefield conditions). In some
ject.                                                               embodiments, improving cognitive performance improves
   Disclosed herein, in certain embodiments, are methods of athletic performance (e.g., the ability of an athlete to react to
treating Parkinson's disease by using a TMS device to influ stimuli). In some embodiments, improving cognitive perfor
ence an intrinsic frequency of a Subject within a specified mance improves academic performance (e.g., the ability to
EEG band, comprising: (a) adjusting output of said TMS 15 perform on standardized tests).
device; (b) changing EEG frequency, Q-factor, or coherence             In some embodiments, methods and devices described
by repetitive firing of a magnetic field using said TMS device: hereincan be used to improve at least two indications from the
and (c) applying said magnetic field close to a head of the group presented above. In some embodiments, methods and
Subject;                                                            devices described herein can be used to improve at least three
   Disclosed herein, in certain embodiments, are methods of indications from the group presented above. In some embodi
treating Parkinson's disease by modulating the electrical ments, methods and devices described herein can be used to
activity of a brainina Subject in need thereof, comprising: (a) improve at least four indications from the group presented
adjusting output of a magnetic field for influencing an EEG above.
phase between two sites in the brain of a subject of a specified       Disclosed herein, in certain embodiments, are methods of
EEG frequency toward a target EEG phase of the specified 25 improving cognitive performance by modulating the electri
EEG frequency; and (b) applying said magnetic field close to cal activity of a brain in a Subject in need thereof, comprising:
a head of the subject.                                              (a) adjusting output of a magnetic field for influencing a
   Disclosed herein, in certain embodiments, are methods of Q-factor, a measure of frequency selectivity of a specified
treating Parkinson's disease by influencing an EEG phase of EEG band, of the subject toward a target Q-factor of the band;
a specified EEG frequency between multiple locations of a 30 and (b) applying said magnetic field close to a head of the
brain of a Subject, comprising: (a) determining the EEG phase Subject. In some embodiments, the Subject's Q-factor is
the between at least two locations measured on the head of the      adjusted to its natural level. In another aspect are methods of
Subject; (b) comparing the EEG phase from step (a) to an modulating the electrical activity of a brain in a subject in
average EEG phase of a control group; and (c) applying a need thereof, comprising: determining the Q-factor of the
magnetic field close to a head of the Subject wherein applying 35 intrinsic frequency within the specified EEG band of the
the magnetic field influences the determined EEG phase Subject; comparing the Q-factor of the intrinsic frequency
toward the average EEG phase of a control group.                    from step (a) to an average Q-factor of the intrinsic frequency
   Disclosed herein, in certain embodiments, are methods of of a control group; if the Q-factor of the intrinsic frequency
treating Parkinson's disease by using a TMS device to influ from step (a) is higher than the average Q-factor of the intrin
ence an EEG phase of a subject of a specified EEG frequency, 40 sic frequency of the control group, tuning down the Q-factor
comprising: (a) adjusting output of said TMS device; (b) of the intrinsic frequency of the Subject by applying a mag
changing the EEG phase by repetitive firing of at least one netic field with a plurality of frequencies or with a single
magnetic field using said TMS device; and (c) applying said target frequency close to a head of the Subject; and if the
magnetic field close to a head of the Subject.                      Q-factor of the intrinsic frequency from step (a) is lower than
Cognitive Performance Improvement                                45 the average Q-factor of the intrinsic frequency of the control
   In certain instances, cognitive performance is affected by group, tuning up the Q-factor of the intrinsic frequency of the
neural firing patterns. In some embodiments, a subject dis Subject by applying a magnetic field with a target frequency to
playing rhythmic neural firing patterns processes complex a head of the subject.
information quicker and more accurately than a Subject with            Disclosed herein, in certain embodiments, are methods of
more chaotic (i.e., less rhythmic) neural firing patterns. In 50 improving cognitive performance by modulating the electri
Some embodiments, increasing the rhythmic-ness of brain cal activity of a brain in a Subject in need thereof, comprising:
waves results (partially or fully) in (a) an increase in the rate (a) adjusting output of a magnetic field for influencing a
at which the Subject learns, (b) an increase in the speed at coherence of intrinsic frequencies among multiple sites in a
which the Subject reacts to stimuli, (c) an increase in atten brain of the subject within a specified EEG band toward a
tiveness, (d) an increase in the ability of the Subject to con 55 target coherence value; and (b) applying said magnetic field
centrate, or a combination thereof. In some embodiments, the        close to a head of the Subject. In some embodiments, the
brain of a Subject under pressure and/or stress deviates from Subject's coherence is adjusted closer to the Subject's natural
its natural energy to a higher energy. In some embodiments, coherence. In some embodiments, the Subjects coherence is
the brain of a subject under pressure and/or stress deviates increased when a coherent magnetic field is applied across the
from its natural rhythmic state to a more un-rhythmic state. 60 brain. In some embodiments, improving coherence allows for
   In some embodiments, the Subject's average alpha fre better communication between regions in the brain. In some
quency is measured. In some embodiments, the frequency of embodiments, improving coherence improves performance,
the applied magnetic field is set to the value of the subjects both athletically and academically. Disclosed herein, in cer
average alpha frequency. In some embodiments, applying the tain embodiments, are methods of improving cognitive per
magnetic field at a value equal to the Subjects average alpha 65 formance by adjusting output of a magnetic field for influ
frequency brings the brain back to its natural state, which is encing a coherence of intrinsic frequencies among multiple
optimal for concentration, focus, and performance in a variety sites in a brain of the subject within a specified EEG band
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toward a target coherence value comprising: determining the magnet 2 by a drive shaft 4, and the magnet rotation is con
coherence value of the intrinsic frequencies among multiple trolled by a controller 58 (i.e. controller subunit) that can at
locations throughout a scalp of the Subject; comparing the least monitor and/or control the rotation of the magnet 2.
coherence value from Step (a) to an average coherence value Control of the rotation may include, for non-limiting
of a control group; if the coherence value from step (a) is 5 example, the speed of rotation, and the acceleration and/or
higher than the average coherence value of the control group, deceleration of rotation, the time of rotation, and the direction
lowering the coherence value of the Subject by applying at of rotation (e.g. clockwise, counter-clockwise).
least two asynchronous magnetic fields close to a head of the             FIG.3 shows an exemplary device which two bar magnets
subject; if the coherence value from step (a) is lower than the 2a, 2b are coupled to and rotated by motors 72a, 72b, and the
average coherence value of the control group, raising the 10 magnets 2a, 2b are rotated synchronously to provide a more
coherence value of the Subject by applying at least one syn uniform phase for the magnetic field in the brain of a subject
chronized magnetic field close to a head of the Subject.               6. The motors 72a, 72b are coupled to the magnets 2a, 2b,
   Disclosed herein, in certain embodiments, are methods of respectively, by a drive shafts 4a, 4b, and the rotation of the
improving cognitive performance by using a TMS device to magnets 2a and 2b about rotation axes 36a,36b, respectively,
influence an intrinsic frequency of a Subject within a specified 15 is controlled by a controller 58 (i.e. controller subunit) that
EEG band, comprising: (a) adjusting output of said TMS can at least monitor and/or control the rotation of the magnet
device; (b) changing EEG frequency, Q-factor, or coherence 2a, 2b. Control of the rotation of the magnets may include, for
by repetitive firing of a magnetic field using said TMS device: non-limiting example, the speed of rotation, and the accelera
and (c) applying said magnetic field close to a head of the tion and/or deceleration of rotation, the time of rotation, and
Subject;                                                               the direction of rotation (e.g. clockwise, counter-clockwise).
   Disclosed herein, in certain embodiments, are methods of The rotation of a single magnet (magnet 2a, for example),
improving cognitive performance by modulating the electri may be controlled independently from and/or simultaneously
cal activity of a brain in a Subject in need thereof, comprising: with the rotation of a second magnet (magnet 2b, for
(a) adjusting output of a magnetic field for influencing an example) by the controller 58. Additional magnets may be
EEG phase between two sites in the brain of a subject of a 25 similarly added to the device. In another embodiment, a
specified EEG frequency toward a target EEG phase of the single motor is coupled to a plurality of magnets, and each of
specified EEG frequency; and (b) applying said magnetic the magnets may be controlled by the controller, indepen
field close to a head of the subject.                                  dently or simultaneously.
   Disclosed herein, in certain embodiments, are methods of               In some embodiments, the magnetic field used by the meth
improving cognitive performance by influencing an EEG 30 ods or devices are not capable of exciting brain cells. In some
phase of a specified EEG frequency between multiple loca embodiments, the magnetic field used by the methods or
tions of a brain of a subject, comprising: (a) determining the devices are below thresholds of exciting brain cells. In some
EEG phase the between at least two locations measured on the embodiments, the devices described can have one or more
head of the subject; (b) comparing the EEG phase from step permanent magnets mounted onto one or more rotating shafts
(a) to an average EEG phase of a control group; and (c) 35 in Such a way that it creates an alternating magnetic field
applying a magnetic field close to a head of the Subject when the shaft or shafts are spun. In some embodiments, the
wherein applying the magnetic field influences the deter speed of rotation can be set by the user or controlled using
mined EEG phase toward the average EEG phase of a control neurological feedback to provide optimal therapy.
group.                                                                    In some embodiments, the pMERT (permanent Magneto
   Disclosed herein, in certain embodiments, are methods of 40 EEG Resonant Therapy) device (i.e. the NEST device) com
improving cognitive performance by using a TMS device to prises one or more powerful magnets (>5000 G each) that
influence an EEG phase of a subject of a specified EEG rotate at a specific frequency or frequencies to bring about the
frequency, comprising: (a) adjusting output of said TMS desired therapy. A single, dual, or multi-channel EEG is
device; (b) changing the EEG phase by repetitive firing of at incorporated in the device to acquire a sample EEG segment
least one magnetic field using said TMS device; and (c) 45 and determine the alpha frequency distribution. From this
applying said magnetic field close to a head of the Subject.           information, the device controls the frequency of rotation of
Device                                                                 the magnet or magnets to deliver therapy.
   FIG. 1 shows an exemplary device having a magnet 2                     FIG. 4 shows an exemplary device in which the magnet 2
coupled to and rotated by a motor 72 in which the magnet 2 rotates so that the plane of rotation is generally perpendicular
rotates so that the plane of rotation is generally perpendicular 50 to the surface of the scalp of a subject 6 and a bio-feedback
to the surface of the scalp of the subject 6, and the rotation axis sensor and/or EEG electrode 82a is used to control the speed
36 is generally parallel to at least a portion of the surface of the of rotation about the rotation axis 36. The rotation of the
scalp of the subject 6. The motor 72 is coupled to the magnet magnet 2 is driven by a motor 72 which is coupled to a drive
2 by a drive shaft 4, and the magnet rotation is controlled by shaft 4, and the drive shaft 4 is coupled to the magnet 2. In
a controller 58 (i.e. controller subunit) that can at least moni 55 some embodiments at least two EEG electrodes, 82a, 82b are
tor and/or control the rotation of the magnet 2. Control of the used to control the speed of rotation, wherein at least one EEG
rotation may include, for non-limiting example, the speed of electrode, for example EEG electrode 82b, is used as a refer
rotation, and the acceleration and/or deceleration of rotation,        ence electrode (and/or a ground electrode). The electrodes,
the time of rotation, and the direction of rotation (e.g. clock 82a, 82b may be connected to an amplifier 80 which can
wise, counter-clockwise).                                           60 amplify the signal received from the electrodes, 82a, 82b. The
   FIG. 2 shows an exemplary device in which a magnet 2 in magnet rotation may be controlled and/or monitored by a
the shape of a horseshoe is coupled to and rotated by a motor controller subunit (controller), 58, which may also receive,
72, and the magnet 2 is positioned Such that the plane of record, and/or display the signal or signals received from the
rotation is generally parallel to at least a portion of the Surface EEG electrodes 82a, 82b. In some embodiments, the reading
of the scalp of the subject 6, and the rotation axis 36 is 65 from a reference EEG electrode, for example EEG electrode
generally perpendicular to at least a portion of the Surface of 82b, is subtracted and/or otherwise removed from the reading
the scalp of the subject 6. The motor 72 is coupled to the from the second EEG electrode, for example EEG electrode
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82a. In some embodiments, the bio-feedback sensor/EEG               intrinsic alpha frequency throughout the head is more uni
electrode is used, at least in part, to determine the Subsequent    form, though the majority of energy is still concentrated at the
treatment regimen for the Subject.                                  back of the brain.
  In some embodiments, the EEG electrodes are used to            The pMERT Device (NEST Device)
measure the brain waves of the subject at various times, for        Devices described may contain a plurality of magnets, and
non-limiting example, prior to applying a method of treat a plurality of magnets may be used to form an array to pro
ment as provided herein using a device described herein, duce a desired magnetic field. Such magnetic field can be a
during application of a method of treatment as provided pulsing or temporally variable unipolar magnetic field where
herein using a device described herein, and/or after applying 10 treatments
                                                                 cific pole.
                                                                             are performed with a magnetic field having a spe
a method of treatment as provided herein using a device             In some embodiments of a device or devices as described
described herein. In some embodiments, the EEG electrodes        herein,  the device is operable to influence an intrinsic fre
are used to measure the brain waves of the subject at various quency of
times, for non-limiting example, prior to using a device A device asthedescribedbrain of a subject within a specified EEG band.
                                                                                         herein may be operable to influence a
described herein, during use of a device described herein, 15 Q-factor of an intrinsic frequency of the brain of a subject
and/or after using a device described herein. In some embodi within a specified EEG band. A device as described herein
ments, the EEG electrodes are used to measure the brain          may be operable to influence a coherence of intrinsic frequen
waves of the subject continuously for a specified period of cies among multiple sites in the brain of a subject within a
time. In some embodiments the specified period of time is for specified EEG band. A device as described herein may be
non-limiting example, at least about one hour, at least about operable to influence a EEG phase of intrinsic frequencies
45 minutes, at least about 40 minutes, at least about 30 min     among multiple sites in the brain of a Subject within a speci
utes, at least about 20 minutes, at least about 15 minutes, at   fied EEG band.
least about 10 minutes, at least about 5 minutes, at least about    In some embodiments, a method of modulating the elec
1 minute, at least 30 seconds, at least about 10 seconds, at     trical activity of a brain in a subject in need thereof comprises:
least about 5 seconds, and at least about 1 second. The term 25 (a) adjusting output of a magnetic field for influencing a
“about when referring to the specified period of time of use     Q-factor, a measure of frequency selectivity of a specified
of the EEG electrodes to measure brain waves can mean            EEG band, of the subject toward a target Q-factor of the band;
variation of, for example, 1 minute to 5 minutes, 30 seconds and (c) applying said magnetic field close to a head of the
to 1 minute, 15 seconds to 30 seconds, 5 seconds to 15           Subject.
seconds, 1 second to 10 seconds, 1 second to 5 seconds, 0.5 30 In some embodiments, devices described can comprise a
seconds to 1 second, and 0.1 seconds to 0.5 second.              Substantially planar member upon which are affixed a plural
   In some embodiments, the intrinsic frequency of the sub ity of magnets. Thus, the magnets may be oriented so as to
ject is an alpha frequency of a brain of the Subject. In some permit application of a magnetic field having a substantially
embodiments, alpha EEGofa brain of a subject can be critical uniform polarity to a user. In some embodiments, the magnets
in normal cognitive processes and the desynchronization of 35 may also be positioned on the array so that adjacent magnets
alpha activity can play a pathophysiological role in the neu have opposite polarities.
rological disordera neurological disorder listed above. In          In some embodiments, the devices described may be con
Some embodiments, the therapy using methods or systems figured so as to restrict, in one or more directions, the move
described lasts for about 20 minutes, is very gentle, and ment of the magnet within the devices, thereby enabling
unnoticeable to the Subject. In some embodiments, the quan 40 selection of the polarity of the magnetic field to which the user
tifiable change in alpha frequency can be seen clearly follow is individualed. For example, magnets may be placed within
ing the therapy session, and the patient may have an imme the devices described so that one face of the magnetis always
diate reduction in Symptoms. The therapy using methods or pointing toward a head of a Subject. Accordingly, the Subject
systems described can be mild enough to be used every day or is individualed to a dynamic magnetic field having a specific
as needed. The therapy using methods or systems described 45 polarity.
does not have to involve any medication whatsoever.                 In some embodiments, the devices described comprise at
   “Patient' and “individual are synonyms, and are used least one rotating mechanism. In some embodiments,
interchangeably. As used herein, they mean any animal (e.g. mechanical subunits including cams, gears and/or linkages
a mammal) on which the inventions described herein may be may be utilized to move at least one magnet. These mechani
practiced. Neither the term “individual' nor the term 50 cal Subunits may be powered through motorized means or
"patient' is limited to an animal under the care of a physician. may be connected to other devices moving in the Surrounding
   FIG. 5 shows a sample EEG segment for a subject before environment which will cause the mechanical device to move
therapy is delivered. The block on the left shows a time series the magnet. An external exciter magnet may be positioned
EEG while the subject is sitting at rest with eyes closed. The near the devices described, where the external exciter magnet
block in the center shows the energy across the frequency 55 generating a Sufficiently strong magnetic field to cause move
spectrum for the sampled EEG. The vertical line drawn ment of at least one magnet contained within the devices
through the peaks is at 9.1 Hz, the subjects intrinsic alpha described.
frequency. The circle at the right shows the distribution of        In some embodiments, magnets of the devices described
EEG energy at the intrinsic alpha frequency throughout the can be rotated by a rotating mechanism other than a motor. In
head, looking down on the top of the subject’s head. In the 60 Some embodiments, the devices comprise at least one orifice
circle representation, the majority of the EEG energy at the so that a stream of fluid Such as a gas or liquid may be forced
alpha frequency is concentrated at the back of the brain.        into the devices, wherein the stream offluid being sufficiently
   FIG. 6 is similar to FIG. 5, except the EEG was sampled strong so as to move at least one magnet, thus creating relative
immediately following therapy. In this, it can be seen that the movement between the at least one magnet and a head of a
energy associated with the intrinsic alpha frequency has 65 Subject.
increased significantly. From the circle representation on the      While permanent magnets of any strength may be utilized
right, it can be seen that the distribution of energy at the for the methods and devices described herein, generally mag
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nets having strengths within the range of about 10 Gauss to          encountered, approximately at the midpoint of the magnet. As
about 4 Tesla can be used. In some embodiments, the strength         the South pole continues to rotate toward the application area,
of at least one permanent magnet is from about 100 Gauss to          the application area is individualed to a south pole field of
about 2 Tesla. In some embodiments, the strength of at least         increasing intensity until the Southpole is closest to the appli
one permanent magnet is from about 300 Gauss to about 1              cation area where the application area is individualed to a
Tesla.                                                               “full south pole field.” By rotating in this fashion, the object is
   In some embodiments, the permanent magnets for the individualed to a “full waveform.” Likewise, the application
methods and devices described comprise rare earth magnets area is also individual to a “full waveform' when the magnet
Such as neodymium, iron, boron or Samarium cobalt magnets. rotates from the south pole to the north pole. As used herein,
In some embodiments, the permanent magnets for the meth 10 a south pole may also be referred to as “negative. (-), or S.
ods and devices described are neodymium iron boron mag and a north pole may also be referred to as “positive. (+), or
nets. In some embodiments, ceramic magnets, electromag N.
nets or other more powerful magnets may be utilized as they             For example, FIG. 10A through FIG. 10G show some
become available. In some embodiments, electromagnets exemplary embodiments for various movements of at least
may be utilized for the methods and devices described. Cur 15 one permanent magnet. FIG. 10A shows a graph of the mag
rent can be supplied to the electromagnetby wires penetrating netic field over time. That is, it shows a graph92a expressing
through the devices described and connecting to an external an example magnetic field experienced by a Subject 6a as a
power source.                                                        magnet 2a rotation about an axis between the north pole (+)
   Described are magnetic therapeutic devices and methods and South pole (-) of the magnet 2a. The position of the
for magnetic therapies where a brain of a subject is individual magnet relative to the Subject 6a and the field strength (+ or -,
to at least one dynamic magnetic field having an amplitude of amplitude can vary, depending on for example, the applica
at least a half waveform. In certain embodiments, the treat          tion, method, magnet and therapy being delivered) is shown
ment area is exposed to a half waveform of magnetic flux. In in FIG. 10A. For example at Time-0, the subject 6a may
other embodiments, the treatment area is exposed to a full experience no magnetic field (i.e. a neutral field) when the
waveform of magnetic flux. Still other embodiments may 25 magnet’s north pole is equally as far from the Subject 6a as the
permit treatment area to be exposed to either a half or full magnet’s South pole (assuming the north pole and South pole
waveform. To individual the treatment area to such a dynamic have equal strengths yet opposite polarities). As the magnet
magnetic field, the magnetic source may be rotated, oscil 2a spins such that the South pole of the magnet 2a is closest to
lated, moved through a particular pattern, or otherwise moved the Subject 6a, the Subject 6a experiences a negative magnetic
relative to a head of a subject. The application area of the 30 field, as shown in FIG. 10a, and as the magnet 2a spins
Subject can be positioned relative to the magnetic source so further, the Subject 6a is exposed to a changing magnetic field
that the magnetic field extends around and/or through the from, for example, a neutral field, to a negative field, to a
application area. In certain embodiments, the devices neutral field, to a positive field, and so on. As further shown in
described comprise at least one magnet having a north and FIG. 10A, an array of magnets (i.e. a plurality) may be used
South magnetic pole and apole width equal to the width of the 35 alternatively to a single magnet to provide a more uniform
magnet at the poles.                                                 field to the subject’s brain. FIG. 10A shows a subject 6a1
   Three parameters of magnetic fields generated by the exposed to an array of nine rotating magnets, as well as a
devices described can be manipulated:                                Subject 6a2 exposed to an array of five rotating magnets. In
   (a) the intensity of the magnetic field at the treatment site,    Some embodiments, any number of rotating magnets may be
      which can be determined by the strength of the magnets 40 used to provide a more uniform field to the subject's brain.
      used and the distance between the magnets and the Sub             Various exemplary wave forms resulting from embodi
      jects head;                                                    ments of the devices and methods provided herein are shown
   (b) the frequency of the magnetic field, i.e., the rate of in FIG. 10B through FIG. 10G. For example, FIG. 10B shows
      change of the magnetic field, which can be determined a full waveform in the form of a step function where a mag
      by movements of at least one magnet, Such as by varying 45 netic field cycles through a sequence wherein the magnetic
      the speed at which at least one magnet moved relative to field is positive (+) then neutral, then negative (-), then neu
      the application area;                                          tral, and repeats. FIG. 10C shows a halfwaveform in the form
   (c) the amplitude of the net change in magnetic flux (or of a step function where a magnetic field cycles through a
      waveform) to which the application area is individualed,       sequence wherein the magnetic field is positive (+) then neu
      and                                                         50 tral, and repeating this sequence. FIG. 10D shows an alterna
   (d) the phase of the magnetic field between two (or more) tive a half waveform in the form of a step function where a
      magnets (i.e. the magnetic phase) when the magnetic magnetic field cycles through a sequence wherein the mag
      field frequencies of the two (or more) magnets are the netic field is positive (+) then off (or neutral), remaining off
      same (or Substantially the same).                              (neutral) for a longer period of time than remaining positive
   As to the amplitude of the net change in magnetic flux, it is 55 (+), and repeating this sequence. FIGS. 10E, 10F and 10G.
generally known that permanent magnets have a north pole each show example full wave forms resulting from embodi
and Southpole, with north pole magnetic flux emanating from ments of a NEST device having at least one magnet wherein
the north pole, and South pole magnetic flux emanating from the magnets, or magnets’ north pole and South pole alterna
the South pole. In some embodiments, the application area is tively change distances from the Subject in a regular pattern.
individual to a “full waveform” according to the devices and 60 By shielding a pole of the magnets of the array, half wave
methods described. For example, when a permanent magnet forms may be created using the same array of magnets, for
rotates relative to an application area, the application area example shielding as shown in FIG. 11C and/or FIG. 11D,
may initially be individualed to a “full north polefield where discussed further below.
the north pole of the magnet is closest to the application area.        In some embodiments, the application area is individual to
As the north pole rotates away from the application area and 65 a “half waveform” according to the devices and methods
the South pole rotates toward the application area, the strength described. For example, an object may be individualed to a
of the north pole field decreases until a “neutral field' is “half waveform where the magnet rotates relative to the
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application area from a full north pole field to a neutral field   embodiment of FIG. 11C, the subject (not shown) could be
or from full southpole field to a neutral filed. In some embodi    positioned, for example, such that the rotation axis 138 is
ments, the “half waveform’ treatment can be achieved by            generally perpendicular with the scalp of the Subject, or
limiting rotation or movement of the magnets. In some              wherein the rotation axis 138 is generally parallel to the scalp
embodiments, the “halfwaveform’ treatment can beachieved           of the subject, depending on the desired waveform and/or
by shielding the north pole or South pole of the magnet, magnetic flux for the particular individual. FIG. 11D is simi
leaving only the other pole exposed for the treatment of the lar to FIG. 11C but with the magnet 102d having opposite
application area.                                                  polarity to the magnet 102c of FIG. 11C. FIG. 11D shows
   To individual the treatment area to a dynamic magnetic single magnet 102d having a shield 194 covering the south
field by the methods and devices described herein, the mag 10 pole of the magnet 102d.
netic Source may be rotated, oscillated, moved through a              FIG. 11E shows another embodiment device having a
particular pattern, or otherwise moved relative to the treat single
ment area. In some embodiments, the magnetic source is along amagnet       pendulum
                                                                                   102e that Swings with pendulum-like motion
                                                                                      path 198, the pendulum path 198 at least in
rotated about an axis. In some embodiments, the magnetic
Source is oscillated with respect to the application area. In 15 part defined by the distance between magnet 102e and the
Some embodiments, the magnetic source has a linear move pendulum pivot 96. In the shown embodiment, the south pole
ment with respect to the application area. Such linear move (S) of the magnet 102e is farther from the pendulum pivot 96
ment can be like a piston movement. In some embodiments, than the north pole (N) of the magnet 102e. In the embodi
the magnetic source has a Swing motion with respect to the ment of FIG. 11E, the subject (not shown) could be posi
application area. Such Swing motion can be like a Swinging tioned, for example, such that the pendulum path 198 is
pendulum movement. In some embodiments, the magnetic generally perpendicular with the scalp of the Subject, or
Source has a combination of rotation, linear, oscillated, and      wherein the pendulum path 198 is generally parallel to the
Swing movements. In some embodiments, the magnetic Scalp of the Subject, depending on the desired waveform
Source has any combination of rotation, linear, oscillated, and and/or magnetic flux for the particular individual. FIG. 11F
Swing movements. In some embodiments, said movement 25 has similar characteristics to FIG. 11E, but with the magnet
comprises at least one of rotational motion, linear motion, and 102f of FIG. 11F having opposite polarity to magnet 102e of
Swing motion.                                                      FIG 11E.
   In some oscillatory embodiments, a plurality of magnets            FIG. 11G depicts another embodiment device having a
are fixedly mounted on a Supporting plate, the magnets being single magnet 102g that is configured to spin about a rotation
spaced apart from each other so that the each magnetis spaced 30 axis 138 positioned in the north pole region of the magnet
apart from the next nearest magnets by at least one pole width.    102g (i.e. somewhere between the neutral plane of the magnet
Each magnet may be positioned so that the upwardly facing and the north pole (N) end of the magnet 102g). The rotation
pole of each magnet is the same. For example, in one con axis 138 is generally parallel to the neutral plane (not shown)
figuration, the north pole face of each magnetis mounted to a of the magnet 102g. In the embodiment of FIG. 11G, the
Supporting plate. In an alternate configuration, the South pole 35 Subject (not shown) could be positioned, for example, Such
face of each magnet is mounted to a Supporting plate. By that the rotation axis 138 is generally perpendicular with the
laterally displacing magnets so arranged proximate to an scalp of the subject, or wherein the rotation axis 138 is gen
application area, Such area is individualed to a repeating half erally parallel to the scalp of the Subject, depending on the
waveform (full north to Zero to full north). In another embodi desired waveform and/or magnetic flux for the particular
ment, by reversing the polarity of the magnets proximate to 40 individual. FIG. 11H is similar to FIG. 11G but with the
the application area, such area is individualed to a repeating magnet 102h having opposite polarity to the magnet 102g of
half waveform (full south to Zero to full south).                  FIG. 11G, and wherein the rotation axis 138 positioned in the
   In some oscillatory embodiments, a plurality of elongated South pole region of the magnet 102h (i.e. Somewhere
magnetic sources are placed adjacent to each other so that a between the neutral plane of the magnet and the southpole (S)
repeating pattern of alternating magnetic poles are formed, 45 end of the magnet 102h).
the poles being spaced apart by a predetermined distance. The         FIG. 11J shows another embodiment device having a
oscillation of the magnetic sources by a distance equal to or single magnet 102i mounted a distance away from the rota
greater than the predetermined distance Subjects an applica tion axis 138 of the device, and having the north pole (N) of
tion area to a complete reversal of magnetic flux, i.e., a full the magnet 102i closer to the rotation axis 138 than the south
waveform.                                                       50 pole (S) of the magnet 102i. In the embodiment of FIG. 11J,
   FIGS. 11A through 11K show additional exemplary the Subject (not shown) could be positioned, for example,
embodiments for various movements of at least one perma such that the rotation axis 138 is generally perpendicular with
nent magnet. FIG. 11A shows two magnets 102a1, 102a2 the scalp of the subject, or wherein the rotation axis 138 is
coupled to each other and spun about a rotation axis 138a. In generally parallel to the scalp of the Subject, depending on the
the embodiment of FIG. 11A, the subject (not shown) could 55 desired waveform and/or magnetic flux for the particular
be positioned, for example, such that the rotation axis 138 is individual. FIG. 11K is similar to FIG. 11J but with the
generally perpendicular with the scalp of the Subject, or magnet 102k having opposite polarity to the magnet 102i of
wherein the rotation axis 138 is generally parallel to the scalp FIG 11.
of the subject, depending on the desired waveform and/or              FIG. 11K depicts an alternate embodiment device having a
magnetic flux for the particular individual. FIG. 11B is simi 60 single arc-like magnet 1021 (which may be, for example, a
lar to FIG. 11A but with the magnets 102b1, 102b2 having horseshoe magnet), that is coupled to a drive shaft 104 aligned
opposite polarity to the magnets 102a1, 102a2 of FIG. 11A. with the rotation axis 138. As the drive shaft 104 spins about
   FIG. 11C depicts another embodiment device having a the rotation axis 138, the magnet 102d likewise rotates about
single magnet 102c having a shield 194 covering the north the rotation axis 138. 1n the embodiment of FIG. 11K, the
pole of the magnet 102c. The magnet 102c spins about a 65 Subject (not shown) could be positioned, for example, Such
rotation axis 138 along the neutral plane of the magnet (i.e. that the rotation axis 138 is generally perpendicular with the
between the north and southpoles of the magnet 102c). In the scalp of the subject, or wherein the rotation axis 138 is gen
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erally parallel to the scalp of the Subject, depending on the       the device. The device may be operable to move the first
desired waveform and/or magnetic flux for the particular            permanent magnet 2802a at the same frequency as the second
individual.                                                         permanent magnet 2802b.
   The phrase “continuously applied' or “continuous appli              In some embodiments, a magnetic field results from a first
cation” refer to treatments where an application area is indi magnetic source and a second magnetic source. FIG. 29
vidual to at least one magnetic field with a full waveform or a shows the magnetic field strengths 2997a, 2997b of two mag
half waveform for a period of time typically longer than 2 nets moving at the same frequency at the same time 2992, but
minutes. Such phrases are distinguished from short pulse having a magnetic phase 2991 relative to one another (out of
application (typically microseconds) of a magnetic field.           phase relative to each other). The magnetic field strengths in
   In some embodiments, the devices described can be pow 10 this graph are plotted with time on the X axis, and magnetic
ered with a rechargeable battery. One battery charge can be field strength on the y axis (with two X axis, to show the
enough for one or more therapy sessions. In some embodi relative field strengths of each magnet simultaneously). As
ments, a display can indicate battery life remaining and signal depicted in FIG. 29, a first magnetic source and a second
when the device should be recharged.                                magnetic Source may be out of phase relative to each other in
   In some embodiments, the devices described use at least 15 order to influence the EEG phase of the subject. In some
one connection to a computer to allow for upload of therapy embodiments, the amount that the first magnetic source and
information, download of Software upgrades, and to order the second magnetic source are out of phase relative to each
more sessions to be allowed for the device. The connection          other is called the magnetic phase 2991. The magnetic phase
may be a USB type of connection, or another type of connec may be measured peak to peak (i.e. peak of the first magnets
tion known or contemplated.                                         field strength to peak of the second magnet’s field strength—
   The speed of rotation can be critical to the specific therapy as shown in FIG. 29, at 2991), or trough to trough, or inflec
that is delivered. Therefore, in some embodiments, the speed tion to inflection, or any similar plot characteristic on both of
of rotation is tightly controlled. In some embodiments, the the magnets field strength graphs.
speed setting may be set by the user or may be set by a                In some embodiments, the first portion of the treatment
controller that uses a biological sensor as feedback to opti 25 Surface is the portion of the treatment Surface approximately
mize the magnetic field frequency.                                  closest to the first permanent magnet, and wherein the second
   In some embodiments, the methods and devices described           portion of the treatment surface is the portion of the treatment
use at least one bio-feedback sensor, the sensor can bean EEG       Surface approximately closest to the second permanent mag
lead placed on the scalp, along with a reference electrode that net. For example, in FIG. 28, the treatment surface 2899
can be placed in an area of little sensed brain activity. When 30 extends between the magnets 2802a, 2802b, 2802c and the
more than one EEG sensor is used, correlation information           head of the subject 2806. The first portion of the treatment
can begained among separate areas of the brain. The EEG and surface is that portion of the treatment surface 2899 between
reference leads can be connected through a differential ampli the first magnet 2802a and the nearest portion of the head of
fier to a controller module that regulates the speed of at least the subject 2806, Likewise, the second portion of the treat
one motor to rotate at least one magnet above the scalp.         35 ment surface is that portion of the treatment surface 2899
   Sensing EEG with a magnet rotating in the vicinity can be between the second magnet 2802b and the nearest portion of
difficult, since the magnet can affect the electrode. To allow the head of the subject 2806. In some embodiments, the first
proper EEG measurement, a technique may be used to Sub portion of the treatment surface is the portion of the treatment
tract the pure sine wave from the sensed EEG. In some Surface closest to the first permanent magnet that is intended
embodiments, the magnet rotation can be stopped tempo 40 to be approximately tangential to the head of the Subject
rarily in order to take an EEG measurement that does not nearest that treatment Surface. In some embodiments, the
include the effect of the rotating magnet.                          second portion of the treatment surface is the portion of the
   Provided herein is a device operable to influence an EEG treatment Surface approximately closest to the second perma
phase between two sites in the brain of a subject 2806 within nent magnet that is intended to be approximately tangential to
a specified EEG band, for example, as shown in FIG. 28. Any 45 the head of the subject nearest that treatment surface.
of the devices described herein may be used to influence the           In some embodiments of the devices disclosed herein, the
EEG phase between two sites in the brain of a subject within difference between the first rotational orientation and the
a specified EEG band. The device may comprise at least two second rotational orientation results in a magnetic phase
permanent magnets 2802a, 2802b, wherein the subunit (not when the first permanent magnet is moved at the same fre
shown in FIG. 28, but shown in other figures, for example, 50 quency as the second permanent magnet. As shown in FIG.
FIGS. 1-4, 24, 25, 27) of the device is coupled to both the first 28, for non-limiting example, the first magnet 2802a has a
and the second magnet, and wherein the subunit enables rotational orientation relative to the treatment surface 2899
movement of the second magnet at a frequency between that is different than the rotational orientation of second mag
about 0.5 Hz and about 100 Hz. The subunit may enable net 2802b. The first magnet 2802a has a rotational orientation
movement of the second magnet at a frequency between 55 wherein its neutral axis nearly parallel (or tangential, where
about 2 Hz, and about 20 Hz. The subunit may enable move the treatment surface is curved) to the treatment surface 2899
ment of the first and second magnet at the same frequencies. nearest it, with its north pole closest to the treatment surface
   FIG. 28 shows an example embodiment of a NEST device 2899. The second magnet 2802b has a rotational orientation
applied to a subject 2806, wherein the NEST device has three wherein its neutral axis that is nearly perpendicular to the
diametrically magnetized cylindrical magnets 2802a, 2802b, 60 treatment surface 2899 nearest it, with its north pole only
2802c, rotating about their cylinder axes having a magnetic slightly closer to the treatment surface 2899 than its south
phase between at least two of the magnets that is not Zero. As pole. Relative to the treatment Surface nearest each magnet,
shown in FIG. 27. a first permanent magnet 2802a of a device thus, the first magnet 2802a has a rotational orientation that is
operable to influence an EEG phase may have a first rotational offset from the rotational axis of the second magnet 2802b by
orientation relative to a treatment surface 2899 of the device 65 around 90 degrees. The first rotational orientation relative to
and the second permanent magnet 2802b may have a second a first portion of a treatment surface of the device may be
rotational orientation relative to the treatment surface 2899 of    between at least about 0 degrees and about 360 degrees dif
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ferent from the second rotational orientation relative to a          Permanent Magneto-EEG Resonant Therapy (pMERT) (i.e. a
second portion of the treatment surface of the device. The first     Neuro-EEG Synchronization Therapy NEST device) as
rotational orientation relative to a first portion of a treatment described herein.
surface of the device may be at least one of between at least           Even a device having a magnetic phase of 0, where the
about 0 degrees and about 180 degrees, between at least about 5 magnets spin at the same frequencies, and in-phase relative to
0 degrees and about 90 degrees, between at least about 0 the treatment surface of the device (and/or relative to the head
degrees and about 45 degrees, between at least about 0 of the subject), may influence the EEG phase between two
degrees and about 30 degrees, between at least about 0 locations measured on the Subjects head. For example, if
degrees and about 15 degrees, between at least about 0 10 prior to treatment, two EEG electrodes take EEG readings
degrees and about 10 degrees, at least about 5 degrees, at least within      an EEG band, and the frequencies are the same (or
about 10 degrees, at least about 15 degrees, at least about 30 each electrodeso),
                                                                     substantially      however, the EEG readings have peaks for
degrees, at least about 45 degrees, at least about 60 degrees, at a device as described hereintimes
                                                                                     at different      (i.e. a non-zero EEG phase),
least about 90 degrees, at least about 120 degrees, at least applying a magnetic field having ainfluence
                                                                                                   may             the EEG phase by
                                                                                                         magnetic phase (i.e. where
about 180 degrees, at least about 240 degrees, and at least 15 the magnets move at the same frequency and in-phase with
about 270 degrees different from the second rotational orien each other).
tation relative to a second portion of the treatment surface of         In some embodiments, a device comprises a first electrode
the device. The specified EEG frequency may be an intrinsic operable to detect electrical brain activity; and a second elec
frequency as described herein. The specified EEG frequency trode operable to detect a reference signal, wherein the first
may be a target frequency as described herein. The target electrode is located on the Subject in at least one of an area of
frequency may be an average intrinsic frequency of a control low electrical resistivity on a Subject, and an area with Sub
group within a specified EEG band.                                   stantially no electrical impulse interference on a Subject, and
   The magnetic phase of the device may be operable to wherein the second electrode is located on the subject. In
influence an EEG phase between a first site and a second site Some embodiments, a device comprises a first electrode oper
in the brain of a subject of a specified EEG frequency. FIG.30 25 able to detect electrical brain activity; and a second electrode
shows theoretical EEG electrode readings 3095a,3095b mea operable to detect a reference signal, wherein the first elec
sured at two locations on a subject’s head within a single EEG trode is located on the subject in at least a portion of the ear
band when the two locations are exhibiting similar (or the canal of the subject, and wherein the second electrode is
same) frequency, but are out of phase relative to each other, 30 located on the Subject. Such electrode placements and con
i.e. displaying an EEG phase 3089. The EEG readings over figurations             may be part of any NEST device described herein.
time in this graph are plotted with time on the x axis, and EEG placement and these
                                                                     Alternatively,           electrode configurations (including
readings on the y axis (with two X axis, to show two EEG wherein a clearer EEG signal is may
                                                                                       conformation)          be part of any device
electrode readings taken simultaneously at different locations rations result in reductions in noise andsince
                                                                                                       desired,        these configu
                                                                                                                  reduced  resistivity
on the head of the subject). As depicted in FIG.30, a first EEG 35 from other signals (such as muscle twitches, etc) as compared
reading 3095a, and a second EEG reading 3095b may be out to electrodes placed on, for example, the head of a Subject.
of phase relative to each other. In some embodiments, the               FIG. 27 shows an example embodiment of a NEST device
amount that the first EEG reading and the second EEG read having a first EEG electrode 2782a located in the subject’s ear
ing are out of phase relative to each other is called the EEG canal 2707, and a reference EEG electrode 2782b (i.e. a
phase 3089. The EEG phase 3089 may be measured peak to 40 second electrode) located on an earlobe of the subject 2706.
peak (i.e. peak of the first EEG reading to peak of the second Conductive gel 2783 may also be used with the first electrode
EEG reading as shown in FIG. 30, at 3089), or trough to 2782b. In the embodiment shown in FIG. 27, the electrodes
trough, or inflection to inflection, or any similar plot charac 2782a, 2782b, couple by wires to a controller subunit 2758.
teristic on both of the EEG reading graphs.                          The controller subunit 2758 also couples to at least one mag
    In some embodiments, the first site in the brain of a subject 45 net 2702 operable to apply a magnetic field to the subjects
may generally align with a first permanent magnet, and the 2706 brain by spinning the magnet 2702 about its axis (not
second site in the brain of a Subject may generally align with shown). Other NEST devices as described herein may be used
a second permanent magnet of the device to influence the and may include the EEG electrodes as described. Other
EEG phase between those two sites. Additional sites also be magnet, magnets, and/or magnetic field configurations as
measured, and additional magnets may additionally be used 50 described herein may be used. Other controller subunits as
to influence the EEG phase between given sites toward a described herein may be used. The first electrode may be
target EEG phase.                                                    shaped to fit the area having Substantially no electrical
    Provided herein is a device comprising, a means for apply impulse interference, for non-limiting example, a portion of
ing a first magnetic field to a head of a Subject; and a means for the ear canal or a portion of the nasal cavity. The electrode
applying a second magnetic field to a head of a subject 55 may be shaped like a hearing aid, including, for non-limiting
whereby the means for applying the first magnetic field and example, completely in the canal shaped, canal shaped, half
the means for applying the second magnetic field are capable shell shaped, full shell shaped, behind the ear shaped, and
of influencing an EEG phase between at least two sites in a open ear shaped. The first electrode may be conformable to
brain of the subject of a specified EEG frequency. The mag the area having Substantially no electrical impulse interfer
netic fields (first magnetic field, and second magnetic field) 60 ence. The first electrode may be compliant such that it fits the
may be of the same frequency, but out of phase with each specific anatomy of the Subject. The first electrode may come
other.                                                               in multiple sizes to accommodate a range of Subjects
   Additional magnetic fields may be provided by additional anatomy. The first electrode may be configured such that the
means for applying Such magnetic fields. These too may be Subject may place the electrode in the area having Substan
out of phase with each other, or with any of the magnetic 65 tially no electrical impulse interference without assistance
fields. Nevertheless, the magnetic fields in some embodi from, for non-limiting example, a second person, a trained
ments may have the same frequencies. The devices may be a EEG technician, or a medical professional.
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   The area having Substantially no electrical impulse inter (in a computer readable format) that determines the coher
ference may be a location having Substantially no muscle ence of the intrinsic frequencies of a specified EEG band of
activity. The area having Substantially no muscle activity may the subject measured at multiple brain locations. The device
naturally have Substantially no muscle activity. Alternatively, as described herein may comprise logic (in a computer read
the area having Substantially no muscle activity may be able format) that determines the phase of the intrinsic fre
relaxed by a muscle relaxation means Such as, for non-limit quencies of a specified EEG band of the subject measured at
ing example, an injection with a substance that relaxes (and/ multiple brain locations.
or paralyzes) the muscles in the area, a topical application of        Provided herein is a method of modulating the electrical
a Substance that relaxes (and/or paralyzes) the muscles in the activity of a brain in a Subject in need thereof, comprising
area, and/or by an ingested muscle relaxation Substance.         10 adjusting output of a magnetic field for influencing an intrin
   While an anatomical location of substantially no electrical sic frequency of a specified EEG band of the subject toward a
impulse interference (but where brain activity may be mea target intrinsic frequency of the specified EEG band; and
Sured) may provide a clearer EEG signal resulting in less applying said magnetic field close to a head of the Subject. In
noise and reduced resistivity from the skull, the first electrode some embodiments, a NEST device, such as one of the NEST
may alternatively be placed on the scalp (either directly, and/ 15 devices (pMERT devices) described herein is used to create
or with hair between the scalp and the electrode). A single or the magnetic field of the method. In some embodiments,
a plurality of electrodes may be placed on the scalp for coher influencing an intrinsic frequency may include influencing
ence measurement, phase measurement, intrinsic frequency harmonics of the target intrinsic frequency of the specified
measurement, and/or Q-factor measurement. Noise from EEG band. In some embodiments, the target intrinsic fre
scalp movement and/or resistivity from the skull may be quency is a harmonic of the peak intrinsic frequency of a
filtered from the signal (or signals) received from the EEG         specified EEG band. In some embodiments, influencing an
electrodes, however, Such filtering may not be necessary. intrinsic frequency may include providing a magnetic field
Curve Smoothing may be applied to the signal (or signals) having a target frequency that can be represented in the fre
received from the EEG electrodes, however, such curve               quency domain by an impulse function. In some embodi
Smoothing may not be necessary. Using any of the EEG 25 ments, influencing an intrinsic frequency may include pro
recording means noted herein, multiple signal recordings viding a magnetic field having a target frequency having no
may be taken and combined to determine, for non-limiting variation (standard of deviationaround the target frequency is
example, a coherence measurement, an intrinsic frequency 0). In some embodiments, influencing an intrinsic frequency
measurement, and/or a Q-factor measurement. An EEG elec may include providing a magnetic field having a target fre
trode cap may be used, and signals from one or more elec 30 quency plus or minus at most 1% of the target frequency. In
trodes of the cap may be used as described hereinto determine Some embodiments, influencing an intrinsic frequency may
an intrinsic frequency, a Q-factor, or coherence.                   include providing a magnetic field having a target frequency
   The area of the scalp upon which the first EEG electrode (or plus or minus at most 5% of the target frequency. In some
the plurality of electrodes) is/are placed may be induced to embodiments, influencing an intrinsic frequency may include
have less muscle activity, or it may naturally have less muscle 35 providing a magnetic field having a target frequency plus or
activity than other areas on the scalp. Inducing less muscle minus at most 10% of the target frequency. In some embodi
activity in the area of the scalp may be achieved in various ments, influencing an intrinsic frequency may include pro
ways. For non-limiting example, the area may be relaxed by viding a magnetic field having a target frequency plus or
a muscle relaxation means such as an injection with a Sub minus at most 10% of the target frequency. In some embodi
stance that relaxes (and/or paralyzes) the muscles in the area, 40 ments, influencing an intrinsic frequency may include pro
a topical application of a Substance that relaxes (and/or para viding a magnetic field having a target frequency plus or
lyzes) the muscles in the area, and/or by an ingested muscle minus at most 15% of the target frequency. In some embodi
relaxation Substance.                                               ments, influencing an intrinsic frequency may include pro
   In some embodiments, the second electrode operable to viding a magnetic field having a target frequency plus or
detect a reference signal is a ground reference. The second 45 minus at most 20% of the target frequency.
electrode may be an ear clip attached to, for non-limiting             Provided herein is a method of modulating the electrical
example, a subjects earlobe. The second electrode may be activity of a brain in a Subject in need thereof, comprising
attached to a location showing substantially no EEG activity. adjusting output of a magnetic field for influencing a Q-factor
The second electrode may be an ear clip.                            a measure of frequency selectivity of a specified EEG band of
   The device as described herein may be operable to measure 50 the Subject toward a target Q-factor of the band; and applying
the EEG signal from the subjects brain prior to and/or after said magnetic field close to a head of the Subject. In some
the application of the magnetic field to the subject. The device embodiments, a NEST device, such as one of the NEST
as described herein may comprise logic (in a computer read devices (pMERT devices) described herein is used to create
able format—for non-limiting example, hardware, software) the magnetic field of the method.
that receives and records the EEG signal prior to and/or fol 55 Provided herein is a method of modulating the electrical
lowing application of the magnetic field to the Subjects brain activity of a brain in a Subject in need thereof, comprising
(or a portion thereof). The device as described herein may adjusting output of a magnetic field for influencing a coher
comprise logic (in a computer readable format) that deter ence of intrinsic frequencies among multiple sites in a brain of
mines the intrinsic frequency of a specified EEG band of the the subject within a specified EEG band toward a target coher
Subject using the EEG signal prior to and/or following appli 60 ence value; and applying said magnetic field close to a head of
cation of the magnetic field to the Subject's brain (or a portion the subject. In some embodiments, a NEST device, such as
thereof). The device as described herein may comprise logic one of the NEST devices (pMERT devices) described herein
(in a computer readable format) that determines the Q-factor is used to create the magnetic field of the method.
of an intrinsic frequency of a specified EEG band of the               Provided herein is a method of altering an intrinsic fre
Subject using the EEG signal prior to and/or following appli 65 quency of a brain of a subject within a specified EEG band,
cation of the magnetic field to the Subject's brain (or a portion comprising determining the intrinsic frequency of the Subject
thereof). The device as described herein may comprise logic within the specified EEG band; comparing the intrinsic fre
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quency from step (a) to an average intrinsic frequency of a the brain of the subject. In some embodiments, the target EEG
control group; if the intrinsic frequency from step (a) is higher phase is any EEG phase higher than the EEG phase between
than the average intrinsic frequency of the control group, the two sites in the brain of the subject. In some embodiments,
shifting down the intrinsic frequency of the Subject by apply the methods comprise measuring EEG data of two sites in the
ing a specific magnetic field close to a head of the Subject, 5 brain of the subject, and calculating the EEG phase between
wherein said specific magnetic field has a frequency lower the two sites in the brain of a subject.
than the intrinsic frequency of the subject; and if the intrinsic       In some embodiments, the target EEG phase is an EEG
frequency from step (a) is lower than the average intrinsic phase of a control group. In some embodiments, the control
frequency of the control group, shifting up the intrinsic fre group is a set of Subjects having a particular trait, character
quency of the Subject by applying a specific magnetic field 10 istic, ability, or feature (e.g., a certain level of cognitive per
close to a head of the Subject, wherein said specific magnetic formance). In some embodiments, the control group is a set of
field has a frequency higher than the intrinsic frequency of the Subjects not having a neurological disorder mentioned herein.
subject. In some embodiments, a NEST device, such as one of In some embodiments, the control group comprises at least
the NEST devices (pMERT devices) described herein is used two subjects.
to create the magnetic field of the method.                       15    In some embodiments, there is no target EEG phase.
   Provided herein is a method of altering a Q-factor of an Rather, the method comprises adjusting output of a magnetic
intrinsic frequency within a specified EEG band of a subject, field for influencing an EEG phase between two sites in the
comprising determining the Q-factor of the intrinsic fre brain of a subject within a specified EEG band; and applying
quency within the specified EEG band of the subject; com said magnetic field close to a head of the subject. The EEG
paring the Q-factor of the intrinsic frequency from step (a) to phase may be influenced to be lower, or higher.
an average Q-factor of the intrinsic frequency of a control             In another aspect are methods for influencing an EEG
group; if the Q-factor of the intrinsic frequency from step (a) phase of a specified EEG frequency between multiple loca
is higher than the average Q-factor of the intrinsic frequency tions of a brain of a subject, comprising determining the EEG
of the control group, tuning down the Q-factor of the intrinsic phase the between at least two locations measured on the head
frequency of the Subject by applying a magnetic field with 25 of the subject; comparing the EEG phase to an average EEG
varying frequencies close to a head of the Subject; and if the phase of a control group; and applying a magnetic field close
Q-factor of the intrinsic frequency from step (a) is lower than to a head of the Subject. Applying the magnetic field may
the average Q-factor of the intrinsic frequency of the control influences the determined EEG phase toward the average
group, tuning up the Q-factor of the intrinsic frequency of the EEG phase of a control group. The specified EEG frequency
Subject by applying a specific magnetic field with a target 30 may be an intrinsic frequency as described herein. The speci
frequency close to a head of the Subject. In some embodi fied EEG frequency may be a target frequency as described
ments, a NEST device, such as one of the NEST devices                herein. The target frequency may be an average intrinsic
(pMERT devices) described herein is used to create the mag frequency of a control group within a specified EEG band.
netic field of the method.                                              In another aspect are methods for using a Transcranial
   Provided herein is a method of improving coherence of 35 Magnetic Stimulation (TMS) device for influencing an EEG
intrinsic frequencies within a specified EEG band among phase of a Subject within a specified EEG band, comprising:
multiple locations of a brain of a Subject, comprising deter adjusting output of said TMS device; changing the EEG
mining the coherence value of the intrinsic frequencies phase by repetitive firing of at least one magnetic field using
among multiple locations throughout a scalp of the Subject;          said TMS device; and applying said magnetic field close to a
comparing the coherence value from step (a) to an average 40 head of the subject.
coherence value of a control group; if the coherence value              In some embodiments, the magnetic field results from a
from step (a) is higher than the average coherence value of the first magnetic source and a second magnetic source. In some
control group, lowering the coherence value of the Subject by embodiments, the first magnetic source and the second mag
applying at least two asynchronous magnetic fields close to a netic source are out of phase relative to each other. In some
head of the subject; if the coherence value from step (a) is 45 embodiments, the amount that the first magnetic source and
lower than the average coherence value of the control group, the second magnetic source are out of phase relative to each
raising the coherence value of the Subject by applying at least other is called the magnetic phase.
one synchronized magnetic field close to a head of the Sub              In some embodiments of at least one aspect described
ject. In some embodiments, a NEST device, such as one of the herein, the step of applying the magnetic field is for a pre
NEST devices (pMERT devices) described herein is used to 50 determined cumulative treatment time. In some embodiments
create the magnetic field of the method.                             of at least one aspect described above, the target intrinsic
   Provided herein is a method comprising adjusting an out frequency with the specified EEG band is from about 0.5 Hz
put current of an electric alternating current source for influ to about 100 Hz. In some embodiments of at least one aspect
encing a Q-factor of an intrinsic frequency of an EEG band of described above, the target intrinsic frequency with the speci
a subject toward a target Q-factor, and applying said output 55 fied EEG band is from about 1 Hz to about 100 Hz. In some
current across a head of the Subject.                                embodiments of at least one aspect described above, the target
   Provided herein is a method comprising adjusting output of intrinsic frequency with the specified EEG band is not greater
a magnetic field for influencing an EEG phase between two than about 50 Hz. In some embodiments of at least one aspect
sites in the brain of a subject of a specified EEG frequency described above, the target intrinsic frequency with the speci
toward a target EEG phase of the specified EEG frequency; 60 fied EEG band is not greater than about 30 Hz. In some
and applying said magnetic field close to a head of the Subject. embodiments of at least one aspect described above, the target
   In some embodiments, the target EEG phase is lower than intrinsic frequency with the specified EEG band is not greater
the EEG phase between the two sites in the brain of the than about 20 Hz. In some embodiments of at least one aspect
Subject. In some embodiments, the target EEG phase is any described above, the target intrinsic frequency with the speci
EEG phase lower than the EEG phase between the two sites in 65 fied EEG band is not greater than about 10 Hz. In some
the brain of the subject. In some embodiments, the target EEG embodiments of at least one aspect described above, the target
phase is higher than the EEG phase between the two sites in intrinsic frequency with the specified EEG band is greater
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than about 3 Hz. In some embodiments of at least one aspect       is to be placed). The method may comprise providing an
described above, the target intrinsic frequency with the speci    electrode that fits an anatomical location (for example, the
fied EEG band is greater than about 1 Hz.                         area at which the first electrode is to be placed). The first
   In some embodiments, of at least one aspect described          electrode may come in multiple sizes to accommodate a range
above, the target intrinsic frequency with the specified EEG      of subjects anatomy. The first electrode may be configured
band is up to about 25 Hz. As used herein, the term “about        Such that the Subject may place the electrode in the area
when referring to a frequency can mean variations of 0.1          having Substantially no electrical impulse interference with
HZ-0.2 Hz, 0.1 Hz to 0.5 Hz, 0.5 Hz to 1 Hz, or 1 Hz to 5 Hz.     out assistance from, for non-limiting example, a second per
   In some embodiments, the target and/or target intrinsic son, a trained EEG technician, or a medical professional.
frequency is chosen from a plurality of intrinsic frequencies 10 The method or methods described herein may comprise
in the specified EEG band. In some embodiments the target placing the first electrode in a location having Substantially no
and/or target intrinsic frequency is chosen from a plurality of electrical impulse interference may be a location having Sub
intrinsic frequencies across a plurality of EEG bands. In some stantially no muscle activity. The area having Substantially no
embodiments the specified EEG band is the Alpha band. In muscle activity may naturally have Substantially no muscle
some embodiments the specified EEG band is the Beta band. 15 activity. The method or methods described herein may com
   In some embodiments of the methods described herein, the       prise relaxing the area of the subject at which the first elec
method or methods may comprise locating a first electrode trode is placed by a muscle relaxation means such as by, for
operable to detect electrical brain activity on the subject in an non-limiting example, injecting with a Substance that relaxes
area of low electrical resistivity on a subject. In some embodi the muscles in the area, applying a topical Substance that
ments of the methods described herein, the method or meth         relaxes the muscles in the area, and/or by providing an ingest
ods may comprise locating a first electrode operable to detect ible muscle relaxation substance to the subject that relaxes the
electrical brain activity on the Subject in an area with Substan  muscles in the area. The method or methods described herein
tially no electrical impulse interference on a subject. In some may comprise paralyzing the area of the Subject at which the
embodiments of the methods described herein, the method or        first electrode is placed by a muscle paralysis means such as
methods may comprise locating a first electrode operable to 25 by, for non-limiting example, and/or injecting with a Sub
detect electrical brain activity on the Subject in an area having stance that Substantially paralyzes the muscles in the area,
Substantially no electrical impulse interference. In some applying a topical Substance that Substantially paralyzes the
embodiments of the methods described herein, the method or          muscles in the area.
methods may comprise locating a first electrode operable to            While an anatomical location of substantially no electrical
detect electrical brain activity on the subject in a location 30 impulse interference, and/or a location having Substantially
having Substantially no muscle activity. The method or meth no muscle activity (but where brain activity may be mea
ods may further comprise locating a second electrode oper sured) may provide a clearer EEG signal resulting in less
able to detect a reference signal on the subject. The method or noise and reduced resistivity from the skull, nevertheless, the
methods may further comprise determining the intrinsic fre methods provided herein may comprise placing the first elec
quency from: the electrical brain activity detected by the first 35 trode on the scalp (either directly, and/or with hair between
electrode, and the reference signal detected by the second the scalp and the electrode). The methods provided herein
electrode.                                                           may comprise placing a plurality of electrodes on the scalp for
   In some embodiments of the methods described herein, the          coherence measurement, intrinsic frequency measurement,
method or methods may comprise locating a first electrode and/or Q-factor measurement. The methods provided herein
operable to detect electrical brain activity on the subject in at 40 may comprise filtering from the signal (or signals) received
least a portion of the ear canal of the subject. The method or from the EEG electrodes noise from scalp movement and/or
methods may further comprise locating a second electrode resistivity from the skull. The methods provided herein may
operable to detect a reference signal on the subject. The comprise Smoothing the signal curve received and/or deter
method or methods may further comprise determining the mined from the EEG electrodes. The methods provided
intrinsic frequency from the electrical brain activity detected 45 herein may comprise determining from multiple signal
by the first electrode and the reference signal detected by the recordings: a coherence measurement, an intrinsic frequency
second electrode.                                                    measurement, and/or a Q-factor measurement using any of
   The method or methods described herein may comprise the EEG recording means noted herein. An EEG electrode
applying conductive gel to the area of low electrical resistivity cap may be used, and signals from one or more electrodes of
on a subject (i.e. the location at which the first electrode is 50 the cap may be used as described herein to determine an
placed). The method or methods described herein may com intrinsic frequency, a Q-factor, or coherence.
prise applying conductive gel to the area having Substantially         The area of the scalp upon which the first EEG electrode (or
no electrical impulse interference on a subject (i.e. the loca the plurality of electrodes) is/are placed may be induced to
tion at which the first electrode is placed). The method or have less muscle activity, or it may naturally have less muscle
methods described herein may comprise applying conductive 55 activity than other areas on the scalp. Inducing less muscle
gel to the area having Substantially no muscle activity (i.e. the activity in the area of the scalp may be achieved in various
location at which the first electrode is placed). Alternatively, ways. For non-limiting example, the methods may comprise
or in addition to the applying the gel, the method may com relaxing the area where the first electrode is placed, for non
prise shaping the first electrode to fit the area at which the first limiting example, by injecting the area with a substance that
electrode is placed, for non-limiting example, the portion of 60 relaxes (and/or paralyzes) the muscles in the area, applying a
the earcanal or the portion of the nasal cavity in which the first topical Substance that relaxes (and/or paralyzes) the muscles
electrode is placed. The electrode may be pre-shaped togen in the area, and/or by providing an ingestible muscle relax
erally fit the intended anatomical location of electrode place ation Substance that relaxes the muscles in the area.
ment, or the electrode may be shaped in-situ to fit the specific        In some embodiments, the method comprises placing a
individuals anatomical location of electrode placement. The 65 second electrode operable to detect a reference signal,
method may comprise shaping the electrode to fit an anatomi wherein the second electrode is a ground reference. The
cal location (for example, the area at which the first electrode method may comprise attaching an ear clip electrode to, for
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non-limiting example, a Subjects earlobe. The ear clip may fields generated by rTMS devices can pass through the skull
be removable. The method may comprise attaching the sec and into the cortex without being distorted. The result is a
ond electrode to a location showing substantially no EEG very focal type of stimulation, minimizing stimulation of
activity.                                                            brain tissue not intended to be stimulated.
   Measuring the EEG signal from the subject’s brain (i.e.              The magnetic pulses generated by rTMS devices are gen
measuring EEG data of the subject) may be done prior to erally believed to induce electrical charges to flow. The
and/or after the application of the magnetic field to the sub amount of electricity created in the brain is very Small, and
ject. The method may comprise receiving the EEG signals can not be felt by the patient. These flowing electric charges
(i.e. receiving the reference signal from the reference elec can cause the neurons to fire or become active under certain
trode and receiving the brain activity from the first electrode) 10 circumstances. Typically, an objective of rTMS Therapy is to
prior to application of the magnetic field to the subject’s brain stimulate (or activate) brain cells.
(or a portion thereof). The method may comprise recording               Jin Y et al. Therapeutic effects of individualized alpha
the EEG signals prior to application of the magnetic field to frequency transcranial magnetic stimulation (alphaTMS) on
the subjects brain (or a portion thereof). The EEG signals the negative symptoms of Schizophrenia. Schizophr Bull.
(i.e. receiving the reference signal from the reference elec 15 32(3):556-61 (2006July; Epub 2005 Oct. 27), which is incor
trode and receiving the brain activity from the first electrode) porated by reference in its entirety, described four stimulation
received and/or recorded prior to application of the magnetic parameters that require optimization for rTMS:
field to the subject’s brain (or a portion thereof) may be used         (a) Frequency—Higher frequencies (>10 Hz) are believed
in determining at least one of the intrinsic frequency of a                to increase cortical excitability;
specified EEG band of the subject, the Q-factor of an intrinsic         (b) Intensity—As a percentage of the threshold at which
frequency of a specified EEG band of the subject, the phase of             motor activity can be elicited (~1-2 Tesla);
the intrinsic frequencies of a specified EEG band of the sub            (c) Duration Pulse trains are brief (1-2 seconds), and
ject, and the coherence of the intrinsic frequencies of a speci            intertrain intervals can be 30-60 seconds; and
fied EEG band of the subject measured at multiple brain                 (d) Site of Stimulation—Depending on patient population
locations. The method may comprise receiving the EEG sig 25                or specific brain functions.
nals (i.e. receiving the reference signal from the reference            In some embodiments, the severity of a neurological dis
electrode and receiving the brain activity from the first elec order is assessed with PANSS, Montgomery-Asberg Depres
trode) following (or after) application of the magnetic field to sion Rating Scale (MADRS), Barnes Akathisia Rating Scale
the subjects brain (or a portion thereof). The method may (BARS), and Simpson-Angus Scale (SAS), as described by
comprise recording the EEG signals (i.e. the reference signal 30 Jin Y et al. above. In some embodiments, the severity of a
from the reference electrode and the brain activity from the neurological disorder is assessed with the Hamilton Anxiety
first electrode) following or after application of the magnetic Scale (HAMA), the Hamilton Depression Scale (HAMD), or
field to the subject’s brain (or a portion thereof). The EEG any methods known in the art. In some embodiments, efficacy
signals received and/or recorded (i.e. the reference signal in clinical ratings can be evaluated by using analyses of vari
from the reference electrode and the brain activity from the 35 ance (ANOVA) as described by Jin Y et al. above. In some
first electrode) following (or after) application of the mag embodiments, raw EEG data can be edited offline by an
netic field to the subjects brain (or a portion thereof) may be experienced technician who is blind to the treatment condi
used in determining at least one of the post-treatment intrinsic tions to eliminate any significant or apparent artifact as
frequency of a specified EEG band of the subject, the post described in Jin Yet al. above. In some embodiments, multi
treatment Q-factor of an intrinsic frequency of a specified 40 variate analysis of variance (MANOVA) with repeated mea
EEG band of the subject, the post-treatment phase of the Sures can be used to determine the main effect interactions as
intrinsic frequencies of a specified EEG band of the subject, described in Jin Yet al. above.
and the post-treatment coherence of the intrinsic frequencies           Since EEG changes can be direct consequences of treat
of a specified EEG band of the subject measured at multiple ments using the methods or devices described herein, in some
brain locations. Determining the intrinsic frequency may 45 embodiments, the EEG changes are used to clinically corre
comprise removing the reference signal detected by the sec late improvement in the symptoms of a neurological disorder
ond electrode from the electrical brain activity detected by the or improvement in cognitive performance. Improvement in
first electrode. Determining the Q-factor of an intrinsic fre symptoms can include positive symptoms and negative symp
quency of the specified EEG band comprises ascertaining the toms. In some embodiments, the EEG changes after using the
Q-factor from the electrical brain activity detected by the first 50 methods or devices described correlated to both positive
electrode and the reference signal detected by the second symptoms and negative symptoms. In some embodiments,
electrode by removing the reference signal detected by the the EEG changes after using the methods or devices described
second electrode from the electrical brain activity detected by correlated to only positive symptoms. In some embodiments,
the first electrode and calculating the Q-factor from the intrin the EEG changes after using the methods or devices described
sic frequency fo and the Afas shown in FIG. 12.                   55 correlated to only negative symptoms. In some embodiments,
rTMS Therapy                                                         correlations between EEG changes and improvement in nega
   Repetitive Transcranial Magnetic Stimulation (rTMS) tive symptoms are only significant in the absence of positive
refers to uses of a magnetic field administered in very short symptoms. In some embodiments, correlations between EEG
grouped pulses (microseconds in length) to a patients head to changes and improvement in positive symptoms are only
achieve a constant train of activation over brief periods of a 60 significant in the absence of negative symptoms.
treatment session. These brief magnetic fields can stimulate            In some embodiments, negative symptoms include, but not
Small areas of the brain non-invasively. During a single ses limited to, loss of motivation, anhedonia, emotional flatten
Sion, about 3,000 magnetic pulses can be given over an inter ing, and psychomotor retardation. These negative symptoms
val of about 30 minutes.                                             can be associated with patient’s cognitive deficits and poorer
   The short pulses of magnetic energy generated by rTMS 65 clinical prognosis, and often resistant to antipsychotic medi
devices can stimulate nerve cells of the brain, often at fre         cations. See Gasquet et al., Pharmacological treatment and
quencies close to thresholds of exciting brain cells. Magnetic other predictors of treatment outcomes in previously
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untreated patients with schizophrenia: results from the Euro         a subject   toward a target Q-factor, and applying said output
pean Schizophrenia Outpatient Health Outcomes (SOHO) current across a head of the Subject. In some embodiments,
study. Int Clin Psychopharmacol. 20: 199-205 (2005), which the step of adjusting the output current comprises varying a
is incorporated by reference in its entirety.                        frequency of the output current. In some embodiments, the
CESTherapy                                                         5 step of adjusting the output current comprises setting the
   Cranial Electrotherapy Stimulation (CES) is a method of output current to a frequency that is higher than the intrinsic
applying microcurrent levels of electrical stimulation across frequency of the Subject. In some embodiments, the step of
the head via transcutaneous electrodes. Provided herein is           adjusting the output current comprises setting the output cur
method including applying an electric alternating current rent to a frequency that is lower than the intrinsic frequency of
(AC) across ahead of a subject, and adjusting and/or varying 10 the Subject. In some embodiments, the step of adjusting the
the frequency of the AC current to effect cognitive perfor output current comprises setting the output current to the
mance or a, neurological disorder as described herein. In target frequency. In some embodiments, the method further
Some embodiments, the AC current is a microcurrent.                  comprises determining the Q-factor of the intrinsic frequency
   Provided herein is a method comprising adjusting an out of the EEG band of the subject; and comparing the Q-factor to
put of an electric alternating current source for influencing an 15 the target Q-factor, wherein the target Q-factor is an average
intrinsic frequency of a EEG band of a subject toward a target Q-factor of the intrinsic frequencies of the EEG bands of a
frequency of the EEG band; and applying said electric alter control group, wherein if the intrinsic frequency is higher
nating current across a head of the Subject. In some embodi than the target frequency, the step of adjusting the output
ments of the methods, a CES therapy is used to influence the current comprises varying a frequency of the output current,
intrinsic frequency of a patient's brain toward a target fre and if the intrinsic frequency is lower than the target fre
quency as measured by EEG.                                           quency, the step of adjusting the output current comprises
   Provided herein is a method comprising adjusting an out setting the output current to a frequency that is higher than the
put current of an electric alternating current source for influ intrinsic frequency of the Subject.
encing an intrinsic frequency of an EEG band of a subject               In some embodiments, the frequency of the output current
toward a target frequency of the EEG band; and applying said 25 has a waveform. In some embodiments, the waveform is a
output current across a head of the Subject. In some embodi sinusoidal or near-sinusoidal AC microcurrent waveform (i.e.
ments, the step of adjusting the output current comprises a controlled waveform). In some embodiments, the waveform
setting the output current to a frequency that is lower than the is any waveform described herein, including but not limited to
intrinsic frequency of the Subject. In some embodiments, the a half waveform and/or a full waveform. In some embodi
step of adjusting the output current comprises setting the 30 ments, the EEG band is the alpha band measured by EEG. In
output current to a frequency that is higher than the intrinsic Some embodiments, the intrinsic frequency is the alpha fre
frequency of the subject. In some embodiments, the step of quency of the patient's brain measured by EEG. In some
adjusting the output current comprises setting the output cur embodiments, the target frequency is a target frequency of the
rent to the target frequency. In some embodiments, the alpha band as measure by EEG.
method further comprises determining the intrinsic frequency 35 In some embodiments the target frequency is an average
of the EEG band of the subject; and comparing the intrinsic frequency of a control group. In some embodiments, the
frequency to the target frequency of the EEG band, wherein control group is a set of individual having a particular trait,
the target frequency is an average intrinsic frequency of the characteristic, ability, or feature (e.g., a certain level of cog
EEG bands of a control group, wherein if the intrinsic fre nitive performance). In some embodiments, the control group
quency is higher than the target frequency, the step of adjust 40 is a set of individual not having a neurological disorder men
ing the output current comprises setting the output current to tioned herein. In some embodiments, the control group com
a frequency that is lower than the intrinsic frequency of the prises at least two Subjects.
Subject, and if the intrinsic frequency is lower than the target        It will be understood by those of skill in the art that numer
frequency, the step of adjusting the output current comprises ous and various modifications can be made without departing
setting the output current to a frequency that is higher than the 45 from the spirit of the present invention. Therefore, it should be
intrinsic frequency of the Subject.                                  clearly understood that the forms of the present invention are
   Provided herein is a method comprising adjusting an out illustrative only and are not intended to limit the scope of the
put of an electric alternating current source for influencing a present invention.
Q-factor a measure of frequency selectivity of a specified
EEG band of a subject toward a target Q-factor of the band; 50                                 EXAMPLES
and applying said electric alternating current across ahead of
the Subject. In some embodiments of the methods, a con                  The invention is described in greater detail by the following
trolled waveform CES therapy is used to influence a Q-factor non-limiting examples.
ofan intrinsic frequency of apatient’s brain. FIG. 12 shows an
example of the Q-factor as used in this invention. The figure 55                                Example 1
shows a sample graph of the frequency distribution of the
energy of an EEG signal. It can be seen that a frequency range,         In some embodiments, described are devices that provide
Afcan be defined as the frequency bandwidth for which the low frequency near-sinusoidal TMS therapy by rotating at
energy is above one-half the peak energy. The frequency f is least one permanent magnet in close proximity to the Sub
defined as the intrinsic frequency in the specified band. The 60 ject's head. The direction of rotation relative to the subject
Q-factor is defined as the ratio off/Af. As can be seen, when can vary depending on the specific therapy desired. Also, the
AF decreases for a given f, the Q-factor will increase. This speed of rotation can be adjusted to provide the optimal
can occur when the peak energy E of the signal increases therapeutic benefit. The speed adjustment itself can come
or when the bandwidth of the EEG signal decreases.                   from the user of the device or from a controller that uses
   Provided herein is a method comprising adjusting an out 65 feedback from a bio-sensor to determine the optimal speed.
put current of an electric alternating current source for influ         In particular embodiments, a bar magnet can be mounted at
encing a Q-factor of an intrinsic frequency of an EEG band of the end of the shaft with the line through the poles perpen
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dicular to the axis of the shaft. The shaft can be rotated by an FIG. 9 shows an alternate angle of the subject 6 receiving
adjustable motor. The magnet can rotate so that the plane of therapy from the pMERT (NEST) device 88 as described in
rotation is perpendicular to the Surface of the scalp. Accord FIG. 7 and/or FIG. 8.
ingly, the positive and negative poles of the magnet can be             In these particular embodiments, the pMERT as shown in
alternately brought in close proximity to the scalp. This can 5 FIGS. 7-9 contains a single EEG lead (i.e. electrode) which is
create a near-sinusoidal magnetic field in the brain in which to be placed at the top of the subjects head. Alternatively,
the location where the field is strongest is that which is closest multiple EEG electrodes may be used in recording and/or
to the magnet.                                                       monitoring the subject’s brain waves at least one of before,
                                                                     during, and after the therapy is applied to the Subject. The
                             Example 2                            10 subject or nurse can prepare the EEG leads (and/or elec
                                                                     trodes) with an electrolytic gel beforehand to lower the
   In particular embodiments, a horseshoe magnet can be impedance. The reference electrode can be placed on the
mounted at the end of the shaft with the poles positioned at the Subject's ear. In some embodiments, the reading from a ref
far end from the shaft. The shaft can be rotated by an adjust erence EEG electrode is subtracted and/or otherwise removed
able motor, as in the previous example. The magnet can be 15 from the reading from the second EEG electrode.
positioned above the subject’s scalp such that the plane of             When therapy is needed, the subject or nurse can follow the
rotation is parallel to the Surface of the scalp. Accordingly, the instructions on the display, which will provide a walkthrough
positive and negative poles can rotate in a circle around the of the EEG electrode preparation. Once complete and the
Scalp. This can create a sinusoidal magnetic field in the brain patient is situated in the device, the EEG is checked by the
in which the phase of the magnetic field is dependent on pMERT to ensure that the electrode is placed correctly. If not,
where the magnetic poles are in their rotation. In general, the an audible tone or instruction is given to allow the patient to
magnetic field under one pole will be of opposite polarity to resituate himself/herself until proper contact is made.
the magnetic field under the opposite pole.                             Once contact is made, the patient lies still with eyes closed
                                                                     while the pMERT (NEST) acquires a representative EEG
                             Example 3                            25 sample. The EEG data is analyzed and, depending on the
                                                                     therapy to be delivered, the magnet or magnets are rotated at
   In particular embodiments, two bar magnets can be used, the appropriate speed. The patient does not feel anything
each mounted at the end of a shaft. The shafts can be rotated        during the procedure, except for a diminution of the Symp
by adjustable motors. The magnets can be positioned on toms of the disorder, and perhaps a feeling of calm. During
opposite sides of the Subjects head, and they are rotated 30 therapy, the device may sample the EEG data either by sub
synchronously to provide a more uniform phase for the mag tracting out the influence of the magnet or by temporarily
netic field in the brain. When the north Pole of one bar magnet halting the magnet while the EEG data is sampled. The dis
is next to the subject’s scalp, the south Pole of the other play is used to show time remaining and any other necessary
magnet will be next to the Subject's Scalp on the opposite side status information for the device. After the therapy time, the
of the subject’s head.                                            35 magnet stops and a second EEG is taken, to be compared to
                                                                     the first EEG. Upon completion of the second EEG acquisi
                             Example 4                               tion, an audible signal is given to indicate end of therapy.
   In particular embodiments, the NEST (pMERT) device is a                                   Example 5
Small, generally cube-shaped device with one side that is 40
curved to allow contact with the top of the subjects head.              Purchasing Dosage Quotas and Report Generation
FIGS. 7-9 show the NEST (pMERT) device in such embodi
ments, and also show the NEST (pMERT) device with a                  The methods and devices described are intended to be used
subject lying on his/her back with his/her head resting in the by psychiatrists/therapists to treat patients with neurological
device to receive therapy.                                      45 disordera neurological disorder. Psychiatrists who take
   FIGS. 7, 8, and 9 show an exemplary embodiment of the advantage of this therapy can register accounts with a vendor
pMERT (NEST) device 88. In this embodiment, a button of the devices described and be given a username and pass
EEG electrode 82a is located on the concave surface of the         word. When a psychiatrist sees a patient with a disorder and
device 88 and a second reference electrode 82b extends via a       the psychiatrist feels that the patient could benefit from the
wire from the side of the device 88. The display 64 and control 50 methods or devices described herein, the psychiatrist either
buttons 86 (device controls) are located on top of the device orders a device or selects one that has been pre-purchased.
88 to provide information and allow the user to adjust param         The psychiatrist (or administrative assistant) can plug a
eters and enter patient data. A USB port 84 (which may also pMERT (NEST) device into a USB port on a PC connected to
and/or alternatively be at least one of an internet connection an internet. Using web access and their username?password,
port, a power Supply, a modem connection, and another type 55 the psychiatrist can login to the NeoSync website. The
of communications means) is located at the top rear of the pMERT (NEST) will be automatically detected by the Neo
device 88, to allow it to be connected via a USB cable to a PC,    Sync website, and any necessary Software upgrades will be
allowing uploading of data and downloading of a dosage downloaded.
quota. FIG.8 shows the pMERT (NEST) device 88 from FIG.              The psychiatrist can then order a number of dosage quotas
7 in which a subject 6 is lying with his/her head against the 60 for a particular disorder from the website, such as 15
concave surface of the device 88. At least one moving magnet 20-minute therapy treatment, one per day, to treat depression.
is unseen inside the pMERT (NEST) device 88 in order to An encrypted key will be downloaded to the pMERT (NEST),
deliver therapy to the Subject 6. Moving magnets Such as which will be set to allow the dosage quotas requested by the
those in configurations described herein may be used in the psychiatrist. Once this occurs, the psychiatrist will automati
device 88 shown in FIGS. 7, 8, and 9. The subject’s head is 65 cally be billed based on the number and type of dosage quo
pressed against the button EEG electrode (not shown), with tas. The psychiatrist will then bill the patient (or eventually
the second electrode 82b attached to the subject's right ear. the patients insurance) for the procedure. The patient can
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take the pMERT (NEST) device to his/her home to use the           screening, baseline (immediately prior to first treatment),
device in accordance with the therapy prescribed by the psy       immediately following the fifth and tenth treatments.
chiatrist or the patient can be treated in the psychiatrists         While the technician administering the pMERT (NEST)
office.                                                           device cannot be blinded, the evaluating physicians and EEG
   Once the patient has used up all the dosage quotas the         technicians remain unaware of the type of treatment through
psychiatrist has loaded onto the device, the patient returns to   out the duration of study. A priori categorical definition for
the psychiatrist with the pMERT (NEST) device. The psy            clinical response is >30% baseline-to-post treatment reduc
chiatrist will connect the pMERT (NEST) device to the PC Subscale.tion at the end of treatment on PANSS negative symptom
via a USB cable and will login to the NeoSync website as 10 Patients with a baseline and at least 1 additional set of
before. The website will detect the pMERT (NEST) and will
upload all treatment information. A report can be generated completed assessments (at least 5 treatment sessions) are
with this information, giving the psychiatrist a quantitative included     in the analysis of mean treatment effect. Efficacy in
indication of progress. The report can include for each treat (ANOVA) with isrepeated
                                                                 clinical ratings    evaluated by using analyses of variance
                                                                                              measure over time. The models
ment the date, start time, end time, initial EEG alpha param 15 include 2 between-individual     factors of treatment and loca
eters (i.e., power and Q-factor), and the final EEG alpha tion, and 1 within-individual factors of time. Effect of con
parameters. The psychiatrist can print the report or save it to comitant antipsychotic treatment can be tested based on the
a file to be placed in the patient’s record. At this point, the categorization of typical and atypical neuroleptic medica
psychiatrist can clear the memory of the device and use it for tions. Grouping differences of all other measures are tested
another patient or he/she can order more dosage quotas for the individually using the same statistical model. Using a pre
current patient.                                                 defined response criterion, a contingent table analysis can be
   If the psychiatrist decides that the patient should use the used to test the group difference in responding rate.
pMERT (NEST) for a longer period, the psychiatrist can set          Raw EEG data are edited offline by an experienced tech
up an account for the patient with NeoSync, Inc. This way, the nician who is blind to the treatment conditions to eliminate
patient is able to order more dosage quotas without returning 25 any significant (23 arc) eye movements or any other type of
to the psychiatrist. Only the dosage quotas approved by the apparent artifact. Ten to twenty-four artifact-free epochs
psychiatrist will be allowed for the patient to order. The (1,024 data points per epoch) in each recording channel are
patient can pay NeoSync directly with a credit card or (even calculated by a fast Fourier transform (FFT) routine to pro
tually) insurance. For each session, the psychiatrist may also duce a power spectrum with 0.2 Hz frequency resolution. The
be paid. The psychiatrist would have access to all reports 30 intrinsic frequency of alpha EEG is defined as the mean peak
uploaded from the pMERT (NEST) via the website.                  frequency (Fp) of 3 central leads (C3, C4, and Cz). EEG
                                                                 variables used in the analysis included power density (Pwr),
                           Example 6                             peak frequency (Fp), Fp longitudinal coherence, and fre
                                                                 quency selectivity (Q). See Jin Y et al. Alpha EEG predicts
   Each patient admitted to the study is randomly assigned 35 visual reaction time. Int J. Neurosci. 116: 1035-44 (2006),
into one of the two study groups based on treatment using a which is incorporated by reference in its entirety.
plugged pMERT (NEST) device and sham, where a pMERT                 Coherence analysis is carried out between Fz and PZ in the
(NEST) device rotates a non-magnetic metal block instead of peak alpha frequency. Recording from CZ is chosen to calcu
a magnet. Patients are kept blind to the treatment condition. late the Q-factor (peak freq/half-power bandwidth), a mea
Each treatment consists of 22 daily sessions during a 30-day 40 Sure of the alpha frequency selectivity. It is measured in the
period (and/or at least 10 sessions during a 2 week period or frequency domain by using a 60 sec artifact free EEG epoch
more). Patients current antipsychotic treatments are kept and a 2.048 data point FFT with a 10-point smooth procedure.
unchanged during the study.                                      Multivariate analysis of variance (MANOVA) across all
   EEG data during treatments are recorded and individual channels for each variable is performed to test the treatment
ized according to the alpha EEG intrinsic frequency (8-13 45 and stimulus location effects. Change score for each variable
Hz). The precision of the stimulus rate can be refined to the before and after pMERT (NEST) treatment is used to corre
level of 10% of a hertz. It is determined on each patients late with the change score of each clinical measure from the
average alpha frequency, obtained from 3 central EEG leads same time points.
(C3, C4, and Cz).                                                   FIG. 12 shows an example of the Q-factor as used in this
   EEG data during treatments are recorded from each indi 50 invention. The figure shows a sample graph of the frequency
vidual in a Supine position with their eyes closed throughout distribution of the energy of an EEG signal. It can be seen that
the testing period. Nineteen EEG electrodes (Ag AgCl) are a frequency range. Afcan be defined as the frequency band
used according to the International 10-20 system and refer width for which the energy is above one-half the peak energy.
enced to linked mastoids. Electrooculograms (EOGs) from The frequency f is defined as the intrinsic frequency in the
the outer canthus of both eyes are recorded simultaneously to 55 specified band. The Q-factor is defined as the ratio off/Af. As
monitor eye movements. At least two minutes of EEG epochs can be seen, when AF decreases for a given fo, the Q-factor
are collected and digitized by a 12-bit A/D (analog/digital) will increase. This can occur when the peakenergy E of the
converter at the rate of 200 Hz by a Cadwell EZ II acquisition signal increases or when the bandwidth of the EEG signal
system. Sixty seconds of artifact free epochs are utilized for decreases.
fast Fourier transformations (FFT). FFT window is set at 512 60
data points with 80% overlap.                                                               Example 7
   Severity of psychosis, depression, and movement disorders
are assessed with the Hamilton Anxiety Scale (HAMA), the               Effect of NEST Device Lowering Blood Pressure
Hamilton Depression Scale (HAMD), PANSS, Montgomery
Asberg Depression Rating Scale (MADRS), Barnes Akathi 65 An effect of use of a NEST (i.e. pMERT) device using a
sia Rating Scale (BARS), and Simpson-Angus Scale (SAS), method provided herein was shown to lower blood pressure in
respectively. All rating scales and EEGs are administered at a female patient. The patient, originally using a NEST to treat
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anxiety, complained of a moderate tension headache and her          nets 1702a, 1702b, 1702c configured to rotate about their
blood pressure was taken, and read at 110/90 mmHg. A NEST           cylinder axes (not shown). Each of the magnets 1702a,
device was set at a fixed specified frequency equal to an           1702b. 1702c of this example embodiment is coupled to at
intrinsic frequency within her alpha EEG band and the mag           least one magnet drive pulley 1716a, 1716b, 1716c. 1716d.
netic field emanating from the device was applied to the            Each of the magnet drive pulleys 1716a, 1716b, 1716c. 1716d
patient’s head (cerebral cortex). During treatment using the        has at least one drive belt 1718a, 1718b, 1718C, 1718d
NEST device, three consecutive blood pressure measure        wrapped at least partially about it. The device 1788 also
ments were taken at ten minute intervals, showing 110/85     comprises two tensioner assemblies 1708a, 1708b, each com
mmHg, 100/82 mmHg, and 100/70 mmHg, respectively. An         prising a tensioner block 1710a, 1710b, a tensioner arm
hour after treatment with the NEST device had ceased, the 10 1712a, 1712b, and at least one tensioner drive pulley 1714a,
patient’s tension headache returned, and her blood pressure 1714b. 1714c each rotating about an axis going through the
was measured, reading 110/90 mmHg.                           tensioner arm 1712a, 1712b, respectively, the axis generally
                                                             being parallel to the rotation axis of the magnets and to the
                        Example 8                            drive shaft 1704 of the device 1788. In the embodiment shown
                                                               15   in FIG. 17, each of the tensioner assemblies has two tensioner
   In particular embodiments, a single cylindrical magnet that drive pulleys 1714a, 1714b. 1714c., (one tensioner drive pull
is diametrically magnetized (pole on the left and right sides of ley of tensioner assembly 1708 is not shown in FIG. 17—ob
the cylinder) spins about the cylinder axis. The magnet can be scured by the side support 1722, but can be seen, for example,
placed anywhere around the patient’s head, and locations can in FIG. 18). The drive belts 1718a, 1718b. 1718c, 1718d are
be chosen based on the desire for a more focal therapy at a each also wrapped at least partially about at least one ten
particular location. Alternative embodiments can include sioner drive pulley 1714a, 1714b. 1714c., (one tensioner drive
stringing two or more cylindrical magnets together on the pulley of tensioner assembly 1708 is not shown in FIG.
same shaft, or along different shafts, to spin the magnets in 17 obscured by the side support 1722), such that each the
unison to create a particular magnetic field in treating the drive belts 1718a, 1718b, 1718c, 1718d is wrapped at least
patient. A non-limiting examples of this are found in FIGS. 13 25 partially around at least one of the magnet drive pulleys
through 15.                                                        1716a, 1716b, 1716c. 1716d and is also wrapped at least
   FIG. 13 shows an example embodiment of a diametrically partially around at least one of the tensioner drive pulleys
magnetized cylindrical magnet 2 for use in a NEST device.          1714a, 1714b. 1714c., (one tensioner drive pulley oftensioner
FIG. 14 shows an example embodiment of a NEST device assembly 1708 is not shown in FIG. 17 obscured by the side
applied to a subject 1406, the device having a diametrically 30 support 1722, but can be seen, for example, in FIG. 18) of the
magnetized cylindrical magnet 1402 and a drive shaft 1404 tensioner subassembly's 1708a, 1708b.
that rotates the magnet 1402 about its cylinder axis, wherein         The device 1788 shown in FIG. 17 is held together by two
the cylinder axis coincides with rotation axis 1438. FIG. 15 side supports 1722, 1720 connected by a support column
shows an example embodiment of a NEST device applied to 1724a. In some embodiments, a second Support column
a subject 1506, the device having two diametrically magne 35 1724b, a third Support column (not shown) may also connect
tized cylindrical magnets 1502a, 1502b and a drive shaft 1404 the side supports 1722, 1720. Each of the tensioner assem
that simultaneously rotates the magnets 1502a, 1502b about blies 1708a, 1708b and each of the magnets 1702a, 1702b,
their cylinder axes, wherein the cylinder axes are coincident 1702c are mounted to (coupled to) at least one of these sup
with each other and with rotation axis. In this example ports, if not both the side supports 1722, 1720. Each of the
embodiment device, the north pole of magnet 1502a and the 40 magnets 1702a, 1702b. 1702c are rotatably mounted to at
north pole of magnet 1502b are aligned to provide a more least one of the side supports 1722, 1720, such that each of the
uniform magnetic field to the subject 1506.                        magnets 1702a, 1702b. 1702c can rotate about their rotation
                                                                   axes (cylinder axes) without motion of either of the side
                          Example 9                                supports 1722, 1720. Likewise, at least the tensioner drive
                                                                45 pulleys 1714a, 1714b. 1714c. (and one tensioner drive pulley
   In particular embodiments, multiple cylindrical magnets unshown in FIG. 17) of the tensioner assemblies 1708a,
can be arrayed above a patients head so they spin in unison.       1708b are rotatably mounted (coupled) to at least one of the
These may be connected to each other by belts or gears so that side supports 1722, 1720, such that each of the tensioner drive
they are driven by at least one motor. Non-limiting examples pulleys 1714a, 1714b. 1714c. (and one tensioner drive pulley
of these embodiments are shown in FIGS. 16 through 21. 50 unshown in FIG. 17) can rotate about their rotation axes (not
   FIG.16 shows an example embodiment of a NEST device shown) without motion of the side supports 1722, 1720.
having three diametrically magnetized cylindrical magnets             For example, drive belt 1718a wraps at least partially
1602a, 1602b, 1602c rotating about their cylinder axes and around the magnet drive pulley 1716a of magnet 1702a, and
applied to a subject 1606. The poles of each the magnets also wraps at least partially around the tensioner drive pulley
1602a, 1602b, 1602c of the shown device are aligned gener 55 1714a of the first tensioner assembly 1708a. The drive shaft
ally to provide a peak magnetic field to the subject 1606 that 1704, coupled to a motor (not shown), drives the rotation of
is coincident with the peak magnetic fields delivered to the all of the magnets 1702a, 1702b, 1702c of the shown device
subject 1606 from each of the other magnets 1602a, 1602b,          1788. The drive shaft 1704 is coupled to a first magnet 1702a
1602C. Another way of saying this is that each of the magnets which, through its magnet drive pulley 1716a and associated
1602a, 1602b, 1602c has a neutral plane indicated by the 60 belt 1718a turns the first tensioner drive pulley 1714a of the
dotted line on each of magnets 1602a, 1602b, and 1602c, and first tensioner assembly 1708a. The first tensioner drive pull
each the neutral planes is aligned to be generally parallel to ley 1714a of the first tensioner assembly 1708a is coupled to
the scalp of the subject 1606. This configuration provides a the second tensioner pulley (not shown—obscured by side
more uniform field to the subject 1606 than if the magnets support 1722) of the first tensioner assembly 1708a, and,
1602a, 1602b, 1602c are not aligned in such a manner.           65 thus, when the first tensioner pulley 1714a is turned by the
   FIG. 17 shows an example embodiment of a NEST device first drive belt 1718a, the second tensioner pulley (not shown)
1788 having three diametrically magnetized cylindrical mag is also turned. Since the second drive belt 1718bis wrapped at
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least partially around the second tensioner pulley (not shown)    tensioner block 1810a is also coupled to tensioner springs
as well as the second magnet drive pulley 1716b of the second     1830a, 1830b which push the tensioner block 1810a away
magnet 1702b, the motion of the second tensioner pulley (not      from the side supports 1822, 1820, and thus, away from the
shown) moves the second drive belt 1718b and likewise             magnet drive pulleys 1816a, 1816b coupled to the side Sup
drives the rotation of the second magnet 1702b. The second        ports 1822, 1820 by centerpins (not shown) that run through
magnet 1702 has a third magnet drive pulley 1716c which is        each of the drive pulleys 1816a, 1816b and the magnets
coupled to the second drive pulley 1716b, and the third drive     1802a, 1802b. When the centerpin is also attached to a motor,
belt 1718c wraps at least partially around the third magnet       it may also rotate the magnet and its associated magnet drive
drive pulley 1716c, thus, motion of the second drive belt         pulley(s), and it may be called a drive shaft. Nevertheless, the
1718b also causes motion of the third drive belt 1718C 10 magnet drive pulleys 1816a, 1816b can rotate, and with their
wrapped at least partially around the third magnet drive pull rotational movement the magnet drive pulleys 1816a, 1816b
ley 1716c. The motion of the third drive belt 1718c, also can rotate, or be rotated by, the magnets 1802a, 1802b.
wrapped at least partially around the third tensioner pulley         Likewise, tensioner assembly 1808b comprises a tensioner
1714b of the second tensioner assembly 1708b thus drives the block 1810b that couples to the side support 1822 by at least
rotation of the fourth tensioner pulley 1714c of the second 15 one tensioner dowel pin 1832c. The tensioner block 1810b
tensioner assembly 1708b which is coupled to the third ten also couples to the side support 1820 by at least one tensioner
sioner pulley 1714b of the second tensioner assembly 1708b. dowel pin 1832c. The tensioner block 1810b floats freely
Furthermore, since the fourth drive belt 1718d is wrapped at along at least a portion of the dowel pins 1832c, 1832d. The
least partially around the fourth tensioner pulley 1714c of the tensioner block 1810b is attached to a tensioner arm 1812b
second tensioner assembly 1708b, and is also wrapped at least which has two tensioner drive pulleys 1814b. 1814c, which
partially around the fourth magnet pulley 1716d of the third couple to drive belts 1818d, 1818c (not shown) (respectively)
magnet 1702c, the motion of the fourth drive belt 1718d which themselves are coupled to magnets 1802b, 1802c(re
drives the rotation of the third magnet 1702c simultaneously spectively) of the device 1888 through the magnet drive pull
with the rotation of the other two magnets 1702a, 1702b.          leys 1816c. 1816d. The tensioner block 1810b exerts a force
   In an alternative embodiment, the tensioner assemblies are 25 on the belts 1818d, 1818c (not shown) to keep the belts taut
not present, and the drive shaft drives the magnets connected during use, since the tensioner block 1810b is also coupled to
only to each other using drive belts. In an alternative embodi tensioner springs 1830c. 1830d which push the tensioner
ment, only one tensioner assembly is present and is coupled to block 1810b away from the side supports 1822, 1820, and
at least two magnets. In an alternative embodiment, only one thus, away from the magnet drive pulleys 1816c. 1816d
tensioner assembly is present and is coupled to each of the 30 coupled to the side supports 1822, 1820 by center pins (not
magnets. In an alternative embodiment, the magnets are shown) that run through each of the drive pulleys 1816c.
coupled to each other by gears. In an alternative embodiment, 1816d and the magnets 1802b, 1802c. When the centerpin is
the magnets are coupled to each other by a combination of at also attached to a motor, it may also rotate the magnet(s) and
least one gear and at least one belt. In an alternative embodi its associated magnet drive pulley(s), and it may be called a
ment, the magnets are coupled to each other by a combination 35 drive shaft. Nevertheless, the magnet drive pulleys 1816c.
of at least one gear and at least two belts, wherein each belt is 1816d can rotate, and with their rotational movement the
coupled to a tensioner assembly as generally described magnet drive pulleys 1816c. 1816d can rotate, or be rotated
herein. In an alternative embodiment, the magnets are by, the magnets 1802b, 1802c.
coupled to each other by a rotation means, wherein the rota          Also shown in FIG. 18 are support screws 1826a, 1826b
tion means is configured to drive the rotation of the magnets 40 which attach the support columns 1824b (other support col
simultaneously.                                                   umns are either not called-out or not shown in FIG. 18) to the
   The tensioner assemblies in the embodiments shown in           side support 1822 and/or to the side support 1820.
FIG. 17, FIG. 18, and FIG. 19, for non-limiting example, are         FIG. 19 shows the example NEST device embodiment of
configured to keep the drive belts taut during use and, there FIG. 17 and/or of FIG. 18 having three diametrically magne
fore, ensure that the rotation of the magnets is simultaneous 45 tized cylindrical magnets 1902a, 1902b, 1902c configured to
and generally in-phase as applied to the Subject where the rotate about their cylinder axes and including a frame 1934
magnets are aligned Such that each of the neutral planes of and base 1936 for mounting the NEST device. The embodi
each of the three magnets are generally aligned to be parallel ment shown in FIG. 19 includes a NEST device having three
to the scalp of the subject.                                      magnets 1902a, 1902b, 1902c, each having magnet drive
   FIG. 18 depicts an exploded view of the example embodi 50 pulleys 1916a, 1916b, 1916C, 1916d at least partially about
ment of the NEST device 1888 of FIG. 17 having three which is wrapped a drive belt 1918a, 1918b, 1918c, 1918d
diametrically magnetized cylindrical magnets configured to each of which is also at least partially wrapped around a
rotate about their cylinder axes. Shown in FIG. 18 is a NEST tensioner drive pulley 1914a, 1914b (not shown) 1914c (not
device 1888 having two tensioner assemblies 1808a, 1808b.         shown) 1914d (not shown) coupled to a tensioner arm 1912a,
Tensioner assembly 1808a comprises a tensioner block 55 1912b (not shown) of a tensioner assembly. Each tensioner
1810a that couples to the side support 1822 by at least one assembly may include a tensioner block 1910a (not shown)
tensioner dowel pin 1832a. The tensioner block 1810a also         1910b, and a tensioner spring 1930a (not shown), 1930c
couples to the side support 1820 by at least one tensioner which cooperate with at least one of the side supports 1922,
dowel pin 1832b. The tensioner block 1810a floats freely 1920 to pull the drive belts 1918a, 1918b, 1918c, 1918d taut.
along at least a portion of the dowel pins 1832a, 1832b. The 60 The magnets 1902a, 1902b, 1902c are rotatably coupled to
tensioner block 1810a is attached to a tensioner arm 1812a        side supports 1922, 1920, and at least one magnet 1902a in
which has two tensioner drive pulleys 1814a, 1814d, which the embodiment shown is coupled to a drive shaft 1904 which
couple to drive belts 1818a, 1818b (respectively) which rotates the magnet 1902a to which it is directly coupled, and
themselves are coupled to magnets 1802a, 1802b (respec through the cooperation of the magnet drive pulleys 1916a,
tively) of the device 1888 through magnet drive pulleys 65 1916b, 1916c, 1916d, drive belts 1918a, 1918b, 1918c,
1816a, 1816b. The tensioner block 1810a exerts a force on the     1918d, and tensioner drive pulleys 914a, 1914b (not shown)
belts 1818a, 1818b to keep the belts taut during use, since the 1914c (not shown) 1914d (not shown), also rotates the other
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magnets 1902b, 1902c of the NEST device such that all of the         magnetized   cylindrical magnets   2102a-2102h configured to
magnets 1902a, 1902b, 1902c rotate simultaneously.                   rotate about their cylinder axes. FIG. 21 shows a side view of
   FIG. 20 shows an example embodiment of a NEST device an embodiment of a NEST device (not showing, for example,
having eight diametrically magnetized cylindrical magnets side Supports), which is similar to the embodiment shown in
2002a-2002h, configured to rotate about their cylinder axes.         FIG. 20. In this embodiment, each of the magnets 2102a
Each of the magnets 2002a-2002h has at least one magnet 2102h has at least two drive belts (for example, drive belts
drive pulley 2016a-2016n coupled to it which rotates the 2118a-2118h) coupled to it which rotate the magnet 2102a
magnet 2002a-2002h when the magnet drive pulley 2016a 2102h, or which are rotated by the magnet 2102a-2102h,
2016n is rotated by a belt 2018.a-2018h that is at least partially when the drive shaft 2104 is rotated. In the embodiment
wrapped around at least one of the magnet drive pulleys 10 shown, two drive belts 2118d, 2118e are wrapped at least
2016a-2016 n. In the embodiment shown, a drive shaft 2004            partially around the drive shaft 2104. The drive shaft 2104
has two drive belts 2018d, 2018e wrapped at least partially thus rotates all of the magnets 2102a-2102h simultaneously
around the drive shaft 2004. The drive shaft 2004 thus rotates       through a series of drive belts 2118a-2118h all coupled to the
all of the magnets 2002a-2002h simultaneously through a drive shaft 2104. Shown in this embodiment is an example of
series of drive belts 2018.a-2018h and magnet drive pulleys 15 the direction of rotation of the magnets 2102a-2102h (indi
2016a-2016.n all coupled to the drive shaft 2004.                    cated by arrows) resulting from a clockwise rotation of the
   For example, the first drive belt 2018e is wrapped at least drive shaft 2104. An opposite direction of movement is
partially around the drive shaft 2004, and is also wrapped at achieved when the drive shaft is rotated in a counter-clock
least partially around a first magnet drive pulley 2016.h of a wise direction. In the embodiment shown, the clockwise rota
first magnet 2002e. A second drive belt 2018fis wrapped at tion of the drive shaft 2104 rotates all of the magnets 2102a
least partially around a second magnet drive pulley 2016i of 2102h in a clockwise direction due to the belt 2118q-2118h
the first magnet 2002e. The second drive belt 2018f is also arrangement shown. Each of the belts 2118a-2118h shown is
wrapped at least partially around a third magnet drive pulley wrapped either around two magnets or around a magnet and
2016i of the second magnet 2002f. A third drive belt 2018g is the drive shaft.
wrapped at least partially around a fourth magnet drive pulley 25
2016k of the second magnet 2002f. The third drive belt 2018g                                   Example 10
is also wrapped at least partially around a fifth magnet drive
pulley 20161 of a third magnet 2002g. A fourth drive belt               In particular embodiments, a disc shaped magnet that is
2018h is wrapped at least partially around a sixth magnet axially magnetized (the poles are on the top and bottom faces)
drive pulley 2016m of the third magnet 2002g. The fourth 30 can be cut in half, one half turned over (aligning N of one half
drive belt 2018h is also wrapped at least partially around a with S of the other half) and placed together. This disc can be
seventh magnet drive pulley 2016n of a fourth magnet 2002h. spun about the center of the disc to get a magnetic field that is
As arranged, therefore, the motion of the first drive belt 2018e uniform over a large area. In a similar embodiment, two
coupled to the drive shaft 2004 rotates the first magnet 2002e, rectangular magnets having poles aligned and positioned
the second magnet 2002f the third magnet 2002g, and the 35 similarly to the disc as previously described can be spun about
fourth magnet 2002h simultaneously.                                  the center of the rectangular magnets to create a similarly
   Similarly, the fifth drive belt 2018d is wrapped at least uniform field. An example of the disc magnetis shown in FIG.
partially around the drive shaft 2004, and is also wrapped at 22, and an example of the rectangular magnet similar to the
least partially around an eighth magnet drive pulley 2016g of disc magnet is shown in FIG. 23.
a fifth magnet 2002d. A sixth drive belt 2018c is wrapped at 40 FIG.22 shows an example embodiment of a NEST device
least partially around a ninth magnet drive pulley 2016.fof the having two disc magnets 2202a, 2202b that rotate about a
fifth magnet 2002d. The sixth drive belt 2018c is also common rotation axis 2236. The device comprises two disc
wrapped at least partially around a tenth magnet drive pulley shaped magnets 2202a, 2202b that are axially magnetized
2016e of the sixth magnet 2002c. A seventh drive belt 2018b (the poles are on the top and bottom faces). The north pole of
is wrapped at least partially around an eleventh magnet drive 45 the first magnet 2202a aligns with the southpole of the second
pulley 2016d of the sixth magnet 2002c. The seventh drive magnet 2202b (aligning their neutral planes). The device
belt 2018b is also wrapped at least partially around a twelfth further comprises a drive shaft 2204 that aligns with the
magnet drive pulley 2016c of a seventh magnet 2002b. An center of the disc magnets 2202a, 2202b and with, therefore,
eighth drive belt 2018a is wrapped at least partially around a the rotation axis 2236 of the magnets 2202a, 2202b.
thirteenth magnet drive pulley 2016b of the seventh magnet 50 FIG. 23 shows an exploded view of an alternate embodi
2002b. The eighth drive belt 2018a is also wrapped at least ment of an example NEST device embodiment similar to that
partially around a fourteenth magnet drive pulley 2016.a of an of FIG.22 having two rectangular magnets 2302a, 2302b that
eighth magnet 2002a. As arranged, therefore, the motion of rotate around a common rotation axis 2336. The device com
the fifth drive belt 2018d coupled to the drive shaft 2004 prises two rectangular magnets 2302a, 2302b that are mag
rotates the fifth magnet 2002d, the sixth magnet 2002c, the 55 netized such that the north pole of the first magnet 2302a
seventh magnet 2002b, and the eighth magnet 2002a simul faces away from the drive shaft2304, and the south pole of the
taneously. In an alternative embodiment, the drive shaft has first magnet 2302a faces the drive shaft 2304, and the north
only one drive belt that drives all of the rotation of all of the pole of the second magnet 2302b faces the drive shaft 2304
magnets. Also shown in FIG. 20 are the side supports 2022, while the south pole of the second magnet 2302b faces away
2020 connected by at least two support columns 2024a, 60 from the drive shaft 2304. The poles of each of the magnets
2024b. The supports 2020, 2022 hold each of the magnets 2302a, 2302b, thus, face the top cover 2352 and the bottom
2002a-2002h in place relative to the supports 2020, 2022 cover 2350 of the device, but the magnets 2302a, 2302b, have
while allowing rotational motion of the magnets 2002a opposite polarity. In the embodiment shown, the first magnet
2002h and of the drive shaft 2004 which may me driven, for 2302a is held in place in the device by a first magnet holder
non-limiting example, by a motor (not shown).                     65 2344a having two pieces that are connected by a magnet
   FIG. 21 shows the magnet rotation of the example NEST holder cap screw 2342 and a magnet holder dowel pin 2340.
device embodiment of FIG. 20 having eight diametrically The first magnet 2302a is placed between and at least partially
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                                59                                                              60
within the pieces of the first holder 2344a. Likewise, the controls, which are coupled to a processor circuit board 2570
second magnet 2302b is held in place in the device by a and thus coupled to the motor driver 2574.
second magnet holder 2344b having two pieces that are con            Alternatively, and/or additionally, the drive shaft 2504 and/
nected by a magnet holder cap screw (not shown) and a or the magnet(s) may be controlled automatically based on a
magnet holder dowel pin (not shown). The second magnet prescribed treatment (time of treatment, frequency of magnet
2302b is placed between and at least partially within the rotation, etc) that is downloaded and/or programmed into the
pieces of the second holder 2344b. The two holders 2344a, processor circuit board 2570 from a source external or inter
2344b are coupled together, and may have a center beam 2348 nal to the controller subunit, as previously described herein.
that holds the first and second holders 2344a, 2344b together. Treatments received may be stored by the controller subunit.
The holders 2344a, 2344b may also be held together addi 10 Additionally and/or alternatively, where EEG electrodes are
tionally or alternatively by adhesive 2346. The drive shaft also present in the device and are capable of measuring the
2304 is coupled to the holders 2344a, 2344b, in the embodi Subject's brain waves, the device may adjust the treatment
ment shown, by attaching to the centerbeam 2348, which thus automatically by a biofeedback system. Additionally and/or
couples the magnets 2302a, 2302b to the drive shaft 2304 alternatively, where EEG electrodes are present in the device
such that rotation of the drive shaft 2304 likewise spins the 15
magnets 2302a, 2302b within the holders 2344a, 2344b about and are capable of measuring the Subject's brain waves, the
the rotation axis 2336. The drive shaft 2304 may alternatively treatment may be chosen based on the readings of the Sub
and/or additionally be coupled to the holders 2344a, 2344b ject's brain waves prior to the treatment. Additionally and/or
and to the center beam 2348 by adhesive 2346. The magnets alternatively, where EEG electrodes are present in the device
2302a, 2302b encased in the holders 2344a, 2344b are addi          and are capable of measuring the Subject's brain waves, the
tionally housed within a top cover 2352 and a bottom cover treatment may be chosen automatically by the device based
2350. The covers 2350, 2352 are connected to one another by on the readings of the subject's brain waves prior to the
at least one cover cap screw 2354. The drive shaft 2304 fits treatment and based on a set of rules stored in the controller
through at a hole 2356 in at least one of the covers, for subunit. Additionally and/or alternatively, where EEG elec
example, the bottom cover 2350. Where the cover 2350 is 25 trodes are present in the device and are capable of measuring
disc-shaped, as shown in FIG. 23, the hole 2356 is located the the subjects brain waves, the controller subunit is capable of
center of the disc cover 2350, and the hole 2356 is configured storing the output of the EEG electrodes prior to, during,
such that the drive shaft2304 may rotate freely within the hole and/or after treatment with the NEST device. Additionally
2304, for example, with aid of a bearing which allows drive and/or alternatively, where EEG electrodes are present in the
shaft rotation (and, thus, magnet rotation) relative to the cov 30 device and are capable of measuring the Subject’s brain
ers 2350, 2352.                                                    waves, the controller Subunit is capable of transmitting the
                                                                   output of the EEG electrodes prior to, during, and/or after
                           Example 11                              treatment with the NEST device. This transmitting may be
                                                                   real-time (during measurement), or after storage of the EEG
   FIG. 24 shows an example embodiment of a NEST device 35 electrode outputs and during an upload or download from the
similar to the embodiments depicted in FIGS. 22 and/or 23 NEST device.
having two magnets 2402a, 2402b rotating about a common
rotation axis applied to a subject 2406 and showing the con                                 Example 12
troller subunit 2458 coupled to a drive shaft 2404 that rotates
the magnets 2402a, 2402b. The controller subunit 2458 may 40               Effect of a Device Lowering Blood Pressure
contain a motor (not shown) that cooperates with the drive
shaft 2404 to rotate the magnets 2402a, 2402b.                       An effect of use of a modified rTMS device according to
   FIG. 25 shows block diagram of an example embodiment the methods and device descriptions provided herein was
of a NEST device showing example elements of the NEST shown to reduce the symptoms of fibromyalgia. The patient
device and of its controller subunit. For example the embodi 45 complained of chronic widespread pain and tenderness to
ment shown depicts a magnet 2502 that is mounted by a frame light touch, and was diagnosed with fibromyalgia. The NEST
2534 to a base 2536. This allows the magnet 2502 to be held device was used to tune an intrinsic frequency (of the patients
stationary as the device treats a subject whose head may be alpha wave). Following treatment, the patient reported a
positioned near to the magnet 2502 (within the magnetic field reduction of the symptoms of fibromyalgia.
produced by the magnet 2502). The magnet 2502 is coupled 50
to the controller subunit 2558 by a drive shaft 2504. The drive                             Example 13
shaft 2504 may couple to a motor 2572 of the controller
subunit 2558 by a coupling 2578. The coupling may allow for           FIG. 26 shows an example embodiment of a NEST device
various magnet arrangements to be interchanged by merely having a single bar magnet 2602 that moves linearly along its
decoupling the drive shaft from the controller subunit and 55 north-south axis 2639 once each time the Supporting ring (or
coupling a device having another arrangement of magnets annulus) 2619 is rotated (rotation shown by arrows in FIG.
(such as, for example, those described herein). The magnet 26), providing a pulse-type alternating magnetic field at the
2502 may be controlled by the controller subunit 2558 frequency of rotation. In this embodiment, a magnet 2602 is
through the motor 2572 that may be driven by a motor driver secured against a rotating ring (or annulus)2619 with a spring
2574. The motor driver 2574 may be coupled (directly or 60 2628, where the ring 2619 has one or more detents 2629. The
indirectly) to a power supply 2576. The motor driver 2574,         subject 2606 is shown below the ring 2619 in FIG. 26. When
which can control, for non-limiting example, the speed, direc the ring 2619 is rotated, as shown with the arrows in FIG. 26,
tion, acceleration, etc., of the magnet 2502 through the drive the magnet 2602 will be thrust into each detent 2629 once per
shaft 2504, can be directed and/or monitored by controls such rotation. As the ring 2619 continues to rotate, the magnet
as, for example, a device speed control 2560, an on/off control 65 2602 will move back to its original position. This periodic
2562, a display 2564, a random/continuous control 2566, and thrust may generate a more unipolar pulsatile magnetic field
a high/low control 2568. A user can adjust each of these than that generated by a rotating magnet. The width and
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amplitude of the magnetic pulse depends on the mass and              the "SHAM” group, the magnets in the NEST were replaced
strength of the magnet, as well as the strength of the spring,       with Steel cylinders, thereby imparting no magnetic field to a
and the depth of the detent.                                         head of the patient. The patients in this group were divided
   In alternative embodiments to that shown in FIG. 26, there        into two Subgroups with equal probability, with one group
could be multiple detents in the ring. The ring could be having the cylinders rotated at the intrinsic frequency and the
non-circular. The magnet could rotate around the ring, while other group having the cylinders rotated at random frequen
the ring is stationary. There could be multiple magnets and a cies as noted above. For this clinical trial sixteen (16) subjects
single detent. There could be multiple magnets and multiple received treatment with the NEST device. Eleven (11) sub
detents. Instead of a detent, the magnet or magnets could jects responded to treatment (i.e. the Responders) and five (5)
encounter a ridge, or multiple ridges. The magnet or magnets 10 Subjects did not respond to treatment (i.e. Non-Responders).
could encounter slopes, rather than sharp detents or ridges.         Eleven (11) patients received treatment with the SHAM
The magnet could be positioned such that the north pole is device.
closer to the treatment area than the South pole, or Such that          FIG. 31 shows the percentage change in HAMD score in
the south pole is closer to the treatment area than the north subjects
pole (such as is shown in FIG. 26). In some embodiments, the of four being
                                                                  15                   treated with the NEST device over the course
number of detents is the same as the number of magnets of the responded(4)to weeks.   treatment
                                                                                               It is divided between subjects who
                                                                                                  (i.e. Responders) and Subjects who
device. In some embodiments, the number of detents is not
the same as the number of magnets of the device. In some did not respond to treatment (i.e. Non-Responders).
embodiments, the number of detents is a multiple of the Responders were classified as such when their HAMD scores
number of magnets of the device. In some embodiments, the decreased by 50% at least over the course of the four (4)
number of detents is not a multiple of the number of magnets weeks of treatment. The first bar is the average baseline
of the device.                                                       HAMD score. Each subsequent bar represents the average
   In an alternative embodiments of the device, the magnet HAMD score at the end of a week, weeks 1,2,3, and 4, left to
may flip (or rotate) about an axis between the north pole and right, respectively.
south pole as a ring similar to that shown in FIG. 26 rotates. 25 FIG. 32 shows the percentage change in HAMD score in
The magnet may be freely rotatable about the axis between subjects being treated with the NEST device versus the
the north pole and South pole, and the magnet may be rotat SHAM device over the course of four (4) weeks, as described
able about a shaft. The shaft, in this embodiment, is not            in reference to FIG.31 above. Baseline is not represented on
coupled to a drive source. Rather, the ring itself may drive the the graph it should be assumed to be 0.00. The first data
flipping (rotating) of the magnet by capturing a first portion of 30 point represents the average change after one (1) week of
the magnet in a first detent and moving that first portion as the treatment. The second data point is the average change after
ring moves until a second portion of the magnetis captured by two (2) weeks of treatment. The third data point is the average
second detent of the ring which likewise moves the second
portion of the magnet. In some embodiments, the first portion change           after three (3) weeks of treatment. The fourth data
is associated with a first pole of the magnet, and the second The top lineaverage
                                                                  35 point  is the           change after four (4) weeks of treatment.
                                                                                    represents   the average HAMD score for subjects
portion is associated with a second pole of the magnet. In one
embodiment, the first pole may be the north pole of the              treated   with the NEST     device, the bottom line represents the
magnet and the second pole may be the South pole of the average                 HAMD score for subjects treated with the SHAM
magnet. In another embodiment, the first pole may be the device.
South pole of the magnet and the second pole may be the north 40                                  Example 15
pole of the magnet. A drive source may drive the movement of
the ring which, in turn, drives the rotation of the magnet. The
drive source may be motor, for non-limiting example.                    FIG. 33 shows the results of a clinical trial utilizing the
                                                                     NEST device for the treatment of anxiety. This trial involved
                           Example 14                             45 two (2) patients (subjects). Both patients received treatment
                                                                     with the NEST device as shown in FIG. 19, with permanent
   FIGS. 31 and 32 show the results of a clinical trial utilizing magnets arranged as shown in FIG.16. In the method used for
the NEST device and methods for the treatment of depression these patients, a magnetic field was adjusted to influence the
as provided herein. A device was used such as shown in FIG. Q-factor of an intrinsic frequency of each individual within
19, with permanent magnets arranged as shown in FIG. 16. In 50 the alpha-band. The magnetic field was applied close to the
the method used in this trial, a magnetic field was adjusted to head of the subject. EEG readings were taken before treat
influence the Q-factor of an intrinsic frequency of each indi ment began. A Cadwell Easy 2.1 EEG system was used to take
vidual within the alpha-band. The magnetic field was applied a 19-lead EEG reading. The intrinsic frequency in the alpha
close to the head of the subject. EEG readings were taken
before treatment began. A Cadwell Easy 2.1 EEG system was 55 band    Both
                                                                           (7-11 Hz) was determined using the initial EEG reading.
                                                                           patients  were treated with a constant frequency, wherein
used to take a 19-lead EEG reading. The intrinsic frequency in for each patient         the NEST was set to rotate the magnets at the
the alpha band (7-11 Hz) was determined using the initial intrinsic frequency               detected for that patient. Patients received
EEG reading. Patients were placed in one of three groups:
constant frequency, random frequency, or sham, with equal treatment every weekday for 30 days. EEG readings were
probability for each group. Patients received treatment every 60 taken after treatment at least on a weekly basis. The first data
weekday for 30 days. EEG readings were taken after treat point is the baseline HAMA score. The second data point for
ment at least on a weekly basis. If the patient was in the each line represents the HAMA score after one (1) week of
“constant frequency” group, the NEST was set to rotate the treatment for each patient. The third data point for each line
magnets at the intrinsic frequency. If the patient was in the represents the HAMA score after two (2) weeks of treatment
“random frequency” group, the NEST was set to rotate the 65 for each patient. The fourth data point for each line represents
magnets at random frequencies between 6 Hz, and 12 Hz, the HAMA score after four (4) weeks of treatment for each
changing frequencies once per second. If the patient was in patient.
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                        Example 16                                 Subjects are recruited who have a definitive diagnosis of
                                                                   PTSD and who are willing to consent to the treatment.
                       Parkinson's Disease                           The study is composed of the following:
                                                                     a. On day 0, the Subject undergoes an examination to deter
   The effect of the use of a NEST device according to the              mine the extent of the symptoms. This includes a brief
methods and device descriptions provided herein is tested.              video interview in which the Subject responds to ques
Subjects are recruited who have Parkinson's disease with                tions about symptoms.
measurable symptoms, and who are willing to consent to the           b. On day 0, a 2-lead EEG recording is made. This EEG is
treatment.                                                              examined to determine the proper settings for the device.
   The study will be a one-time test to look for improvement. 10 c. On days 1-30, the subject lays with his/her head in the
The test is composed of the following:                                  device for 30 minutes while a gentle, low energy, low
   a. The Subject undergoes an examination and quantitative             frequency magnetic field is generated above the scalp.
      test to determine the extent of the symptoms. This             d. When each treatment is complete, an EEG recording is
                                                                        made.
      includes a brief video interview in which the subject 15 e. After days, 7, 14, and 21, the Subject undergoes another
      responds to questions about symptoms.                             examination and quantitative test to see if symptoms
   b. A2-lead EEG recording is made. This EEG is examined               have improved. This includes a second brief video inter
      to determine the proper settings for the device.                  V1eW.
   c. The subject lays with his/her head in the device for 30
      minutes while agentle, low energy, low frequency mag                                   Example 20
      netic field is generated above the scalp.
   d. When treatment is complete, an additional EEG record                                   Amblyopia
      ing is made. This is used to compare with the original
      recording to determine any changes.                            The effect of the use of a NEST device according to the
   e. The Subject undergoes a second examination and quan 25 methods and device descriptions provided herein is tested.
      titative test to see if symptoms have improved. This Subjects have amblyopia with measurable symptoms, and
      includes a second brief video interview.                     who are willing to consent to the treatment.
                                                                     The test is composed of the following:
                           Example 17                                a. On day 0, the Subject undergoes an examination and
                                                                30      quantitative tests to determine the extent of the symp
                      Cognitive Performance                             tOmS.
                                                                     b. On day 0, a 2-lead EEG recording is made. This EEG is
   An effect ofuse of a NEST device according to the methods            examined to determine the proper settings for the device.
and device descriptions provided herein was shown to                 c. On days 1-30, the subject lays with his/her head in the
improve cognitive performance. A double-blind placebo con 35            device for 30 minutes while a gentle, low energy, low
trolled study was performed with eleven volunteers. The par             frequency magnetic field is generated above the scalp.
ticipants took a battery of neurological tests before and after      d. After days 7, 14, 21, and 28 an additional EEG recording
treatment. Compared to the group that received the placebo,             is made. This is used to compare with the original
the treated group demonstrated a statically significant                 recording to determine any changes.
improvement in executive function and Social recognition. 40 e. On days 7, 14, 21, and 28 the Subject undergoes a second
                                                                        examination and quantitative tests to see if symptoms
                           Example 18                                   have improved.
                              Coma                                                           Example 20
                                                               45
  The effect of the use of a NEST device according to the                  Coma treatment with a Modified TMS Device
methods and device descriptions provided herein is tested.
Subjects are recruited who are in a coma, and whose medical           The effect of the use of a modified rTMS device according
proxies are willing to consent to the treatment.                   to the methods and device descriptions provided herein is
  The study will be a one-time test to look for improvement. 50 tested. Subjects are recruited who are in a coma, and whose
The test is composed of the following:                             medical proxies are willing to consent to the treatment.
  a. A2-lead EEG recording is made. This EEG is examined              The study will be a one-time test to look for improvement.
     to determine the Subjects alpha frequency.                    The test is composed of the following:
  b. The subject lays with his/her head in the device for 30          a. A2-lead EEG recording is made. This EEG is examined
     minutes while agentle, low energy, low frequency mag 55             to determine the Subjects alpha frequency.
     netic field is generated above the scalp. The frequency is       b. The subject lays with his/her head in the device for 30
     at or near the Subject's alpha frequency.                           minutes while agentle, low energy, low frequency mag
  c. When treatment is complete, an additional EEG record                netic field at or near the Subject's alpha frequency is
     ing is made. This is used to compare with the original              generated above the scalp.
     recording to determine any changes.                        60    c. When treatment is complete, an additional EEG record
                                                                         ing is made. This is used to compare with the original
                          Example 19                                     recording to determine any changes.
                                                                      The various functions or processes disclosed herein (such
                             PTSD                                  as, for non-limiting example, logic that performs a function or
                                                                65 process) may be described as data and/or instructions embod
  The effect of the use of a NEST device according to the ied in various computer-readable media, in terms of their
methods and device descriptions provided herein is tested. behavioral, register transfer, logic component, transistor, lay
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out geometries, and/or other characteristics. The logic              after filing the application to pursue Such additional claim
described herein may comprise, according to various embodi           forms for other aspects of the system, methods, or devices.
ments of the invention, Software, hardware, or a combination            While preferred embodiments of the present invention
of software and hardware. The logic described herein may have been shown and described herein, it will be obvious to
comprise computer-readable media, Computer-readable 5 those skilled in the art that such embodiments are provided by
media in which Such formatted data and/or instructions may way of example only. Numerous variations, changes, and
be embodied include, but are not limited to, non-volatile           substitutions will now occur to those skilled in the art without
storage media in various forms (e.g., optical, magnetic or departing from the invention. It should be understood that
semiconductor storage media) and carrier waves that may be various alternatives to the embodiments of the invention
used to transfer Such formatted data and/or instructions 10
through wireless, optical, or wired signaling media or any tion.    described herein may be employed in practicing the inven
combination thereof. Examples of transfers of such formatted of theItinvention
                                                                             is intended that the following claims define the scope
                                                                                       and that methods and structures within the
data and/or instructions by carrier waves include, but are not Scope of these claims and their equivalents be covered
limited to, transfers (uploads, downloads, e-mail, etc.) over
the Internet and/or other computer networks via one or more 15 thereby.
data transfer protocols (e.g., HTTP, FTP, SMTP, etc.). When
received within a computer system via one or more computer            What is claimed is:
readable media, such data and/or instruction-based expres              1. A method of treating Parkinson's disease, treating coma,
sions of components and/or processes under the ICS may be treating post traumatic stress disorder (PTSD), treating
processed by a processing entity (e.g., one or more proces amblyopia, and/or enhancing cognitive performance, in a
sors) within the computer system in conjunction with execu Subject, comprising:
tion of one or more other computer programs.                           (a) adjusting a setting of a magnetic field Such that the
    Unless the context clearly requires otherwise, throughout             magnetic field is configured to do one or more of the
the description and the claims, the words "comprise.” “com                following:
prising.” and the like are to be construed in an inclusive sense 25 move an intrinsic frequency of a specified EEG band of the
as opposed to an exclusive or exhaustive sense; that is to say,           Subject toward a target intrinsic frequency of the speci
in a sense of “including, but not limited to.” Words using the            fied EEG band using the magnetic field,
singular or plural number also include the plural or singular         move a Q-factor of the intrinsic frequency toward a target
number respectively. Additionally, the words “herein.” “here              Q-factor of the intrinsic frequency using the magnetic
under,” “above.” “below,” and words of similar import refer to 30         field,
this application as a whole and not to any particular portions        move a coherence value of intrinsic frequencies among
of this application. When the word "or” is used in reference to           multiple sites in a brain of the subject within a specified
a list of two or more items, that word covers all of the follow           EEG band toward a target coherence value using the
ing interpretations of the word: any of the items in the list, all        magnetic field wherein if the coherence value is higher
of the items in the list and any combination of the items in the 35       than the target coherence value, applying at least two
list.                                                                     asynchronous magnetic fields close to the head of the
    The above descriptions of illustrated embodiments of the              subject, and wherein if the coherence value is lower than
system, methods, or devices are not intended to be exhaustive             the target coherence value, applying at least one syn
or to be limited to the precise form disclosed. While specific            chronized magnetic field close to the head of the subject;
embodiments of and examples for, the system, methods, or 40               and
devices are described herein for illustrative purposes, various       move an EEG phase between two sites in the brain of a
equivalent modifications are possible within the scope of the             subject of a specified EEG frequency toward a target
system, methods, or devices, as those skilled in the relevant             EEG phase of the specified EEG frequency using the
art will recognize. The teachings of the system, methods, or              magnetic field wherein the magnetic field comprises one
devices provided herein can be applied to other processing 45             or more magnetic field generators that are of the same
systems, methods, or devices, not only for the systems, meth              frequency and are in-phase with each other, of the same
ods, or devices described.                                                frequency and out of phase with each other, or a combi
  The elements and acts of the various embodiments                        nation thereof, and
described can be combined to provide further embodiments.          (b) applying said magnetic field close to the head of the
These and other changes can be made to the system in light of 50      Subject.
the above detailed description.                                   2. A method of treating Parkinson's disease, treating coma,
   In general, in the following claims, the terms used should treating post traumatic stress disorder (PTSD), treating
not be construed to limit the system, methods, or devices to amblyopia, and/or enhancing cognitive performance in a Sub
the specific embodiments disclosed in the specification and ject, comprising moving at least one of:
the claims, but should be construed to include all processing 55 an intrinsic frequency of a brain of the Subject within a
systems that operate under the claims. Accordingly, the sys           specified EEG band toward a pre-selected intrinsic fre
tem, methods, and devices are not limited by the disclosure,          quency within the same specified EEG band and a Q-fac
but instead the scopes of the system, methods, or devices are         tor of the intrinsic frequency toward a target Q-factor of
to be determined entirely by the claims.                              the intrinsic frequency, by applying a magnetic field
   While certain aspects of the system, methods, or devices 60        close to a head of the subject, wherein the magnetic field
are presented below in certain claim forms, the inventors             comprises at least one of a) a single target frequency
contemplate the various aspects of the system, methods, or            within the specified EEG band; (b) a plurality of fre
devices in any number of claim forms. For example, while              quencies within the specified EEG band; and
only one aspect of the system, methods, or devices is recited      (c) the intrinsic frequency of the brain of the subject within
as embodied in machine-readable medium, other aspects may 65          the specified EEG band.
likewise be embodied in machine-readable medium. Accord           3. The method of claim 1 or 2, further comprising the step
ingly, the inventors reserve the right to add additional claims of measuring EEG data of the Subject after the applying step.
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                                 67                                                                     68
   4. The method of claim 1 or 2, further comprising the steps            16. The device of claim 14, wherein said movement com
of adjusting frequency of said magnetic field based on the prises at least one of rotational motion, linear motion, and
EEG data of the Subject; and repeating the applying step with Swing motion.
an adjusted frequency.                                                    17. The device of claim 14, wherein said movement gen
                                                                       erates an alternating magnetic field.
   5. The method of claim 1 or 2, wherein the applying of the 5 18. The device of claim 12, further comprising logic that
magnetic field applies the magnetic field to a diffuse area of controls the EEG frequency to be between about 0.5 Hz and
the brain of the subject.                                              about 100 Hz in increments of about 0.1 Hz.
    6. The method of claim 1 or 2, wherein the magnetic field             19. The device of claim 12, further comprising logic that
is generated by movement of at least one permanent magnet. automatically changes the EEG frequency in response to
   7. The method of claim 6, wherein the strength of the at 10 EEG readings of the subject during treatment.
least one permanent magnet is from about 10 Gauss to about calculates     20. The device of claim 12, further comprising logic that
4 Tesla.                                                                             information from EEG data collected from the
   8. The method of claim 7, wherein the distance between the          subject   within   a specified EEG band, wherein said informa
                                                                       tion  comprises
at least one permanent magnet and the Subject is from about intrinsic frequency;           at least one of items listed below: (a) the
 /32 in to about 12 in.
                                                                                                 (b) the Q-factor of the intrinsic fre
                                                                    15 quency; (c) the coherence value of intrinsic frequencies; (d)
   9. The method of claim 1 or 2, wherein the step of applying the EEG phase; and (e) any combination thereof.
the magnetic field is for about 5 minutes to about two hours.             21. The device of claim 12, further comprising: (a) a first
    10. The method of claim 1 or 2, further comprising repeat electrode operable to detect electrical brain activity; and (b) a
ing the applying step after an interval about 6 hours to about second electrode operable to detect a reference signal;
14 days.                                                            2O wherein the first electrode is adapted to be located on the
    11. The method of claim 1 or 2, further comprising: (a) subject              in at least one of: an area of low electrical resistivity
locating a first electrode operable to detect electrical brain on          the Subject, and an area with Substantially no electrical
activity on the Subject in at least one of an area of low elec impulse interference on the Subject, and wherein the second
trical resistivity on the Subject, and an area with Substantially electrode is adapted to be located on the subject.
no electrical impulse interference on the subject; (b) locating 25 coma,  22. A device for treating Parkinson's disease, treating
a second electrode operable to detect a reference signal on the amblyopia,     treating post traumatic stress disorder (PTSD), treating
Subject; and (c) determining the intrinsic frequency from the ject, comprising:       and/or enhancing cognitive performance in a Sub
electrical brain activity detected by the first electrode and the         a magnetic field generator configured to apply a magnetic
reference signal detected by the second electrode.                           field close to a head of the subject, wherein the magnetic
    12. A device for use in treating Parkinson's disease, treat              field generator comprises
ing coma, treating post traumatic stress disorder (PTSD), 30                 a first processor that controls the application of the mag
treating amblyopia, and/or enhancing cognitive performance                      netic field and
in a Subject, comprising: a means for applying a magnetic
field to a head of a Subject; whereby the means for applying                 wherein the first processor or a second processor moves
the magnetic field comprises:                                                   an intrinsic frequency of a specified EEG band of the
   a first processor that controls the application of the mag- 35                   subject within the specified EEG
       netic field and                                                          band toward a target intrinsic frequency in the speci
   wherein the first processor or a second processor moves at                       fied EEG band using the magnetic field,
       least one of:                                                            a Q-factor of the intrinsic frequency towards a target
    (a) an intrinsic frequency of a brain of the Subject in a                       Q-factor of the intrinsic frequency using the mag
       specified EEG band to a target intrinsic frequency within 40                 netic field,
       the specified EEG band using the magnetic field;                         a coherence value of intrinsic frequencies among
    (b) a Q-factor of an intrinsic frequency of the brain of the                    multiple sites in a brain of the subject within a
       subject within a specified EEG band to a target Q-factor                     specified EEG band toward a target coherence
       of the intrinsic frequency using the magnetic field;                         value using the magnetic field wherein if the coher
    (c) a coherence value of intrinsic frequencies among mul 45                     ence value is higher than the target coherence
       tiple sites in the brain of the subject within a specified                   value, applying at least two asynchronous magnetic
       EEG band using the magnetic field wherein if the coher                       fields close to the head of the subject, and wherein
       ence value is higher than a pre-selected coherence value,                    if the coherence value is lower than the target
       applying at least two asynchronous magnetic fields close                     coherence value, applying at least one synchro
       to the head of the subject, and wherein if the coherence                     nized magnetic field close to the head of the sub
       value is lower than the pre-selected coherence value, 50                     ject; and
       applying at least one synchronized magnetic field close                  an EEG phase between two sites in the brain of the
       to the head of the subject; and                                              subject of a specified EEG frequency toward a tar
    (d) an EEG phase between two sites in the brain of the                          get EEG phase of the specified EEG frequency
       Subject of a specified EEG frequency using the magnetic                      using the magnetic field wherein the magnetic field
       field wherein the magnetic field comprises a first mag- 55                   comprises one or more magnetic field generators
       netic field that is in-phase with a second magnetic field                    that are of the same frequency and are in-phase with
       or a first magnetic field that is out of phase with a second                 each other, of the same frequency and out of phase
       magnetic field.                                                              with each other, or
                                                                                a combination thereof.
    13. The device of claim 12, comprising at least one perma             23.  The    device of claim 22, wherein the magnetic field
nent magnet.                                                        60 comprises at least one of a) a single target frequency within
    14. The device of claim 12, wherein the magnetic field is the          specified EEG band; (b) a plurality of frequencies within
generated by movement of at least one permanent magnet.
    15. The device of claim 14, wherein the movement of theat          the specified    EEG band; and (c) the intrinsic frequency of the
least one said magnet is at a frequency between about 0.5 HZ brain of the subject within the specified EEG band.
and about 100 HZ.                                                                               k   k   k   k   k
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                   EXHIBIT D
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                                                                                                          USOO8870737B2


(12) United States Patent                                                               (10) Patent No.:               US 8,870,737 B2
       Phillips et al.                                                                  (45) Date of Patent:                    *Oct. 28, 2014
(54) SYSTEMS AND METHODS FOR NEURO-EEG                                                             A61N 1/36078: A61N 2/00; A61B5/04001:
        SYNCHRONIZATION THERAPY                                                                      A61 B 5/048: A61 B 5/0476; A61 B 5/0482;
                                                                                                                                     A61 B 5A4088
(75) Inventors: James William Phillips, Fountain                                            USPC .............. 600/9, 13, 14,545, 26-28, 454, 455
                       Valley, CA (US); Yi Jin, Irvine, CA (US)                             See application file for complete search history.
(73) Assignee: NeoSync, Inc., Newport Beach, CA (US)                               (56)                    References Cited
(*) Notice:            Subject to any disclaimer, the term of this                                  U.S. PATENT DOCUMENTS
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                       U.S.C. 154(b) by 733 days.                                         4727.857. A      3/1988 Hori
                       This patent is Subject to a terminal dis-                                             (Continued)
                       claimer.
                                                                                                 FOREIGN PATENT DOCUMENTS
(21) Appl. No.: 12/944,549                                                         DE               298.21635 U1      8, 1998
(22) Filed:            Nov. 11, 2010                                               WO           WO-96-15829 A2        5, 1996
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(65)                       Prior Publication Data                                                     OTHER PUBLICATIONS
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                                                                                   PCT/US 10/056075 Search Report and Written Opinion mailed Mar.
                  Related U.S. Application Data                                    14, 2011.
(63) Continuation-in-part of application No. 12/237,319,                                                (Continued)
     filed on Sep. 24, 2008, now Pat. No. 8,475,354.                               Primary Examiner — Christine Matthews
(60) Provisional application No. 61/260,785, filed on Nov.                         Assistant Examiner — Joshua D Lannu
     12, 2009.                                                                     (74) Attorney, Agent, or Firm — Wilson Sonsini Goodrich &
                                                                                   Rosati
(51) Int. Cl.
        A6 IN 2/08                     (2006.01)                                   (57)                      ABSTRACT
     A6IN 2/00                         (2006.01)                                   Described are methods, devices, and systems for a novel,
(52) U.S. Cl.                                                                      inexpensive, easy to use therapy for a number of disorders.
        CPC ................ A61N 2/008 (2013.01); A61N 2/004                      Described are methods and devices to treat disorders that
                                                     (2013.01)                     involves no medication. Methods and devices described
        USPC ............................................................ 6OO/15   herein use alternating magnetic fields to gently “tune' the
(58) Field of Classification Search                                                brain and affect mood, focus, and cognition of Subjects.
        CPC ....... A61N 2/12: A61N 2/06; A61N 1/36082:
                     A61N 2/02: A61N 2/006; A61N 1/36025;                                          11 Claims, 30 Drawing Sheets
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                                   Figure 1




                                   Figure 2
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                               Figure 3
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               82b




                                     Figure 8
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    82b


                                   Figure 9
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               Figure OD



               Figure OF                           Figure 10G
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                                                   Figure 11B


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          Figure 11G                               Figure 11H
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    Figure l l I             Figure 1 1J                     Figure 1 1 K




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                                   Figure 12
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                                                                 Figure 15
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                                    Figure 16
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                                                             218h
                               Figure 21




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                               Figure 22
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                                 Figure 24
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          2568                   2576
                                                 Figure 25
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                                                    2606




                             Figure 26
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                               2758




                           S-                                      2707b.
                                                                    2782b




                                   Figure 27
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                                                    2806




                            Figure 28
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                29.97a




                3095 a




                              Figure 30
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               A(f) -Ge(-(f-s)/2d)
                               Figure 31

                                   S+1 Hz

               H(X, A) = XX(f) - A(f)
                               Figure 32
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                                          *::::::    *::::::::::




                                frequency rix
                               Figure 34
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               ...) 3.J.E.
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                          f = 8.56 H.


                                   Alf = 0.51 Hz
       -
                   - ?              y   .
      3.   \              -             CV-----------

               s                                                   s




                                                               s

                              Figure 36b
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                                                  High
                                                  High
                                                  High
                                                  High




                                   Figure 37


     HAMD
     Score
     30




     20




     O          | | | | |!HgH?F FH Figure 38
                                                                  Ø-,
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          HAMD                            Figure 39




         -10


         -2" saM           Week 1         Week 2        Week 3     Week 4



               100                        Figure 40

                80


    Change 60
    in
    HAMD




               20




                     -50            -25            O          25        50
                                      Change in Alpha Q
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                                                                       88: :   x 33:8



               -3.3         8.         -3.             S.         E.               .

                           :{BF increase in Orbits fortal startex i.

                                   Figure 42
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                                                        US 8,870,737 B2
                                1.                                                                        2
    SYSTEMIS AND METHODS FOR NEURO-EEG                                 determining a new standard of deviation resulting in a better
         SYNCHRONIZATION THERAPY                                       fit than that of the first standard of deviation, shifting the mean
                                                                       frequency, S, up or down slightly from the first mean fre
                  RELATED APPLICATIONS                                 quency, determining a new mean frequency resulting in a
                                                                       better fit than that of the first mean frequency, and repeating
    This application claims the benefit of U.S. Provisional steps 2), 3), and 4), in which the first gain, the first standard of
Patent Application No. 61/260,779 filed Nov. 12, 2009, and is deviation, and the first mean frequency are replaced with a
a continuation-in-part of U.S. patent application Ser. No.             second gain, a second standard of deviation, and a second
12/237,319 filed Sep. 24, 2008, the contents of which are mean frequency, respectively, until the three parameters are
herein incorporated by reference in their entirety.                 10
                                                                       optimized, comparing the intrinsic frequency from step (a) to
           BACKGROUND OF THE INVENTION                                 an average intrinsic frequency of a healthy population data
                                                                       base; if the intrinsic frequency from step (a) is higher than the
    Mental disorders generate serious problems for the average intrinsic frequency of the healthy population data
affected people, their families, and Society. Currently, psy 15 base, shifting down the intrinsic frequency of the Subject by
chiatrists and neurophysiologists treat these disorders with a applying a magnetic field close to a head of the Subject,
variety of medications, many of which have significant nega wherein said magnetic field has a frequency lower than the
tive side effects.                                                     intrinsic frequency of the subject; and if the intrinsic fre
    Repetitive Transcranial Magnetic Stimulation (rTMS) uses quency from step (a) is lower than the average intrinsic fre
an electromagnet placed on the scalp that generates a series of quency of the healthy population database, shifting up the
magnetic field pulses roughly the strength of an MRI scan. intrinsic frequency of the Subject by applying a magnetic field
Some studies have shown that rTMS can reduce the negative close to a head of the Subject, wherein said magnetic field has
symptoms of schizophrenia and depression under certain cir a frequency higher than the intrinsic frequency of the Subject.
cumstances. To generate low frequency magnetic field pulses                Provided herein is a method of using a Transcranial Mag
using an electromagnet such as in rTMS requires high cur 25 netic Stimulation (TMS) device for influencing an intrinsic
rent. Over time, this high current results in significant heat frequency of a subject within a specified EEG band, compris
that must be actively dissipated.                                      ing: adjusting output of said TMS device; changing EEG
                                                                       frequency, Q-factor, or coherence by repetitive firing of a
              SUMMARY OF THE INVENTION                                 magnetic field using said TMS device; and applying said
                                                                    30 magnetic field close to a head of the subject, wherein the
    Described are methods and systems for novel, inexpensive, intrinsic frequency of the subject within the specified EEG
easy to use therapy for a number of mental disorders. band is determined by: obtaining EEG data of the subjects
Described are methods and devices to treat mental disorders            brain; removing any DC component in the signal; performing
that involve no medication. Methods and devices described              a Fast Fourier Transformation, X(f), on the EEG data; and
herein gently “tune' the brain and affect mood, focus, and 35 achieving a fitted Gaussian curve, A(f), of the EEG data by:
cognition of human Subjects. Methods and devices described using the equation A(f)=Ge''2d) (also depicted in FIG.
herein gently “tune' the brain and affect mood, focus, and 31), wherein G is gain, d is standard deviation, and S is the
cognition of Subjects.                                                 mean frequency based on the specified EEG band, and deter
    In one aspectare methods of treating a subject, comprising:        mining a goodness of fit measure by optimizing using the
(a) adjusting output of a magnetic field for influencing an 40 following equation
intrinsic frequency of a specified EEG band of the subject
toward a pre-selected or target intrinsic frequency of the
specified EEG band; and (b) applying said magnetic field                                  s-Hz

close to a head of the subject.
    Provided herein are methods of treating a Subject, compris 45
ing determining the intrinsic frequency (f) of the Subject
within the specified EEG band by: obtaining EEG data of the (also depicted in FIG. 32), by: estimating a first mean fre
Subject’s brain; removing any DC component in the signal; quency, a first standard of deviation, and first gain for the first
performing a Fast Fourier Transformation, X(f), on the EEG optimizing loop, shifting the gain, G, up or down slightly
data; and achieving a fitted Gaussian curve, A(f), of the EEG 50 from the first gain, determining a new gain resulting in a better
data by: using the equation A(f)=Ge''' (also depicted fit than that of the first gain, shifting the standard of deviation,
in FIG. 31), wherein G is gain, d is standard deviation, and s d, up down slightly from the first standard of deviation, deter
is the mean frequency based on the specified EEG band, and mining a new standard of deviation resulting in a better fit
determining a goodness of fit measure by optimizing using than that of the first standard of deviation, shifting the mean
the following equation                                              55 frequency, S, up or down slightly from the first mean fre
                                                                       quency, determining a new mean frequency resulting in a
                   s-Hz
                                                                       better  fit than that of the first mean frequency, and repeating
                                                                       steps 2), 3), and 4), in which the first gain, the first standard of
                                                                       deviation, and the first mean frequency are replaced with a
                                                                    60 second gain, a second standard of deviation, and a second
                                                                       mean frequency, respectively, until the three parameters are
(also depicted in FIG. 32), by: estimating a first mean fre optimized.
quency, a first standard of deviation, and first gain for the first        In some embodiments, the method comprises the step of
optimizing loop, shifting the gain, G, up or down slightly measuring EEG data of the Subject after the applying step. In
from the first gain, determining a new gain resulting in a better 65 Some embodiments, the method comprises the steps of
fit than that of the first gain, shifting the standard of deviation, adjusting frequency of said magnetic field based on the EEG
d, up or down slightly from the first standard of deviation, data of the Subject; and repeating the applying step with an
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adjusted frequency. In some embodiments, applying of the            In some embodiments, at least one of the intrinsic fre
magnetic field applies the magnetic field to a diffuse area in a quency and the fitted Gaussian curve is used to determine a
brain of the Subject. In some embodiments, the magnetic field coherence value of intrinsic frequencies among multiple sites
is generated by movement of at least one permanent magnet. in the brain of a subject within a specified EEG band.
In some embodiments, said movement comprises at least one           In some embodiments, at least one of the intrinsic fre
of rotational motion, linear motion, and Swing motion. In quency and the fitted Gaussian curve is used to determine an
Some embodiments, a frequency of the magnetic field with EEG phase between two sites in the brain of a subject of a
the specified EEG band is from about 0.5Hz to about 100 Hz.      specified EEG frequency.
In some embodiments, the strength of the at least one perma         In some embodiments, shifting the standard of deviation
nent magnet is from about 10 Gauss to about 4 Tesla. In some 10 comprises
embodiments, the distance between the at least one perma one of abouta shift        from the first standard deviation of at least
nent magnet and the Subject is from about/32 into about 12 in. 0.1, about 0.2, aboutabout
                                                                               0.005,        0.01, about 0.02, about 0.05, about
                                                                                         0.5, about 0.6, about 0.7, about 0.75,
In Some embodiments, the step of applying the magnetic field
is for about 5 minutes to about two hours. In some embodi        about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,
ments, the method comprises repeating the applying step after 15 “aboutabout 1.75, about 2.0, and about 2.5. As used herein, the term
an interval about 6 hours to about 14 days.                                     when used in reference to standard deviation can
   In some embodiments, the method comprises: (a) locating mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,
a first electrode operable to detect electrical brain activity on 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,
the subject in at least one of an area of low electrical resistivity and/or 25% to 50%.
on a Subject, and an area with Substantially no electrical               In some embodiments, shifting the gain comprises a shift
impulse interference on a Subject; (b) locating a second elec from the first gain of at least one of about 0.005, about 0.01,
trode operable to detect a reference signal on the Subject; and about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about
(c) determining the intrinsic frequency from the electrical 0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,
brain activity detected by the first electrode and the reference about 1.1, about 1.2, about 1.5, about 1.75, about 2.0, and
signal detected by the second electrode.                            25 about 2.5. As used herein, the term “about when used in
   In some embodiments, the method improves an indication reference to gain can mean variations of 1%, 10%, 20%, 25%,
selected from the group consisting of replacement for medi 50%, 1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to
tation, quick nap, stress release, attention span, comprehen 50%, 10% to 25%, and/or 25% to 50%.
Sion, memory, lowered blood pressure, increased libido,                  In some embodiments, shifting the mean frequency com
sports performance, academic performance, increased blood 30 prises a shift from the first mean frequency of at least one of
flow, lowered blood flow, increased metabolism, lowered               about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,
metabolism, and any combination thereof.                            about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about
   In some embodiments, the method improves a disorder 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
selected from the group consisting of depression, bipolar,          1.75, about 2.0, and about 2.5. As used herein, the term
anxiety, obsessive-compulsive, seizure, Parkinson's disease, 35 "about when used in reference to mean frequency can mean
ADHD, autism, substance abuse, head injury, Alzheimer's variations of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%,
disease, eating disorder, sleep disorder, tinnitus, fibromyal 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or
gia, and any combination thereof.                                   25% to 50%.
   In some embodiments, the method improves a character                 Provided herein is a device comprising: at least one per
istic selected from the group consisting of peripheral visual 40 manent magnet, a subunit coupled to the magnet, wherein the
response, attention span, immediate reaction time (IRT),            Subunit enables movement of said at least one permanent
movement time (MT), simple perceptual reaction time (SPR), magnet at a frequency between about 0.5 Hz and about 100
conflict perceptual reaction time (CPR), and any combination HZ, and logic that is operable to determine an intrinsic fre
thereof.                                                            quency (f) of a brain of a subject within a specified EEG band
   In some embodiments, the magnetic field results from a 45 by: obtaining EEG data of the subject’s brain; removing any
first magnetic source and a second magnetic source. In some DC component in the signal; performing a Fast Fourier Trans
embodiments, the first magnetic source and the second mag formation, X(f), on the EEG data; achieving a fitted Gaussian
netic source are out of phase relative to each other.               curve, A(f), of the EEG data by: using the equation A(f)=
   In some embodiments, the EEG band is the alphaband, and Ge''' (also depicted in FIG.31), wherein G is gain, d
the mean frequency ranges from about 8 Hz to about 13 Hz. 50 is standard deviation, and S is the mean frequency based on
   In Some embodiments, removing the DC component of the the specified EEG band, and determining a goodness of fit
signal comprises filtering the EEG data with a 10th order 3 Hz measure by optimizing using the following equation
high-pass IIR filter. In some embodiments, removing the DC
component of the signal comprises filtering the EEG data                               s-Hz
twice with a 10th order 3 Hz high-pass IIR filter.               55
   In some embodiments, the EEG data comprises about 30
seconds worth of EEG data at about 256 samples per second.
   In some embodiments, the first gain is about one fourth ("/4)
of the peak value of a peak value of the Fast Fourier Trans (also depicted in FIG. 32), by: estimating a first mean fre
formation of the EEG data.                                       60 quency, a first standard of deviation, and first gain for the first
   In Some embodiments, a second optimization is performed optimizing loop, shifting the gain, G, up or down slightly
having a first gain of at least about 1.5 times the peak value of from the first gain, determining a new gain resulting in a better
the Fast Fourier Transformation of the EEG data.                    fit than that of the first gain, shifting the standard of deviation,
   In some embodiments, at least one of the intrinsic fre           d, up or down slightly from the first standard of deviation,
quency and the fitted Gaussian curve is used to determine a 65 determining a new standard of deviation resulting in a better
Q-factor of the intrinsic frequency within the specified EEG fit than that of the first standard of deviation, shifting the mean
band of the subject.                                                frequency, S, up or down slightly from the first mean fre
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quency, determining a new mean frequency resulting in a variations of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%,
better fit than that of the first mean frequency, and repeating 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or
steps 2), 3), and 4), in which the first gain, the first standard of 25% to 50%.
deviation, and the first mean frequency are replaced with a               In another aspect are methods of altering an intrinsic fre
second gain, a second standard of deviation, and a second quency of a brain of a subject within a specified EEG band,
mean frequency, respectively, until the three parameters are comprising: (a) determining the intrinsic frequency of the
optimized,                                                             subject within the specified EEG band; (b) comparing the
   In some embodiments, the device is operable to at least one intrinsic frequency from step (a) to an average intrinsic fre
of influence the intrinsic frequency of the brain of a subject quency of a healthy population database; (c) if the intrinsic
within the specified EEG band; influence a Q-factor of the 10 frequency from step (a) is higher than the average intrinsic
intrinsic frequency; influence a coherence of intrinsic fre frequency of the healthy population database, shifting down
quencies among multiple sites in the brain of a subject within the intrinsic frequency of the Subject by applying a specific
a specified EEG band; and influence an EEG phase between magnetic field close to a head of the Subject, wherein said
two sites in the brain of a subject of a specified EEG fre 15 specific magnetic field has a frequency lower than the intrin
quency.                                                                sic frequency of the Subject; and (d) if the intrinsic frequency
   In some embodiments, a magnetic field is generated by from step (a) is lower than the average intrinsic frequency of
movement of at least the permanent magnet. In some embodi the healthy population database, shifting up the intrinsic fre
ments, said movement comprises at least one of rotational quency of the Subject by applying a specific magnetic field
motion, linear motion, and Swing motion.                               close to a head of the Subject, wherein said specific magnetic
   In some embodiments, the device comprises logic that field has a frequency higher than the intrinsic frequency of the
controls the frequency in increments of about 0.1 Hz.                  Subject.
   In some embodiments, the device improves an indication                 In another aspect are methods of treating a subject, com
selected from the group consisting of replacement for medi prising: (a) adjusting output of a magnetic field for influenc
tation, quick nap, stress release, attention span, comprehen 25 ing a Q-factor, a measure of frequency selectivity of a speci
Sion, memory, lowered blood pressure, increased libido, fied EEG band, of the subject toward a pre-selected or target
sports performance, academic performance, increased blood Q-factor of the band; and (b) applying said magnetic field
flow, lowered blood flow, increased metabolism, lowered                close to a head of the subject.
metabolism, and any combination thereof.                                  In another aspect are methods of treating a subject, com
   In some embodiments, the device improves a disorder 30 prising: determining the Q-factor of the intrinsic frequency
selected from the group consisting of depression, bipolar, within the specified EEG band of the subject; comparing the
anxiety, obsessive-compulsive, seizure, Parkinson's disease, Q-factor of the intrinsic frequency from step (a) to an average
ADHD, autism, substance abuse, head injury, Alzheimer's Q-factor of the intrinsic frequency of a healthy population
disease, eating disorder, sleep disorder, tinnitus, fibromyal database; if the Q-factor of the intrinsic frequency from step
gia, and any combination thereof.                                   35 (a) is higher than the average Q-factor of the intrinsic fre
   In some embodiments, the device improves a characteristic quency of the healthy population database, tuning down the
selected from the group consisting of peripheral visual Q-factor of the intrinsic frequency of the Subject by applying
response, attention span, immediate reaction time (IRT), a magnetic field with a plurality of frequencies or with a
movement time (MT), simple perceptual reaction time (SPR),             single pre-selected frequency close to a head of the Subject;
conflict perceptual reaction time (CPR), and any combination 40 and if the Q-factor of the intrinsic frequency from step (a) is
thereof.                                                               lower than the average Q-factor of the intrinsic frequency of
   In some embodiments, shifting the standard of deviation the healthy population database, tuning up the Q-factor of the
comprises a shift from the first standard deviation of at least intrinsic frequency of the Subject by applying a magnetic field
one of about 0.005, about 0.01, about 0.02, about 0.05, about          with a pre-selected frequency to a head of the Subject.
0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, 45 In another aspect are methods of treating a subject, com
about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,      prising: (a) adjusting output of a magnetic field for influenc
about 1.75, about 2.0, and about 2.5. As used herein, the term         ing a coherence of intrinsic frequencies among multiple sites
“about when used in reference to standard deviation can                in a brain of the subject within a specified EEG band toward
mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,                      a pre-selected or target coherence value; and (b) applying said
1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, 50 magnetic field close to a head of the Subject
and/or 25% to 50%.                                                        In another aspect are methods adjusting output of a mag
   In some embodiments, shifting the gain comprises a shift netic field for influencing a coherence of intrinsic frequencies
from the first gain of at least one of about 0.005, about 0.01, among multiple sites in a brain of the Subject within a speci
about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about         fied EEG band toward a pre-selected or target coherence
0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0, 55 value comprising: determining the coherence value of the
about 1.1, about 1.2, about 1.5, about 1.75, about 2.0, and            intrinsic frequencies among multiple locations throughout a
about 2.5. As used herein, the term “about when used in                Scalp of the Subject; comparing the coherence value from step
reference to gain can mean variations of 1%, 10%, 20%, 25%,            (a) to an average coherence value of a healthy population
50%, 1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to                      database; if the coherence value from step (a) is higher than
50%, 10% to 25%, and/or 25% to 50%.                                 60 the average coherence value of the healthy population data
   In some embodiments, shifting the mean frequency com base, lowering the coherence value of the Subject by applying
prises a shift from the first mean frequency of at least one of at least two asynchronous magnetic fields close to a head of
about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,            the subject; if the coherence value from step (a) is lower than
about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about          the average coherence value of the healthy population data
0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about 65 base, raising the coherence value of the Subject by applying at
1.75, about 2.0, and about 2.5. As used herein, the term               least one synchronized magnetic field close to a head of the
"about when used in reference to mean frequency can mean Subject.
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   In another aspectare methods of using a Transcranial Mag          phase  of a Subject of a specified EEG frequency, comprising:
netic Stimulation (TMS) device for influencing an intrinsic (a) adjusting output of said TMS device; (b) changing the
frequency of a subject within a specified EEG band, compris EEG phase by repetitive firing of at least one magnetic field
ing: (a) adjusting output of said TMS device; (b) changing using said TMS device; and (c) applying said magnetic field
EEG frequency, Q-factor, or coherence by repetitive firing of 5 close to a head of the subject.
a magnetic field using said TMS device; and (c) applying said           In some embodiments, the magnetic field results from a
magnetic field close to a head of the Subject;                       first magnetic source and a second magnetic source. In some
   In another aspect are methods of treating anxiety in a embodiments, the first magnetic source and the second mag
Subject, comprising tuning up the Q-factor of an intrinsic netic source are out of phase relative to each other. In some
frequency of the Subject by applying a magnetic field close to 10 embodiments, the amount that the first magnetic source and
ahead of the Subject, wherein the magnetic field comprises at the second magnetic source are out of phase relative to each
least one of (a) a single pre-selected frequency; (b) a plurality other is called the magnetic phase.
offrequencies within a specified EEG band; and (c) an intrin            In some embodiments, the methods described are with the
sic frequency of a brain of the subject within a specified EEG proviso that the methods are not used to treat Schizophrenia.
band. In some embodiments, any of the devices described 15 In some embodiments of at least one aspect described
herein may be used to treat anxiety.                                 above, the step of applying the magnetic field is for a pre
   In some embodiments, are method of treating depression in determined cumulative treatment time. In some embodiments
a subject, comprising tuning down the Q-factor of an intrinsic of at least one aspect described above, the pre-selected or
frequency of the Subject by applying a magnetic field close to target intrinsic frequency with the specified EEG band is from
ahead of the Subject, wherein the magnetic field comprises at about 0.5 Hz to about 100 Hz. In some embodiments of at
least one of (a) a single frequency; (b) a plurality of frequen least one aspect described above, the pre-selected or target
cies within a specified EEG band; and (c) an intrinsic fre intrinsic frequency with the specified EEG band is from about
quency of a brain of the subject within a specified EEG band.        1 Hz to about 100 Hz. In some embodiments of at least one
In some embodiments, any of the devices described herein aspect described above, the pre-selected or target intrinsic
may be used to treat depression.                                  25 frequency with the specified EEG band is not greater than
   In another aspect are methods for treating a Subject, com about 50 Hz. In some embodiments of at least one aspect
prising: (a) adjusting output of a magnetic field for influenc described above, the pre-selected or target intrinsic frequency
ing an EEG phase between two sites in the brain of a subject with the specified EEG band is not greater than about 30 Hz.
of a specified EEG frequency toward a pre-selected EEG               In some embodiments of at least one aspect described above,
phase of the specified EEG frequency; and (b) applying said 30 the pre-selected or target intrinsic frequency with the speci
magnetic field close to a head of the Subject.                       fied EEG band is not greater than about 20 Hz. In some
   In some embodiments, the pre-selected EEG phase is lower embodiments of at least one aspect described above, the pre
than the EEG phase between the two sites in the brain of the selected or target intrinsic frequency with the specified EEG
subject. In some embodiments, the pre-selected EEG phase is band is not greater than about 10 Hz. In some embodiments of
any EEG phase lower than the EEG phase between the two 35 at least one aspect described above, the pre-selected or target
sites in the brain of the subject. In some embodiments, the intrinsic frequency with the specified EEG band is greater
pre-selected EEG phase is higher than the EEG phase than about 3 Hz. In some embodiments of at least one aspect
between the two sites in the brain of the subject. In some described above, the pre-selected or target intrinsic frequency
embodiments, the pre-selected EEG phase is any EEG phase with the specified EEG band is greater than about 1 Hz. In
higher than the EEG phase between the two sites in the brain 40 Some embodiments, of at least one aspect described above,
of the subject. In some embodiments, the pre-selected EEG the pre-selected or target intrinsic frequency with the speci
phase is an EEG phase of a population of people. The popu fied EEG band is up to about 25 Hz. As used herein, the term
lation of people may be a set of people having a particular "about when referring to a frequency can mean variations of
trait, characteristic, ability, or feature. The population may be 0.1 Hz to 0.2 Hz, 0.1 Hz to 0.5 Hz, 0.5 Hz to 1 Hz, or 1 Hz to
a healthy population of people. The population of people may 45 5 Hz. In some embodiments, applying of the magnetic field is
be a set of people not having a particular disorder, such as to the motor cortex of the subject.
anxiety, depression, or other disorders mentioned herein. In            In some embodiments, the pre-selected and/or target intrin
Some embodiments, the methods comprise measuring EEG sic frequency is chosen from a plurality of intrinsic frequen
data of two sites in the brain of the Subject, and calculating the cies in the specified EEG band. In some embodiments the
EEG phase between the two sites in the brain of a subject. The 50 pre-selected and/or target intrinsic frequency is chosen from
specified EEG frequency may be an intrinsic frequency as a plurality of intrinsic frequencies across a plurality of EEG
described herein. The specified EEG frequency may be a bands. In some embodiments the specified EEG band is the
pre-selected frequency as described herein. The pre-selected Alphaband. In some embodiments the specified EEG band is
frequency may be an average intrinsic frequency of a healthy the Beta band.
population database within a specified EEG band.                  55    In some embodiments of at least one aspect described
   In another aspect are methods for influencing an EEG above, the methods further comprise the step of measuring
phase of a specified EEG frequency between multiple loca EEG data of the subject before the applying step. In some
tions of a brain of a Subject, comprising: (a) determining the embodiments of at least one aspect described above, said
EEG phase the between at least two locations measured on the higher frequency is not greater than about 50 Hz. In some
head of the subject; (b) comparing the EEG phase from step 60 embodiments of at least one aspect described above, said
(a) to an average EEG phase of a healthy population; and (c) higher frequency is not greater than about 30 Hz.
applying a magnetic field close to a head of the Subject                In some embodiments of at least one aspect described
wherein applying the magnetic field influences the deter above, the varying frequencies (e.g. hopping frequencies) are
mined EEG phase toward the average EEG phase of a healthy moving average frequencies based on a pre-determined fre
population.                                                       65 quency around an intrinsic frequency within a predetermined
   In another aspect are methods for using a Transcranial frequency range. In some embodiments, the varying frequen
Magnetic Stimulation (TMS) device for influencing an EEG cies are randomly selected within a predetermined frequency
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range. In some embodiments of at least one aspect described        time, said pre-determined cumulative treatment time is from
above, the varying frequencies are moving average frequen          about 5 minto about two hours.
cies within a specified EEG band of a healthy population               In some embodiments of at least one aspect described
database. Those moving average frequencies can change               above, the methods further comprise repeating the applying
from an initial frequency to a target frequency within a spe        step after an interval of treatment. In some embodiments, the
cific amount of time. In some embodiments of at least one           interval of treatment is from about 6 hours to about 14 days.
aspect described above, the varying frequencies are frequen            In some embodiments of at least one aspect described
cies hopping around within a pre-determined frequency above, the method improves an indication selected from the
range. In some embodiments of at least one aspect described 10 group consisting of replacement for meditation, quick nap,
above, the varying frequencies are frequencies hopping stress release, attention span, comprehension, memory, low
around an intrinsic frequency within a specified EEG band of ered blood pressure, increased libido, sports performance,
a healthy population database. In some embodiments of at academic performance, and any combination thereof. In
least one aspect described above, the pre-selected or target Some embodiments of at least one aspect described above, the
frequency is an average intrinsic frequency of a healthy popu 15 method improves a mental disorder selected from the group
lation database within a specified EEG band. In some consisting of depression, bipolar, anxiety, obsessive-compul
embodiments of at least one aspect described above, the pre sive, seizure, Parkinson's disease, ADHD, autism, Substance
selected or target frequency is an intrinsic frequency of a brain abuse, head injury, Alzheimer's disease, eating disorder,
of the subject within a specified EEG band.                         sleep disorder, tinnitus, and any combination thereof. In some
   In some embodiments of at least one aspect described embodiments of at least one aspect described above, the
above, the methods further comprise the step of measuring method improves symptoms of fibromyalgia. In some
EEG data of the subject after the applying step. In some embodiments of at least one aspect described above, the
embodiments, further comprising the steps of:                       method halts the onset of a seizure. In some embodiments of
adjusting frequency of said magnetic field based on the EEG at least one aspect described above, the method prevents the
   data of the subject; and                                      25 onset of a seizure. In some embodiments of at least one aspect
repeating the applying step with an adjusted frequency.             described above, the method improves a characteristic
   In some embodiments of at least one aspect described selected from the group consisting of peripheral visual
above, the applying of the magnetic field is continuous, in that response, attention span, immediate reaction time (IRT),
it does not consist of discrete pulses separated by significant movement time (MT), simple perceptual reaction time (SPR),
sections in which no magnetic field is applied. In some 30 conflict perceptual reaction time (CPR), and any combination
embodiments of at least one aspect described above, the mag thereof. In some embodiments of at least one aspect described
netic field is continuously applied. A magnetic field that is above, the method provides an improvement as measured
continuously applied may alternate between a positive and using a rating scale selected from the group consisting of
negative field and include one or more neutral field(s), or HAMA, HAMD, PANSS, MADRS, BARS, SAS, and any
alternate between a positive field and a neutral field, or alter 35 combination thereof. In some embodiments of at least one
nate between a negative field and a neutral field, or some other aspect described above, the method provides an improvement
combination of magnetic fields. It is continuous in the sense as measured using the Unified Parkinson's Rating Scale. In
that it has a repetitive pattern (waveform) of charged fields Some embodiments of at least one aspect described above, the
(whether positive, negative, or a combination thereof) and method provides an improvement as measured using a modi
uncharged fields. In some embodiments of at least one aspect 40 fied Unified Parkinson's Rating Scale. In some embodiments
described above, the applying of the magnetic field applies of at least one aspect described above, the method uses a
the magnetic field to a diffused area in a brain of the subject.    Permanent Magneto-EEG Resonant Therapy (pMERT)
   In some embodiments of at least one aspect described device (alternatively called a Neuro-EEG Synchronization
above, the magnetic field is generated by movement of at least Therapy (NEST) device). In some embodiments of at least
one permanent magnet. In some embodiments, said move 45 one aspect described above, the method uses a device as
ment comprises rotation of at least one said permanent mag described herein. In some embodiments of at least one aspect
net. In some embodiments, said movement comprises linear described above, the method does not use a Transcranial
motion of at least one said permanent magnet. In some Magnetic Stimulation (TMS) device.
embodiments, said movement comprises curvilinear motion                In another aspect are devices comprising,
of at least one said permanent magnet. In some embodiments, 50 (a) at least one permanent magnet; and
said movement comprises at least one of rotational motion,             (b) a subunit coupled to the magnet;
linear motion, and Swing motion. In some embodiments, the wherein the subunit enables movement of at least one said
strength of the at least one permanent magnetic is from about magnet at a frequency between about 0.5 Hz and about 100
10 Gauss to about 4 Tesla. In some embodiments, the distance       HZ.
between the at least one permanent magnet and the Subject is 55       In another aspect are devices comprising,
from about 0 inches to about 12 inches, from about/32 inches          (a) at least one permanent magnet; and
to about 12 inches, from about/16 inches to about 5 inches, or        (b) a subunit coupled to the magnet;
from about 1 inch to about 5 inches. As used herein, the term      wherein the subunit enables movement of at least one said
“about when referring to distance between the at least one magnet at a frequency between about 2 Hz, and about 20 Hz.
permanent magnet and the Subject can mean variations of/64 60 In another aspect are devices comprising a means for
inch, /32 inch, /16 inch, /8 inch, /4 inch, /3 inch, /2 inch, or 1 applying a magnetic field to a head of a Subject; whereby the
inch.                                                              means for applying the magnetic field is capable of influenc
   In some embodiments where the step of applying the mag ing an intrinsic frequency of a brain of the Subject within a
netic field is for a pre-determined cumulative treatment time,     specified EEG band.
said pre-determined cumulative treatment time is at least 5 65 In another aspect are devices comprising a means for
min. In some embodiments where the step of applying the applying a magnetic field to a head of a Subject; whereby the
magnetic field is for a pre-determined cumulative treatment means for applying the magnetic field is capable of influenc
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ing a Q-factor of an intrinsic frequency of a brain of the        chologist,  a neurologist,  a family doctor, a general practitio
subject within a specified EEG band.                              ner, a another medical professional, or a person treating a
   In another aspect are devices comprising a means for patient. In some embodiments, the user is not a patient.
applying a magnetic field to a head of a Subject; whereby the        In some embodiments of at least one aspect described
means for applying the magnetic field is capable of influenc above, the devices comprise a white noise generator.
ing a coherence of intrinsic frequencies among multiple sites        In some embodiments, the devices further comprise a cou
in a brain of the subject within a specified EEG band.            pling to at least one of an internet line and a phone line. In
   In some embodiments of at least one aspect described Some embodiments, at least a portion of the coupling to the
above, the subunit comprises a rotating mechanism. In some internet line or to the phone line is wireless. The device may
embodiments, said rotating mechanism comprises:                10 further comprise a Smart card for storing and transferring
   (a) a motor;                                                   information.
   (b) a power source capable of powering the motor; and             In some embodiments of at least one aspect described
   (c) a rotating element coupled to the motor and coupled to above, the devices further comprise logic that calculates
the magnet.                                                       information from EEG data collected from the subject within
   In some embodiments of at least one aspect described 15 a specified EEG band,
above, said device comprises at least one permanent magnet. wherein said information comprises at least one of items
In some embodiments of at least one aspect described above, listed below:
the strength of the at least one permanent magnet is from            (a) at least one intrinsic frequency;
about 10 Gauss to about 4 Tesla. In some embodiments of at           (b) Q-factor of the at least one intrinsic frequency;
least one aspect described above, the magnetic field is an           (c) a coherence value of intrinsic frequencies;
alternating magnetic field.                                          (d) an EEG phase; and
   In some embodiments of at least one aspect described              (e) any combination thereof.
above, the magnetic field is generated by movement of at least       In some embodiments, the devices further comprise logic
one permanent magnet. In some embodiments, the movement that uploads said information through at least one of an inter
of the at least one said magnetis at a frequency between about 25 net line and a telephone line to an EEG data analysis service
0.5 Hz and about 100 Hz. In some embodiments, the move            capable of storing said information. In some embodiments,
ment of the at least one said magnet is at a frequency between said EEG data analysis service is capable of associating the
about 2 Hz, and about 20 Hz.                                       said information with an identification associated with the
   In some embodiments of at least one aspect described Subject.
above, said movement comprises rotation of at least one said 30 In some embodiments of at least one aspect described
permanent magnet. In some embodiments of at least one above, the devices further comprise logic that uploads EEG
aspect described above, said movement comprises linear data collected from the subject to an EEG data analysis ser
motion of at least one said permanent magnet. In some vice, wherein the EEG data analysis service is capable of
embodiments of at least one aspect described above, said validating information uploaded from the device, wherein
movement comprises Swing motion of at least one said per 35 said information comprises at least one of items listed below:
manent magnet. In some embodiments, said movement com              (a) at least one intrinsic frequency;
prises at least one of rotational motion, linear motion, and       (b) Q-factor of the at least one intrinsic frequency;
Swing motion.                                                      (c) a coherence value of intrinsic frequencies;
   In some embodiments of at least one aspect described            (d) an EEG phase; and
above, said movement generates an alternating magnetic 40 (e) any combination thereof.
field. In some embodiments of at least one aspect described        In some embodiments, said information comprises at least
above, the magnetic field is continuously applied. In some two of the listed items. In some embodiments of at least one
embodiments of at least one aspect described above, the mag aspect described above, further comprising logic that down
netic field covers a diffused area in a brain of a subject. In loads a treatment dosage quota. In some embodiments, the
Some embodiments of at least one aspect described above, the 45 treatment dosage quota is chosen by a user treating the Subject
device is a Permanent Magneto-EEG Resonant Therapy based on a diagnosis of the Subject. In some embodiments, the
(pMERT) device. In some embodiments of at least one aspect treatment dosage quota is chosen by a user who is charged for
described above, the device is a Neuro-EEG Synchronization requesting a download of a cumulative treatment time based
Therapy (NEST) device. As used herein, the terms Neuro on a diagnosis of the Subject. In some embodiments, the user
EEG Synchronization Therapy (NEST) device and Perma 50 is charged by a billing service before, during, or after the
nent Magneto-EEG Resonant Therapy (pMERT) device may download of the dosage quota.
be used interchangeably.                                           In some embodiments of at least one aspect described
   In some embodiments of at least one aspect described above, the devices further comprise logic that uploads a Sub
above, the devices further comprise logic that controls the ject's EEG data through at least one of an internet line and a
frequency to be any frequency between about 2 and about 20 55 phone line to an EEG data analysis service. In some embodi
HZ in increments of about 0.1 Hz. In some embodiments of at      ments of at least one aspect described above, the devices
least one aspect described above, the devices further comprise further comprise logic that records usage information for
logic that controls the frequency to be any frequency between using the device. In some embodiments, the device further
about 2 and about 50 Hz in increments of about 0.1 Hz. In        comprises logic that ceases to deliver treatment after a treat
Some embodiments of at least one aspect described above, the 60 ment dosage quota is depleted. In some embodiments, the
devices further comprise logic that automatically changes the billing service is a vendor of the device. In some embodi
frequency in response to EEG readings of a subject before ments of at least one aspect described above, the devices
and/or during treatment. In some embodiments of at least one further comprise logic that allows a user to establish a user
aspect described above, the devices further comprise logic acCOunt.
that allows a user to set duration of a treatment before said 65   In some embodiments, the device comprises at least two
treatment. In some embodiments, the user may be, for non permanent magnets. In some embodiments, the device com
limiting example, a patient, a therapist, a psychiatrist, a psy prises a helmet to be used for a subject’s head. In some
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embodiments of at least one aspect described above, the                   (4) an  EEG  phase  of a specified EEG frequency of the
device comprises a communication Subunit for coupling to an                  Subject,
internet line. In some embodiments of at least one aspect                 (5) a coherence value of intrinsic frequencies of the
described above, the device comprises a communication Sub                    Subject,
unit for coupling to a phone line. In some embodiments, the               (6) treatment information of the subject, and
device comprises a memory Subunit for storing information                 (7) device usage information for the subject.
during a treatment.                                                    In some embodiments, the user information excludes iden
   In another aspect are methods for ordering a therapeutic tifying information (e.g. user names).
dosage quota through internet, comprising,                             In some embodiments of at least one aspect described
   (a) receiving a request from a user to access a user account 10 above, the methods further comprise the step of charging at
      through internet for ordering the therapeutic dosage least one of the user, the Subject, and an insurance company
      quota,                                                        associated with the subject a fee for use of the device based on
   (b) allowing the user to select at least one desired thera the dosage quota ordered in at least one of the user account
      peutic dosage quota; and                                      and the device.
   (c) allowing the downloading ofatherapeutic dosage quota 15 In another aspect are methods for administration of treat
      into a device comprising a means for applying a mag ment of Subjects, comprising,
      netic field to a head of a subject.                              (a) storing data in a device of an individual Subject during
   The user may be allowed, in Some embodiments, to down                  treatment using the device, wherein the device com
load the therapeutic dosage quota. In some embodiment, the                prises a means for applying a magnetic field to a head of
methods further comprise the step of establishing a user                  the subject;
account based on a request from a user for ordering a thera            (b) retrieving the data of said individual subject from said
peutic dosage quota.                                                      device; and
   In another aspect are methods for uploading EEG data                (c) updating a database for the Subject with the data,
associated with a subject through internet, comprising,                   through at least one of an internet line and a phone line.
   (a) creating a database for storing a user account associated 25 In some embodiments, said data of said individual Subject
      with a user;                                                  comprises at least one of EEG data of the subject, at least one
   (b) storing the user account in the database,                    intrinsic frequency within a specified EEG band of the sub
   (c) receiving a request from the user to access the user ject, Q-factor of the intrinsic frequency of the Subject, a
      acCOunt,                                                      coherence value of intrinsic frequencies of the Subject, an
   (d) allowing said EEG data to be recorded into a device 30 EEG phase of a specified EEG frequency of the subject,
      comprising a means for applying a magnetic field to a treatment information of the Subject, and device usage infor
      head of the subject:                                          mation for the subject. In some embodiments, the retrieving
   (e) determining from said EEG data at least one of an and updating steps occur upon the Subjects visit to a psychia
      intrinsic frequency within a specified EEG band, Q-fac trist, a therapist, a treatment provider, and/or another type of
      tor of the intrinsic frequency, an EEG phase, and a coher 35 medical professional. In some embodiments, the retrieving
      ence value of intrinsic frequencies; and                      and updating steps occur prior to a Subject's visit to a psy
   (f) allowing the uploading of at least one of the EEG data, chiatrist, atherapist, a treatment provider, and/or another type
      the intrinsic frequency within a specified EEG band, the of medical professional. In some embodiments, the retrieving
      Q-factor of the intrinsic frequency, the EEG phase, the and updating steps occur following a Subject's visit to a
      coherence value of intrinsic frequencies, and any com 40 psychiatrist, a therapist, a treatment provider, and/or another
      bination thereof.                                             type of medical professional.
   In some embodiments, allowing the user to upload may                In some embodiments of at least one aspect described
include allowing the user to move data from a device as above, the methods or devices use a Transcranial Magnetic
described herein to a database. The method may comprise Stimulation (TMS) device.
receiving a request from the user to access the user account 45 Provided herein is a method comprising adjusting an out
through at least one of an internet line or a phone line for put current of an electric alternating current source for influ
access to said database. The method may comprise allowing encing an intrinsic frequency of an EEG band of a subject
the user to upload at least one of an intrinsic frequency within toward a target frequency of the EEG band; and applying said
a specified EEG band, Q-factor of the intrinsic frequency, an output current across a head of the Subject.
EEG phase, and a coherence value of intrinsic frequencies. 50 In some embodiments, the step of adjusting the output
The data may include at least one of the EEG data, an intrinsic current comprises setting the output current to a frequency
frequency within a specified EEG band, Q-factor of the intrin that is lower than the intrinsic frequency of the subject.
sic frequency, a coherence value of intrinsic frequencies, or          In some embodiments, the step of adjusting the output
any combination thereof.                                            current comprises setting the output current to a frequency
   In some embodiments of at least one aspect described 55 that is higher than the intrinsic frequency of the Subject.
above, the device is any device described herein. In some              In some embodiments, the step of adjusting the output
embodiments of at least one aspect described above, the user current comprises setting the output current to the target
account comprises                                                   frequency.
   (a) user information;                                               Provided herein is a method comprising determining the
   (b) user access information; and                              60 intrinsic frequency of the EEG band of the subject; and com
   (c) based on each Subject and each therapeutic dosage paring the intrinsic frequency to the target frequency of the
      quota administered to each subject, fields for storing at EEG band, wherein the target frequency is an average intrin
      least one of                                                  sic frequency of the EEG band of a healthy population of
      (1) EEG data of the subject,                                  people, wherein if the intrinsic frequency is higher than the
      (2) intrinsic frequency within a specified EEG band of 65 target frequency, the step of adjusting the output current com
         the Subject,                                               prises setting the output current to a frequency that is lower
      (3) Q-factor of the intrinsic frequency of the subject        than the intrinsic frequency of the Subject, and if the intrinsic
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frequency is lower than the target frequency, the step of operable to detect electrical brain activity on the subject in at
adjusting the output current comprises setting the output cur least one of an area of low electrical resistivity on a subject
rent to a frequency that is higher than the intrinsic frequency and an area with Substantially no electrical impulse interfer
of the subject.                                                       ence on a subject. The method or methods may further com
   Provided herein is a method comprising adjusting an out prise locating a second electrode operable to detect a refer
put current of an electric alternating current source for influ ence signal on the Subject. The method or methods may
encing a Q-factor of an intrinsic frequency of an EEG band of further comprise determining the intrinsic frequency from the
a subject toward a target Q-factor, and applying said output electrical brain activity detected by the first electrode and the
current across a head of the Subject.                                 reference signal detected by the second electrode. In some
   In some embodiments, the step of adjusting the output 10 embodiments, determining the intrinsic frequency may com
current comprises varying a frequency of the output current. prise removing the reference signal detected by the second
   In some embodiments, the step of adjusting the output electrode from the electrical brainactivity detected by the first
current comprises setting the output current to a frequency electrode. The method or methods may further comprise
that is higher than the intrinsic frequency of the Subject.           determining the Q-factor of an intrinsic frequency of the
   In some embodiments, the step of adjusting the output 15 specified EEG band from the electrical brain activity detected
current comprises setting the output current to a frequency by the first electrode and the reference signal detected by the
that is lower than the intrinsic frequency of the subject.            second electrode. In some embodiments, determining the
   In some embodiments, the step of adjusting the output Q-factor of an intrinsic frequency of the specified EEG band
current comprises setting the output current to the target comprises ascertaining the Q-factor from the electrical brain
frequency.                                                            activity detected by the first electrode and the reference signal
   In some embodiments, the method further comprises deter detected by the second electrode.
mining the Q-factor of the intrinsic frequency of the EEG                In some embodiments of the methods described herein, the
band of the Subject; and comparing the Q-factor to the target method or methods may comprise locating a first electrode
Q-factor, wherein the target Q-factor is an average Q-factor of operable to detect electrical brain activity on the subject in at
the intrinsic frequencies of the EEG band of a healthy popu 25 least a portion of the ear canal of the subject. The method or
lation of people, wherein if the Q-factor of the intrinsic fre methods may further comprise locating a second electrode
quency is higher than the target Q-factor, the step of adjusting operable to detect a reference signal on the subject. The
the output current comprises varying a frequency of the out method or methods may further comprise determining the
put current, and if the Q-factor of the intrinsic frequency is intrinsic frequency from the electrical brain activity detected
lower than the target Q-factor, the step of adjusting the output 30 by the first electrode and the reference signal detected by the
current comprises setting the output current to a frequency second electrode.
that is the intrinsic frequency of the subject.                          In some embodiments, a device as described herein is
   In some embodiments, influencing an intrinsic frequency operable to influence an EEG phase between two sites in the
may include influencing harmonics of the pre-selected intrin brain of a subject of a specified EEG frequency. The device
sic frequency of the specified EEG band. In some embodi 35 may comprise a second permanent magnet, wherein the Sub
ments, the pre-selected intrinsic frequency is a harmonic of unit is coupled to the second magnet, and wherein the Subunit
the peak intrinsic frequency of a specified EEG band. In some enables movement of the second magnet at a frequency
embodiments, influencing the pre-selected intrinsic fre between about 0.5 Hz and about 100 Hz. The subunit may
quency includes applying harmonic frequencies of the pre enable movement of the second magnet at a frequency
selected intrinsic frequency. In some embodiments, the vary 40 between about 2 Hz, and about 20 Hz. The first permanent
ing frequencies comprise harmonic frequencies of a single magnet may have a first rotational orientation relative to a
frequency. The single frequency may comprise the pre-se treatment Surface of the device and the second permanent
lected intrinsic frequency.                                           magnet may have a second rotational orientation relative to
   In some embodiments, a device as described herein is               the treatment surface of the device. The device may be oper
operable to influence an intrinsic frequency of the brain of a 45 able to move the first permanent magnet at the same fre
subject within a specified EEG band. A device as described quency as the second permanent magnet. The first rotational
herein may be operable to influence a Q-factor of an intrinsic orientation relative to a first portion of a treatment surface of
frequency of the brain of a subject within a specified EEG the device may be between at least about 0 degrees and about
band. A device as described herein may be operable to influ 360 degrees different from the second rotational orientation
ence a coherence of intrinsic frequencies among multiple 50 relative to a second portion of the treatment surface of the
sites in the brain of a subject within a specified EEG band.          device. The first rotational orientation relative to a first por
   In some embodiments, a device as described hereinfurther           tion of a treatment surface of the device may be at least one of:
comprises a first electrode operable to detect electrical brain between at least about 0 degrees and about 180 degrees,
activity; and a second electrode operable to detect a reference between at least about 0 degrees and about 90 degrees,
signal, wherein the first electrode is located on the subject in 55 between at least about 0 degrees and about 45 degrees,
at least one of an area of low electrical resistivity on a subject, between at least about 0 degrees and about 30 degrees,
and an area with Substantially no electrical impulse interfer between at least about 0 degrees and about 15 degrees,
ence on a Subject, and wherein the second electrode is located between at least about 0 degrees and about 10 degrees, at least
on the Subject. In some embodiments, a device as described about 5 degrees, at least about 10 degrees, at least about 15
herein further comprises a first electrode operable to detect 60 degrees, at least about 30 degrees, at least about 45 degrees, at
electrical brain activity; and a second electrode operable to least about 60 degrees, at least about 90 degrees, at least about
detect a reference signal, wherein the first electrode is located     120 degrees, at least about 180 degrees, at least about 240
on the Subject in at least a portion of the ear canal of the degrees, and at least about 270 degrees different from the
subject, and wherein the second electrode is located on the second rotational orientation relative to a second portion of
Subject.                                                           65 the treatment surface of the device. The specified EEG fre
   In some embodiments of the methods described herein, the           quency may be an intrinsic frequency as described herein.
method or methods may comprise locating a first electrode The specified EEG frequency may be a pre-selected fre
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quency as described herein. The pre-selected frequency may            Provided herein is a method comprising: adjusting output
be an average intrinsic frequency of a healthy population of a magnetic field for influencing at least one of an intrinsic
database within a specified EEG band.                              frequency of a specified EEG band of a subject toward a
   In some embodiments, a magnetic field results from a first pre-selected intrinsic frequency of the specified EEG band
magnetic source and a second magnetic source. In some and a Q-factor of an intrinsic frequency within a specified
embodiments, the first magnetic source and the second mag EEG band of a subject toward a pre-selected Q-factor and
netic source are out of phase relative to each other. In some applying said magnetic field close to a head of the Subject;
embodiments, the amount that the first magnetic source and wherein the pre-selected intrinsic frequency is a frequency
the second magnetic source are out of phase relative to each that increases blood flow in the cortex of the subject, and
other is called the magnetic phase.                             10
   In some embodiments, the first portion of the treatment wherein blood
                                                                            the pre-selected Q-factor is a Q-factor that increases
                                                                          flow  in the cortex of the subject.
Surface is the portion of the treatment Surface approximately
closest to the first permanent magnet, and wherein the second of a magneticherein
                                                                      Provided           is a method comprising: adjusting output
portion of the treatment surface is the portion of the treatment specified EEG band ofinfluencing
                                                                                   field for              an intrinsic frequency of a
                                                                                              a subject toward a pre-selected intrin
Surface approximately closest to the second permanent mag 15
net. In some embodiments, the first portion of the treatment sic frequency of the specified EEG band; and applying said
surface is the portion of the treatment surface closest to the magnetic field close to a head of the subject; wherein the
first permanent magnet that is intended to be approximately pre-selected intrinsic frequency is a frequency that decreases
tangential to the head of the Subject nearest that treatment blood flow in a lower region of the brain of the subject.
Surface, and wherein the second portion of the treatment             The methods may further comprise taking EEG measure
Surface is the portion of the treatment Surface approximately ments of the subject before the adjusting step or after the
closest to the second permanent magnet that is intended to be applying step, or both before the adjusting step and after the
approximately tangential to the head of the Subject nearest applying step. The methods may further comprise determin
that treatment Surface.                                            ing at least one of the Subjects intrinsic frequency of the
   In some embodiments of the devices disclosed herein, the 25 specified EEG band and the subject's Q-factor of an intrinsic
difference between the first rotational orientation and the        frequency within a specified EEG band.
second rotational orientation results in a magnetic phase             In some methods, the applying of the magnetic field applies
when the first permanent magnet is moved at the same fre the magnetic field to a diffuse area in a brain of the subject.
quency as the second permanent magnet. The magnetic phase             In some methods, the magnetic field is generated by move
of the device may be operable to influence an EEG phase 30 ment of at least one permanent magnet. In some methods, the
between a first site and a second site in the brain of a subject strength of the at least one permanent magnetic is from about
within a specified EEG band. The first site generally aligns 10 Gauss to about 4 Tesla.
with the first permanent magnet, and the second site generally        In some methods, the step of applying the magnetic field is
aligns with the second permanent magnet of the device.             for about 5 minutes to about two hours.
   Provided herein is a device comprising,                      35   The methods may further comprise repeating the applying
   (a) a means for applying a first magnetic field to a head of step after an interval about 6 hours to about 14 days.
a subject; and                                                       The methods may further comprise: (a) locating a first
   (b) a means for applying a second magnetic field to a head electrode operable to detect electrical brain activity on the
of a Subject;                                                      subject in at least one of an area of low electrical resistivity on
   whereby the means for applying the first magnetic field and 40 a Subject, and an area with Substantially no electrical impulse
the means for applying the second magnetic field are capable interference on a subject; (b) locating a second electrode
of influencing an EEG phase between at least two sites in a operable to detect a reference signal on the Subject; and (c)
brain of the subject of a specified EEG frequency.                 determining the intrinsic frequency or the Q-factor or both
   The magnetic fields (first magnetic field, and second mag from the electrical brainactivity detected by the first electrode
netic field) may be of the same frequency, but out of phase 45 and the reference signal detected by the second electrode.
with each other. Additional magnetic fields may be provided          The methods may provide an improvement as measured
by additional means for applying Such magnetic fields. These using a HAMD rating scale.
too may be out of phase with each other, or with any of the           Provided herein is a system comprising: a means for apply
magnetic fields. Nevertheless, the magnetic fields in some ing a magnetic field to a head of a Subject; whereby the means
embodiments may have the same frequencies. The devices 50 for applying the magnetic field is capable of influencing at
may be a Permanent Magneto-EEG Resonant Therapy least one of: (a) an intrinsic frequency of a brain of the Subject
(pMERT) (i.e. a Neuro-EEG Synchronization Therapy NEST within a specified EEG band; (b) a Q-factor of an intrinsic
device) as described herein. The specified EEG frequency frequency of the brain of the subject within a specified EEG
may be an intrinsic frequency as described herein. The speci band; (c) a coherence of intrinsic frequencies among multiple
fied EEG frequency may be a pre-selected frequency as 55 sites in the brain of the subject within a specified EEG band;
described herein. The pre-selected frequency may be an aver and (d) a EEG phase between two sites in the brain of the
age intrinsic frequency of a healthy population database subject of a specified EEG frequency, and a device capable of
within a specified EEG band.                                       determining the blood flow of at least one of the cortex and a
   In some aspects, is a device for use in treating a Subject, lower region of the brain.
comprising: a Transcranial Magnetic Stimulation (TMS) 60 The system may comprise at least one permanent magnet.
device; whereby the means for applying the magnetic field is The magnetic field is generated by movement of at least one
capable of influencing (a) an intrinsic frequency of a brain of permanent magnet. In some embodiments, the movement of
the subject within a specified EEG band; (b) a Q-factor of an the at least one said magnet is at a frequency between about
intrinsic frequency of a brain of the subject within a specified 0.5 Hz and about 100 Hz. In some embodiments, said move
EEG band; (c) a coherence of intrinsic frequencies among 65 ment comprises at least one of rotational motion, linear
multiple sites in a brain of the subject within a specified EEG motion, and Swing motion. In some embodiments, said move
band; or (d) a combination thereof.                                ment generates an alternating magnetic field.
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   In some embodiments, the system comprises logic that              intrinsic alpha frequency throughout the head is more uni
controls the frequency to be any frequency between about 0.5         form, though the majority of energy is still concentrated at the
HZ and about 100 Hz in increments of about 0.1 Hz.                   back of the brain.
  In some embodiments, the system comprises logic that                 FIG. 7 shows an exemplary embodiment of the pMERT or
automatically changes the frequency in response to EEG               NEST device. In this embodiment, a button EEG electrode is
readings of a Subject during treatment.                              located on the concave surface of the device and a second
  In some embodiments, the system comprises logic that               reference electrode extends via a wire from the side of the
calculates information from EEG data collected from the           device. The display and control buttons are located on top of
subject within a specified EEG band, wherein said informa 10 the device to provide information and allow the user to adjust
tion comprises at least one of items listed below: (a) at least parameters and enterpatient data. A USB port is located at the
one intrinsic frequency; (b) Q-factor of the at least one intrin top rear of the device, to allow it to be connected via a USB
sic frequency; (c) a coherence value of intrinsic frequencies; cable to a PC, allowing uploading of data and downloading of
(d) an EEG phase; and (e) any combination thereof.                a dosage quota.
   In some embodiments, the system comprises: (a) a first 15 FIG. 8 shows the pMERT or NEST device from FIG. 7 in
electrode operable to detect electrical brain activity; and (b) a which a subject is lying with the head against the concave
second electrode operable to detect a reference signal;           Surface. At least one moving magnet is unseen inside the
wherein the first electrode is located on the subject in at least pMERT or NEST device in order to deliver therapy to the
one of an area of low electrical resistivity on a subject, and an subject. The subjects head is pressed against the button EEG
area with Substantially no electrical impulse interference on a electrode, with the second electrode attached to the subjects
subject, and wherein the second electrode is located on the right ear.
Subject.                                                             FIG. 9 shows an alternate angle of the subject receiving
                                                                  therapy from the pMERT or NEST device as described in
           INCORPORATION BY REFERENCE                                FIG 8.
                                                                25    FIG. 10 shows some exemplary embodiments for various
   All publications and patent applications mentioned in this movements of at least one permanent magnet.
specification are herein incorporated by reference to the same        FIGS. 11A through 11K show additional exemplary
extent as if each individual publication or patent application embodiments for various movements of at least one perma
was specifically and individually indicated to be incorporated nent magnet.
by reference.                                                   30
                                                                      FIG. 12 shows an example of the Q-factor as used in this
       BRIEF DESCRIPTION OF THE DRAWINGS                           invention. The figure shows a sample graph of the frequency
                                                                   distribution of the energy of an EEG signal. It can be seen that
   A better understanding of the features and advantages of a frequency range. Afcan be defined as the frequency band
the systems and methods provided will be obtained by refer 35 width for which the energy is above one-half the peak energy.
ence to the following detailed description that sets forth illus The frequency f is defined as the intrinsic frequency in the
trative embodiments and the accompanying drawings of specified band. The Q-factor is defined as the ratio off/Af. As
which:                                                             can be seen, when AF decreases for a given fo, the Q-factor
   FIG. 1 shows an exemplary device in which the magnet will increase. This can occur when the peakenergy E of the
rotates so that the plane of rotation is perpendicular to the 40 signal increases or when the bandwidth of the EEG signal
Surface of the Scalp.                                              decreases.
   FIG. 2 shows an exemplary device in which a horseshoe              FIG. 13 shows an example embodiment of a diametrically
magnet is positioned such that the plane of rotation is parallel magnetized cylindrical magnet for use in a NEST device.
to the surface of the scalp.                                          FIG. 14 shows an example embodiment of a NEST device
   FIG.3 shows an exemplary device which two bar magnets 45 having a diametrically magnetized cylindrical magnet rotat
are rotated synchronously to provide a more uniform phase ing about its cylinder axis and applied to a Subject.
for the magnetic field in the brain.                                  FIG. 15 shows an example embodiment of a NEST device
   FIG. 4 shows an exemplary device in which the magnet having two diametrically magnetized cylindrical magnets
rotates so that the plane of rotation is perpendicular to the rotating about their cylinder axes and applied to a subject.
Surface of the scalp and a pair of electrodes is used to record 50 FIG.16 shows an example embodiment of a NEST device
the EEG of the patient.                                            having three diametrically magnetized cylindrical magnets
   FIG. 5 shows a sample EEG segment for a subject before rotating about their cylinder axes and applied to a subject.
therapy is delivered. The block on the left shows a time series       FIG. 17 shows an example embodiment of a NEST device
EEG while the subject is sitting at rest with eyes closed. The
block in the center shows the energy across the frequency 55 having        three diametrically magnetized cylindrical magnets
                                                                   configured  to rotate about their cylinder axes.
spectrum for the sampled EEG. The vertical line drawn
through the peaks is at 9.1 Hz, the subjects intrinsic alpha          FIG. 18 shows an exploded view of the example embodi
frequency. The circle at the right shows the distribution of ment of the NEST device of FIG. 17 having three diametri
EEG energy at the intrinsic alpha frequency throughout the cally magnetized cylindrical magnets configured to rotate
Scalp, looking down on the top of the Subjects head. In the 60 about their cylinder axes.
circle representation, the majority of the EEG energy at the          FIG. 19 shows the example NEST device embodiment of
alpha frequency is concentrated at the back of the brain.          FIG. 17 having three diametrically magnetized cylindrical
   FIG. 6 is similar to FIG. 5, except the EEG was sampled magnets configured to rotate about their cylinder axes and
immediately following therapy. In this, it can be seen that the including a frame and base for mounting the NEST device.
energy associated with the intrinsic alpha frequency has 65 FIG. 20 shows an example embodiment of a NEST device
increased significantly. From the circle representation on the having eight diametrically magnetized cylindrical magnets
right, it can be seen that the distribution of energy at the configured to rotate about their cylinder axes.
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   FIG. 21 shows the magnet rotation of the example NEST              FIG. 35c shows an example EEG waveform for a subject
device embodiment of FIG. 20 having eight diametrically             who does not have Major Depressive Disorder.
magnetized cylindrical magnets configured to rotate about              FIG. 35d shows the Fast Fourier Transformation of EEG
their cylinder axes.                                                data of FIG. 35c which is an example EEG waveform for a
   FIG.22 shows an example embodiment of a NEST device              subject who does not have Major Depressive Disorder.
having two axially polarized half-disc magnets that rotate             FIG. 36 a shows the Fast Fourier Transformation curve of
about a common rotation axis.                                       EEG data of an example EEG waveform for a subject having
    FIG. 23 shows an exploded view of an alternate embodi           Major Depressive Disorder, also depicted in FIG. 35b, and
ment of an example NEST device embodiment similar to that 10 shows the fitted Gaussian curve of the Fast Fourier Transfor
of FIG. 22 having two rectangular magnets that rotate about a mation curve having an intrinsic frequency of 8.56 Hz, and
common rotation axis.                                              having a deltaf (Of) of 0.51 Hz.
    FIG. 24 shows an example embodiment of a NEST device              FIG. 36b shows the Fast Fourier Transformation curve of
similar to the embodiments depicted in FIGS. 22 and/or 23          EEG data of an example EEG waveform for a subject who
having two magnets rotating about a common rotation axis 15 does not have Major Depressive Disorder, also depicted in
applied to a subject and showing the controller Subunit.           FIG. 35d, and shows the fitted Gaussian curve of the Fast
    FIG. 25 shows block diagram of an example embodiment Fourier Transformation curve having an intrinsic frequency
of a NEST showing the elements of the NEST device and its of 9.27 Hz, and having a deltaf (Of) of 1.06 Hz.
controller subunit.                                                   FIG.37 shows a general relationship between the measures
    FIG. 26 shows an example embodiment of a NEST device of neural activity in the cortex and a possible indication for
having a single bar magnet that moves linearly along its major Depressive Disorder (MDD).
north-South axis once each time the Supporting ring is rotated,       FIG.38 is a comparison of change in the HAMD score of
providing a pulse-type alternating magnetic field at the fre Responders versus Non-Responders a graph of baseline and
quency of rotation.                                                weekly change in HAMD-17 scores for the NEST device
    FIG. 27 shows an example embodiment of a NEST device 25 fixed frequency test group, the NEST device random (hop
having an EEG electrode located in the subject’s ear canal, ping) frequency test group, and the SHAM group.
and a reference EEG electrode located on an earlobe of the            FIG. 39 is a comparison of the change in HAMD scores
Subject.                                                           Subjects receiving NEST therapy versus Subjects receiving
    FIG. 28 shows an example embodiment of a NEST device SHAM (i.e. control) therapy showing the average drop in
applied to a subject, wherein the NEST device has three 30 HAMD-17 score for the active NEST group compared to
diametrically magnetized cylindrical magnets rotating about SHAM.
their cylinder axes having a magnetic phase between at least          FIG. 40 depicts the percent improvement in HAMD score
two of the magnets that is not Zero.                               compared to the percent change in Q-factor for Subjects given
    FIG. 29 shows the magnetic field strengths of two magnets the NEST device treatment.
moving at the same frequency at the same time, but having a 35 FIG. 41 shows the change in HAMA score of two patients
magnetic phase relative to one another (out of phase relative over a period of three weeks.
to each other).                                                       FIG. 42 shows how the increase in rCBF in orbital frontal
    FIG. 30 shows a theoretical EEG electrode readings mea cortex predicts clinical improvement in depression (r=-0.67.
sured at two locations on a subject’s head within a single EEG P=0.04).
band when the two locations are exhibiting similar (or the 40
same) frequency, but are out of phase relative to each other,          DETAILED DESCRIPTION OF THE INVENTION
i.e. displaying an EEG phase.
    FIG. 31 shows an equation that may be used to determine           While certain embodiments have been provided and
the fitted Gaussian curve A(f) of EEG data from a subject.         described herein, it will be readily apparent to those skilled in
    FIG. 32 shows an equation for the goodness of fit of the 45 the art that such embodiments are provided by way of
FFT (Fast Fourier Transformation) X(f) and the fitted Gaus example only. It should be understood that various alterna
sian curve A(f) of the EEG data from a subject.                    tives to the embodiments described herein may be employed,
   FIG. 33 shows the Fast Fourier Transformation of EEG            and are part of the invention described herein.
data of a subject in the alphaband, and shows one, two, nine          Since brain activity is a distributed phenomenon, conven
and fifteen optimization iteration(s) of the fitted Gaussian 50 tional high-energy pulses used by rTMS that focus on a spe
curve A(f) where the gain G is chosen as a low value (one cific area of the brain may not be optimal for influencing the
fourth of the peak value of the FFT curve in the alpha band) overall frequency of the brain. Instead of using short high
Such that with Subsequent iterations, the fitted curve rises up energy pulses at the desired frequency, it is possible instead
from the x-axis to determine the optimal fit of A(f).              use a sinusoidal or near-sinusoidal magnetic field (likely with
   FIG. 34 shows the Fast Fourier Transformation of EEG 55 lower energy) to generate a similar effect. To affect the brain
data of a Subject in the alpha band, and shows one, three, with a lower energy magnetic field, the stimulation may need
eight, eleven, and fifteen optimization iteration(s) of the fitted to be applied for a longer period.
Gaussian curve A(f) where the gain G is chosen as a high              In some embodiments, described are methods and devices
value (1.5 times the peak value of the FFT curve in the alpha that provide low frequency sinusoidal or near-sinusoidal tran
band) such that with subsequent iterations, the fitted curve 60 Scranial magnetic stimulation therapy by rotating one or more
moved down toward the x-axis to determine the optimal fit of permanent magnets in close proximity to the Subjects head.
A(f).                                                                 Described are methods and systems for novel, inexpensive,
    FIG.35a shows an example EEG waveform for a subject easy to use therapy for a number of mental disorders.
having Major Depressive Disorder.                                  Described are methods and devices to treat mental disorders
  FIG. 35b shows the Fast Fourier Transformation of EEG 65 that involve no medication. Methods and devices described
data of FIG. 35a which is an example EEG waveform for a             herein gently “tune' the brain and affect mood, focus, and
subject having Major Depressive Disorder.                           cognition of Subjects.
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    In one aspectare methods of treating a subject, comprising:          intrinsic frequency of the Subject by applying a magnetic field
(a) adjusting output of a magnetic field for influencing an close to a head of the Subject, wherein said magnetic field has
intrinsic frequency of a specified EEG band of the subject a frequency higher than the intrinsic frequency of the Subject.
toward a pre-selected or target intrinsic frequency of the                  In another aspect are methods of altering an intrinsic fre
specified EEG band; and (b) applying said magnetic field 5 quency of a brain of a subject within a specified EEG band,
close to a head of the subject.                                          comprising: (a) determining the intrinsic frequency of the
    In another aspect are methods of altering an intrinsic fre subject within the specified EEG band; (b) comparing the
quency of a brain of a subject within a specified EEG band, intrinsic frequency from step (a) to an average intrinsic fre
comprising: (a) determining the intrinsic frequency of the 10 quency of a healthy population database; (c) if the intrinsic
subject within the specified EEG band; (b) comparing the frequency       frequency
                                                                                     from step (a) is higher than the average intrinsic
                                                                                     of the healthy population database, shifting down
intrinsic frequency from step (a) to an average intrinsic fre the intrinsic frequency
quency of a healthy population database; (c) if the intrinsic magnetic field close to of           a
                                                                                                     the Subject by applying a specific
                                                                                                     head  of the Subject, wherein said
frequency from step (a) is higher than the average intrinsic specific magnetic field has a frequency               lower than the intrin
frequency of the healthy population database, shifting down 15 sic frequency of the Subject; and (d) if the intrinsic frequency
the intrinsic frequency of the Subject by applying a specific from step (a) is lower than the average intrinsic frequency of
magnetic field close to a head of the Subject, wherein said the healthy population database, shifting up the intrinsic fre
specific magnetic field has a frequency lower than the intrin quency of the Subject by applying a specific magnetic field
sic frequency of the Subject; and (d) if the intrinsic frequency close to a head of the Subject, wherein said specific magnetic
from step (a) is lower than the average intrinsic frequency of field has a frequency higher than the intrinsic frequency of the
the healthy population database, shifting up the intrinsic fre Subject.
quency of the Subject by applying a specific magnetic field                 Provided herein are methods of treating a Subject, compris
close to a head of the Subject, wherein said specific magnetic ing determining the intrinsic frequency (f) of the Subject
field has a frequency higher than the intrinsic frequency of the within the specified EEG band by: obtaining EEG data of the
subject. Provided herein are methods of treating a subject, 25 subject’s brain; performing a Fourier Transformation (which
comprising determining the intrinsic frequency (f) of the may or may not be a fast fourier transformation) of the EEG
subject within the specified EEG band by: obtaining EEG data to determine a curve X(f); and achieving a fitted curve
data of the Subject's brain; removing any DC component in around a local maximum of the curve X(f).
the signal; performing a Fast Fourier Transformation the EEG                In some embodiments, the fitted curve is a Gaussian curve.
data to determine a FFT curve X(f); and achieving a fitted 30 In some embodiments, the fitted curve is a second degree
Gaussian
X(f)        curve,theA(f),
       by: using            of a local
                       equation        maximum of the
                                  A(f)-Ge'''         (alsoFFTdepicted
                                                                curve polynomial curve. In some embodiments, the fitted curve is a
                                                                         third degree polynomial curve. In some embodiments, the
in FIG. 31), wherein G is gain, d is standard deviation, and s fitted curve is a complex curve. In some embodiments, the
is the mean frequency based on the specified EEG band, and fitted curve is used to determine the Q-factor. In some
determining a goodness of fit measure by optimizing using 35 embodiments, the fitted curve is used in determining a coher
the following equation                                                   ence value. In some embodiments the goodness of fit is deter
                                                                         mined by a least squares method. In some embodiments the
                    s-Hz
                                                                         goodness of fit is determined by a ordinary least squares
                                                                         method. In some embodiments the goodness of fit is deter
                                                                      40 mined by a total least squares method. In some embodiments
                                                                         the goodness of fit is determined by a non-linear least squares
                                                                         method. In some embodiments the goodness of fit is deter
(also depicted in FIG. 32), by: estimating a first mean fre mined by a weighted least squares method. In some embodi
quency, a first standard of deviation, and first gain for the first ments the fitted curve is determined by nonlinear regression.
optimizing loop, shifting the gain, G, up or down slightly 45 In some embodiments the fitted curve is determined by
from the first gain, determining a new gain resulting in a better regression analysis. In some embodiments the fitted curve is
fit than that of the first gain, shifting the standard of deviation, determined by at least one of an exponential function, a loga
d, up or down slightly from the first standard of deviation, rithmic function, a trigometirc function, a power function, a
determining a new standard of deviation resulting in a better Gaussian function, and a Loerntzian curve function. In some
fit than that of the first standard of deviation, shifting the mean 50 embodiments, the fitted curve is determined by polynomial
frequency, S, up or down slightly from the first mean fre interpolation.
quency, determining a new mean frequency resulting in a                     In some embodiments, the method comprises comparing
better fit than that of the first mean frequency, and repeating the intrinsic frequency to an average intrinsic frequency of a
steps 2), 3), and 4), in which the first gain, the first standard of healthy population database; if the intrinsic frequency is
deviation, and the first mean frequency are replaced with a 55 higher than the average intrinsic frequency of the healthy
second gain, a second standard of deviation, and a second population database, shifting down the intrinsic frequency of
mean frequency, respectively, until the three parameters are the Subject by applying a magnetic field close to a head of the
optimized, comparing the intrinsic frequency from step (a) to Subject, wherein said magnetic field has a frequency lower
an average intrinsic frequency of a healthy population data than the intrinsic frequency of the subject; and if the intrinsic
base; if the intrinsic frequency from step (a) is higher than the 60 frequency is lower than the average intrinsic frequency of the
average intrinsic frequency of the healthy population data healthy population database, shifting up the intrinsic fre
base, shifting down the intrinsic frequency of the Subject by quency of the Subject by applying a magnetic field close to a
applying a magnetic field close to a head of the Subject, head of the subject, wherein said magnetic field has a fre
wherein said magnetic field has a frequency lower than the quency higher than the intrinsic frequency of the Subject.
intrinsic frequency of the subject; and if the intrinsic fre 65 Provided herein is a method of using a Transcranial Mag
quency from step (a) is lower than the average intrinsic fre netic Stimulation (TMS) device for influencing an intrinsic
quency of the healthy population database, shifting up the frequency of a subject within a specified EEG band, compris
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ing: adjusting output of said TMS device; changing EEG
frequency, Q-factor, or coherence by repetitive firing of a
magnetic field using said TMS device; and applying said
magnetic field close to a head of the subject, wherein the
intrinsic frequency of the subject within the specified EEG
band is determined by: obtaining EEG data of the subjects                  Before the optimization loop, choose estimates for S, d, and
brain; removing any DC component in the signal; performing              G. For each cycle of the loop, perform the following:
a Fast Fourier Transformation the EEG data to determine a               1. Shift the gain up or down slightly:
FFT curve X(f); and achieving a fitted Gaussian curve, A(f), 10           a. Calculate the fit for the current G.
of a local maximum of the FFT curve X(f) by: using the                    b. Calculate the fit for G+0.01
equation A(f)=Ge/72d) (also depicted in FIG. 31),                         c. Calculate the fit for G-0.01
wherein G is gain, d is standard deviation, and S is the mean             d. Set the new G to the value that has the best fit.
frequency based on the specified EEG band, and determining 2. Shift the standard deviation up or down slightly:
a goodness of fit measure by optimizing using the following 15 a. Calculate the fit for the current d.
equation                                                       b. Calculate the fit for d+0.001
                                                                          c. Calculate the fit for d-0.001
                 s-Hz
                                                                          d. Set the new d to the value that has the best fit.
                                                                        3. Shift the mean frequency up or down slightly:
                                                                          a. Calculate the fit for the currents.
                                                                          b. Calculate the fit for s+1 FFT sample
(also depicted in FIG. 32), by: estimating a first mean fre               c. Calculate the fit for S-1 FFT sample
                                                                          d. Set the new s to the value that has the best fit for which
quency, a first standard of deviation, and first gain for the first the new s is in the range from 8 Hz to 13 Hz.
optimizing loop, shifting the gain, G, up or down slightly 25 The loop continues until all three parameters are optimized
from the first gain, determining a new gain resulting in a better and none of them changes. The optimization method goes
fit than that of the first gain, shifting the standard of deviation, through two complete optimizations in order to avoid local
d, up or down slightly from the first standard of deviation, optima. It first picks a starting point that with a very low value
determining a new standard of deviation resulting in a better for G (/4 the peak value of the FFT in the alpha band) so that
fit than that of the first standard of deviation, shifting the mean 30 the fitted curve will rise up from the bottom to determine the
frequency, S, up or down slightly from the first mean fre optimal fit (as depicted in FIG. 33). Then the algorithm goes
quency, determining a new mean frequency resulting in a through                  a second optimization with a high G (1.5x the peak
better fit than that of the first mean frequency, and repeating value of the FFT in the alphaband) that will result in an initial
steps 2), 3), and 4), in which the first gain, the first standard of curve that is guaranteed to be above the FFT and move down
deviation, and the first mean frequency are replaced with a 35 to         determine the optimal fit (as depicted in FIG.34). The value
second gain, a second standard of deviation, and a second for the alpha frequency is the mean frequency s for the curve
mean frequency, respectively, until the three parameters are that results in the best match. FIGS. 36 and 37 show sample
optimized.                                                             fitted curves to the Fourier transform of the EEG data. FIG.33
    In some embodiments, the local maximum of the FFT X(f) shows the curve as iterations progress moving up from a low
curve is based on the EEG band of interest (the specified EEG 40 G. FIG. 34 shows the same optimization moving down from
band). In some embodiments, the local maximum is between an initial high G. In this example, both methods converge to
8 Hz and 13 Hz within the alpha band.                                  the same fitted curve. However, one method may give a better
    As used herein the terms “FFT, “Fast Fourier Transform',
and “Fast Fourier Transformation' may be used interchange fit          In
                                                                          if the Fourier transform contains spurious peaks or is noisy.
                                                                           some embodiments, the method comprises the step of
ably.                                                               45 measuring EEG data of the Subject after the applying step.
    In some embodiments, the intrinsic frequency of a brain of            In some embodiments, the method comprises the steps of:
a Subject, for example, in the alpha band, may be determined adjusting             frequency of said magnetic field based on the EEG
as follows: Capture 30 sec worth of EEG data at 256 samples/ data of the Subject; and repeating the applying step with an
sec. Filter the data twice with a 10th order 3 Hz high-pass IIR adjusted frequency. In some embodiments, applying of the
filter. Note that this removes any DC component in the signal. 50 magnetic field applies the magnetic field to a diffuse area in a
Perform a Fast Fourier Transform (FFT) on the EEG data to brain of the Subject. In some embodiments, the magnetic field
determine X(f). The size of the FFT is twice the number of is generated by movement of at least one permanent magnet.
EEG samples. Achieve the best fit of a Gaussian curve to the In some embodiments, said movement comprises at least one
FFT in the band from 8 Hz-13 Hz over the following param
eters (depicted in FIG.31 and below), where mean frequency 55 of           rotational motion, linear motion, and Swing motion. In
                                                                       Some embodiments, a frequency of the magnetic field with
is “s’, gain is “G” and standard deviation is “d.                      the specified EEG band is from about 0.5Hz to about 100 Hz.
        A(f)=G(-(f-s)/2d)                                              In some embodiments, the strength of the at least one perma
                                                                       nent magnet is from about 10 Gauss to about 4 Tesla. In some
    To determine a goodness of fit measure, Subtract one wave embodiments, the distance between the at least one perma
form from the other, take the absolute value, and sum. Use a 60 nent magnet and the Subject is from about/32 into about 12 in.
window around the Gaussian curve that goes +/-1 Hz on In Some embodiments, the step of applying the magnetic field
either side of the Gaussian peak. Although the Mean fre is for about 5 minutes to about two hours. In some embodi
quency is limited to a value between 8 Hz and 13 Hz, the ments, the method comprises repeating the applying step after
window is allowed to go outside this region if necessary. The an interval about 6 hours to about 14 days.
formula for goodness of fit of the FFT of the EEG data X(f) 65 In some embodiments, the method comprises: (a) locating
and the fitted Gaussian curve A(f) is given below (and a first electrode operable to detect electrical brain activity on
depicted in FIG. 32).                                                  the subject in at least one of an area of low electrical resistivity
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on a Subject, and an area with Substantially no electrical            In some embodiments, shifting the gain comprises a shift
impulse interference on a Subject; (b) locating a second elec from the first gain of at least one of about 0.005, about 0.01,
trode operable to detect a reference signal on the Subject; and about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about
(c) determining the intrinsic frequency from the electrical 0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,
brain activity detected by the first electrode and the reference 5 about 1.1, about 1.2, about 1.5, about 1.75, about 2 and about
signal detected by the second electrode.                           2.5. As used herein, the term “about when used in reference
   In some embodiments, the method improves an indication to gain can mean variations of 1%, 10%. 20%, 25%, 50%,
selected from the group consisting of replacement for medi         1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%,
tation, quick nap, stress release, attention span, comprehen 10 10% to 25%, and/or 25% to 50%.
Sion, memory, lowered blood pressure, increased libido,               In some embodiments, shifting the mean frequency com
sports performance, academic performance, increased blood prises a shift from the first mean frequency of at least one of
flow, lowered blood flow, increased metabolism, lowered                about 0.005, about 0.01, about 0.02, about 0.05, about 0.1,
metabolism, and any combination thereof.                      about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about
   In some embodiments, the method improves a disorder 15 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about
selected from the group consisting of depression, bipolar,    1.75, about 2 and about 2.5. As used herein, the term “about
anxiety, obsessive-compulsive, seizure, Parkinson's disease, when used in reference to mean frequency can mean varia
ADHD, autism, substance abuse, head injury, Alzheimer's tions of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%, 5% to
disease, eating disorder, sleep disorder, tinnitus, fibromyal 10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or 25% to
gia, and any combination thereof.                                  2O 50%.
   In some embodiments, the method improves a character                  Provided herein is a device comprising: at least one per
istic selected from the group consisting of peripheral visual manent magnet, a subunit coupled to the magnet, wherein the
response, attention span, immediate reaction time (IRT),             Subunit enables movement of said at least one permanent
movement time (MT), simple perceptual reaction time (SPR), magnet at a frequency between about 0.5 Hz and about 100
conflict perceptual reaction time (CPR), and any combination 25 HZ, and logic that is operable to determine an intrinsic fre
thereof.                                                             quency (f) of a brain of a subject within a specified EEG band
   In some embodiments, the magnetic field results from a by: obtaining EEG data of the subject’s brain; removing any
first magnetic source and a second magnetic source. In some DC component in the signal; performing a Fast Fourier Trans
embodiments, the first magnetic source and the second mag formation the EEG data to determine a FFT curve X(f); and
netic source are out of phase relative to each other.             30 achieving a fitted Gaussian curve, A(f), of a local maximum
   In some embodiments, the EEG band is the alphaband, and of the FFT curve X(f) by: using the equation A(f)=
the mean frequency ranges from about 8 Hz to about 13 Hz. Ge''' (also depicted in FIG. 31), wherein G is gain, d
   In Some embodiments, removing the DC component of the is standard deviation, and S is the mean frequency based on
signal comprises filtering the EEG data with a 10th order 3 Hz the specified EEG band, and determining a goodness of fit
high-pass IIR filter. In some embodiments, removing the DC 35 measure by optimizing using the following equation
component of the signal comprises filtering the EEG data
twice with a 10th order 3 Hz high-pass IIR filter.                                      s-Hz
   In some embodiments, the EEG data comprises about 30
seconds worth of EEG data at about 256 samples per second.
   In some embodiments, the first gain is about one fourth ("/4) 40
of the peak value of a peak value of the Fast Fourier Trans
formation of the EEG data.                                           (also depicted in FIG. 32), by: estimating a first mean fre
   In Some embodiments, a second optimization is performed quency, a first standard of deviation, and first gain for the first
having a first gain of at least about 1.5 times the peak value of optimizing loop, shifting the gain, G, up or down slightly
the Fast Fourier Transformation of the EEG data.                  45 from the first gain, determining a new gain resulting in a better
   In some embodiments, at least one of the intrinsic fre            fit than that of the first gain, shifting the standard of deviation,
quency and the fitted Gaussian curve is used to determine a d, up or down slightly from the first standard of deviation,
Q-factor of the intrinsic frequency within the specified EEG determining a new standard of deviation resulting in a better
band of the subject.                                                 fit than that of the first standard of deviation, shifting the mean
   In some embodiments, at least one of the intrinsic fre- 50 frequency, S, up or down slightly from the first mean fre
quency and the fitted Gaussian curve is used to determine a quency, determining a new mean frequency resulting in a
coherence value of intrinsic frequencies among multiple sites better fit than that of the first mean frequency, and repeating
in the brain of a subject within a specified EEG band.               steps 2), 3), and 4), in which the first gain, the first standard of
   In some embodiments, at least one of the intrinsic fre            deviation, and the first mean frequency are replaced with a
quency and the fitted Gaussian curve is used to determine an 55 second gain, a second standard of deviation, and a second
EEG phase between two sites in the brain of a subject of a mean frequency, respectively, until the three parameters are
specified EEG frequency.                                             optimized,
   In some embodiments, shifting the standard of deviation               In some embodiments, the device is operable to at least one
comprises a shift from the first standard deviation of at least of influence the intrinsic frequency of the brain of a subject
one of about 0.005, about 0.01, about 0.02, about 0.05, about 60 within the specified EEG band; influence a Q-factor of the
0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,         intrinsic frequency; influence a coherence of intrinsic fre
about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,    quencies among multiple sites in the brain of a subject within
about 1.75, about 2 and about 2.5. As used herein, the term          a specified EEG band; and influence an EEG phase between
“about when used in reference to standard deviation can              two sites in the brain of a subject of a specified EEG fre
mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%. 65 quency.
1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%, In some embodiments, a magnetic field is generated by
and/or 25% to 50%.                                                     movement of at least the permanent magnet. In some embodi
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ments, said movement comprises at least one of rotational          a  magnetic   field with  a plurality of frequencies or with a
motion, linear motion, and Swing motion.                           single pre-selected frequency close to a head of the Subject;
   In some embodiments, the device comprises logic that and if the Q-factor of the intrinsic frequency from step (a) is
controls the frequency in increments of about 0.1 Hz.              lower than the average Q-factor of the intrinsic frequency of
   In some embodiments, the device improves an indication 5 the healthy population database, tuning up the Q-factor of the
selected from the group consisting of replacement for medi intrinsic frequency of the Subject by applying a magnetic field
tation, quick nap, stress release, attention span, comprehen with a pre-selected frequency to a head of the Subject.
Sion, memory, lowered blood pressure, increased libido,               In another aspect are methods of treating a subject, com
sports performance, academic performance, increased blood prising: (a) adjusting output of a magnetic field for influenc
flow, lowered blood flow, increased metabolism, lowered 10 ing a coherence of intrinsic frequencies among multiple sites
metabolism, and any combination thereof.                           in a brain of the subject within a specified EEG band toward
   In some embodiments, the device improves a disorder a pre-selected or target coherence value; and (b) applying said
selected from the group consisting of depression, bipolar, magnetic field close to a head of the Subject
anxiety, obsessive-compulsive, seizure, Parkinson's disease,          In another aspect are methods adjusting output of a mag
ADHD, autism, substance abuse, head injury, Alzheimer's 15 netic field for influencing a coherence of intrinsic frequencies
disease, eating disorder, sleep disorder, tinnitus, fibromyal among multiple sites in a brain of the Subject within a speci
gia, and any combination thereof.                                  fied EEG band toward a pre-selected or target coherence
   In some embodiments, the device improves a characteristic value comprising: determining the coherence value of the
selected from the group consisting of peripheral visual intrinsic frequencies among multiple locations throughout a
response, attention span, immediate reaction time (IRT), 20 Scalp of the Subject; comparing the coherence value from step
movement time (MT), simple perceptual reaction time (SPR),         (a) to an average coherence value of a healthy population
conflict perceptual reaction time (CPR), and any combination database; if the coherence value from step (a) is higher than
thereof.                                                           the average coherence value of the healthy population data
   In some embodiments, shifting the standard of deviation base, lowering the coherence value of the Subject by applying
comprises a shift from the first standard deviation of at least 25 at least two asynchronous magnetic fields close to a head of
one of about 0.005, about 0.01, about 0.02, about 0.05, about      the subject; if the coherence value from step (a) is lower than
0.1, about 0.2, about 0.5, about 0.6, about 0.7, about 0.75,       the average coherence value of the healthy population data
about 0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5,  base, raising the coherence value of the Subject by applying at
about 1.75, about 2 and about 2.5. As used herein, the term        least one synchronized magnetic field close to a head of the
“about when used in reference to standard deviation can 30 Subject.
mean variations of 1%, 10%, 20%, 25%, 50%, 1%-5%,                     In another aspectare methods of using a Transcranial Mag
1%-10%, 5% to 10%, 10% to 20%, 10% to 50%, 10% to 25%,             netic Stimulation (TMS) device for influencing an intrinsic
and/or 25% to 50%.                                                 frequency of a subject within a specified EEG band, compris
   In some embodiments, shifting the gain comprises a shift ing: (a) adjusting output of said TMS device; (b) changing
from the first gain of at least one of about 0.005, about 0.01, 35 EEG frequency, Q-factor, or coherence by repetitive firing of
about 0.02, about 0.05, about 0.1, about 0.2, about 0.5, about     a magnetic field using said TMS device; and (c) applying said
0.6, about 0.7, about 0.75, about 0.8, about 0.9, about 1.0,       magnetic field close to a head of the Subject;
about 1.1, about 1.2, about 1.5, about 1.75, about 2 and about        In another aspect are methods for treating a Subject, com
2.5. As used herein, the term “about when used in reference        prising: (a) adjusting output of a magnetic field for influenc
to gain can mean variations of 1%, 10%. 20%, 25%, 50%, 40 ing an EEG phase between two sites in the brain of a subject
1%-5%, 1%-10%, 5% to 10%, 10% to 20%, 10% to 50%,                  of a specified EEG frequency toward a pre-selected EEG
10% to 25%, and/or 25% to 50%.                                     phase of the specified EEG frequency; and (b) applying said
   In some embodiments, shifting the mean frequency com magnetic field close to a head of the Subject.
prises a shift from the first mean frequency of at least one of       In another aspect are methods of treating anxiety in a
about 0.005, about 0.01, about 0.02, about 0.05, about 0.1, 45 Subject, comprising tuning up the Q-factor of an intrinsic
about 0.2, about 0.5, about 0.6, about 0.7, about 0.75, about      frequency of the Subject by applying a magnetic field close to
0.8, about 0.9, about 1.0, about 1.1, about 1.2, about 1.5, about  ahead of the Subject, wherein the magnetic field comprises at
1.75, about 2 and about 2.5. As used herein, the term “about       least one of (a) a single pre-selected frequency; (b) a plurality
when used in reference to mean frequency can mean varia offrequencies within a specified EEG band; and (c) an intrin
tions of 1%, 10%, 20%, 25%, 50%, 1%-5%, 1%-10%, 5% to 50 sic frequency of a brain of the subject within a specified EEG
10%, 10% to 20%, 10% to 50%, 10% to 25%, and/or 25% to             band. In some embodiments, any of the devices described
50%.                                                               herein may be used to treat anxiety.
   In another aspect are methods of treating a subject, com           In some embodiments, are method of treating depression in
prising: (a) adjusting output of a magnetic field for influenc a subject, comprising tuning down the Q-factor of an intrinsic
ing a Q-factor, a measure of frequency selectivity of a speci- 55 frequency of the Subject by applying a magnetic field close to
fied EEG band, of the subject toward a pre-selected or target ahead of the Subject, wherein the magnetic field comprises at
Q-factor of the band; and (b) applying said magnetic field least one of (a) a single frequency; (b) a plurality of frequen
close to a head of the subject.                                    cies within a specified EEG band; and (c) an intrinsic fre
   In another aspect are methods of treating a subject, com quency of a brain of the subject within a specified EEG band.
prising: determining the Q-factor of the intrinsic frequency 60 In some embodiments, any of the devices described herein
within the specified EEG band of the subject; comparing the may be used to treat depression.
Q-factor of the intrinsic frequency from step (a) to an average       Increased neuronal activity in a region of the brain is asso
Q-factor of the intrinsic frequency of a healthy population ciated with an increase in blood flow, and hence a higher rate
database; if the Q-factor of the intrinsic frequency from step of oxygenated/deoxygenated hemoglobin as measured by
(a) is higher than the average Q-factor of the intrinsic fre- 65 Blood Oxygenation Level Detection (BOLD). In Major
quency of the healthy population database, tuning down the Depressive Dissorder (“MDD and/or shortened herein in
Q-factor of the intrinsic frequency of the Subject by applying Some embodiments as “depression'), there is a significant
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decrease in blood flow, and therefore a decrease in metabolic         specified EEG  band  of  a subject toward a pre-selected intrin
activity in the cortex. In some embodiments, the blood flow sic frequency of the specified EEG band; and applying said
increase (and or increase in metabolic activity) is in the fron magnetic field close to a head of the subject; wherein the
tal cortex. This can be shown in studies using SPECT and pre-selected intrinsic frequency is a frequency that decreases
PET scans. The lower the blood flow to the cortex, the greater blood flow in a rear region of the brain of the subject. Provided
the severity of the depression. This decreased blood flow herein is a method comprising: adjusting output of a magnetic
becomes more significant for Subjects with increased cogni field for influencing a Q-factor of an intrinsic frequency of a
tive impairment associated with their depression. The specified EEG band of a subject toward a pre-selected Q-fac
decrease in regional cerebral blood flow (rCBF) is particu tor; and applying said magnetic field close to a head of the
larly evident in the prefrontal cortex and cingulated gyms. 10 subject; wherein the pre-selected Q-factor is a Q-factor that
Studies of correlations between rCBF and symptom severity decreases blood flow in a parietal-occipital region of the brain
in MDD show a decrease in metabolism in the amygdale, of the Subject. In some embodiments, the parietal-occipital
lentiform nucleus, parahippocampal gyms, and an increase in region comprises at least one of the anterior cingulate, ante
metabolism in the postero-lateral parietal cortex. Other stud rior temporal lobe, parietal lobe, occipital lobe, limbic sys
ies have shown an increase in blood flow in the lower regions 15 tem, and basal ganglia.
of the brain during MDD, such as the cerebellum and                     The methods may further comprise taking EEG measure
amygdala for depressed subjects. The metabolism of a region ments of the subject before the adjusting step or after the
of the brain can be related to the energy consumed by that applying step, or both before the adjusting step and after the
region. An area of high metabolism may be considered an area applying step. The methods may further comprise determin
of high energy or high activity. Likewise, an area of low ing at least one of the Subjects intrinsic frequency of the
metabolism may be considered an area of low energy.                   specified EEG band and the subject's Q-factor of an intrinsic
   Provided herein is a method comprising: adjusting output frequency within a specified EEG band.
of a magnetic field for influencing at least one of an intrinsic         In some methods, the applying of the magnetic field applies
frequency of a specified EEG band of a subject toward a the magnetic field to a diffuse area in a brain of the subject. In
pre-selected intrinsic frequency of the specified EEG band 25 Some methods, the magnetic field is generated by movement
and a Q-factor of an intrinsic frequency within a specified of at least one permanent magnet. In some methods, the
EEG band of a subject toward a pre-selected Q-factor and strength of the at least one permanent magnetic is from about
applying said magnetic field close to a head of the Subject;          10 Gauss to about 4 Tesla.
wherein the pre-selected intrinsic frequency is a frequency              In some methods, the step of applying the magnetic field is
that increases blood flow in the cortex of the subject, and 30 for about 5 minutes to about two hours.
wherein the pre-selected Q-factor is a Q-factor that increases          The methods may further comprise repeating the applying
blood flow in the cortex of the subject. Provided herein is a step after an interval about 6 hours to about 14 days.
method comprising: adjusting output of a magnetic field for             The methods may further comprise: (a) locating a first
influencing an intrinsic frequency of a specified EEG band of electrode operable to detect electrical brain activity on the
a Subject toward a pre-selected intrinsic frequency of the 35 subject in at least one of an area of low electrical resistivity on
specified EEG band and applying said magnetic field close to a Subject, and an area with Substantially no electrical impulse
a head of the subject; wherein the pre-selected intrinsic fre interference on a subject; (b) locating a second electrode
quency is a frequency that increases blood flow in the cortex operable to detect a reference signal on the Subject; and (c)
of the subject. Provided herein is a method comprising:               determining the intrinsic frequency or the Q-factor or both
adjusting output of a magnetic field for influencing a Q-factor 40 from the electrical brainactivity detected by the first electrode
of an intrinsic frequency within a specified EEG band of a and the reference signal detected by the second electrode.
Subject toward a pre-selected Q-factor and applying said                The methods may provide an improvement as measured
magnetic field close to a head of the subject; wherein the using a HAMD rating scale. In some embodiments, severity
pre-selected Q-factor is a Q-factor that increases blood flow of psychosis, depression, and movement disorders can be
in the dorsal and frontal regions of the cortex of the subject. In 45 assessed with PANSS, Montgomery-Asberg Depression Rat
Some embodiments, the dorsal and frontal region comprises ing Scale (MADRS), Barnes Akathisia Rating Scale (BARS),
at least one of the orbital frontal cortex, prefrontal tip, and and Simpson-Angus Scale (SAS). In some embodiments,
dorsal lateral prefrontal cortex.                                     severity of psychosis, depression, and movement disorders
   Provided herein is a method comprising: adjusting output can be assessed with the Hamilton Anxiety Scale (HAMA),
of a magnetic field for influencing an intrinsic frequency of a 50 the Hamilton Depression Scale (HAMD), or any methods
specified EEG band of a subject toward a pre-selected intrin known in the art.
sic frequency of the specified EEG band; and applying said               Provided herein is a system comprising: a means for apply
magnetic field close to a head of the subject; wherein the ing a magnetic field to a head of a Subject; whereby the means
pre-selected intrinsic frequency is a frequency that decreases for applying the magnetic field is capable of influencing at
blood flow in a lower region of the brain of the subject. 55 least one of: (a) an intrinsic frequency of a brain of the Subject
Provided herein is a method comprising: adjusting output of within a specified EEG band; (b) a Q-factor of an intrinsic
a magnetic field for influencing a Q-factor of an intrinsic frequency of the brain of the subject within a specified EEG
frequency of a specified EEG band of a subject toward a band; (c) a coherence of intrinsic frequencies among multiple
pre-selected Q-factor, and applying said magnetic field close sites in the brain of the subject within a specified EEG band;
to a head of the subject; wherein the pre-selected Q-factor is 60 and (d) a EEG phase between two sites in the brain of the
a Q-factor that decreases blood flow in a parietal-occipital subject of a specified EEG frequency, and a device capable of
region of the brain of the subject. In some embodiments, the determining the blood flow of at least one of the cortex, a
parietal-occipital region comprises at least one of the anterior dorsal and frontal region, and aparietal-occipital region of the
cingulate gyms, anterior temporal lobe, parietal lobe, occipi brain. In some embodiments, the parietal-occipital region
tal lobe, limbic system, and basal ganglia.                        65 comprises at least one of the anterior cingulate, anterior tem
   Provided herein is a method comprising: adjusting output poral lobe, parietal lobe, occipital lobe, limbic system, and
of a magnetic field for influencing an intrinsic frequency of a basal ganglia. In some embodiments, the dorsal and frontal
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region comprises at least one of the orbital frontal cortex, order (with a measure of energy shown on the y-axis, and
prefrontal tip, and dorsal lateral prefrontal cortex.                frequency in Hertz shown on the x-axis). FIG. 35c shows an
   The system may comprise at least one permanent magnet. example EEG waveform for a subject who does not have
The magnetic field is generated by movement of at least one Major Depressive Disorder (with time in seconds on the
permanent magnet. In some embodiments, the movement of 5 x-axis, and amplitude in mV on the y-axis). FIG. 35d shows
the at least one said magnet is at a frequency between about the Fast Fourier Transformation of EEG data of FIG. 35c
0.5 Hz and about 100 Hz. In some embodiments, said move              which is an example EEG waveform for a subject who does
ment comprises at least one of rotational motion, linear not have Major Depressive Disorder (with a measure of
motion, and Swing motion. In some embodiments, said move energy shown on the y-axis, and frequency in Hertz shown on
ment generates an alternating magnetic field.                     10
   In some embodiments, the system comprises logic that the              x-axis). While the plots in FIGS. 38a–38d are taken from
controls the frequency to be any frequency between about 0.5 forms alonehaving
                                                                     individuals         MDD and/or not having MDD, the wave
                                                                                   are not necessarily indicative or dispositive of
HZ and about 100 Hz in increments of about 0.1 Hz.
   In some embodiments, the system comprises logic that having MDD, although they may be. Each individual should
automatically changes the frequency in response to EEG 15 be diagnosed according to diagnostic norms, and not neces
readings of a Subject during treatment.                              sarily diagnosed based on the waveforms of their brain EEG
   In some embodiments, the system comprises logic that data. A subject who does not have MDD may have a EEG
calculates information from EEG data collected from the              waveform such as shown in FIG. 35a. Likewise, a subject
subject within a specified EEG band, wherein said informa who has MDD may have an EEG waveform such as shown in
tion comprises at least one of items listed below: (a) at least FIG. 35c, and treating such a subject with a device and or by
one intrinsic frequency; (b) Q-factor of the at least one intrin a method provided herein may still provide the improvement
sic frequency; (c) a coherence value of intrinsic frequencies; in their depression noted herein by shifting their intrinsic
(d) an EEG phase; and (e) any combination thereof.                   frequency, changing their Q-factor, and/or changing their
   In some embodiments, the system comprises: (a) a first coherence, etc. Each Subject should be treated as an indi
electrode operable to detect electrical brain activity; and (b) a 25 vidual, and changes to their EEG waveforms are relative to
second electrode operable to detect a reference signal; their own starting EEG waveforms. Nevertheless, generally
wherein the first electrode is located on the subject in at least speaking, a population of Subjects having MDD might have
one of an area of low electrical resistivity on a subject, and an waveforms more rhythmic than that of a population of sub
area with Substantially no electrical impulse interference on a jects not having MDD.
subject, and wherein the second electrode is located on the 30 This focusing of the energy in the band can be quantified by
Subject.                                                             the Q-factor of the Fourier transform. Q-factor represents the
   Parallel to the rCBF studies, EEG studies have shown that         ratio of the total energy of a system stored divided by the
MDD subjects have higher alpha band activities. The alpha energy lost in a single oscillation of the system. It can be
band is a dominant EEG component with frequency ranged characterized by the equation for Q depicted in FIG. 12,
between 8 Hz and 13 Hz. A negative correlation has been 35 where fo is the alpha frequency and Afis the bandwidth, the
shown between alpha power and therCBF in the cortex where width of the range of frequencies for which the system energy
the alpha was measured. This suggests that a high alpha is at least half its peak value. FIG. 12 also shows a pictorial
power is indicative of low rCBF, and therefore a low metabo example of the elements of Q-factor. In the plot shown in FIG.
lism (and energy), in the region of cortex where the EEG was         12, fo is the alpha frequency and Afis the bandwidth at half
recorded. A number of studies have shown this excessive 40 energy Emax.
EEG alpha power, which may be a result of neural activity          Q-factor gives a representation of the resonance of an oscil
being overly synchronous. By applying a low magnitude latory system. If the system has a high Q, then it has high
alternating magnetic field, activity becomes less synchronous resonance, and tends to oscillate with very little loss in
and EEG alpha power decreases. These changes correlate energy. A physical example for this type of system would be
with improvement in clinical symptoms.                        45 a pendulum, which can oscillate for a long time with no
   To understand alpha power and its relation to system external energy input. A system with a low Q, however, has
energy, the frequency spectrum of the EEG was examined. much less resonance, and may be considered to be damped.
FIGS. 38a–38d show the Fourier transform of two subjects,          The Q-factor of the EEG waveform can be represented by
both with significantly different activity in the alpha band. fitting a Gaussian-shaped curve to the frequency plot, as
Subjects were recorded during a resting period with eyes 50 shown in FIG. 36a, and FIG. 36b (having a measure of energy
closed, which is a time when the alpha activity is most evi shown on the y-axes of these plots, and frequency in Hertz
dent. However, alpha power is still present in the brain even shown on the x-axis of these plots). In this, Afis defined as the
when the eyes are open and the alpha wave is not seen on the bandwidth at 0.7071 of the maximum amplitude, because the
conventional EEG. The plot of FIG.35a shows an EEG that is energy of a system is proportional to the square of the Fourier
significantly more synchronous than the plot of FIG.35c. The 55 transform. The high-Q EEG has significantly more reso
Fourier transform (FIG.35b) of the EEG of FIG.35a shows nance, and therefore less energy consumption, than the low-Q
an alpha frequency band that is more focused around the EEG. It can be stated, therefore, that the region of cortex
alpha frequency than the Fourier transform (FIG. 35d) of the underneath the electrode requires less energy, and therefore
EEG data of FIG.35c).                                            has a lower metabolism, for the high-Q patient than the low-Q
   FIG. 35a-35d show EEG waveforms (CZ location) and 60 patient.
frequency plots of two patients, which show a different focus      FIG. 36a, and FIG. 36b depict the frequency plots from
of activity around the alpha frequency. FIG. 35a shows an FIG. 35b, and FIG. 35d, respectively, with a fitted Gaussian
example EEG waveform for a subject having Major Depres waveforms shown. FIG. 36 a shows the fitted Gaussian curve
sive Disorder (with time in seconds on the X-axis, and ampli of the Fast Fourier Transformation curve having an intrinsic
tude in mV on the y-axis). FIG. 35b shows the Fast Fourier 65 frequency of 8.56 Hz, and having a deltaf (Af) of 0.51 Hz. The
Transformation of EEG data of FIG.35a which is an example Q-factor of the fitted Gaussian curve peak is in FIG. 36a is
EEG waveform for a subject having Major Depressive Dis           16.78.
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  FIG. 36b shows the Fast Fourier Transformation curve of            patient's Q-factor. The decrease in Q-factor causes the cortex
EEG data of an example EEG waveform for a subject who                to be higher energy, which causes a decrease in the symptoms
does not have Major Depressive Disorder, also depicted in            of MDD.
FIG. 35d, and shows the fitted Gaussian curve of the Fast               In some embodiments, treatment of MDD with devices and
Fourier Transformation curve having an intrinsic frequency methods provided herein are designed to create low energy
of 9.27 Hz, and having a deltaf (Af) of 1.06 Hz. The Q-factor band.  alternating magnetic fields at a specific frequency in the alpha
of the fitted Gaussian curve peak is in FIG. 36a is 7.74.
   The power of the alpha band relative to other bands is               In some embodiments, the pre-selected EEG phase is lower
generally higher for patients with MDD. Since the overall 10 than           the EEG phase between the two sites in the brain of the
                                                                     subject. In some embodiments, the pre-selected EEG phase is
metabolism of the brain is generally constant, the increase in any
alpha power will result in a higher alpha Q-factor, which sitesEEG                phase lower than the EEG phase between the two
                                                                            in the brain of the subject. In some embodiments, the
indicates a lower metabolism, and energy, of the cortex. pre-selected                 EEG phase is higher than the EEG phase
Patients with MDD usually have lower metabolism in the between the two sites in the brain of the subject. In some
cortex, especially in the frontal regions, therefore the Q-factor 15 embodiments, the pre-selected EEG phase is any EEG phase
of alpha EEG in those regions will be high, indicative of a higher than the EEG phase between the two sites in the brain
low-energy system. FIG. 37 shows a general relationship of the subject. In some embodiments, the pre-selected EEG
between the measures of neural activity in the cortex (frontal phase is an EEG phase of a population of people. The popu
cortex) and a possible indication for Major Depressive Dis lation of people may be a set of people having a particular
order (MDD).                                                         trait, characteristic, ability, or feature. The population may be
   Lowering the Q-factor of patients with MDD may improve a healthy population of people. The population of people may
MDD symptoms in some patients. The methods and devices be a set of people not having a particular disorder, such as
provided herein can lower the Q-factor of a subject.                 anxiety, depression, or other disorders mentioned herein. In
   The brain is a non-linear resonant system. To increase the Some embodiments, the methods comprise measuring EEG
resonance, and thereby the Q-factor of the system, an alter 25 data of two sites in the brain of the Subject, and calculating the
nating magnetic field may be applied that matches the alpha EEG phase between the two sites in the brain of a subject. The
frequency. To decrease the resonance and lower the Q-factor,         specified EEG frequency may be an intrinsic frequency as
an alternating magnetic field is applied that is slightly off the    described     herein. The specified EEG frequency may be a
alpha frequency. Since the brain is a resonant system, the 30 pre-selected
                                                                     frequency
                                                                                     frequency as described herein. The pre-selected
                                                                                   may  be an average intrinsic frequency of a healthy
magnetic field does not need to be large. It is not necessary, in population database         within a specified EEG band.
some embodiments, to actively cause current to flow in the              In   another   aspect  are methods for influencing an EEG
brain.
   The low energy sinusoidal alternating magnetic field cre tions of a brain of a Subject,frequency
                                                                     phase    of a specified  EEG               between multiple loca
                                                                                                      comprising: (a) determining the
ates a low Voltage alternating electric field in the tissue, but 35 EEG phase the between at least two locations measured on the
any current created directly is negligible. The methods and head of the subject; (b) comparing the EEG phase from step
devices provided herein, in some embodiments, “encourage' (a) to an average EEG phase of a healthy population; and (c)
firing at the magnetic field frequency by causing the baseline applying a magnetic field close to a head of the Subject
potential across the neuron to vary slightly in time with the wherein applying the magnetic field influences the deter
electric field. The variation of the potential can be subthresh 40 mined EEG phase toward the average EEG phase of a healthy
old, which will not induce any neuronal firing. In some population.
embodiments, if the magnetic field frequency matches the                In another aspect are methods for using a Transcranial
alpha frequency of a region of cortex, the Q-factor of that Magnetic Stimulation (TMS) device for influencing an EEG
region will increase. If it does not match, in Some embodi phase of a Subject of a specified EEG frequency, comprising:
ments, the Q-factor will decrease.                                45 (a) adjusting output of said TMS device; (b) changing the
   Alpha frequency in the brain is not constant, however, and EEG phase by repetitive firing of at least one magnetic field
can change from one moment to the next, and can vary spa using said TMS device; and (c) applying said magnetic field
tially throughout the brain. Therefore, applying an alternating close to a head of the subject.
magnetic field at a single frequency will increase resonant             FIG. 1 shows an exemplary device having a magnet 2
behavior at Some times and locations, and decrease it at oth 50 coupled to and rotated by a motor 72 in which the magnet 2
ers. As noted in examples described herein, single alternating rotates so that the plane of rotation is generally perpendicular
magnetic field at a single calculated average frequency may to the surface of the scalp of the subject 6, and the rotation axis
reduce the overall Q-factor of the cortex if the Q-factor was 36 is generally parallel to at least a portion of the surface of the
high before treatment began, and may increase the Q-factor if scalp of the subject 6. The motor 72 is coupled to the magnet
the Q-factor was low before treatment began.                      55 2 by a drive shaft 4, and the magnet rotation is controlled by
   If the brain was a linear resonator, one would be unable to       a controller 58 (i.e. controller subunit) that can at least moni
change the Q-factor simply by applying an external magnetic tor and/or control the rotation of the magnet 2. Control of the
field. Once the magnetic field was turned off, it might be rotation may include, for non-limiting example, the speed of
expected that the brain to return to its original state. Instead, rotation, and the acceleration and/or deceleration of rotation,
however, as shown in examples mentioned herein using the 60 the time of rotation, and the direction of rotation (e.g. clock
methods and devices provided herein, the brain adjusts its wise, counter-clockwise).
Q-factor a small amount due to the applied magnetic field,              FIG. 2 shows an exemplary device in which a magnet 2 in
and that adjustment is additive as therapy progresses.               the shape of a horseshoe is coupled to and rotated by a motor
   Application of a low energy alternating magnetic field near 72, and the magnet 2 is positioned Such that the plane of
the head of a patient suffering from MDD (i.e., the patient has 65 rotation is generally parallel to at least a portion of the Surface
a high Q-factor) with the magnetic field frequency equal to of the scalp of the subject 6, and the rotation axis 36 is
the average alpha frequency should result in a decrease in the generally perpendicular to at least a portion of the Surface of
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the scalp of the subject 6. The motor 72 is coupled to the          herein can be used to treat at least six mental disorders listed
magnet 2 by a drive shaft 4, and the magnet rotation is con          above. In some embodiments, methods and devices described
trolled by a controller 58 (i.e. controller subunit) that can at  herein are not used to treat Schizophrenia.
least monitor and/or control the rotation of the magnet 2.           In another aspect are methods of treating anxiety in a
Control of the rotation may include, for non-limiting             Subject, comprising tuning up the Q-factor of an intrinsic
example, the speed of rotation, and the acceleration and/or       frequency of the Subject by applying a magnetic field close to
deceleration of rotation, the time of rotation, and the direction ahead of the Subject, wherein the magnetic field comprises at
of rotation (e.g. clockwise, counter-clockwise).                  least one of (a) a single pre-selected frequency; (b) a plurality
   FIG.3 shows an exemplary device which two bar magnets offrequencies within a specified EEG band; and (c) an intrin
2a, 2b are coupled to and rotated by motors 72a, 72b, and the 10 sic frequency of a brain of the subject within a specified EEG
magnets 2a, 2b are rotated synchronously to provide a more band. In some embodiments, any of the devices described
uniform phase for the magnetic field in the brain of a subject herein may be used to treat anxiety.
6. The motors 72a, 72b are coupled to the magnets 2a, 2b,            In some embodiments, are method of treating depression in
respectively, by a drive shafts 4a, 4b, and the rotation of the a subject, comprising tuning down the Q-factor of an intrinsic
magnets 2a and 2b about rotation axes 36a,36b, respectively, 15 frequency of the Subject by applying a magnetic field close to
is controlled by a controller 58 (i.e. controller subunit) that ahead of the Subject, wherein the magnetic field comprises at
can at least monitor and/or control the rotation of the magnet least one of (a) a single frequency; (b) a plurality of frequen
2a, 2b. Control of the rotation of the magnets may include, for cies within a specified EEG band; and (c) an intrinsic fre
non-limiting example, the speed of rotation, and the accelera quency of a brain of the subject within a specified EEG band.
tion and/or deceleration of rotation, the time of rotation, and   In some embodiments, any of the devices described herein
the direction of rotation (e.g. clockwise, counter-clockwise). may be used to treat depression.
The rotation of a single magnet (magnet 2a, for example),            In some embodiments, methods and/or devices as
may be controlled independently from and/or simultaneously described herein can be used to treat symptoms of fibromy
with the rotation of a second magnet (magnet 2b, for algia. In some embodiments, methods and/or devices as
example) by the controller 58. Additional magnets may be 25 described herein can be used to improve symptoms of fibro
similarly added to the device. In another embodiment, a myalgia. For non-limiting example, some symptoms that may
single motor is coupled to a plurality of magnets, and each of be improved include widespread pain, tenderness to touch,
the magnets may be controlled by the controller, indepen nausea dizziness, temporomandibular joint dysfunction, skin
dently or simultaneously.                                         problems, depression, myofascial pain, morning stiffness,
   In some embodiments, the magnetic field used by the meth 30 sleep issues, headaches, chemical sensitivity, dysmenorrhea,
ods or devices are not capable of exciting brain cells. In some muscle twitches and weakness, fatigue, urinary and pelvic
embodiments, the magnetic field used by the methods or problems, fibro-fog cognitive and/or memory impairment,
devices are below thresholds of exciting brain cells. In some anxiety, memory loss, breathing problems, and vision prob
embodiments, the devices described can have one or more              lems.
permanent magnets mounted onto one or more rotating shafts 35 In some embodiments, methods and/or devices as
in Such a way that it creates an alternating magnetic field described herein can be used to halt the onset of a seizure. In
when the shaft or shafts are spun. In some embodiments, the Some embodiments, methods and/or devices as described
speed of rotation can be set by the user or controlled using herein can be used to prevent the onset of a seizure. In some
neurological feedback to provide optimal therapy.                    embodiments, methods and/or devices as described herein
   Methods and devices described herein can be used to treat 40 can be used to reduce or eliminate seizures by detuning the
at least one mental disorder listed below:                           brain near the frequency of the seizures. In some embodi
   (a) Major depression;                                             ments, methods and/or devices as described herein can be
   (b) Bipolar disorder;                                             used to reduce or eliminate seizures by tuning up an area of
   (c) Schizophrenia;                                                the brain (i.e., an intrinsic frequency in aband, such as alpha)
   (d) Anxiety disorder;                                          45 different than the seizure area of the brain, thereby reducing
   (e) Obsessive-Compulsive disorder;                                the energy in the frequency associated with the seizure. The
   (f) ADHD;                                                         seizure may be caused by various conditions, diseases, inju
   (g) Autism;                                                       ries, and/or other factors. For non-limiting example, the con
   (h) Sleep disorder:                                               ditions may include abnormalities in the blood vessels of the
   (i) Parkinson's disease;                                       50 brain, atherosclerosis, or hardening of the arteries Supplying
   (k) Drug addiction;                                               the brain, bleeding into the brain, such as a Subarachnoid
   (1) Substance abuse:                                              hemorrhage, brain tumors, chromosomal abnormalities, con
   (m) Seizure;                                                      genital diseases or conditions, high blood pressure, preg
   (n) Head Injury:                                                  nancy and problems associated with pregnancy, stroke, tran
   (o) Alzheimer's disease;                                       55 sient ischemic attack (mini-stroke). For non-limiting
   (p) Eating disorder,                                              example, the diseases may include liver disease, Alzheimer's
   (q) Tinnitus; and                                                 disease, dementia diseases, epilepsy, nervous system dis
   (r) Fibromyalgia.                                                 eases, hereditary diseases, infections involving the brain,
   In some embodiments, methods and devices described                encephalitis, brain abscess, bacterial meningitis, kidney fail
herein can be used to treat at least two mental disorders listed 60 ure, and chronic renal failure. For non-limiting example, the
above. In some embodiments, methods and devices described            injuries may include choking, head injuries, electrical inju
hereincan be used to treat at least three mental disorders listed    ries, birth injuries, poisonous bites or stings.
above. In some embodiments, methods and devices described              Methods and devices described herein can be used to
hereincan be used to treat at least four mental disorders listed  improve at least one indication selected from the group con
above. In some embodiments, methods and devices described 65 sisting of replacement for meditation, quick nap, stress
herein can be used to treat at least five mental disorders listed release, attention span, comprehension, memory, lowered
above. In some embodiments, methods and devices described         blood pressure, increased libido, sports performance, aca
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demic performance, and any combination thereof. In some          ments, methods and devices described herein can be used to
embodiments, methods and devices described herein can be         improve at least two characteristics from the group presented
used to improve at least two indications from the group pre      above, and at least two mental disorders listed above. In some
sented above. In some embodiments, methods and devices           embodiments, methods and devices described herein can be
described herein can be used to improve at least three indica    used to improve at least one characteristic from the group
tions from the group presented above. In some embodiments,       presented above, and at least three mental disorders listed
methods and devices described herein can be used to improve      above. In some embodiments, methods and devices described
at least four indications from the group presented above. In     hereincan be used to improve at least two characteristics from
some embodiments, methods and devices described herein           the group presented above, and at least three mental disorders
can be used to improve at least five indications from the group 10 listed above. In some embodiments, methods and devices
presented above. In some embodiments, methods and devices described herein can be used to improve at least three char
described herein can be used to improve at least six indica acteristics from the group presented above, and at least three
tions from the group presented above.                              mental disorders listed above. In some embodiments, meth
   In some embodiments, methods and devices described              ods and devices described herein can be used to improve at
herein can be used to improve at least one indication from the 15 least three characteristics from the group presented above,
group presented above, and at least one mental disorder listed and at least two one mental disorders listed above.
above. In some embodiments, methods and devices described           In some embodiments, methods and devices described
herein can be used to improve at least one indication from the   herein can be used to improve at least one characteristic from
group presented above, and at least two mental disorders         the group presented above, and at least one indication pre
listed above. In some embodiments, methods and devices            sented above. In some embodiments, methods and devices
described herein can be used to improve at least two indica     described herein can be used to improve at least one charac
tions from the group presented above, and at least one mental   teristic from the group presented above, and at least two
disorder listed above. In some embodiments, methods and         indications presented above. In some embodiments, methods
devices described herein can be used to improve at least two and devices described herein can be used to improve at least
indications from the group presented above, and at least two 25 two characteristics from the group presented above, and at
mental disorders listed above. In some embodiments, meth        least one indication presented above. In some embodiments,
ods and devices described herein can be used to improve at methods and devices described herein can be used to improve
least one indication from the group presented above, and at at least two characteristics from the group presented above,
least three mental disorders listed above. In some embodi       and at least two indications presented above. In some embodi
ments, methods and devices described herein can be used to 30 ments, methods and devices described herein can be used to
improve at least two indications from the group presented        improve at least one characteristic from the group presented
above, and at least three mental disorders listed above. In      above, and at least three indications presented above. In some
some embodiments, methods and devices described herein           embodiments, methods and devices described herein can be
can be used to improve at least three indications from the used to improve at least two characteristics from the group
group presented above, and at least three mental disorders 35 presented above, and at least three indications presented
listed above. In some embodiments, methods and devices           above. In some embodiments, methods and devices described
described herein can be used to improve at least three indica  herein can be used to improve at least three characteristics
tions from the group presented above, and at least two one     from the group presented above, and at least three indications
mental disorders listed above.                                 presented above. In some embodiments, methods and devices
   Methods and devices described herein can be used to 40 described herein can be used to improve at least three char
improve at least one characteristic selected from the group acteristics from the group presented above, and at least two
consisting of peripheral visual response, attention span, one indications presented above.
immediate reaction time (IRT), movement time (MT), simple         Methods and devices described herein can be used to pro
perceptual reaction time (SPR), conflict perceptual reaction vide an improvement to a mental disorder as measured using
time (CPR), and any combination thereof. In some embodi 45 a rating scale selected from the group consisting of HAMA,
ments, methods and devices described herein can be used to     HAMD, PANSS, MADRS, BARS, SAS, and any combina
improve at least two indications from the group presented tion thereof. In some embodiments of at least one aspect
above. In some embodiments, methods and devices described      described above, the method provides an improvement as
herein can be used to improve at least three indications from measured using the Unified Parkinson's Rating Scale. In
the group presented above. In some embodiments, methods 50 Some embodiments of at least one aspect described above, the
and devices described herein can be used to improve at least method provides an improvement as measured using a modi
four indications from the group presented above. In some fied Unified Parkinson's Rating Scale. The modified Unified
embodiments, methods and devices described herein can be       Parkinson's Rating Scale may include, for non-limiting
used to improve at least five indications from the group pre example, measuring muscle tone and knee/arm flexibility.
sented above. In some embodiments, methods and devices 55 In some embodiments, the pMERT (permanent Magneto
described herein can be used to improve at least six indica EEG Resonant Therapy) device (i.e. the NEST device) com
tions from the group presented above.                          prises one or more powerful magnets (>5000 G each) that
   In some embodiments, methods and devices described          rotate at a specific frequency or frequencies to bring about the
herein can be used to improve at least one characteristic from desired therapy. A single, dual, or multi-channel EEG is
the group presented above, and at least one mental disorder 60 incorporated in the device to acquire a sample EEG segment
listed above. In some embodiments, methods and devices         and determine the alpha frequency distribution. From this
described herein can be used to improve at least one charac information, the device controls the frequency of rotation of
teristic from the group presented above, and at least two the magnet or magnets to deliver therapy.
mental disorders listed above. In some embodiments, meth          FIG. 4 shows an exemplary device in which the magnet 2
ods and devices described herein can be used to improve at 65 rotates so that the plane of rotation is generally perpendicular
least two characteristics from the group presented above, and to the surface of the scalp of a subject 6 and a bio-feedback
at least one mental disorder listed above. In some embodi      sensor and/or EEG electrode 82a is used to control the speed
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of rotation about the rotation axis 36. The rotation of the          FIG. 5 shows a sample EEG segment for a subject before
magnet 2 is driven by a motor 72 which is coupled to a drive therapy is delivered. The block on the left shows a time series
shaft 4, and the drive shaft 4 is coupled to the magnet 2. In EEG while the subject is sitting at rest with eyes closed. The
some embodiments at least two EEG electrodes, 82a, 82b are        block in the center shows the energy across the frequency
used to control the speed of rotation, wherein at least one EEG   spectrum for the sampled EEG. The vertical line drawn
electrode, for example EEG electrode 82b, is used as a refer through the peaks is at 9.1 Hz, the subjects intrinsic alpha
ence electrode (and/or a ground electrode). The electrodes, frequency.        The circle at the right shows the distribution of
82a, 82b may be connected to an amplifier 80 which can EEG energy at the intrinsic alpha frequency throughout the
amplify the signal received from the electrodes, 82a, 82b. The 10 head,
                                                                  circle
                                                                         looking down on the top of the subjects head. In the
                                                                         representation, the majority of the EEG energy at the
magnet rotation may be controlled and/or monitored by a alpha frequency             is concentrated at the back of the brain.
controller subunit (controller), 58, which may also receive,         FIG. 6 is similar to FIG. 5, except the EEG was sampled
record, and/or display the signal or signals received from the immediately      following therapy. In this, it can be seen that the
EEG electrodes 82a, 82b. In some embodiments, the reading energy associated with the intrinsic alpha frequency has
from a reference EEG electrode, for example EEG electrode 15 increased significantly. From the circle representation on the
82b, is subtracted and/or otherwise removed from the reading right, it can be seen that the distribution of energy at the
from the second EEG electrode, for example EEG electrode intrinsic alpha frequency throughout the head is more uni
82a. In some embodiments, the bio-feedback sensor/EEG             form, though the majority of energy is still concentrated at the
electrode is used, at least in part, to determine the Subsequent back of the brain.
treatment regimen for the Subject.                                The pMERT Device (NEST Device)
   In some embodiments, the EEG electrodes are used to               Devices described may contain a plurality of magnets, and
measure the brain waves of the subject at various times, for a plurality of magnets may be used to form an array to pro
non-limiting example, prior to applying a method of treat duce a desired magnetic field. Such magnetic field can be a
ment as provided herein using a device described herein, pulsing or temporally variable unipolar magnetic field where
during application of a method of treatment as provided 25 treatments are performed with a magnetic field having a spe
herein using a device described herein, and/or after applying cific pole.
a method of treatment as provided herein using a device              In some embodiments of a device or devices as described
described herein. In some embodiments, the EEG electrodes         herein, the device is operable to influence an intrinsic fre
are used to measure the brain waves of the subject at various quency of the brain of a subject within a specified EEG band.
times, for non-limiting example, prior to using a device 30 A device as described herein may be operable to influence a
described herein, during use of a device described herein, Q-factor of an intrinsic frequency of the brain of a subject
and/or after using a device described herein. In some embodi within a specified EEG band. A device as described herein
ments, the EEG electrodes are used to measure the brain           may be operable to influence a coherence of intrinsic frequen
waves of the subject continuously for a specified period of cies among multiple sites in the brain of a subject within a
time. In some embodiments the specified period of time is for 35 specified EEG band. A device as described herein may be
non-limiting example, at least about one hour, at least about operable to influence a EEG phase of intrinsic frequencies
45 minutes, at least about 40 minutes, at least about 30 min      among multiple sites in the brain of a Subject within a speci
utes, at least about 20 minutes, at least about 15 minutes, at   fied EEG band.
least about 10 minutes, at least about 5 minutes, at least about    In some embodiments, a method of treating a subject com
1 minute, at least 30 seconds, at least about 10 seconds, at 40 prises: (a) adjusting output of a magnetic field for influencing
least about 5 seconds, and at least about 1 second. The term     a Q-factor, a measure of frequency selectivity of a specified
“about when referring to the specified period of time of use      EEG band, of the subject toward a pre-selected or target
of the EEG electrodes to measure brain waves can mean             Q-factor of the band; and (c) applying said magnetic field
variation of, for example, 1 minute to 5 minutes, 30 seconds close to a head of the subject.
to 1 minute, 15 seconds to 30 seconds, 5 seconds to 15 45 In some embodiments, devices described can comprise a
seconds, 1 second to 10 seconds, 1 second to 5 seconds, 0.5       Substantially planar member upon which are affixed a plural
seconds to 1 second, and 0.1 seconds to 0.5 second.               ity of magnets. Thus, the magnets may be oriented so as to
   In some embodiments, the intrinsic frequency of the Sub permit application of a magnetic field having a substantially
ject is an alpha frequency of a brain of the Subject. In some uniform polarity to a user. In some embodiments, the magnets
embodiments, alpha EEGofa brain of a subject can be critical 50 may also be positioned on the array so that adjacent magnets
in normal cognitive processes and the desynchronization of have opposite polarities.
alpha activity can play apathophysiological role in the mental       In some embodiments, the devices described may be con
disorders listed above. In some embodiments, the therapy figured so as to restrict, in one or more directions, the move
using methods or systems described lasts for about 20 min ment of the magnet within the devices, thereby enabling
utes, is very gentle, and unnoticeable to the Subject. In some 55 selection of the polarity of the magnetic field to which the user
embodiments, the quantifiable change in alpha frequency can is Subjected. For example, magnets may be placed within the
be seen clearly following the therapy session, and the patient devices described so that one face of the magnet is always
may have an immediate reduction in Symptoms. The therapy pointing toward a head of a Subject. Accordingly, the Subject
using methods or systems described can be mild enough to be is subjected to a dynamic magnetic field having a specific
used every day or as needed. The therapy using methods or 60 polarity.
systems described does not have to involve any medication            In some embodiments, the devices described comprise at
whatsoever.                                                       least one rotating mechanism. In some embodiments,
   “Patient' and “subject” are synonyms, and are used inter mechanical subunits including cams, gears and/or linkages
changeably. As used herein, they mean any animal (e.g. a may be utilized to move at least one magnet. These mechani
mammal) on which the inventions described herein may be 65 cal Subunits may be powered through motorized means or
practiced. Neither the term “subject nor the term “patient' is may be connected to other devices moving in the Surrounding
limited to an animal under the care of a physician.               environment which will cause the mechanical device to move
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the magnet. An external exciter magnet may be positioned                  field frequencies of the two (or more) magnets are the
near the devices described, where the external exciter magnet             same (or Substantially the same).
generating a Sufficiently strong magnetic field to cause move          As to the amplitude of the net change in magnetic flux, it is
ment of at least one magnet contained within the devices            generally known that permanent magnets have a north pole
described.                                                          and Southpole, with north pole magnetic flux emanating from
   In some embodiments, magnets of the devices described            the  north pole, and South pole magnetic flux emanating from
can be rotated by a rotating mechanism other than a motor. In the South pole. In some embodiments, the application area is
Some embodiments, the devices comprise at least one orifice methods subject to a “full waveform” according to the devices and
                                                                               described. For example, when a permanent magnet
so that a stream of fluid Such as a gas or liquid may be forced 10 rotates relative   to an application area, the application area
into the devices, wherein the stream of fluid being sufficiently may initially be subjected
strong so as to move at least one magnet, thus creating relative north pole of the magnet istoclosest
                                                                                                  a “full north pole field' where the
movement between the at least one magnet and a head of a the north pole rotates away from theto application the application area. As
                                                                                                                         area and the
Subject.
   While permanent magnets of any strength may be utilized 15 the north pole field decreases until a “neutral field'strength
                                                                    South  pole  rotates toward the application  area, the         of
                                                                                                                           is encoun
for the methods and devices described herein, generally mag tered, approximately at the midpoint of the magnet. As the
nets having strengths within the range of about 10 Gauss to South pole continues to rotate toward the application area, the
about 4 Tesla can be used. In some embodiments, the strength application area is Subjected to a South pole field of increasing
of at least one permanent magnet is from about 100 Gauss to intensity until the South pole is closest to the application area
about 2 Tesla. In some embodiments, the strength of at least where the application area is subjected to a “full south pole
one permanent magnet is from about 300 Gauss to about 1             field. By rotating in this fashion, the object is subjected to a
Tesla.                                                              “full waveform.” Likewise, the application area is also subject
   In some embodiments, the permanent magnets for the to a “full waveform when the magnet rotates from the south
methods and devices described comprise rare earth magnets pole to the north pole. As used herein, a South pole may also
Such as neodymium, iron, boron or Samarium cobalt magnets. 25 be referred to as “negative. (-), or S, and a north pole may
In some embodiments, the permanent magnets for the meth also be referred to as “positive. (+), or N.
ods and devices described are neodymium iron boron mag                 For example, FIG. 10A through FIG. 10G show some
nets. In some embodiments, ceramic magnets, electromag exemplary embodiments for various movements of at least
nets or other more powerful magnets may be utilized as they one permanent magnet. FIG. 10A shows a graph of the mag
become available. In some embodiments, electromagnets 30 netic field over time. That is, it shows a graph92a expressing
may be utilized for the methods and devices described. Cur an example magnetic field experienced by a Subject 6a as a
rent can be supplied to the electromagnet by wires penetrating magnet 2a rotation about an axis between the north pole (+)
through the devices described and connecting to an external and South pole (-) of the magnet 2a. The position of the
power source.                                                       magnet relative to the Subject 6a and the field strength (+ or -,
   Described are magnetic therapeutic devices and methods 35 amplitude can vary, depending on for example, the applica
for magnetic therapies where a brain of a Subject is Subject to tion, method, magnet and therapy being delivered) is shown
at least one dynamic magnetic field having an amplitude of at in FIG. 10A. For example at Time-0, the subject 6a may
least a half waveform. In certain embodiments, the treatment        experience no magnetic field (i.e. a neutral field) when the
area is exposed to a half waveform of magnetic flux. In other magnet’s north pole is equally as far from the Subject 6a as the
embodiments, the treatment area is exposed to a full wave 40 magnet’s South pole (assuming the north pole and South pole
form of magnetic flux. Still other embodiments may permit have equal strengths yet opposite polarities). As the magnet
treatment area to be exposed to either a half or full waveform. 2a spins such that the South pole of the magnet 2a is closest to
To subject the treatment area to Such a dynamic magnetic the Subject 6a, the Subject 6a experiences a negative magnetic
field, the magnetic source may be rotated, oscillated, moved field, as shown in FIG. 10a, and as the magnet 2a spins
through a particular pattern, or otherwise moved relative to a 45 further, the Subject 6a is exposed to a changing magnetic field
head of a subject. The application area of the subject can be from, for example, a neutral field, to a negative field, to a
positioned relative to the magnetic source so that the mag neutral field, to a positive field, and so on. As further shown in
netic field extends around and/or through the application area.     FIG. 10A, an array of magnets (i.e. a plurality) may be used
In certain embodiments, the devices described comprise at alternatively to a single magnet to provide a more uniform
least one magnet having a north and South magnetic pole and 50 field to the subject’s brain. FIG. 10A shows a subject 6a1
a pole width equal to the width of the magnet at the poles.         exposed to an array of nine rotating magnets, as well as a
   Three parameters of magnetic fields generated by the Subject 6a2 exposed to an array of five rotating magnets. In
devices described can be manipulated:                               Some embodiments, any number of rotating magnets may be
   (a) the intensity of the magnetic field at the treatment site, used to provide a more uniform field to the subject's brain.
      which can be determined by the strength of the magnets 55 Various exemplary wave forms resulting from embodi
      used and the distance between the magnets and the Sub ments of the devices and methods provided herein are shown
      jects head;                                                   in FIGS. 10B through FIG. 10G. For example, FIG. 10B
   (b) the frequency of the magnetic field, i.e., the rate of shows a full waveform in the form of a step function where a
      change of the magnetic field, which can be determined magnetic field cycles through a sequence wherein the mag
      by movements of at least one magnet, Such as by varying 60 netic field is positive (+) then neutral, then negative (-), then
      the speed at which at least one magnet moved relative to neutral, and repeats. FIG. 10C shows a half waveform in the
      the application area;                                         form of a step function where a magnetic field cycles through
   (c) the amplitude of the net change in magnetic flux (or a sequence wherein the magnetic field is positive (+) then
      waveform) to which the application area is Subjected, neutral, and repeating this sequence. FIG. 10D shows an
      and                                                        65 alternative a half waveform in the form of a step function
   (d) the phase of the magnetic field between two (or more) where a magnetic field cycles through a sequence wherein the
      magnets (i.e. the magnetic phase) when the magnetic magnetic field is positive (+) then off (or neutral), remaining
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off (neutral) for a longer period of time than remaining posi       be positioned, for example, such that the rotation axis 138 is
tive (+), and repeating this sequence. FIG. 10E, 10F and 10G.       generally perpendicular with the scalp of the Subject, or
each show example full wave forms resulting from embodi             wherein the rotation axis 138 is generally parallel to the scalp
ments of a NEST device having at least one magnet wherein           of the subject, depending on the desired waveform and/or
the magnets, or magnets’ north pole and South pole alterna          magnetic flux for the particular subject. FIG. 11B is similar to
tively change distances from the Subject in a regular pattern.      FIG. 11A but with the magnets 102b1,102b2 having opposite
By shielding a pole of the magnets of the array, half wave          polarity to the magnets 102a1, 102a2 of FIG. 11A.
forms may be created using the same array of magnets, for              FIG. 11C depicts another embodiment device having a
example shielding as shown in FIG. 11C and/or FIG. 11D,             single magnet 102c having a shield 194 covering the north
discussed further below.                                         10
   In some embodiments, the application area is Subject to a rotation the
                                                                    pole of
                                                                             axis
                                                                                  magnet 102c. The magnet 102c spins about a
                                                                                   138 along the neutral plane of the magnet (i.e.
“half waveform” according to the devices and methods between the north                  and south poles of the magnet 102c). In the
described. For example, an object may be subjected to a “half
waveform where the magnet rotates relative to the applica           embodiment     of FIG. 11C, the subject (not shown) could be
                                                                    positioned,  for  example,
tion area from a full north pole field to a neutral field or from generally perpendicular with
                                                                 15                             such that the rotation axis 138 is
full south pole field to a neutral filed. In some embodiments,                                        the scalp of the Subject, or
the “half waveform’ treatment can be achieved by limiting           wherein  the rotation axis 138 is generally parallel to the scalp
rotation or movement of the magnets. In some embodiments, of the subject, depending on the desired waveform and/or
the “half waveform’ treatment can be achieved by shielding magnetic flux for the particular subject. FIG. 11D is similar to
the north pole or South pole of the magnet, leaving only the FIG. 11C but with the magnet 102d having opposite polarity
other pole exposed for the treatment of the application area.       to the magnet 102c of FIG. 11C. FIG. 11D shows single
   To Subject the treatment area to a dynamic magnetic field magnet 102d having a shield 194 covering the south pole of
by the methods and devices described herein, the magnetic the magnet 102d.
Source may be rotated, oscillated, moved through a particular          FIG. 11E shows another embodiment device having a
pattern, or otherwise moved relative to the treatment area. In 25 single magnet 102e that Swings with pendulum-like motion
Some embodiments, the magnetic source is rotated about an along a pendulum path 198, the pendulum path 198 at least in
axis. In some embodiments, the magnetic source is oscillated part defined by the distance between magnet 102e and the
with respect to the application area. In some embodiments, pendulum pivot 96. In the shown embodiment, the south pole
the magnetic source has a linear movement with respect to the (S) of the magnet 102e is farther from the pendulum pivot 96
application area. Such linear movement can be like a piston 30 than the north pole (N) of the magnet 102e. In the embodi
movement. In some embodiments, the magnetic source has a ment of FIG. 11E, the subject (not shown) could be posi
swing motion with respect to the application area. Such Swing tioned, for example, such that the pendulum path 198 is
motion can be like a Swinging pendulum movement. In some generally perpendicular with the scalp of the Subject, or
embodiments, the magnetic source has a combination of rota wherein the pendulum path 198 is generally parallel to the
tion, linear, oscillated, and Swing movements. In some 35 Scalp of the Subject, depending on the desired waveform
embodiments, the magnetic source has any combination of and/or magnetic flux for the particular subject. FIG. 11F has
rotation, linear, oscillated, and Swing movements. In some similar characteristics to FIG. 11E, but with the magnet 102f
embodiments, said movement comprises at least one of rota of FIG. 11F having opposite polarity to magnet 102e of FIG.
tional motion, linear motion, and Swing motion.                     11E.
   In some oscillatory embodiments, a plurality of magnets 40 FIG. 11G depicts another embodiment device having a
are fixedly mounted on a Supporting plate, the magnets being single magnet 102g that is configured to spin about a rotation
spaced apart from each other so that the each magnetis spaced axis 138 positioned in the north pole region of the magnet
apart from the next nearest magnets by at least one pole width.     102g (i.e. somewhere between the neutral plane of the magnet
Each magnet may be positioned so that the upwardly facing and the north pole (N) end of the magnet 102g). The rotation
pole of each magnet is the same. For example, in one con 45 axis 138 is generally parallel to the neutral plane (not shown)
figuration, the north pole face of each magnetis mounted to a of the magnet 102g. In the embodiment of FIG. 11G, the
Supporting plate. In an alternate configuration, the South pole Subject (not shown) could be positioned, for example, Such
face of each magnet is mounted to a Supporting plate. By that the rotation axis 138 is generally perpendicular with the
laterally displacing magnets so arranged proximate to an scalp of the subject, or wherein the rotation axis 138 is gen
application area, Such area is Subjected to a repeating half 50 erally parallel to the scalp of the Subject, depending on the
waveform (full north to Zero to full north). In another embodi desired waveform and/or magnetic flux for the particular
ment, by reversing the polarity of the magnets proximate to subject. FIG. 11H is similar to FIG. 11G but with the magnet
the application area, such area is subjected to a repeating half 102h having opposite polarity to the magnet 102g of FIG.
waveform (full south to Zero to full south).                        11G, and wherein the rotation axis 138 positioned in the south
   In some oscillatory embodiments, a plurality of elongated 55 pole region of the magnet 102h (i.e. somewhere between the
magnetic sources are placed adjacent to each other so that a neutral plane of the magnet and the south pole (S) end of the
repeating pattern of alternating magnetic poles are formed, magnet 102h).
the poles being spaced apart by a predetermined distance. The          FIG.11 I shows another embodiment device having a single
oscillation of the magnetic sources by a distance equal to or magnet 102i mounted a distance away from the rotation axis
greater than the predetermined distance Subjects an applica 60 138 of the device, and having the north pole (N) of the magnet
tion area to a complete reversal of magnetic flux, i.e., a full     102i closer to the rotation axis 138 than the south pole (S) of
waveform.                                                           the magnet 102i. In the embodiment of FIG. 11I, the subject
   FIGS. 11A through 11K show additional exemplary (not shown) could be positioned, for example, Such that the
embodiments for various movements of at least one perma rotation axis 138 is generally perpendicular with the scalp of
nent magnet. FIG. 11A shows two magnets 102a1, 102a2 65 the subject, or wherein the rotation axis 138 is generally
coupled to each other and spun about a rotation axis 138a. In parallel to the scalp of the Subject, depending on the desired
the embodiment of FIG. 11A, the subject (not shown) could waveform and/or magnetic flux for the particular Subject.
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FIG. 11J is similar to FIG. 11I but with the magnet 102k             about 2 Hz, and about 20 Hz. The subunit may enable move
having opposite polarity to the magnet 102i of FIG. 11I.             ment of the first and second magnet at the same frequencies.
   FIG. 11K depicts an alternate embodiment device having a             FIG. 28 shows an example embodiment of a NEST device
single arc-like magnet 1021 (which may be, for example, a            applied to a subject 2806, wherein the NEST device has three
horseshoe magnet), that is coupled to a drive shaft 104 aligned      diametrically magnetized cylindrical magnets 2802a, 2802b,
with the rotation axis 138. As the drive shaft 104 spins about       2802c, rotating about their cylinder axes having a magnetic
the rotation axis 138, the magnet 1021 likewise rotates about        phase between at least two of the magnets that is not Zero. As
the rotation axis 138. In the embodiment of FIG. 11K, the            shown in FIG. 27. a first permanent magnet 2802a of a device
                                                                     operable to influence an EEG phase may have a first rotational
Subject (not shown) could be positioned, for example, Such orientation relative to a treatment surface 2899 of the device
that the rotation axis 138 is generally perpendicular with the 10 and    the second permanent magnet 2802b may have a second
scalp of the subject, or wherein the rotation axis 138 is gen rotational
erally parallel to the scalp of the Subject, depending on the the device.orientation        relative to the treatment surface 2899 of
desired waveform and/or magnetic flux for the particular permanent magnet 2802amay
                                                                                 The    device        be operable to move the first
                                                                                                at the same frequency as the second
Subject.                                                         15 permanent magnet 2802b.
   The phrase “continuously applied' or “continuous appli              In some embodiments, a magnetic field results from a first
cation” refer to treatments where an application area is Sub magnetic source and a second magnetic source. FIG. 29
ject to at least one magnetic field with a full waveform or a shows the magnetic field strengths 2997a, 2997b of two mag
half waveform for a period of time typically longer than 2 nets moving at the same frequency at the same time 2992, but
minutes. Such phrases are distinguished from short pulse having a magnetic phase 2991 relative to one another (out of
application (typically microseconds) of a magnetic field.           phase relative to each other). The magnetic field strengths in
   In some embodiments, the devices described can be pow this graph are plotted with time on the X axis, and magnetic
ered with a rechargeable battery. One battery charge can be field strength on the y axis (with two X axis, to show the
enough for one or more therapy sessions. In some embodi relative field strengths of each magnet simultaneously). As
ments, a display can indicate battery life remaining and signal 25 depicted in FIG. 29, a first magnetic source and a second
when the device should be recharged.                                magnetic Source may be out of phase relative to each other in
   In some embodiments, the devices described use at least          order to influence the EEG phase of the subject. In some
one connection to a computer to allow for upload of therapy embodiments, the amount that the first magnetic source and
information, download of Software upgrades, and to order the second magnetic source are out of phase relative to each
more sessions to be allowed for the device. The connection 30 other is called the magnetic phase 2991. The magnetic phase
may be a USB type of connection, or another type of connec may be measured peak to peak (i.e. peak of the first magnets
tion known or contemplated.                                         field strength to peak of the second magnet’s field strength—
   The speed of rotation can be critical to the specific therapy as shown in FIG. 29, at 2991), or trough to trough, or inflec
that is delivered. Therefore, in some embodiments, the speed tion to inflection, or any similar plot characteristic on both of
of rotation is tightly controlled. In some embodiments, the 35 the magnets field strength graphs.
speed setting may be set by the user or may be set by a                In some embodiments, the first portion of the treatment
controller that uses a biological sensor as feedback to opti Surface is the portion of the treatment Surface approximately
mize the magnetic field frequency.                                  closest to the first permanent magnet, and wherein the second
   In some embodiments, the methods and devices described           portion of the treatment surface is the portion of the treatment
use at least one bio-feedback sensor, the sensor can bean EEG 40 Surface approximately closest to the second permanent mag
lead placed on the scalp, along with a reference electrode that net. For example, in FIG. 28, the treatment surface 2899
can be placed in an area of little sensed brain activity. When extends between the magnets 2802a, 2802b, 2802c and the
more than one EEG sensor is used, correlation information           head of the subject 2806. The first portion of the treatment
can begained among separate areas of the brain. The EEG and surface is that portion of the treatment surface 2899 between
reference leads can be connected through a differential ampli 45 the first magnet 2802a and the nearest portion of the head of
fier to a controller module that regulates the speed of at least the subject 2806, Likewise, the second portion of the treat
one motor to rotate at least one magnet above the scalp.            ment surface is that portion of the treatment surface 2899
   Sensing EEG with a magnet rotating in the vicinity can be between the second magnet 2802b and the nearest portion of
difficult, since the magnet can affect the electrode. To allow the head of the subject 2806. In some embodiments, the first
proper EEG measurement, a technique may be used to Sub 50 portion of the treatment surface is the portion of the treatment
tract the pure sine wave from the sensed EEG. In some Surface closest to the first permanent magnet that is intended
embodiments, the magnet rotation can be stopped tempo to be approximately tangential to the head of the Subject
rarily in order to take an EEG measurement that does not nearest that treatment Surface. In some embodiments, the
include the effect of the rotating magnet.                          second portion of the treatment surface is the portion of the
   Provided herein is a device operable to influence an EEG 55 treatment Surface approximately closest to the second perma
phase between two sites in the brain of a subject 2806 within nent magnet that is intended to be approximately tangential to
a specified EEG band, for example, as shown in FIG. 28. Any the head of the subject nearest that treatment surface.
of the devices described herein may be used to influence the           In some embodiments of the devices disclosed herein, the
EEG phase between two sites in the brain of a subject within difference between the first rotational orientation and the
a specified EEG band. The device may comprise at least two 60 second rotational orientation results in a magnetic phase
permanent magnets 2802a, 2802b, wherein the subunit (not when the first permanent magnet is moved at the same fre
shown in FIG. 28, but shown in other figures, for example, quency as the second permanent magnet. As shown in FIG.
FIGS. 1-4, 24, 25, 27) of the device is coupled to both the first 28, for non-limiting example, the first magnet 2802a has a
and the second magnet, and wherein the subunit enables rotational orientation relative to the treatment surface 2899
movement of the second magnet at a frequency between 65 that is different than the rotational orientation of second mag
about 0.5 Hz and about 100 Hz. The subunit may enable net 2802b. The first magnet 2802a has a rotational orientation
movement of the second magnet at a frequency between wherein its neutral axis nearly parallel (or tangential, where
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the treatment surface is curved) to the treatment surface 2899 of influencing an EEG phase between at least two sites in a
nearest it, with its north pole closest to the treatment surface brain of the subject of a specified EEG frequency. The mag
2899. The second magnet 2802b has a rotational orientation netic fields (first magnetic field, and second magnetic field)
wherein its neutral axis that is nearly perpendicular to the may be of the same frequency, but out of phase with each
treatment surface 2899 nearest it, with its north pole only other.
slightly closer to the treatment surface 2899 than its south         Additional magnetic fields may be provided by additional
pole. Relative to the treatment Surface nearest each magnet, means for applying Such magnetic fields. These too may be
thus, the first magnet 2802a has a rotational orientation that is out of phase with each other, or with any of the magnetic
offset from the rotational axis of the second magnet 2802b by fields. Nevertheless, the magnetic fields in some embodi
around 90 degrees. The first rotational orientation relative to 10 ments may have the same frequencies. The devices may be a
a first portion of a treatment surface of the device may be Permanent Magneto-EEG Resonant Therapy (pMERT) (i.e. a
between at least about 0 degrees and about 360 degrees dif Neuro-EEG Synchronization Therapy NEST device) as
ferent from the second rotational orientation relative to a         described herein.
second portion of the treatment surface of the device. The first       Even a device having a magnetic phase of 0, where the
rotational orientation relative to a first portion of a treatment 15 magnets spin at the same frequencies, and in-phase relative to
surface of the device may be at least one of between at least the treatment surface of the device (and/or relative to the head
about 0 degrees and about 180 degrees, between at least about of the subject), may influence the EEG phase between two
0 degrees and about 90 degrees, between at least about 0 locations measured on the Subjects head. For example, if
degrees and about 45 degrees, between at least about 0 prior to treatment, two EEG electrodes take EEG readings
degrees and about 30 degrees, between at least about 0 within an EEG band, and the frequencies are the same (or
degrees and about 15 degrees, between at least about 0 substantially so), however, the EEG readings have peaks for
degrees and about 10 degrees, at least about 5 degrees, at least each electrode at different times (i.e. a non-zero EEG phase),
about 10 degrees, at least about 15 degrees, at least about 30 a device as described herein may influence the EEG phase by
degrees, at least about 45 degrees, at least about 60 degrees, at applying a magnetic field having a magnetic phase (i.e. where
least about 90 degrees, at least about 120 degrees, at least 25 the magnets move at the same frequency and in-phase with
about 180 degrees, at least about 240 degrees, and at least each other).
about 270 degrees different from the second rotational orien           In some embodiments, a device comprises a first electrode
tation relative to a second portion of the treatment surface of operable to detect electrical brain activity; and a second elec
the device. The specified EEG frequency may be an intrinsic trode operable to detect a reference signal, wherein the first
frequency as described herein. The specified EEG frequency 30 electrode is located on the Subject in at least one of an area of
may be a pre-selected frequency as described herein. The low electrical resistivity on a Subject, and an area with Sub
pre-selected frequency may be an average intrinsic frequency stantially no electrical impulse interference on a subject, and
of a healthy population database within a specified EEG band. wherein the second electrode is located on the subject. In
   The magnetic phase of the device may be operable to Some embodiments, a device comprises a first electrode oper
influence an EEG phase between a first site and a second site 35 able to detect electrical brain activity; and a second electrode
in the brain of a subject of a specified EEG frequency. FIG.30 operable to detect a reference signal, wherein the first elec
shows theoretical EEG electrode readings 3095a,3095b mea trode is located on the subject in at least a portion of the ear
sured at two locations on a subject’s head within a single EEG canal of the subject, and wherein the second electrode is
band when the two locations are exhibiting similar (or the located on the Subject. Such electrode placements and con
same) frequency, but are out of phase relative to each other, 40 figurations may be part of any NEST device described herein.
i.e. displaying an EEG phase 3089. The EEG readings over Alternatively, these electrode configurations (including
time in this graph are plotted with time on the x axis, and EEG placement and conformation) may be part of any device
readings on the y axis (with two X axis, to show two EEG wherein a clearer EEG signal is desired, since these configu
electrode readings taken simultaneously at different locations rations result in reductions in noise and reduced resistivity
on the head of the subject). As depicted in FIG.30, a first EEG 45 from other signals (such as muscle twitches, etc) as compared
reading 3095a, and a second EEG reading 3095b may be out to electrodes placed on, for example, the head of a Subject.
of phase relative to each other. In some embodiments, the              FIG. 27 shows an example embodiment of a NEST device
amount that the first EEG reading and the second EEG read having a first EEG electrode 2782a located in the subject’s ear
ing are out of phase relative to each other is called the EEG canal 2707, and a reference EEG electrode 2782b (i.e. a
phase 3089. The EEG phase 3089 may be measured peak to 50 second electrode) located on an earlobe of the subject 2706.
peak (i.e. peak of the first EEG reading to peak of the second Conductive gel 2783 may also be used with the first electrode
EEG reading as shown in FIG. 30, at 3089), or trough to 2782b. In the embodiment shown in FIG. 27, the electrodes
trough, or inflection to inflection, or any similar plot charac 2782a, 2782b, couple by wires to a controller subunit 2758.
teristic on both of the EEG reading graphs.                          The controller subunit 2758 also couples to at least one mag
    In some embodiments, the first site in the brain of a subject 55 net 2702 operable to apply a magnetic field to the subjects
may generally align with a first permanent magnet, and the 2706 brain by spinning the magnet 2702 about its axis (not
second site in the brain of a Subject may generally align with shown). Other NEST devices as described herein may be used
a second permanent magnet of the device to influence the and may include the EEG electrodes as described. Other
EEG phase between those two sites. Additional sites also be magnet, magnets, and/or magnetic field configurations as
measured, and additional magnets may additionally be used 60 described herein may be used. Other controller subunits as
to influence the EEG phase between given sites toward a described herein may be used. The first electrode may be
pre-selected EEG phase.                                              shaped to fit the area having Substantially no electrical
    Provided herein is a device comprising, a means for apply impulse interference, for non-limiting example, a portion of
ing a first magnetic field to a head of a Subject; and a means for the ear canal or a portion of the nasal cavity. The electrode
applying a second magnetic field to a head of a subject 65 may be shaped like a hearing aid, including, for non-limiting
whereby the means for applying the first magnetic field and example, completely in the canal shaped, canal shaped, half
the means for applying the second magnetic field are capable shell shaped, full shell shaped, behind the ear shaped, and
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open ear shaped. The first electrode may be conformable to comprise logic (in a computer readable format) that deter
the area having Substantially no electrical impulse interfer mines the intrinsic frequency of a specified EEG band of the
ence. The first electrode may be compliant such that it fits the Subject using the EEG signal prior to and/or following appli
specific anatomy of the Subject. The first electrode may come cation of the magnetic field to the Subjects brain (or a portion
in multiple sizes to accommodate a range of Subjects                thereof). The device as described herein may comprise logic
anatomy. The first electrode may be configured such that the (in a computer readable format) that determines the Q-factor
Subject may place the electrode in the area having Substan of an intrinsic frequency of a specified EEG band of the
tially no electrical impulse interference without assistance Subject using the EEG signal prior to and/or following appli
from, for non-limiting example, a second person, a trained cation of the magnetic field to the Subjects brain (or a portion
EEG technician, or a medical professional.                       10 thereof). The device as described herein may comprise logic
   The area having Substantially no electrical impulse inter (in a computer readable format) that determines the coher
ference may be a location having Substantially no muscle ence of the intrinsic frequencies of a specified EEG band of
activity. The area having Substantially no muscle activity may the subject measured at multiple brain locations. The device
naturally have Substantially no muscle activity. Alternatively, as described herein may comprise logic (in a computer read
the area having Substantially no muscle activity may be 15 able format) that determines the phase of the intrinsic fre
relaxed by a muscle relaxation means Such as, for non-limit quencies of a specified EEG band of the subject measured at
ing example, an injection with a substance that relaxes (and/ multiple brain locations.
or paralyzes) the muscles in the area, a topical application of        Provided herein is a method of treating a subject, compris
a Substance that relaxes (and/or paralyzes) the muscles in the ing adjusting output of a magnetic field for influencing an
area, and/or by an ingested muscle relaxation Substance.            intrinsic frequency of a specified EEG band of the subject
   While an anatomical location of substantially no electrical toward a pre-selected intrinsic frequency of the specified
impulse interference (but where brain activity may be mea EEG band; and applying said magnetic field close to a head of
Sured) may provide a clearer EEG signal resulting in less the subject. In some embodiments, a NEST device, such as
noise and reduced resistivity from the skull, the first electrode one of the NEST devices (pMERT devices) described herein
may alternatively be placed on the scalp (either directly, and/ 25 is used to create the magnetic field of the method. In some
or with hair between the scalp and the electrode). A single or embodiments, influencing an intrinsic frequency may include
a plurality of electrodes may be placed on the scalp for coher influencing harmonics of the pre-selected intrinsic frequency
ence measurement, phase measurement, intrinsic frequency of the specified EEG band. In some embodiments, the pre
measurement, and/or Q-factor measurement. Noise from selected intrinsic frequency is a harmonic of the peak intrinsic
scalp movement and/or resistivity from the skull may be 30 frequency of a specified EEG band. In some embodiments,
filtered from the signal (or signals) received from the EEG influencing an intrinsic frequency may include providing a
electrodes, however, such filtering may not be necessary. magnetic field having a target frequency that can be repre
Curve Smoothing may be applied to the signal (or signals) sented in the frequency domain by an impulse function. In
received from the EEG electrodes, however, such curve               Some embodiments, influencing an intrinsic frequency may
Smoothing may not be necessary. Using any of the EEG 35 include providing a magnetic field having a target frequency
recording means noted herein, multiple signal recordings having no variation (standard of deviation around the target
may be taken and combined to determine, for non-limiting frequency is 0). In some embodiments, influencing an intrin
example, a coherence measurement, an intrinsic frequency sic frequency may include providing a magnetic field having
measurement, and/or a Q-factor measurement. An EEG elec a target frequency plus or minus at most 1% of the target
trode cap may be used, and signals from one or more elec 40 frequency. In some embodiments, influencing an intrinsic
trodes of the cap may be used as described hereinto determine frequency may include providing a magnetic field having a
an intrinsic frequency, a Q-factor, or coherence.                   target frequency plus or minus at most 5% of the target fre
   The area of the scalp upon which the first EEG electrode (or quency. In some embodiments, influencing an intrinsic fre
the plurality of electrodes) is/are placed may be induced to quency may include providing a magnetic field having a
have less muscle activity, or it may naturally have less muscle 45 target frequency plus or minus at most 10% of the target
activity than other areas on the scalp. Inducing less muscle frequency. In some embodiments, influencing an intrinsic
activity in the area of the scalp may be achieved in various frequency may include providing a magnetic field having a
ways. For non-limiting example, the area may be relaxed by target frequency plus or minus at most 10% of the target
a muscle relaxation means such as an injection with a Sub frequency. In some embodiments, influencing an intrinsic
stance that relaxes (and/or paralyzes) the muscles in the area, 50 frequency may include providing a magnetic field having a
a topical application of a Substance that relaxes (and/or para target frequency plus or minus at most 15% of the target
lyzes) the muscles in the area, and/or by an ingested muscle frequency. In some embodiments, influencing an intrinsic
relaxation Substance.                                               frequency may include providing a magnetic field having a
   In some embodiments, the second electrode operable to target frequency plus or minus at most 20% of the target
detect a reference signal is a ground reference. The second 55 frequency.
electrode may be an ear clip attached to, for non-limiting             Provided herein is a method of treating a subject, compris
example, a subjects earlobe. The second electrode may be ing adjusting output of a magnetic field for influencing a
attached to a location showing substantially no EEG activity. Q-factor a measure of frequency selectivity of a specified
The second electrode may be an ear clip.                            EEG band of the subject toward a pre-selected Q-factor of the
   The device as described herein may be operable to measure 60 band; and applying said magnetic field close to a head of the
the EEG signal from the subjects brain prior to and/or after subject. In some embodiments, a NEST device, such as one of
the application of the magnetic field to the subject. The device the NEST devices (pMERT devices) described herein is used
as described herein may comprise logic (in a computer read to create the magnetic field of the method.
able format—for non-limiting example, hardware, software)              Provided herein is a method of treating a subject, compris
that receives and records the EEG signal prior to and/or fol 65 ing adjusting output of a magnetic field for influencing a
lowing application of the magnetic field to the Subjects brain coherence of intrinsic frequencies among multiple sites in a
(or a portion thereof). The device as described herein may brain of the subject within a specified EEG band toward a
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pre-selected coherence value; and applying said magnetic          a subject toward a target Q-factor, and applying said output
field close to a head of the subject. In some embodiments, a      current across a head of the Subject.
NEST device, such as one of the NEST devices (pMERT                  Provided herein is a method comprising adjusting output of
devices) described herein is used to create the magnetic field    a magnetic field for influencing an EEG phase between two
of the method.                                                    sites in the brain of a subject of a specified EEG frequency
   Provided herein is a method of altering an intrinsic fre       toward   a pre-selected EEG phase of the specified EEG fre
quency of a brain of a subject within a specified EEG band, quency; and applying said magnetic field close to a head of
comprising determining the intrinsic frequency of the Subject the subject.
within the specified EEG band; comparing the intrinsic fre 10 In some embodiments, the pre-selected EEG phase is lower
quency from step (a) to an average intrinsic frequency of a than        the EEG phase between the two sites in the brain of the
healthy population database; if the intrinsic frequency from any EEGInphase
                                                                  subject.    some embodiments, the pre-selected EEG phase is
step (a) is higher than the average intrinsic frequency of the sites in the brainlower      than the EEG phase between the two
healthy population database, shifting down the intrinsic fre pre-selected EEG phasesubject.
                                                                                      of the           In some embodiments, the
                                                                                                is higher than the EEG phase
quency of the Subject by applying a specific magnetic field 15 between the two sites in the         brain of the subject. In some
close to a head of the Subject, wherein said specific magnetic embodiments, the pre-selected EEG phase is any EEG phase
field has a frequency lower than the intrinsic frequency of the higher than the EEG phase between the two sites in the brain
Subject; and if the intrinsic frequency from Step (a) is lower of the subject. In some embodiments, the pre-selected EEG
than the average intrinsic frequency of the healthy population phase is an EEG phase of a population of people. The popu
database, shifting up the intrinsic frequency of the Subject by lation of people may be a set of people having a particular
applying a specific magnetic field close to a head of the trait, characteristic, ability, or feature. The population may be
Subject, wherein said specific magnetic field has a frequency a healthy population of people. The population of people may
higher than the intrinsic frequency of the Subject. In some be a set of people not having a particular disorder, such as
embodiments, a NEST device, such as one of the NEST               anxiety, depression, or other disorders mentioned herein. In
devices (pMERT devices) described herein is used to create 25 Some embodiments, the methods comprise measuring EEG
the magnetic field of the method.                                 data of two sites in the brain of the Subject, and calculating the
   Provided herein is a method of altering a Q-factor of an EEG phase between the two sites in the brain of a subject.
intrinsic frequency within a specified EEG band of a subject,        In some embodiments, there is no pre-selected EEG phase.
comprising determining the Q-factor of the intrinsic fre Rather, the method comprises adjusting output of a magnetic
quency within the specified EEG band of the subject; com 30 field for influencing an EEG phase between two sites in the
paring the Q-factor of the intrinsic frequency from step (a) to brain of a subject within a specified EEG band; and applying
an average Q-factor of the intrinsic frequency of a healthy said magnetic field close to a head of the subject. The EEG
population database; if the Q-factor of the intrinsic frequency phase may be influenced to be lower, or higher.
from step (a) is higher than the average Q-factor of the intrin      In another aspect are methods for influencing an EEG
sic frequency of the healthy population database, tuning 35 phase of a specified EEG frequency between multiple loca
down the Q-factor of the intrinsic frequency of the subject by tions of a brain of a subject, comprising determining the EEG
applying a magnetic field with varying frequencies close to a phase the between at least two locations measured on the head
head of the subject; and if the Q-factor of the intrinsic fre of the subject; comparing the EEG phase to an average EEG
quency from step (a) is lower than the average Q-factor of the phase of a healthy population; and applying a magnetic field
intrinsic frequency of the healthy population database, tuning 40 close to a head of the Subject. Applying the magnetic field
up the Q-factor of the intrinsic frequency of the subject by may influences the determined EEG phase toward the average
applying a specific magnetic field with a pre-selected fre EEG phase of a healthy population. The specified EEG fre
quency close to a head of the Subject. In some embodiments, quency may be an intrinsic frequency as described herein.
a NEST device, such as one of the NEST devices (pMERT The specified EEG frequency may be a pre-selected fre
devices) described herein is used to create the magnetic field 45 quency as described herein. The pre-selected frequency may
of the method.                                                    be an average intrinsic frequency of a healthy population
   Provided herein is a method of improving coherence of database within a specified EEG band.
intrinsic frequencies within a specified EEG band among              In another aspect are methods for using a Transcranial
multiple locations of a brain of a Subject, comprising deter Magnetic Stimulation (TMS) device for influencing an EEG
mining the coherence value of the intrinsic frequencies 50 phase of a Subject within a specified EEG band, comprising:
among multiple locations throughout a scalp of the Subject; adjusting output of said TMS device; changing the EEG
comparing the coherence value from step (a) to an average phase by repetitive firing of at least one magnetic field using
coherence value of a healthy population database; if the said TMS device; and applying said magnetic field close to a
coherence value from step (a) is higher than the average head of the subject.
coherence value of the healthy population database, lowering 55 In some embodiments, the magnetic field results from a
the coherence value of the Subject by applying at least two first magnetic source and a second magnetic source. In some
asynchronous magnetic fields close to a head of the Subject; if embodiments, the first magnetic source and the second mag
the coherence value from step (a) is lower than the average netic source are out of phase relative to each other. In some
coherence value of the healthy population database, raising embodiments, the amount that the first magnetic source and
the coherence value of the Subject by applying at least one 60 the second magnetic source are out of phase relative to each
synchronized magnetic field close to a head of the Subject. In other is called the magnetic phase.
some embodiments, a NEST device, such as one of the NEST             In some embodiments of at least one aspect described
devices (pMERT devices) described herein is used to create herein, the step of applying the magnetic field is for a pre
the magnetic field of the method.                                 determined cumulative treatment time. In some embodiments
   Provided herein is a method comprising adjusting an out 65 of at least one aspect described above, the pre-selected or
put current of an electric alternating current source for influ target intrinsic frequency with the specified EEG band is from
encing a Q-factor of an intrinsic frequency of an EEG band of about 0.5 Hz to about 100 Hz. In some embodiments of at
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least one aspect described above, the pre-selected or target        on a subject (i.e. the location at which the first electrode is
intrinsic frequency with the specified EEG band is from about       placed). The method or methods described herein may com
1 Hz to about 100 Hz. In some embodiments of at least one           prise applying conductive gel to the area having Substantially
aspect described above, the pre-selected or target intrinsic no electrical impulse interference on a subject (i.e. the loca
frequency with the specified EEG band is not greater than 5 tion at which the first electrode is placed). The method or
about 50 Hz. In some embodiments of at least one aspect methods described herein may comprise applying conductive
described above, the pre-selected or target intrinsic frequency gel to the area having Substantially no muscle activity (i.e. the
with the specified EEG band is not greater than about 30 Hz. location at which the first electrode is placed). Alternatively,
In some embodiments of at least one aspect described above, or in addition to the applying the gel, the method may com
the pre-selected or target intrinsic frequency with the speci 10 prise shaping the first electrode to fit the area at which the first
fied EEG band is not greater than about 20 Hz. In some electrode is placed, for non-limiting example, the portion of
embodiments of at least one aspect described above, the pre the earcanal or the portion of the nasal cavity in which the first
selected or target intrinsic frequency with the specified EEG electrode is placed. The electrode may be pre-shaped togen
band is not greater than about 10 Hz. In some embodiments of erally fit the intended anatomical location of electrode place
at least one aspect described above, the pre-selected or target 15 ment, or the electrode may be shaped in-situ to fit the specific
intrinsic frequency with the specified EEG band is greater Subjects anatomical location of electrode placement. The
than about 3 Hz. In some embodiments of at least one aspect method may comprise shaping the electrode to fit an anatomi
described above, the pre-selected or target intrinsic frequency cal location (for example, the area at which the first electrode
with the specified EEG band is greater than about 1 Hz.             is to be placed). The method may comprise providing an
   In some embodiments, of at least one aspect described electrode that fits an anatomical location (for example, the
above, the pre-selected or target intrinsic frequency with the area at which the first electrode is to be placed). The first
specified EEG band is up to about 25 Hz. As used herein, the electrode may come in multiple sizes to accommodate a range
term “about when referring to a frequency can mean varia of subjects anatomy. The first electrode may be configured
tions of 0.1 HZ-0.2 HZ, 0.1 Hz to 0.5 HZ, 0.5 Hz to 1 Hz, or 1      Such that the Subject may place the electrode in the area
HZ to 5 HZ.                                                      25 having Substantially no electrical impulse interference with
   In some embodiments, the pre-selected and/or target intrin out assistance from, for non-limiting example, a second per
sic frequency is chosen from a plurality of intrinsic frequen son, a trained EEG technician, or a medical professional.
cies in the specified EEG band. In some embodiments the                The method or methods described herein may comprise
pre-selected and/or target intrinsic frequency is chosen from placing the first electrode in a location having Substantially no
a plurality of intrinsic frequencies across a plurality of EEG 30 electrical impulse interference may be a location having Sub
bands. In some embodiments the specified EEG band is the stantially no muscle activity. The area having Substantially no
Alphaband. In some embodiments the specified EEG band is muscle activity may naturally have substantially no muscle
the Beta band.                                                      activity. The method or methods described herein may com
   In some embodiments of the methods described herein, the         prise relaxing the area of the subject at which the first elec
method or methods may comprise locating a first electrode 35 trode is placed by a muscle relaxation means such as by, for
operable to detect electrical brain activity on the subject in an non-limiting example, injecting with a Substance that relaxes
area of low electrical resistivity on a subject. In some embodi the muscles in the area, applying a topical Substance that
ments of the methods described herein, the method or meth           relaxes the muscles in the area, and/or by providing an ingest
ods may comprise locating a first electrode operable to detect ible muscle relaxation substance to the subject that relaxes the
electrical brain activity on the Subject in an area with Substan 40 muscles in the area. The method or methods described herein
tially no electrical impulse interference on a subject. In some may comprise paralyzing the area of the Subject at which the
embodiments of the methods described herein, the method or          first electrode is placed by a muscle paralysis means such as
methods may comprise locating a first electrode operable to by, for non-limiting example, and/or injecting with a Sub
detect electrical brain activity on the Subject in an area having stance that Substantially paralyzes the muscles in the area,
Substantially no electrical impulse interference. In some 45 applying a topical Substance that Substantially paralyzes the
embodiments of the methods described herein, the method or           muscles in the area.
methods may comprise locating a first electrode operable to           While an anatomical location of substantially no electrical
detect electrical brain activity on the subject in a location impulse interference, and/or a location having Substantially
having Substantially no muscle activity. The method or meth no muscle activity (but where brain activity may be mea
ods may further comprise locating a second electrode oper 50 Sured) may provide a clearer EEG signal resulting in less
able to detect a reference signal on the subject. The method or noise and reduced resistivity from the skull, nevertheless, the
methods may further comprise determining the intrinsic fre methods provided herein may comprise placing the first elec
quency from: the electrical brain activity detected by the first trode on the scalp (either directly, and/or with hair between
electrode, and the reference signal detected by the second the scalp and the electrode). The methods provided herein
electrode.                                                       55 may comprise placing a plurality of electrodes on the scalp for
   In some embodiments of the methods described herein, the         coherence measurement, intrinsic frequency measurement,
method or methods may comprise locating a first electrode and/or Q-factor measurement. The methods provided herein
operable to detect electrical brain activity on the subject in at may comprise filtering from the signal (or signals) received
least a portion of the ear canal of the subject. The method or from the EEG electrodes noise from scalp movement and/or
methods may further comprise locating a second electrode 60 resistivity from the skull. The methods provided herein may
operable to detect a reference signal on the subject. The comprise Smoothing the signal curve received and/or deter
method or methods may further comprise determining the mined from the EEG electrodes. The methods provided
intrinsic frequency from the electrical brain activity detected herein may comprise determining from multiple signal
by the first electrode and the reference signal detected by the recordings: a coherence measurement, an intrinsic frequency
second electrode.                                                65 measurement, and/or a Q-factor measurement using any of
   The method or methods described herein may comprise the EEG recording means noted herein. An EEG electrode
applying conductive gel to the area of low electrical resistivity cap may be used, and signals from one or more electrodes of
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the cap may be used as described herein to determine an Q-factor from the electrical brain activity detected by the first
intrinsic frequency, a Q-factor, or coherence.                      electrode and the reference signal detected by the second
   The area of the scalp upon which the first EEG electrode (or electrode by removing the reference signal detected by the
the plurality of electrodes) is/are placed may be induced to second electrode from the electrical brain activity detected by
have less muscle activity, or it may naturally have less muscle the first electrode and calculating the Q-factor from the intrin
activity than other areas on the scalp. Inducing less muscle sic frequency fo and the Afas shown in FIG. 12.
activity in the area of the scalp may be achieved in various rTMS Therapy
ways. For non-limiting example, the methods may comprise               Repetitive Transcranial Magnetic Stimulation (rTMS)
relaxing the area where the first electrode is placed, for non refers to uses of a magnetic field administered in very short
limiting example, by injecting the area with a Substance that 10 grouped pulses (microseconds in length) to a patients head to
relaxes (and/or paralyzes) the muscles in the area, applying a achieve a constant train of activation over brief periods of a
topical Substance that relaxes (and/or paralyzes) the muscles treatment session. These brief magnetic fields can stimulate
in the area, and/or by providing an ingestible muscle relax Small areas of the brain non-invasively. During a single ses
ation Substance that relaxes the muscles in the area.               Sion, about 3,000 magnetic pulses can be given over an inter
   In some embodiments, the method comprises placing a 15 val of about 30 minutes.
second electrode operable to detect a reference signal,                The short pulses of magnetic energy generated by rTMS
wherein the second electrode is a ground reference. The devices can stimulate nerve cells of the brain, often at fre
method may comprise attaching an ear clip electrode to, for quencies close to thresholds of exciting brain cells. Magnetic
non-limiting example, a Subjects earlobe. The ear clip may fields generated by rTMS devices can pass through the skull
be removable. The method may comprise attaching the sec and into the cortex without being distorted. The result is a
ond electrode to a location showing substantially no EEG very focal type of stimulation, minimizing stimulation of
activity.                                                           brain tissue not intended to be stimulated.
   Measuring the EEG signal from the subject’s brain (i.e.             The magnetic pulses generated by rTMS devices are gen
measuring EEG data of the subject) may be done prior to erally believed to induce electrical charges to flow. The
and/or after the application of the magnetic field to the sub 25 amount of electricity created in the brain is very Small, and
ject. The method may comprise receiving the EEG signals can not be felt by the patient. These flowing electric charges
(i.e. receiving the reference signal from the reference elec can cause the neurons to fire or become active under certain
trode and receiving the brain activity from the first electrode) circumstances. Typically, an objective of rTMS Therapy is to
prior to application of the magnetic field to the subject’s brain stimulate (or activate) brain cells.
(or a portion thereof). The method may comprise recording 30 Jin Y et al. Therapeutic effects of individualized alpha
the EEG signals prior to application of the magnetic field to frequency transcranial magnetic stimulation (alphaTMS) on
the subject’s brain (or a portion thereof). The EEG signals the negative symptoms of schizophrenia. Schizophr Bull.
(i.e. receiving the reference signal from the reference elec 32(3):556-61 (2006July; Epub 2005 Oct. 27), which is incor
trode and receiving the brain activity from the first electrode) porated by reference in its entirety, described four stimulation
received and/or recorded prior to application of the magnetic 35 parameters that require optimization for rTMS:
field to the subject’s brain (or a portion thereof) may be used (a) Frequency—Higher frequencies (>10 Hz) are believed to
in determining at least one of the intrinsic frequency of a            increase cortical excitability;
specified EEG band of the subject, the Q-factor of an intrinsic (b) Intensity—As a percentage of the threshold at which
frequency of a specified EEG band of the subject, the phase of         motor activity can be elicited (~1-2 Tesla);
the intrinsic frequencies of a specified EEG band of the sub 40 (c) Duration Pulse trains are brief (1-2 seconds), and inter
ject, and the coherence of the intrinsic frequencies of a speci        train intervals can be 30-60 seconds; and
fied EEG band of the subject measured at multiple brain (d) Site of Stimulation—Depending on patient population or
locations. The method may comprise receiving the EEG sig               specific brain functions.
nals (i.e. receiving the reference signal from the reference           In some embodiments, severity of psychosis, depression,
electrode and receiving the brain activity from the first elec 45 and movement disorders can be assessed with PANSS, Mont
trode) following (or after) application of the magnetic field to gomery-Asberg Depression Rating Scale (MADRS), Barnes
the subjects brain (or a portion thereof). The method may Akathisia Rating Scale (BARS), and Simpson-Angus Scale
comprise recording the EEG signals (i.e. the reference signal (SAS), as described by Jin Y et al. above. In some embodi
from the reference electrode and the brain activity from the ments, severity of psychosis, depression, and movement dis
first electrode) following or after application of the magnetic 50 orders can be assessed with the Hamilton Anxiety Scale
field to the subject’s brain (or a portion thereof). The EEG        (HAMA), the Hamilton Depression Scale (HAMD), or any
signals received and/or recorded (i.e. the reference signal methods known in the art. In some embodiments, efficacy in
from the reference electrode and the brain activity from the clinical ratings can be evaluated by using analyses of variance
first electrode) following (or after) application of the mag (ANOVA) as described by Jin Yet al. above. In some embodi
netic field to the subjects brain (or a portion thereof) may be 55 ments, raw EEG data can be edited offline by an experienced
used in determining at least one of the post-treatment intrinsic technician who is blind to the treatment conditions to elimi
frequency of a specified EEG band of the subject, the post nate any significant or apparent artifact as described in Jin Y
treatment Q-factor of an intrinsic frequency of a specified et al. above. In some embodiments, multivariate analysis of
EEG band of the subject, the post-treatment phase of the variance (MANOVA) with repeated measures can be used to
intrinsic frequencies of a specified EEG band of the subject, 60 determine the main effect interactions as described in Jin Yet
and the post-treatment coherence of the intrinsic frequencies al. above.
of a specified EEG band of the subject measured at multiple            Since EEG changes can be direct consequences of treat
brain locations. Determining the intrinsic frequency may ments using the methods or devices described herein, those
comprise removing the reference signal detected by the sec EEG changes can be used to clinically correlate improvement
ond electrode from the electrical brain activity detected by the 65 in Symptoms of mental disorders. Improvement in Symptoms
first electrode. Determining the Q-factor of an intrinsic fre can include positive symptoms and negative symptoms. In
quency of the specified EEG band comprises ascertaining the Some embodiments, the EEG changes after using the methods
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or devices described correlated to both positive symptoms              Provided herein is a method comprising adjusting an out
and negative symptoms. In some embodiments, the EEG put of an electric alternating current source for influencing a
changes after using the methods or devices described corre Q-factor a measure of frequency selectivity of a specified
lated to only positive symptoms. In some embodiments, the EEG band of a subject toward a target Q-factor of the band;
EEG changes after using the methods or devices described 5 and applying said electric alternating current across ahead of
correlated to only negative symptoms. In some embodiments, the Subject. In some embodiments of the methods, a con
correlations between EEG changes and improvement in nega trolled waveform CES therapy is used to influence a Q-factor
tive symptoms are only significant in the absence of positive ofan intrinsic frequency of apatient’s brain. FIG. 12 shows an
symptoms. In some embodiments, correlations between EEG example               of the Q-factor as used in this invention. The figure
                                                                    shows a sample graph of the frequency distribution of the
changes and improvement in positive symptoms are only 10 energy             of an EEG signal. It can be seen that a frequency range,
significant in the absence of negative symptoms.
   In some embodiments, negative symptoms include, but not energy beAfcan       defined as the frequency bandwidth for which the
                                                                            is above one-half the peak energy. The frequency f is
limited to, loss of motivation, anhedonia, emotional flatten
ing, and psychomotor retardation. These negative symptoms 15 definedQ-factor
                                                                             as the intrinsic frequency in the specified band. The
                                                                              is defined as the ratio off/Af. As can be seen, when
can be associated with patient’s cognitive deficits and poorer AF decreases         for a given f, the Q-factor will increase. This
clinical prognosis, and often resistant to antipsychotic medi can occur when the peak energy E of the signal increases
cations. See Gasquet et al., Pharmacological treatment and or when the bandwidth of the EEG signal decreases.
other predictors of treatment outcomes in previously                   Provided herein is a method comprising adjusting an out
untreated patients with schizophrenia: results from the Euro put current of an electric alternating current source for influ
pean Schizophrenia Outpatient Health Outcomes (SOHO) encing a Q-factor of an intrinsic frequency of an EEG band of
study. Int Clin Psychopharmacol. 20: 199-205 (2005), which a subject toward a target Q-factor, and applying said output
is incorporated by reference in its entirety.                       current across a head of the Subject. In some embodiments,
CESTherapy                                                          the step of adjusting the output current comprises varying a
   Cranial Electrotherapy Stimulation (CES) is a method of 25 frequency of the output current. In some embodiments, the
applying microcurrent levels of electrical stimulation across step of adjusting the output current comprises setting the
the head via transcutaneous electrodes. Provided herein is          output current to a frequency that is higher than the intrinsic
method including applying an electric alternating current frequency of the Subject. In some embodiments, the step of
(AC) across ahead of a subject, and adjusting and/or varying adjusting the output current comprises setting the output cur
the frequency of the AC current to effect at least one of a 30 rent to a frequency that is lower than the intrinsic frequency of
characteristic, mental disorder, and an indication presented the Subject. In some embodiments, the step of adjusting the
herein. In some embodiments, the AC current is a microcur           output current comprises setting the output current to the
rent.                                                               target frequency. In some embodiments, the method further
   Provided herein is a method comprising adjusting an out comprises determining the Q-factor of the intrinsic frequency
put of an electric alternating current source for influencing an 35 of the EEG band of the subject; and comparing the Q-factor to
intrinsic frequency of a EEG band of a subject toward a target the target Q-factor, wherein the target Q-factor is an average
frequency of the EEG band; and applying said electric alter Q-factor of the intrinsic frequencies of the EEG bands of a
nating current across a head of the Subject. In some embodi healthy population of people, wherein if the intrinsic fre
ments of the methods, a CES therapy is used to influence the quency is higher than the target frequency, the step of adjust
intrinsic frequency of a patient's brain toward a target fre 40 ing the output current comprises varying a frequency of the
quency as measured by EEG.                                          output current, and if the intrinsic frequency is lower than the
   Provided herein is a method comprising adjusting an out target frequency, the step of adjusting the output current com
put current of an electric alternating current source for influ prises setting the output current to a frequency that is higher
encing an intrinsic frequency of an EEG band of a subject than the intrinsic frequency of the Subject.
toward a target frequency of the EEG band; and applying said 45 In some embodiments, the frequency of the output current
output current across a head of the Subject. In some embodi has a waveform. In some embodiments, the waveform is a
ments, the step of adjusting the output current comprises sinusoidal or near-sinusoidal AC microcurrent waveform (i.e.
setting the output current to a frequency that is lower than the a controlled waveform). In some embodiments, the waveform
intrinsic frequency of the Subject. In some embodiments, the is any waveform described herein, including but not limited to
step of adjusting the output current comprises setting the 50 a half waveform and/or a full waveform. In some embodi
output current to a frequency that is higher than the intrinsic ments, the EEG band is the alpha band measured by EEG. In
frequency of the Subject. In some embodiments, the step of Some embodiments, the intrinsic frequency is the alpha fre
adjusting the output current comprises setting the output cur quency of the patient’s brain measured by EEG. In some
rent to the target frequency. In some embodiments, the embodiments, the target frequency is a target frequency of the
method further comprises determining the intrinsic frequency 55 alpha band as measure by EEG. In some embodiments the
of the EEG band of the subject; and comparing the intrinsic target frequency is an average frequency of a group of at least
frequency to the target frequency of the EEG band, wherein two people of the specified EEG band. In some embodiments,
the target frequency is an average intrinsic frequency of the the healthy population of people comprises at least two
EEG bands of a healthy population of people, wherein if the healthy people. In some embodiments, the healthy population
intrinsic frequency is higher than the target frequency, the 60 of people comprises at least two people, each of whom do not
step of adjusting the output current comprises setting the have at least one of the mental disorders listed above. In some
output current to a frequency that is lower than the intrinsic embodiments, the healthy population of people comprises at
frequency of the Subject, and if the intrinsic frequency is least two people without any of the mental disorders listed
lower than the target frequency, the step of adjusting the above.
output current comprises setting the output current to a fre 65 It will be understood by those of skill in the art that numer
quency that is higher than the intrinsic frequency of the Sub ous and various modifications can be made without departing
ject.                                                               from the spirit of the present invention. Therefore, it should be
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clearly understood that the forms of the present invention are            FIGS. 7, 8, and 9 show an exemplary embodiment of the
illustrative only and are not intended to limit the scope of the        pMERT (NEST) device 88. In this embodiment, a button
present invention.                                                      EEG electrode 82a is located on the concave surface of the
                                                                        device 88 and a second reference electrode 82b extends via a
                         EXAMPLES                                     wire from the side of the device 88. The display 64 and control
                                                                      buttons 86 (device controls) are located on top of the device
   The invention is described in greater detail by the following 88 to provide information and allow the user to adjust param
non-limiting examples.                                                eters and enter patient data. A USB port 84 (which may also
                                                                      and/or alternatively be at least one of an internet connection
                             Example 1                             10 port, a power Supply, a modem connection, and another type
                                                                      of communications means) is located at the top rear of the
   In some embodiments, described are devices that provide device 88, to allow it to be connected via a USB cable to a PC,
low frequency near-sinusoidal TMS therapy by rotating at allowing uploading of data and downloading of a dosage
least one permanent magnet in close proximity to the Sub quota. FIG.8 shows the pMERT (NEST) device 88 from FIG.
jects head. The direction of rotation relative to the subject 15 7 in which a subject 6 is lying with his/her head against the
can vary depending on the specific therapy desired. Also, the concave Surface of the device 88. At least one moving magnet
speed of rotation can be adjusted to provide the optimal is unseen inside the pMERT (NEST) device 88 in order to
therapeutic benefit. The speed adjustment itself can come deliver therapy to the Subject 6. Moving magnets Such as
from the user of the device or from a controller that uses            those in configurations described herein may be used in the
feedback from a bio-sensor to determine the optimal speed.            device 88 shown in FIGS. 7, 8, and 9. The subject’s head is
   In particular embodiments, a bar magnet can be mounted at pressed against the button EEG electrode (not shown), with
the end of the shaft with the line through the poles perpen the second electrode 82b attached to the subjects right ear.
dicular to the axis of the shaft. The shaft can be rotated by an FIG. 9 shows an alternate angle of the subject 6 receiving
adjustable motor. The magnet can rotate so that the plane of 25 therapy from the pMERT (NEST) device 88 as described in
rotation is perpendicular to the Surface of the scalp. Accord FIG. 7 and/or FIG. 8.
ingly, the positive and negative poles of the magnet can be              In these particular embodiments, the pMERT as shown in
alternately brought in close proximity to the scalp. This can FIGS. 7-9 contains a single EEG lead (i.e. electrode) which is
create a near-sinusoidal magnetic field in the brain in which to be placed at the top of the subjects head. Alternatively,
the location where the field is strongest is that which is closest 30 mutliple EEG electrodes may be used in recording and/or
to the magnet.                                                        monitoring the subject’s brain waves at least one of before,
                                                                      during, and after the therapy is applied to the Subject. The
                             Example 2                                subject or nurse can prepare the EEG leads (and/or elec
                                                                      trodes) with an electrolytic gel beforehand to lower the
   In particular embodiments, a horseshoe magnet can be impedance. The reference electrode can be placed on the
mounted at the end of the shaft with the poles positioned at the 35 Subject's ear. In some embodiments, the reading from a ref
far end from the shaft. The shaft can be rotated by an adjust erence EEG electrode is subtracted and/or otherwise removed
able motor, as in the previous example. The magnet can be from the reading from the second EEG electrode.
positioned above the subject’s scalp such that the plane of              When therapy is needed, the subject or nurse can follow the
rotation is parallel to the Surface of the scalp. Accordingly, the instructions on the display, which will provide a walkthrough
positive and negative poles can rotate in a circle around the 40 of the EEG electrode preparation. Once complete and the
Scalp. This can create a sinusoidal magnetic field in the brain patient is situated in the device, the EEG is checked by the
in which the phase of the magnetic field is dependent on pMERT to ensure that the electrode is placed correctly. If not,
where the magnetic poles are in their rotation. In general, the an audible tone or instruction is given to allow the patient to
magnetic field under one pole will be of opposite polarity to resituate himself/herself until proper contact is made.
the magnetic field under the opposite pole.                        45    Once contact is made, the patient lies still with eyes closed
                                                                      while the pMERT (NEST) acquires a representative EEG
                             Example 3                                sample. The EEG data is analyzed and, depending on the
                                                                      therapy to be delivered, the magnet or magnets are rotated at
   In particular embodiments, two bar magnets can be used, the appropriate speed. The patient does not feel anything
each mounted at the end of a shaft. The shafts can be rotated 50 during the procedure, except for a diminution of the Symp
by adjustable motors. The magnets can be positioned on toms of the disorder, and perhaps a feeling of calm. During
opposite sides of the Subjects head, and they are rotated therapy, the device may sample the EEG data either by sub
synchronously to provide a more uniform phase for the mag tracting out the influence of the magnet or by temporarily
netic field in the brain. When the north Pole of one bar magnet halting the magnet while the EEG data is sampled. The dis
is next to the subject’s scalp, the south Pole of the other 55 play is used to show time remaining and any other necessary
magnet will be next to the Subject's Scalp on the opposite side status information for the device. After the therapy time, the
of the subject’s head.                                                magnet stops and a second EEG is taken, to be compared to
                                                                      the first EEG. Upon completion of the second EEG acquisi
                             Example 4                                tion, an audible signal is given to indicate end of therapy.
                                                                   60
   In particular embodiments, the NEST (pMERT) device is a                               Example 5
Small, generally cube-shaped device with one side that is
curved to allow contact with the top of the subjects head.          Purchasing Dosage Quotas and Report Generation
FIGS. 7-9 show the NEST (pMERT) device in such embodi
ments, and also show the NEST (pMERT) device with a 65 The methods and devices described are intended to be used
subject lying on his/her back with his/her head resting in the by psychiatrists/therapists to treat patients with mental disor
device to receive therapy.                                     ders. Psychiatrists who take advantage of this therapy can
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register accounts with a vendor of the devices described and level of 10% of a hertz. It is determined on each patients
be given a username and password. When a psychiatrist sees average alpha frequency, obtained from 3 central EEG leads
a patient with a disorder and the psychiatrist feels that the (C3, C4, and Cz).
patient could benefit from the methods or devices described          EEG data during treatments are recorded from each subject
herein, the psychiatrist either orders a device or selects one in a Supine position with their eyes closed throughout the
that has been pre-purchased.                                      testing period. Nineteen EEG electrodes (Ag AgCl) are
   The psychiatrist (or administrative assistant) can plug a used according to the International 10-20 system and refer
pMERT (NEST) device into a USB port on a PC connected to enced to linked mastoids. Electrooculograms (EOGs) from
an internet. Using web access and their username?password, the outer canthus of both eyes are recorded simultaneously to
the psychiatrist can login to the NeoSync website. The 10 monitor eye movements. At least two minutes of EEG epochs
pMERT (NEST) will be automatically detected by the Neo are collected and digitized by a 12-bit A/D (analog/digital)
Sync website, and any necessary Software upgrades will be converter at the rate of 200 Hz by a Cadwell EZ II acquisition
downloaded.
   The psychiatrist can then order a number of dosage quotas system. Sixty seconds of artifact free epochs are utilized for
for a particular disorder from the website, such as 15 15 fast         Fourier transformations (FFT). FFT window is set at 512
20-minute therapy treatment, one per day, to treat depression. data points with 80% overlap.
An encrypted key will be downloaded to the pMERT (NEST),             Severity of psychosis, depression, and movement disorders
which will be set to allow the dosage quotas requested by the are assessed with the Hamilton Anxiety Scale (HAMA), the
psychiatrist. Once this occurs, the psychiatrist will automati Hamilton Depression Scale (HAMD), PANSS, Montgomery
cally be billed based on the number and type of dosage quo Asberg Depression Rating Scale (MADRS), Barnes Akathi
tas. The psychiatrist will then bill the patient (or eventually sia Rating Scale (BARS), and Simpson-Angus Scale (SAS),
the patients insurance) for the procedure. The patient can respectively. All rating scales and EEGs are administered at
take the pMERT (NEST) device to his/her home to use the screening, baseline (immediately prior to first treatment),
device in accordance with the therapy prescribed by the psy immediately following the fifth and tenth treatments.
chiatrist or the patient can be treated in the psychiatrists 25 While the technician administering the pMERT (NEST)
office.                                                           device cannot be blinded, the evaluating physicians and EEG
   Once the patient has used up all the dosage quotas the technicians remain unaware of the type of treatment through
psychiatrist has loaded onto the device, the patient returns to out the duration of study. A priori categorical definition for
the psychiatrist with the pMERT (NEST) device. The psy clinical response is >30% baseline-to-post treatment reduc
chiatrist will connect the pMERT (NEST) device to the PC 30 tion at the end of treatment on PANSS negative symptom
via a USB cable and will login to the NeoSync website as subscale. Patients with a baseline and at least 1 additional set
before. The website will detect the pMERT (NEST) and will of completed assessments (at least 5 treatment sessions) are
upload all treatment information. A report can be generated included in the analysis of mean treatment effect. Efficacy in
with this information, giving the psychiatrist a quantitative clinical ratings is evaluated by using analyses of variance
indication of progress. The report can include for each treat 35 (ANOVA) with repeated measure over time. The models
ment the date, start time, end time, initial EEG alpha param include 2 between-subject factors of treatment and location,
eters (i.e., power and Q-factor), and the final EEG alpha
parameters. The psychiatrist can print the report or save it to and 1 within-subject factors of time. Effect of concomitant
a file to be placed in the patient’s record. At this point, the antipsychotic treatment can be tested based on the categori
psychiatrist can clear the memory of the device and use it for 40 Zation of typical and atypical neuroleptic medications.
another patient or he/she can order more dosage quotas for the Grouping differences of all other measures are tested indi
current patient.                                                  vidually using the same statistical model. Using a predefined
   If the psychiatrist decides that the patient should use the response criterion, a contingent table analysis can be used to
pMERT (NEST) for a longer period, the psychiatrist can set test the group difference in responding rate.
up an account for the patient with NeoSync, Inc. This way, the 45 Raw EEG data are edited offline by an experienced tech
patient is able to order more dosage quotas without returning nician who is blind to the treatment conditions to eliminate
to the psychiatrist. Only the dosage quotas approved by the any significant (>3 arc) eye movements or any other type of
psychiatrist will be allowed for the patient to order. The apparent artifact. Ten to twenty-four artifact-free epochs
patient can pay NeoSync directly with a credit card or (even (1,024 data points per epoch) in each recording channel are
tually) insurance. For each session, the psychiatrist may also 50 calculated by a fast Fourier transform (FFT) routine to pro
be paid. The psychiatrist would have access to all reports duce a power spectrum with 0.2 Hz frequency resolution. The
uploaded from the pMERT (NEST) via the website.                   intrinsic frequency of alpha EEG is defined as the mean peak
                                                                  frequency (Fp) of 3 central leads (C3, C4, and Cz). EEG
                           Example 6                              variables used in the analysis included power density (Pwr),
                                                               55 peak frequency (Fp), Fp longitudinal coherence, and fre
   Each patient admitted to the study is randomly assigned quency selectivity (Q). See Jin Y et al. Alpha EEG predicts
into one of the two study groups based on treatment using a visual reaction time. Int J Neurosci. 116: 1035-44 (2006),
plugged pMERT (NEST) device and sham, where a pMERT which is incorporated by reference in its entirety.
(NEST) device rotates a non-magnetic metal block instead of          Coherence analysis is carried out between Fz and PZ in the
a magnet. Patients are kept blind to the treatment condition. 60 peak alpha frequency. Recording from CZ is chosen to calcu
Each treatment consists of 22 daily sessions during a 30-day late the Q-factor (peak freq/half-power bandwidth), a mea
period (and/or at least 10 sessions during a 2 week period or Sure of the alpha frequency selectivity. It is measured in the
more). Patients current antipsychotic treatments are kept frequency domain by using a 60 sec artifact free EEG epoch
unchanged during the study.                                       and a 2.048 data point FFT with a 10-point smooth procedure.
   EEG data during treatments are recorded and individual 65 Multivariate analysis of variance (MANOVA) across all
ized according to the alpha EEG intrinsic frequency (8-13 channels for each variable is performed to test the treatment
Hz). The precision of the stimulus rate can be refined to the and stimulus location effects. Change score for each variable
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before and after pMERT (NEST) treatment is used to corre These may be connected to each other by belts or gears so that
late with the change score of each clinical measure from the they are driven by at least one motor. Non-limiting examples
same time points.                                                  of these embodiments are shown in FIGS. 16 through 21.
   FIG. 12 shows an example of the Q-factor as used in this           FIG.16 shows an example embodiment of a NEST device
invention. The figure shows a sample graph of the frequency having three diametrically magnetized cylindrical magnets
distribution of the energy of an EEG signal. It can be seen that 1602a, 1602b, 1602c rotating about their cylinder axes and
a frequency range. Afcan be defined as the frequency band applied to a subject 1606. The poles of each the magnets
width for which the energy is above one-half the peak energy.      1602a, 1602b, 1602c of the shown device are aligned gener
The frequency f is defined as the intrinsic frequency in the ally       to provide a peak magnetic field to the subject 1606 that
specified band. The Q-factoris defined as the ratio off/Af. As 10 is coincident with the peak magnetic fields delivered to the
can be seen, when AF decreases for a given f, the Q-factor
will increase. This can occur when the peakenergy E of the subject          1606 from each of the other magnets 1602a, 1602b,
                                                                   1602C. Another way of saying this is that each of the magnets
signal increases or when the bandwidth of the EEG signal           1602a, 1602b, 1602c has a neutral plane indicated by the
decreases.
                                                                   dotted line on each of magnets 1602a, 1602b, and 1602c, and
                          Example 7                             15 each the neutral planes is aligned to be generally parallel to
                                                                   the scalp of the subject 1606. This configuration provides a
      Effect of NEST Device Lowering Blood Pressure                more uniform field to the subject 1606 than if the magnets
                                                                   1602a, 1602b, 1602c are not aligned in such a manner.
   An effect of use of a NEST (i.e. pMERT) device using a             FIG. 17 shows an example embodiment of a NEST device
method provided herein was shown to lower blood pressure in 1788 having three diametrically magnetized cylindrical mag
a female patient. The patient, originally using a NEST to treat nets 1702a, 1702b, 1702c configured to rotate about their
anxiety, complained of a moderate tension headache and her cylinder axes (not shown). Each of the magnets 1702a,
blood pressure was taken, and read at 110/90 mmHg. A NEST          1702b. 1702c of this example embodiment is coupled to at
device was set at a fixed specified frequency equal to an least one magnet drive pulley 1716a, 1716b, 1716c. 1716d.
intrinsic frequency within her alpha EEG band and the mag 25 Each of the magnet drive pulleys 1716a, 1716b, 1716c. 1716d
netic field emanating from the device was applied to the has at least one drive belt 1718a, 1718b, 1718C, 1718d
patient’s head (cerebral cortex). During treatment using the wrapped at least partially about it. The device 1788 also
NEST device, three consecutive blood pressure measure comprises two tensioner assemblies 1708a, 1708b, each com
ments were taken at ten minute intervals, showing 110/85 prising a tensioner block 1710a, 1710b, a tensioner arm
mmHg, 100/82 mmHg, and 100/70 mmHg, respectively. An
hour after treatment with the NEST device had ceased, the 30 1712a,         1712b, and at least one tensioner drive pulley 1714a,
patient’s tension headache returned, and her blood pressure 1714b. 1714c each rotating about an axis going through the
was measured, reading 110/90 mmHg.                                 tensioner arm 1712a, 1712b, respectively, the axis generally
                                                                   being parallel to the rotation axis of the magnets and to the
                          Example 8                                drive shaft 1704 of the device 1788. In the embodiment shown
                                                               35   in FIG. 17, each of the tensioner assemblies has two tensioner
   In particular embodiments, a single cylindrical magnet that drive pulleys 1714a, 1714b. 1714c., (one tensioner drive pull
is diametrically magnetized (pole on the left and right sides of ley of tensioner assembly 1708 is not shown in FIG. 17—ob
the cylinder) spins about the cylinder axis. The magnet can be scured by the side support 1722, but can be seen, for example,
placed anywhere around the patient’s head, and locations can in FIG. 18). The drive belts 1718a, 1718b. 1718c, 1718d are
be chosen based on the desire for a more focal therapy at a 40 each also wrapped at least partially about at least one ten
particular location. Alternative embodiments can include sioner drive pulley 1714a, 1714b. 1714c., (one tensioner drive
stringing two or more cylindrical magnets together on the pulley of tensioner assembly 1708 is not shown in FIG.
same shaft, or along different shafts, to spin the magnets in 17 obscured by the side support 1722), such that each the
unison to create a particular magnetic field in treating the drive belts 1718a, 1718b, 1718c, 1718d is wrapped at least
patient. A non-limiting examples of this are found in FIGS. 13 45 partially around at least one of the magnet drive pulleys
through 15.                                                        1716a, 1716b, 1716c. 1716d and is also wrapped at least
   FIG. 13 shows an example embodiment of a diametrically partially around at least one of the tensioner drive pulleys
magnetized cylindrical magnet 2 for use in a NEST device.          1714a, 1714b. 1714c., (one tensioner drive pulley oftensioner
FIG. 14 shows an example embodiment of a NEST device assembly 1708 is not shown in FIG. 17 obscured by the side
applied to a subject 1406, the device having a diametrically 50 support 1722, but can be seen, for example, in FIG. 18) of the
magnetized cylindrical magnet 1402 and a drive shaft 1404 tensioner subassembly's 1708a, 1708b.
that rotates the magnet 1402 about its cylinder axis, wherein        The device 1788 shown in FIG. 17 is held together by two
the cylinder axis coincides with rotation axis 1438. FIG. 15 side supports 1722, 1720 connected by a support column
shows an example embodiment of a NEST device applied to 1724a. In some embodiments, a second Support column
a subject 1506, the device having two diametrically magne 55 1724b, a third Support column (not shown) may also connect
tized cylindrical magnets 1502a, 1502b and a drive shaft 1404 the side supports 1722, 1720. Each of the tensioner assem
that simultaneously rotates the magnets 1502a, 1502b about blies 1708a, 1708b and each of the magnets 1702a, 1702b,
their cylinder axes, wherein the cylinder axes are coincident 1702c are mounted to (coupled to) at least one of these sup
with each other and with rotation axis. In this example ports, if not both the side supports 1722, 1720. Each of the
embodiment device, the north pole of magnet 1502a and the 60 magnets 1702a, 1702b. 1702c are rotatably mounted to at
north pole of magnet 1502b are aligned to provide a more least one of the side supports 1722, 1720, such that each of the
uniform magnetic field to the subject 1506.                        magnets 1702a, 1702b. 1702c can rotate about their rotation
                                                                   axes (cylinder axes) without motion of either of the side
                          Example 9                                supports 1722, 1720. Likewise, at least the tensioner drive
                                                                65 pulleys 1714a, 1714b. 1714c. (and one tensioner drive pulley
   In particular embodiments, multiple cylindrical magnets unshown in FIG. 17) of the tensioner assemblies 1708a,
can be arrayed above a patients head so they spin in unison.       1708b are rotatably mounted (coupled) to at least one of the
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side supports 1722, 1720, such that each of the tensioner drive magnets are aligned Such that each of the neutral planes of
pulleys 1714a, 1714b. 1714c, (and one tensioner drive pulley each of the three magnets are generally aligned to be parallel
unshown in FIG. 17) can rotate about their rotation axes (not to the scalp of the subject.
shown) without motion of the side supports 1722, 1720.                FIG. 18 depicts an exploded view of the example embodi
    For example, drive belt 1718a wraps at least partially ment of the NEST device 1888 of FIG. 17 having three
around the magnet drive pulley 1716a of magnet 1702a, and diametrically magnetized cylindrical magnets configured to
also wraps at least partially around the tensioner drive pulley rotate about their cylinder axes. Shown in FIG. 18 is a NEST
1714a of the first tensioner assembly 1708a. The drive shaft device       1888 having two tensioner assemblies 1808a, 1808b.
1704, coupled to a motor (not shown), drives the rotation of 10 1810a that assembly
                                                                   Tensioner
                                                                               couples  to
                                                                                           1808a comprises a tensioner block
                                                                                           the side support 1822 by at least one
all of the magnets 1702a, 1702b, 1702c of the shown device tensioner dowel pin 1832a.            The tensioner block 1810a also
1788. The drive shaft 1704 is coupled to a first magnet 1702a
which, through its magnet drive pulley 1716a and associated couples         to the side support 1820 by at least one tensioner
belt 1718a turns the first tensioner drive pulley 1714a of the dowel      pin 1832b. The tensioner block 1810a floats freely
                                                                   along at least a portion of the dowel pins 1832a, 1832b. The
first tensioner assembly 1708a. The first tensioner drive pull 15 tensioner block 1810a is attached to a tensioner arm 1812a
ley 1714a of the first tensioner assembly 1708a is coupled to which has two tensioner drive pulleys 1814a, 1814d, which
the second tensioner pulley (not shown-obscured by side couple to drive belts 1818a, 1818b (respectively) which
support 1722) of the first tensioner assembly 1708a, and, themselves are coupled to magnets 1802a, 1802b (respec
thus, when the first tensioner pulley 1714a is turned by the tively) of the device 1888 through magnet drive pulleys
first drive belt 1718a, the second tensioner pulley (not shown) 1816a, 1816b. The tensioner block 1810a exerts a force on the
is also turned. Since the second drive belt 1718bis wrapped at belts 1818a, 1818b to keep the belts taut during use, since the
least partially around the second tensioner pulley (not shown) tensioner block 1810a is also coupled to tensioner springs
as well as the second magnet drive pulley 1716b of the second 1830a, 1830b which push the tensioner block 1810a away
magnet 1702b, the motion of the second tensioner pulley (not from the side supports 1822, 1820, and thus, away from the
shown) moves the second drive belt 1718b and likewise 25 magnet drive pulleys 1816a, 1816b coupled to the side Sup
drives the rotation of the second magnet 1702b. The second ports 1822, 1820 by centerpins (not shown) that run through
magnet 1702 has a third magnet drive pulley 1716c which is each of the drive pulleys 1816a, 1816b and the magnets
coupled to the second drive pulley 1716b, and the third drive 1802a, 1802b. When the centerpin is also attached to a motor,
belt 1718c wraps at least partially around the third magnet it may also rotate the magnet and its associated magnet drive
drive pulley 1716c, thus, motion of the second drive belt 30 pulley(s), and it may be called a drive shaft. Nevertheless, the
1718b also causes motion of the third drive belt 1718C             magnet drive pulleys 1816a, 1816b can rotate, and with their
wrapped at least partially around the third magnet drive pull rotational movement the magnet drive pulleys 1816a, 1816b
ley 1716c. The motion of the third drive belt 1718c, also can rotate, or be rotated by, the magnets 1802a, 1802b.
wrapped at least partially around the third tensioner pulley          Likewise, tensioner assembly 1808b comprises a tensioner
1714b of the second tensioner assembly 1708b thus drives the 35 block 1810b that couples to the side support 1822 by at least
rotation of the fourth tensioner pulley 1714c of the second one tensioner dowel pin 1832c. The tensioner block 1810b
tensioner assembly 1708b which is coupled to the third ten also couples to the side support 1820 by at least one tensioner
sioner pulley 1714b of the second tensioner assembly 1708b. dowel pin 1832c. The tensioner block 1810b floats freely
Furthermore, since the fourth drive belt 1718d is wrapped at along at least a portion of the dowel pins 1832c, 1832d. The
least partially around the fourth tensioner pulley 1714c of the 40 tensioner block 1810b is attached to a tensioner arm 1812b
second tensioner assembly 1708b, and is also wrapped at least which has two tensioner drive pulleys 1814b. 1814c, which
partially around the fourth magnet pulley 1716d of the third couple to drive belts 1818d, 1818c (not shown) (respectively)
magnet 1702c, the motion of the fourth drive belt 1718d which themselves are coupled to magnets 1802b, 1802c(re
drives the rotation of the third magnet 1702c simultaneously spectively) of the device 1888 through the magnet drive pull
with the rotation of the other two magnets 1702a, 1702b. 45 leys 1816c. 1816d. The tensioner block 1810b exerts a force
    In an alternative embodiment, the tensioner assemblies are     on the belts 1818d, 1818c (not shown) to keep the belts taut
not present, and the drive shaft drives the magnets connected during use, since the tensioner block 1810b is also coupled to
only to each other using drive belts. In an alternative embodi tensioner springs 1830c. 1830d which push the tensioner
ment, only one tensioner assembly is present and is coupled to block 1810b away from the side supports 1822, 1820, and
at least two magnets. In an alternative embodiment, only one 50 thus, away from the magnet drive pulleys 1816c. 1816d
tensioner assembly is present and is coupled to each of the coupled to the side supports 1822, 1820 by center pins (not
magnets. In an alternative embodiment, the magnets are shown) that run through each of the drive pulleys 1816c.
coupled to each other by gears. In an alternative embodiment,      1816d and the magnets 1802b, 1802c. When the centerpin is
the magnets are coupled to each other by a combination of at also attached to a motor, it may also rotate the magnet(s) and
least one gear and at least one belt. In an alternative embodi 55 its associated magnet drive pulley(s), and it may be called a
ment, the magnets are coupled to each other by a combination drive shaft. Nevertheless, the magnet drive pulleys 1816c.
of at least one gear and at least two belts, wherein each belt is 1816d can rotate, and with their rotational movement the
coupled to a tensioner assembly as generally described magnet drive pulleys 1816c. 1816d can rotate, or be rotated
herein. In an alternative embodiment, the magnets are by, the magnets 1802b, 1802c.
coupled to each other by a rotation means, wherein the rota 60 Also shown in FIG. 18 are support screws 1826a, 1826b
tion means is configured to drive the rotation of the magnets which attach the support columns 1824b (other support col
simultaneously.                                                    umns are either not called-out or not shown in FIG. 18) to the
    The tensioner assemblies in the embodiments shown in           side support 1822 and/or to the side support 1820.
FIG. 17, FIG. 18, and FIG. 19, for non-limiting example, are          FIG. 19 shows the example NEST device embodiment of
configured to keep the drive belts taut during use and, there 65 FIG. 17 and/or of FIG. 18 having three diametrically magne
fore, ensure that the rotation of the magnets is simultaneous tized cylindrical magnets 1902a, 1902b, 1902c configured to
and generally in-phase as applied to the Subject where the rotate about their cylinder axes and including a frame 1934
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and base 1936 for mounting the NEST device. The embodi belt 2018b is also wrapped at least partially around a twelfth
ment shown in FIG. 19 includes a NEST device having three magnet drive pulley 2016c of a seventh magnet 2002b. An
magnets 1902a, 1902b, 1902c, each having magnet drive eighth drive belt 2018a is wrapped at least partially around a
pulleys 1916a, 1916b, 1916c, 1916d at least partially about thirteenth magnet drive pulley 2016b of the seventh magnet
which is wrapped a drive belt 1918a, 1918b, 1918c, 1918d 5 2002b. The eighth drive belt 2018a is also wrapped at least
each of which is also at least partially wrapped around a partially around a fourteenth magnet drive pulley 2016a of an
tensioner drive pulley 1914a, 1914b (not shown) 1914c (not eighth magnet 2002a. As arranged, therefore, the motion of
shown) 1914d (not shown) coupled to a tensioner arm 1912a, the fifth drive belt 2018d coupled to the drive shaft 2004
1912b (not shown) of a tensioner assembly. Each tensioner rotates the fifth magnet 2002d, the sixth magnet 2002c, the
assembly may include a tensioner block 1910a (not shown) 10 seventh magnet 2002b, and the eighth magnet 2002a simul
1910b, and a tensioner spring 1930a (not shown), 1930c taneously. In an alternative embodiment, the drive shaft has
which cooperate with at least one of the side supports 1922, only one drive belt that drives all of the rotation of all of the
1920 to pull the drive belts 1918a, 1918b, 1918c, 1918d taut. magnets. Also shown in FIG. 20 are the side supports 2022,
The magnets 1902a, 1902b, 1902c are rotatably coupled to 2020 connected by at least two support columns 2024a,
side supports 1922, 1920, and at least one magnet 1902a in 15 2024b. The supports 2020, 2022 hold each of the magnets
the embodiment shown is coupled to a drive shaft 1904 which 2002a-2002h in place relative to the supports 2020, 2022
rotates the magnet 1902a to which it is directly coupled, and while allowing rotational motion of the magnets 2002a
through the cooperation of the magnet drive pulleys 1916a, 2002h and of the drive shaft 2004 which may me driven, for
1916b, 1916C, 1916d, drive belts 1918a, 1918b, 1918c,                 non-limiting example, by a motor (not shown).
1918d, and tensioner drive pulleys 914a, 1914b (not shown) 20 FIG. 21 shows the magnet rotation of the example NEST
1914c (not shown) 1914d (not shown), also rotates the other device embodiment of FIG. 20 having eight diametrically
magnets 1902b, 1902c of the NEST device such that all of the magnetized cylindrical magnets 2102a-2102h configured to
magnets 1902a, 1902b, 1902c rotate simultaneously.                    rotate about their cylinder axes. FIG. 21 shows a side view of
   FIG. 20 shows an example embodiment of a NEST device an embodiment of a NEST device (not showing, for example,
having eight diametrically magnetized cylindrical magnets 25 side Supports), which is similar to the embodiment shown in
2002a-2002h, configured to rotate about their cylinder axes.          FIG. 20. In this embodiment, each of the magnets 2102a
Each of the magnets 2002a-2002h has at least one magnet 2102h has at least two drive belts (for example, drive belts
drive pulley 2016a-2016n coupled to it which rotates the 2118a-2118h) coupled to it which rotate the magnet 2102a
magnet 2002a-2002h when the magnet drive pulley 2016a 2102h, or which are rotated by the magnet 2102a-2102h,
2016n is rotated by a belt 2018.a-2018h that is at least partially 30 when the drive shaft 2104 is rotated. In the embodiment
wrapped around at least one of the magnet drive pulleys shown, two drive belts 2118d, 2118e are wrapped at least
2016a-2016 n. In the embodiment shown, a drive shaft 2004             partially around the drive shaft 2104. The drive shaft 2104
has two drive belts 2018d, 2018e wrapped at least partially thus rotates all of the magnets 2102a-2102h simultaneously
around the drive shaft 2004. The drive shaft 2004 thus rotates        through a series of drive belts 2118a-2118h all coupled to the
all of the magnets 2002a-2002h simultaneously through a 35 drive shaft 2104. Shown in this embodiment is an example of
series of drive belts 2018.a-2018h and magnet drive pulleys the direction of rotation of the magnets 2102a-2102h (indi
2016a-2016.n all coupled to the drive shaft 2004.                     cated by arrows) resulting from a clockwise rotation of the
   For example, the first drive belt 2018e is wrapped at least drive shaft 2104. An opposite direction of movement is
partially around the drive shaft 2004, and is also wrapped at achieved when the drive shaft is rotated in a counter-clock
least partially around a first magnet drive pulley 2016.h of a 40 wise direction. In the embodiment shown, the clockwise rota
first magnet 2002e. A second drive belt 2018fis wrapped at tion of the drive shaft 2104 rotates all of the magnets 2102a
least partially around a second magnet drive pulley 2016i of 2102h in a clockwise direction due to the belt 2118q-2118h
the first magnet 2002e. The second drive belt 2018f is also arrangement shown. Each of the belts 2118a-2118h shown is
wrapped at least partially around a third magnet drive pulley wrapped either around two magnets or around a magnet and
2016i of the second magnet 2002f. A third drive belt 2018g is 45 the drive shaft.
wrapped at least partially around a fourth magnet drive pulley
2016k of the second magnet 2002f. The third drive belt 2018g                                    Example 10
is also wrapped at least partially around a fifth magnet drive
pulley 20161 of a third magnet 2002g. A fourth drive belt                In particular embodiments, a disc shaped magnet that is
2018h is wrapped at least partially around a sixth magnet 50 axially magnetized (the poles are on the top and bottom faces)
drive pulley 2016m of the third magnet 2002g. The fourth can be cut in half, one half turned over (aligning N of one half
drive belt 2018h is also wrapped at least partially around a with S of the other half) and placed together. This disc can be
seventh magnet drive pulley 2016n of a fourth magnet 2002h.           spun about the center of the disc to get a magnetic field that is
As arranged, therefore, the motion of the first drive belt 2018e uniform over a large area. In a similar embodiment, two
coupled to the drive shaft 2004 rotates the first magnet 2002e, 55 rectangular magnets having poles aligned and positioned
the second magnet 2002f the third magnet 2002g, and the similarly to the disc as previously described can be spun about
fourth magnet 2002h simultaneously.                                   the center of the rectangular magnets to create a similarly
   Similarly, the fifth drive belt 2018d is wrapped at least uniform field. An example of the disc magnetis shown in FIG.
partially around the drive shaft 2004, and is also wrapped at 22, and an example of the rectangular magnet similar to the
least partially around an eighth magnet drive pulley 2016g of 60 disc magnet is shown in FIG. 23.
a fifth magnet 2002d. A sixth drive belt 2018c is wrapped at             FIG.22 shows an example embodiment of a NEST device
least partially around a ninth magnet drive pulley 2016.fof the having two disc magnets 2202a, 2202b that rotate about a
fifth magnet 2002d. The sixth drive belt 2018c is also common rotation axis 2236. The device comprises two disc
wrapped at least partially around a tenth magnet drive pulley shaped magnets 2202a, 2202b that are axially magnetized
2016e of the sixth magnet 2002c. A seventh drive belt 2018b 65 (the poles are on the top and bottom faces). The north pole of
is wrapped at least partially around an eleventh magnet drive the first magnet 2202a aligns with the southpole of the second
pulley 2016d of the sixth magnet 2002c. The seventh drive magnet 2202b (aligning their neutral planes). The device
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further comprises a drive shaft 2204 that aligns with the          2534 to a base 2536. This allows the magnet 2502 to be held
center of the disc magnets 2202a, 2202b and with, therefore,       stationary as the device treats a subject whose head may be
the rotation axis 2236 of the magnets 2202a, 2202b.                positioned near to the magnet 2502 (within the magnetic field
   FIG. 23 shows an exploded view of an alternate embodi           produced by the magnet 2502). The magnet 2502 is coupled
ment of an example NEST device embodiment similar to that          to the controller subunit 2558 by a drive shaft 2504. The drive
of FIG.22 having two rectangular magnets 2302a, 2302b that         shaft 2504 may couple to a motor 2572 of the controller
rotate around a common rotation axis 2336. The device com          subunit 2558 by a coupling 2578. The coupling may allow for
prises two rectangular magnets 2302a, 2302b that are mag various magnet arrangements to be interchanged by merely
netized such that the north pole of the first magnet 2302a decoupling the drive shaft from the controller subunit and
faces away from the drive shaft2304, and the southpole of the 10 coupling a device having another arrangement of magnets
first magnet 2302a faces the drive shaft 2304, and the north (such as, for example, those described herein). The magnet
pole of the second magnet 2302b faces the drive shaft 2304 2502 may be controlled by the controller subunit 2558
while the south pole of the second magnet 2302b faces away through the motor 2572 that may be driven by a motor driver
from the drive shaft 2304. The poles of each of the magnets 2574. The motor driver 2574 may be coupled (directly or
2302a, 2302b, thus, face the top cover 2352 and the bottom 15 indirectly) to a power supply 2576. The motor driver 2574,
cover 2350 of the device, but the magnets 2302a, 2302b, have which can control, for non-limiting example, the speed, direc
opposite polarity. In the embodiment shown, the first magnet tion, acceleration, etc., of the magnet 2502 through the drive
2302a is held in place in the device by a first magnet holder shaft 2504, can be directed and/or monitored by controls such
2344a having two pieces that are connected by a magnet as, for example, a device speed control 2560, an on/off control
holder cap screw 2342 and a magnet holder dowel pin 2340. 2562, a display 2564, a random/continuous control 2566, and
The first magnet 2302a is placed between and at least partially a high/low control 2568. A user can adjust each of these
within the pieces of the first holder 2344a. Likewise, the controls, which are coupled to a processor circuit board 2570
second magnet 2302b is held in place in the device by a and thus coupled to the motor driver 2574.
second magnet holder 2344b having two pieces that are con             Alternatively, and/or additionally, the drive shaft 2504 and/
nected by a magnet holder cap screw (not shown) and a 25 or the magnet(s) may be controlled automatically based on a
magnet holder dowel pin (not shown). The second magnet prescribed treatment (time of treatment, frequency of magnet
2302b is placed between and at least partially within the rotation, etc) that is downloaded and/or programmed into the
pieces of the second holder 2344b. The two holders 2344a, processor circuit board 2570 from a source external or inter
2344b are coupled together, and may have a center beam 2348 nal to the controller subunit, as previously described herein.
that holds the first and second holders 2344a, 2344b together. 30 Treatments received may be stored by the controller subunit.
The holders 2344a, 2344b may also be held together addi Additionally and/or alternatively, where EEG electrodes are
tionally or alternatively by adhesive 2346. The drive shaft also present in the device and are capable of measuring the
2304 is coupled to the holders 2344a, 2344b, in the embodi Subject's brain waves, the device may adjust the treatment
ment shown, by attaching to the centerbeam 2348, which thus automatically by a biofeedback system. Additionally and/or
couples the magnets 2302a, 2302b to the drive shaft 2304 35 alternatively, where EEG electrodes are present in the device
such that rotation of the drive shaft 2304 likewise spins the and are capable of measuring the Subject's brain waves, the
magnets 2302a, 2302b within the holders 2344a, 2344b about treatment may be chosen based on the readings of the Sub
the rotation axis 2336. The drive shaft 2304 may alternatively ject's brain waves prior to the treatment. Additionally and/or
and/or additionally be coupled to the holders 2344a, 2344b alternatively, where EEG electrodes are present in the device
and to the center beam 2348 by adhesive 2346. The magnets 40 and are capable of measuring the Subject's brain waves, the
2302a, 2302b encased in the holders 2344a, 2344b are addi          treatment may be chosen automatically by the device based
tionally housed within a top cover 2352 and a bottom cover on the readings of the subject's brain waves prior to the
2350. The covers 2350, 2352 are connected to one another by treatment and based on a set of rules stored in the controller
at least one cover cap screw 2354. The drive shaft 2304 fits subunit. Additionally and/or alternatively, where EEG elec
through at a hole 2356 in at least one of the covers, for 45 trodes are present in the device and are capable of measuring
example, the bottom cover 2350. Where the cover 2350 is the subjects brain waves, the controller subunit is capable of
disc-shaped, as shown in FIG. 23, the hole 2356 is located the storing the output of the EEG electrodes prior to, during,
center of the disc cover 2350, and the hole 2356 is configured and/or after treatment with the NEST device. Additionally
such that the drive shaft2304 may rotate freely within the hole and/or alternatively, where EEG electrodes are present in the
2304, for example, with aid of a bearing which allows drive 50 device and are capable of measuring the Subject’s brain
shaft rotation (and, thus, magnet rotation) relative to the cov waves, the controller Subunit is capable of transmitting the
ers 2350, 2352.                                                    output of the EEG electrodes prior to, during, and/or after
                                                                   treatment with the NEST device. This transmitting may be
                           Example 11                              real-time (during measurement), or after storage of the EEG
                                                                55 electrode outputs and during an upload or download from the
   FIG. 24 shows an example embodiment of a NEST device NEST device.
similar to the embodiments depicted in FIGS. 22 and/or 23
having two magnets 2402a, 2402b rotating about a common                                      Example 12
rotation axis applied to a subject 2406 and showing the con
troller subunit 2458 coupled to a drive shaft 2404 that rotates 60          Effect of a Device Lowering Blood Pressure
the magnets 2402a, 2402b. The controller subunit 2458 may
contain a motor (not shown) that cooperates with the drive            An effect of use of a modified rTMS device according to
shaft 2404 to rotate the magnets 2402a, 2402b.                     the methods and device descriptions provided herein was
   FIG. 25 shows block diagram of an example embodiment shown to reduce the symptoms of fibromyalgia. The patient
of a NEST device showing example elements of the NEST 65 complained of chronic widespread pain and tenderness to
device and of its controller subunit. For example the embodi light touch, and was diagnosed with fibromyalgia. The NEST
ment shown depicts a magnet 2502 that is mounted by a frame device was used to tune an intrinsic frequency (of the patients
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alpha wave). Following treatment, the patient reported a             FIG. 19, with permanent magnets arranged as shown in FIG.
reduction of the symptoms of fibromyalgia.                           16 to treat subjects with moderate to severe depressive disor
                                                                     der. Outcomes were measured by Ham-D, CGI-I, and CGI-S.
                       Example 13                                    FIGS. 38-41 show the results of the study utilizing the NEST
                                                                     device and methods for the treatment of depression as pro
   FIG. 26 shows an example embodiment of a NEST device vided herein.
having a single bar magnet 2602 that moves linearly along its
north-South axis 2639 once each time the Supporting ring (or in The          study was conducted at two sites. In the method used
annulus) 2619 is rotated (rotation shown by arrows in FIG. Q-factortrial,
                                                                        this       a magnetic field was adjusted to influence the
26), providing a pulse-type alternating magnetic field at the 10 alpha-band. Theintrinsic
                                                                               of an         frequency of each subject within the
                                                                                       magnetic field was applied close to the head
frequency of rotation. In this embodiment, a magnet 2602 is of the subject. EEG readings              were taken before treatment
secured against a rotating ring (or annulus)2619 with a spring
2628, where the ring 2619 has one or more detents 2629. The began.           The magnets were in the same location and rotated in
subject 2606 is shown below the ring 2619 in FIG. 26. When the same manner for all Subjects receiving the magnetic
the ring 2619 is rotated, as shown with the arrows in FIG. 26, 15 therapy. All subjects underwent a traditional 19-lead EEG
the magnet 2602 will be thrust into each detent 2629 once per recording. A Cadwell Easy 2.1 EEG system was used to take
rotation. As the ring 2619 continues to rotate, the magnet the 19-lead EEG reading. The intrinsic frequency in the alpha
2602 will move back to its original position. This periodic band (7-11 Hz) was determined using the initial EEG reading.
thrust may generate a more unipolar pulsatile magnetic field The specific alpha frequency (pre-selected frequency) was
than that generated by a rotating magnet. The width and selected from the EEG recording using a curve-fitting tech
amplitude of the magnetic pulse depends on the mass and nique to determine the Subjects intrinsic frequency of the
strength of the magnet, as well as the strength of the spring, alpha wave and to determine the Q-factor of the alpha wave.
and the depth of the detent.                                           Patients were placed in one of three groups: constant fre
   In alternative embodiments to that shown in FIG. 26, there        quency, random frequency, or sham, with equal probability
could be multiple detents in the ring. The ring could be for each group. The sham treatment (SHAM) was created
non-circular. The magnet could rotate around the ring, while 25 using the prototype by Substituting steel cylinders of the same
the ring is stationary. There could be multiple magnets and a weight and size for the 3 magnets. The sham operates iden
single detent. There could be multiple magnets and multiple tically to the device, except that no alternating magnetic field
detents. Instead of a detent, the magnet or magnets could is generated. The sham is indistinguishable from the device in
encounter a ridge, or multiple ridges. The magnet or magnets that it looks and Sounds the same, and has the same vibration
could encounter slopes, rather than sharp detents or ridges. 30 when in operation. When using the sham, the same procedure
The magnet could be positioned such that the north pole is as the prototype was followed in that the subject's EEG was
closer to the treatment area than the south pole, or such that recorded and the sham cylinder rotation was set to the average
the south pole is closer to the treatment area than the north alpha frequency (the Subjects intrinsic frequency of his/her
pole (such as is shown in FIG. 26). In some embodiments, the alpha wave).
number of detents is the same as the number of magnets of the 35 Study subjects had been diagnosed with MDD, with a
device. In some embodiments, the number of detents is not            Hamilton Depression (HAMD-17) score of 17 or greater.
the same as the number of magnets of the device. In some Additional eligibility criteria included an unsatisfactory clini
embodiments, the number of detents is a multiple of the cal response to previous antidepressant therapy prescribed at
number of magnets of the device. In some embodiments, the adequate dose and appropriate time interval prior to the trial
number of detents is not a multiple of the number of magnets 40 treatment. All study Subjects were using concomitant antide
of the device.                                                       pressant treatment and had been stable on medications for
   In an alternative embodiments of the device, the magnet greater than one month prior to their admission into the study:
may flip (or rotate) about an axis between the north pole and no adjustment to the Subjects antidepressant regimen was
south pole as a ring similar to that shown in FIG. 26 rotates. made during the study.
The magnet may be freely rotatable about the axis between 45 Study subjects were randomized to one of three treatment
the north pole and South pole, and the magnet may be rotat arms, consisting of either a fixed frequency magnet rotation,
able about a shaft. The shaft, in this embodiment, is not            a random frequency magnet rotation, or sham treatment.
coupled to a drive source. Rather, the ring itself may drive the Sham treatments (SHAM) simulating both fixed and random
flipping (rotating) of the magnet by capturing a first portion of frequency were employed to ensure blinding of the study
the magnet in a first detent and moving that first portion as the 50 Subjects and personnel at the clinical sites. Both a fixed and a
ring moves until a second portion of the magnetis captured by random frequency were evaluated, with the goal of assessing
second detent of the ring which likewise moves the second any differences between these two treatment patterns. If the
portion of the magnet. In some embodiments, the first portion patient was in the “constant frequency” group, the NEST was
is associated with a first pole of the magnet, and the second set to rotate the magnets at the intrinsic frequency. If the
portion is associated with a second pole of the magnet. In one 55 patient was in the “random frequency” group, the NEST was
embodiment, the first pole may be the north pole of the set to rotate the magnets at random frequencies between 6 HZ
magnet and the second pole may be the South pole of the and 12 HZ, changing frequencies once per second. If the
magnet. In another embodiment, the first pole may be the patient was in the "SHAM” group, the magnets in the NEST
South pole of the magnet and the second pole may be the north were replaced with steel cylinders, thereby imparting no mag
pole of the magnet. A drive source may drive the movement of 60 netic field to a head of the patient. The patients in this group
the ring which, in turn, drives the rotation of the magnet. The were divided into two subgroups with equal probability, with
drive source may be motor, for non-limiting example.                 one group having the cylinders rotated at the intrinsic fre
                                                                     quency and the other group having the cylinders rotated at
                           Example 14                                random frequencies as noted above.
                                                                  65   Study subjects were treated daily on weekdays (Monday
   A study was conducted a controlled, randomized, double through Friday) for four weeks, with treatment consisting of
blind multicenter study using the NEST device as shown in a single 30-minute session. All treatment sessions were
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administered at the study site. Baseline EEG and clinical            HAMD-17 weekly change in the test group (NEST) of sub
symptoms were recorded 3 days or less prior to the first             jects having a fixed pre-selected frequency emitted from the
session of treatment followed by series of quantitative analy        device (the fixed pre-selected frequency being, in this
SCS.                                                                 example, the Subjects own average intrinsic frequency), and
   The subjects EEG was recorded weekly during the study the third set of four bars represent the HAMD-17 weekly
with a 19-channel system with the subject at rest with eyes change in the test group (NEST) of subjects having a random
closed. An FFT with a 30-second window was used to quan frequencies (hopping frequencies) emitted from the device
tify the signal of each channel to produce consecutive fre within the alpha band (8-13 Hz), independent of the subjects
quency bands alpha, beta, delta, and theta. The alpha band own average intrinsic frequency. Each of the bars within each
was further analyzed with the non-linear curve fitting to 10 test         group represents the average HAMD score at the end of a
obtain the Q-factor for the subject. Single Photon Emission week,
Computed Tomography (SPECT) scans were taken at base to right,starting               with week 0 (baseline), week 1, 2, 3, and 4, left
                                                                               respectively. After the fourth week of treatment, the
line and at the end of the 4-week study for the subjects NEST groups were significantly                  better than the SHAM as an
enrolled at the U.S. clinical site. Voxel readings of given areas
were averaged across different slices to render a mean value      15 overall  measure   (F1, 43=10.17,    P=0.003), or on a time by
of each Region of Interest (ROI).                                    treatment interaction (F3, 129=6.7, P=0).
   Efficacy and adverse effects of the treatment were evalu             FIG. 39 shows the average drop in HAMD-17 score
ated on a weekly basis during the treatment using EEG and between the active group (NEST fixed and random frequency
quantitative depression scales. The determination of a suc groups combined) and the SHAM, along with Table 3 show
cessful outcome based on change in HAMD-17 score was ing the week by week change, with standard error and confi
made at 4 weeks for each subject. Each of the study subjects dence interval. After the fourth week of treatment, the active
were contacted at 8 weeks and interviewed to determine               group (NEST groups combined) was significantly better than
whether any adverse events had occurred during the previous the sham as an overall measure (F1.43-6.5, P=0.01), or on a
month.
                                                                     time by treatment interaction. The first data point represents
   A total of 52 subjects with MDD were enrolled in this 25 the Baseline measurement (value of 0 change). The second
study. All subjects met the eligibility criteria for enrollment. data point represents the average change after one (1) week of
As shown in Table 1, mean age of the population was 43.8 treatment.              The third data point is the average change after two
years, and 56.8% of subjects were female. No clinically rel
evant differences were observed at baseline for demographic (2) weeks of treatment. The fourth data point is the average
characteristics or baseline MDD severity (Table 2).               30 change after three (3) weeks of treatment. The fifth data point
                                                                     is the average change after four (4) weeks of treatment. The
                            TABLE 1.                                 top line represents the average HAMD score for subjects
                                                                     treated with the SHAM device, the bottom line represents the
        CLINICAL STUDY DEMOGRAPHIC INFORMATION                       average HAMD score for subjects treated with the NEST
                               NEST          SHAM       Statistics          35   device.

Gender (Male:Female)           12:17           7:8     X = 0.11, P =                                                TABLE 3
                                                       O.74
Age (s.d.)                   42.5 (15.0)   46.3 (12.7) t = 0.85, P = 0.40                    MEAN, STANDARD ERROR, AND CONFIDENCE
Years of Education (s.d.)    13.9 (4.2)    14.1 (3.2) t = 0.16, P = 0.87                     INTERVAL FOR THE DROPIN HAMD-17 SCORE
                                                                            40
                                                                                                FORTREATMENT AND SHAMGROUPS

                                TABLE 2                                                                                                    95% Confidence
                                                                                                                                              Interval
         CLINICAL STUDYBASELINE CLINICAL INFORMATION
                                                                            45       Dependent                                 Std.       Lower          Upper
                               NEST          Sham       Statisies:                   Variable          Tx        Mean         Error       Bound          Bound

Age of Onset (s.d.)          33.0 (14.6)   30.7 (13.9) t = 0.50, P = 0.62            Week 1             O       1.383         O.792       -0.214          2.980
Duration of Illness (s.d.)   11.1 (9.7)    13.6 (11.4) t = 0.79, P = 0.44                               1       2.460         OS46         1.359          3.S60
Hamilton Score (s.d.)        21.3 (4.0)    19.4 (4.1) t = 1.55, P = 0.13             Week 2             O       2.267e        1.087        O.O76          4.459
Antidepressents (SSRI           28,3          1570 X = 1.55, P =            50
other)                                                 O.21                                             1       4.806         O.749        3.296          6.317
Alpha EEG Power (s.d.)       44.9 (37.0)   41.2 (40.2) t = 0.31, P = 0.76            Week 3             O       4.351         1.199        1932           6.770
Alpha EEG Frequency           9.7 (0.9)     9.3 (1.1) t = 1.39, P = 0.17                                1       7.443           827        5.776          9.110
(s.d.)                                                                               Week 4             O       4.495         1.433        1604           7.385
Alpha EEG Q-factor           10.4 (5.1)     9.9 (4.7) t = 0.38, P = 0.71                                1       9.986         O.988        7.994         11.979
(s.d.)                                                                      55
                                                                                 Covariates appearing in the model are evaluated at the following values: Baseline HAMD
   Seven subjects withdrew from the study prior to the Week = 20.72.
1 visit, due to problems returning to the study site. Thus no         For further analysis, the test subjects using the SHAM
post-baseline data were available. For subjects who did not
complete the 4-week follow-up, the last available value was     60 device  and the NEST device were divided into two groups:
imputed (LOCF) for each of the assessment scales.                  responders and non-responders. A responder was defined as a
   No study site interaction was found (F1,43=0.22, P=0.64).       subject who experienced at least 50% improvement on the
Therefore, the results provided combine data from both sites.      HAMD-17. Table 4 gives the responder vs. non-responder
FIG.38 shows the HAMD-17 score mean and standard error             data for the sham and active (NEST) groups. There were
at baseline and at the end of each week of treatment. The first 65 significantly more responders in the active treatment group
set of four bars represent the HAMD-17 weekly change in the (1%9 or 55.2%) compared to sham (2/16 or 12.5%) (2–7.82,
SHAM group, the second set of four bars represent the P=0.005).
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                              TABLE 4                                        increase in metabolism in the cortex, particularly in the pre
                                                                             frontal region, the area of the brain associated with mood.
  Proportion of Subiects with at least a 50%. Improvement in Symptoms        FIG. 42 shows how the increase in rCBF in orbital frontal
                 Non-responder           Responder           Total           cortex predicts clinical improvement in depression (r=-0.67.
                                                                             P=0.04). This figure shows that as the blood flow in the orbital
    Sham         14 (87.5%)               2 (12.5%)            16            frontal cortex is increased, the HAMD score decreases.
    Active       13 (44.8%)              16 (55.2%)            29
    Total        27                      18                    45                                     Example 15
                                                                       FIG. 41 shows the results of a clinical trial utilizing the
                                                                        10
  Each subject's EEG was recorded at baseline and at the            NEST device for the treatment of anxiety. This trial involved
conclusion of 4 weeks of treatment. The NEST device                 two (2) patients (subjects). Both patients received treatment
reduced the alpha EEG Q-factor significantly (F1, 18>4.3, with the NEST device as shown in FIG. 19, with permanent
P<0.05) as measured by the global average or the average at magnets arranged as shown in FIG.16. In the method used for
the pre-frontal cortex (P=0.03). The decrease in Q-factor 15 these patients, a magnetic field was adjusted to influence the
correlates well with clinical improvement in depression Q-factor of an intrinsic frequency of each subject within the
symptoms (r-0.46, P=0.01). FIG. 40 shows the change in alpha-band. The magnetic field was applied close to the head
HAMD-17 score versus the change in the alpha Q-factor. That of the subject. EEG readings were taken before treatment
is, it shows the percent improvement in HAMD score com began. A Cadwell Easy 2.1 EEG system was used to take a
pared to the percent change in Q-factor for Subjects who            19-lead EEG reading. The intrinsic frequency in the alpha
received the NEST device treatment. The change in the Q-fac band (7-11 Hz) was determined using the initial EEG reading.
tor of the alpha wave (as a %) is presented along the X-axis,       Both patients were treated with a constant frequency, wherein
while the change in HAMD Score (as a %) is presented along for each patient the NEST was set to rotate the magnets at the
the y-axis. A decrease in HAMD-17 score was generally intrinsic frequency detected for that patient. Patients received
accompanied by a decrease in Q-factor of the alpha fre 25 treatment every weekday for 30 days. EEG readings were
quency. The bestfit line was plotted of the data (Linear regres taken after treatment at least on a weekly basis. The first data
sion R Squared value of 0.212).                                     point is the baseline HAMA score. The second data point for
   The regional Cerebral Blood Flow (rCBF) of subjects each line represents the HAMA score after one (1) week of
enrolled at the US study site was evaluated using a SPECT treatment for each patient. The third data point for each line
scan at baseline and again after the 4 weeks of treatment. A 30 represents the HAMA score after two (2) weeks of treatment
significant correlation between changes in rCBF and HAMD for each patient. The fourth data point for each line represents
17 score was found, specifically in the orbital frontal cortex the HAMA score after four (4) weeks of treatment for each
(r -0.67, P=0.04), prefrontal tip (r=-0.66, P=0.05), and dor patient.
sal lateral prefrontal cortex (r—-0.55, P=0.12). See Table 5           The various functions or processes disclosed herein (such
showing the correlation between Changes in rCBF (%) and 35 as, for non-limiting example, logic that performs a function or
HAMD Score (%). Areas of increased activation of the active process) may be described as data and/or instructions embod
NEST device compared to sham were observed, along with ied in various computer-readable media, in terms of their
areas of deactivation of the active NEST device compared to behavioral, register transfer, logic component, transistor, lay
SHAM. Areas of the cortex were observed to be activated by out geometries, and/or other characteristics. The logic
NEST device treatment compared to SHAM. Areas of the 40 described herein may comprise, according to various embodi
cortex were observed to be deactivated by NEST device com ments of the invention, Software, hardware, or a combination
pared to SHAM. A significant portion of the cortex was of software and hardware. The logic described herein may
shown to have increased blood flow for the active subjects comprise computer-readable media, Computer-readable
(using the NEST device) compared to sham. Much of this media in which Such formatted data and/or instructions may
activation occurs in the prefrontal cortex. Using the therapy, 45 be embodied include, but are not limited to, non-volatile
activation of the cortex occurs, especially in the frontal storage media in various forms (e.g., optical, magnetic or
region, whereas deactivation occurs in the rear and lower semiconductor storage media) and carrier waves that may be
regions of the brain.                                               used to transfer Such formatted data and/or instructions
                                                                    through wireless, optical, or wired signaling media or any
                                TABLE 5                          50 combination thereof. Examples of transfers of such formatted

                                  HAMD Pearson Corr.  N     Sig.
                                                                    data and/or instructions by carrier waves include, but are not
                                                                    limited to, transfers (uploads, downloads, e-mail, etc.) over
Orbital Frontal Cortex                 -0.67          9     O.04    the Internet and/or other computer networks via one or more
Prefrontal Tip                         -0.66          9     O.OS    data transfer protocols (e.g., HTTP, FTP, SMTP, etc.). When
Dorsal Lateral Prefrontal Cortex       -O.S.S         9     O.12 55 received within a computer system via one or more computer
Anterior Cingular                      -0.4           9     O.29
Anterior Temporal Lobe                 -0.15          9     0.7     readable media, such data and/or instruction-based expres
Parietal Lobe                          -0.47          9     O.21    sions of components and/or processes under the ICS may be
Occipital Lobe                         -0.08          9     O.83    processed by a processing entity (e.g., one or more proces
Limbic System                          -0.34          9     0.37    sors) within the computer system in conjunction with execu
Basal Ganglia                          -0.25          9     O.S1 60 tion of one or more other computer programs.
                                                                       Unless the context clearly requires otherwise, throughout
    In this study, a large, statistically significant decrease in the description and the claims, the words "comprise.” “com
HAMD score was observed in subjects treated with the NEST prising.” and the like are to be construed in an inclusive sense
device. This improvement in Symptoms of depression was as opposed to an exclusive or exhaustive sense; that is to say,
accompanied by a significant decrease in Q-factor in the 65 in a sense of “including, but not limited to.” Words using the
cortex. In addition, in subjects treated with the active NEST singular or plural number also include the plural or singular
device, there was an increase in blood flow, and therefore an       number respectively. Additionally, the words “herein.” “here
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under,” “above.” “below,” and words of similar import refer to            an intrinsic frequency of a specified EEG band of the
this application as a whole and not to any particular portions               Subject toward a pre-selected intrinsic frequency of
of this application. When the word 'or' is used in reference to             the specified EEG band and
a list of two or more items, that word covers all of the follow           a Q-factor of an intrinsic frequency within a specified
ing interpretations of the word: any of the items in the list, all 5         EEG band of the subject toward a pre-selected Q-fac
of the items in the list and any combination of the items in the             tor,
list.                                                                   wherein the pre-selected intrinsic frequency is a frequency
   The above descriptions of illustrated embodiments of the                that increases blood flow in the cortex of the subject, and
system, methods, or devices are not intended to be exhaustive              wherein the pre-selected Q-factor is a Q-factor that
or to be limited to the precise form disclosed. While specific 10          increases blood flow in the cortex of the subject.
embodiments of and examples for, the system, methods, or                2. A method comprising:
devices are described herein for illustrative purposes, various         (a) adjusting output of a magnetic field;
equivalent modifications are possible within the scope of the           (b) applying said magnetic field close to a head of a Subject;
system, methods, or devices, as those skilled in the relevant             and
art will recognize. The teachings of the system, methods, or 15        (c) moving, using the magnetic field, an intrinsic frequency
devices provided herein can be applied to other processing                of a specified EEG band of the subject toward a pre
systems, methods, or devices, not only for the systems, meth              selected intrinsic frequency of the specified EEG band,
ods, or devices described.                                             wherein the pre-selected intrinsic frequency is a frequency
   The elements and acts of the various embodiments
described can be combined to provide further embodiments.                 that decreases blood flow in a lower region of the brain of
These and other changes can be made to the system in light of             the subject.
the above detailed description.                                        3. The   method of any of claims 1 and 2, further comprising
   In general, in the following claims, the terms used should taking         EEG measurements of the subject before the adjusting
not be construed to limit the system, methods, or devices to step or after           the applying step, or both before the adjusting
the specific embodiments disclosed in the specification and 25 step4. and       after the applying step.
                                                                          The method of any of claims 1 and 2, further comprising
the claims, but should be construed to include all processing determining           at least one of the Subjects intrinsic frequency
systems that operate under the claims. Accordingly, the sys
                                                                    of  the  specified
tem, methods, and devices are not limited by the disclosure, intrinsic frequency         EEG band and the subject's Q-factor of an
but instead the scopes of the system, methods, or devices are                                within a specified EEG band.
to be determined entirely by the claims.                         30    5.  The    method    of  any of claims 1 and 2, wherein the
   While certain aspects of the system, methods, or devices applying of the magnetic field applies the magnetic field to a
are presented below in certain claim forms, the inventors diffuse             area in the brain of the subject.
                                                                       6. The method of any of claims 1 and 2, wherein the
contemplate the various aspects of the system, methods, or magnetic
devices in any number of claim forms. For example, while permanentfield                 is generated by movement of at least one
                                                                                   magnet.
only one aspect of the system, methods, or devices is recited 35
as embodied in machine-readable medium, other aspects may least        7. The method of claim 6, wherein the strength of the at
likewise be embodied in machine-readable medium. Accord                   one permanent magnet is from about 10 Gauss to about
                                                                    4 Tesla.
ingly, the inventors reserve the right to add additional claims        8. The method of any of claims 1 and 2, wherein the step of
after filing the application to pursue Such additional claim
forms for other aspects of the system, methods, or devices. 40 two hours.the magnetic field is for about 5 minutes to about
                                                                    applying
   While preferred embodiments of the present invention                9. The method of any of claims 1 and 2, further comprising
have been shown and described herein, it will be obvious to
those skilled in the art that such embodiments are provided by repeating
                                                                    about   14
                                                                                 the applying step after an interval about 6 hours to
                                                                                 days.
way of example only. Numerous variations, changes, and
substitutions will now occur to those skilled in the art without 45    10. The method of any of claims 1 and 2, further compris
departing from the invention. It should be understood that brain(a)activity
                                                                    ing:      locating a first electrode operable to detect electrical
                                                                                      on the subject in at least one of an area of low
various alternatives to the embodiments of the invention
described herein may be employed in practicing the inven            electrical   resistivity  on the Subject, and an area with Substan
tion. It is intended that the following claims define the scope tially      no electrical impulse interference on the subject; (b)
of the invention and that methods and structures within the 50 locating a second electrode operable to detect a reference
Scope of these claims and their equivalents be covered quency       signal on the Subject; and (c) determining the intrinsic fre
thereby.                                                                      or the Q-factor or both from the electrical brain activ
   What is claimed is:                                              ity detected by the first electrode and the reference signal
   1. A method comprising:                                          detected by the second electrode.
   (a) adjusting output of a magnetic field;                     55    11. The method of any of claims 1 and 2, wherein the
                                                                    method
   (b) applying said magnetic field close to a head of a subject; using a HAMD decreases a HAMD score of the subject as measured
      and                                                                               rating scale.
   (c) moving, using the magnetic field, at least one of                                        k   k   k   k   k
